Exhibit 2
A   lb.

;_:_t CT Corporation                                                                  Service of Process
                                                                                      Transmittal
                                                                                      12/12/2018
                                                                                      CT Log Number 534568577
          TO:     Carol Purcell
                  Endo Pharmaceuticals Inc.
                  1400 Atwater Dr
                  Malvern, PA 19355-8701

          RE:     Process Served in Texas

          FOR:    Endo Pharmaceuticals Inc. (Domestic State: DE)




          ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

          TITLE OF ACTION:                    COUNTY OF NEWTON, Pltf. vs. PURDUE PHARMA L.P., et at., Dfts. // To: Endo
                                              Pharmaceuticals Inc
          DOCUMENT(S) SERVED:                 Citation, Return, Petition, Attachment(s), Exhibit(s)
          COURT/AGENCY:                       None Specified
                                              Case # 14467
          NATURE OF ACTION:                   Product Liability Litigation - Drug Litigation - opioids
          ON WHOM PROCESS WAS SERVED:         C T Corporation System, Dallas, TX
          DATE AND HOUR OF SERVICE:           By Process Server on 12/12/2018 at 15:55
          JURISDICTION SERVED:                Texas
          APPEARANCE OR ANSWER DUE:           Within 20 days after service
          ATTORNEY(S) / SENDER(S):            Courtney Tracy Ponthier
                                              110 Court Street
                                              Room 121
                                              P.O. Drawer 36
                                              Newton, TX 75966
                                              409-379-8600
          ACTION ITEMS:                       CT has retained the current log, Retain Date: 12/14/2018, Expected Purge Date:
                                              12/19/2018

                                              Image SOP

                                              Email Notification, Jobina Jones-McDonnell jones.jobina@endo.com

                                              Email Notification, Helen Howlett howletthelen@endo.com

                                              Email Notification, Marian Gustafson marian.gustafson@parpharm.com

                                              Email Notification, Carolyn Hazard hazard.carrie@endo.com
                                              Email Notification, Par Notice Dept Par.noticeDept@parpharm.com

                                              Email Notification, Carol Purcell Purcell.Carol@endo.com

                                              Email Notification, Stephanie Stidham stidham.stephanie@endo.com




                                                                                      Page 1 of 2 / MM
                                                                                      Information displayed on this transmittal is for CT
                                                                                      Corporation's record keeping purposes only and is provided to
                                                                                      the recipient for quick reference. This information does not
                                                                                      constitute a legal opinion as to the nature of action, the
                                                                                      amount of damages, the answer date, or any information
                                                                                      contained in the documents themselves. Recipient is
                                                                                      responsible for interpreting said documents and for taking
                                                                                      appropriate action. Signatures on certified mail receipts
                                                                                      confirm receipt of package only, not contents.
A lb.


;_:_t CT Corporation                                                          Service of Process
                                                                              Transmittal
                                                                              12/12/2018
                                                                              CT Log Number 534568577
        TO:    Carol Purcell
               Endo Pharmaceuticals Inc.
               1400 Atwater Dr
               Malvern, PA 19355-8701


        RE:    Process Served in Texas

        FOR:   Endo Pharmaceuticals Inc. (Domestic State: DE)




                                           Email Notification, Sandra Dilorio Dilorio.Sandra@endo.com


        SIGNED:                            C T Corporation System
        ADDRESS:                           1999 Bryan Street
                                           Suite 900
                                           Dallas, TX 75201
        TELEPHONE:                         214-932-3601




                                                                              Page 2 of 2 / MM
                                                                              Information displayed on this transmittal is for CT
                                                                              Corporation's record keeping purposes only and is provided to
                                                                              the recipient for quick reference. This information does not
                                                                              constitute a legal opinion as to the nature of action, the
                                                                              amount of damages, the answer date, or any information
                                                                              contained in the documents themselves. Recipient is
                                                                              responsible for interpreting said documents and for taking
                                                                              appropriate action. Signatures on certified mail receipts
                                                                              confirm receipt of package only, not contents.
              ••• 114 all; • .•••••    ••• 14,• •••-•••••   ••••       ttr                                                I 1, Or •Id               ••• 3, I           •19, 10.1.           .111,411•••••••••• ,,,,,, ••• ••••• •••••      49/ • • •.•• 49.i.•••• •••• .1,...,1, •




                                                                                                  CIVIL CITATION

        RK OF THE COURT                                                                                                        ATTORNEY FOR PETITIONER
    BREE ALLEN                                                                                                                 JEFFREY SIMON
    PO BOX 535                                                                                                                 1201 ELM STREET, STE 3400
    NEWTON, TX 75966                                                                                                           DALLAS, TX 75270


                                                                                        THE STATE OF TEXAS

    NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your attorney
    do not file a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next
    following the expiration of twenty days after you were served this citation and petition, a default judgment
    may be taken against you."

    TO: ENDO PHARMACEUTICALS, INC. c/o CT Corporation System, 1999 Bryan Street, Ste900
    Dallas, Tx 75201 or wherever he/she may he found.

    GREETINGS: You are commanded to appear by filing a written answer to the Plaintiff's Original Petition at
    or before 10:00 o'clock a.m. of the Monday next after the expiration of 20 days after the date of service
    hereof, before the District Court of Newton Texas, at the Courthouse in Newton, Texas.

    Said Petition was filed on DECEMBER 7,2018

    The file number of said suit being 14467.

    The style of the case is:

    COUNTY OF NEWTON
    Plaintiff

    VS.

    PURDUE PHARMA L.P. et al.
    Defendant

    A copy of Plaintiffs ORIGINAL PETITION accompanies this citation.
    Issued on DECEMBER 10, 2018

    GIVEN UNDER MY HAND AND SEAL OF SAID COURT, at office in Newton, Texas, on
    DECEMBER 10, 2018.
                                 ''''I ji flul

                                 COL/Ri-
                         •zs' ...• • • • ..
                              .•                      Bre-e- Allen, District Clerk
                                                  "4:District Ourt

                                               :• tjj NeN,       ounty, Texas

                                                                                     ..... ••'-4.-/ By:                       I               /AA,                                    ,050P Apo                             Deputy




.                               .•••    ,•           ,,,,,,        •    •••••   ••• ••.•••••• ••,,.....••• .0 • 1.,   r01.,••••• • 40. I ,•-••• 0,1 .•••• Ip••• ••••           •.1•••• •.1 ••••         •    • MI ••••         f •Th, •1•11, -; 1,41.••••••
                                               OFFICER'S RETURN

Came to hand on the          day of                             , 20      at
o'clock      .m., and executed in                                County, Texas by delivering to
each of the within named defendants in person, a true copy of this Citation with the date of delivei-y
endorsed thereon, together with the accompanying copy of the plaintiff's petition, at the following
Limes and places, to-wit:
Name                           Date/Time               Place, Course and Distance from Courthouse




And not executed as to the defendant(s),


The diligence used in finding said defendant(s) being:


and the cause or failure to execute this process is:


and the information received as to the whereabouts of said defendant(s) being:


FEES:
Serving Petition and Copy      $
Total
                                                                                                  , Officer
                                                                                           County, Texas


                                                             By:                                  , Deputy
                                                                          E-Filed for Record
                                                                          12)7/20184:03 PM
                                                                          Newton County District Clerk , TX
                                                                          By: Vanessa Woods

                                                14467
                                 CAUSE NO.

  COUNTY OF NEWTON,                                      IN THE DISTRICT COURT

          Plaintiff,

  VS.                                                           JUDICIAL DISTRICT

  PURDUE PHARMA L.P.;
  PURDUE PHARMA INC.;
  THE PURDUE FREDERICK COMPANY;
  JOHNSON & JOHNSON;                                     NEWTON COUNTY, TEXAS
  JANSSEN PHARMACEUTICALS, INC.;
  ORTHO-MCNEIL-JANSSEN
  PHARMACEUTICALS, INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  JANSSEN PHARMACEUTICA INC. n/k/a
  JANSSEN PHARMACEUTICALS, INC.;
  ENDO HEALTH SOLUTIONS INC.;
  ENDO PHARMACEUTICALS, INC.; and
  DOES 1— 100, INCLUSIVE,

          Defendants.


               PLAINTIFF'S ORIGINAL PETITION AND JURY DEMAND

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES Plaintiff, the County of Newton, Texas (hereinafter "Newton County" or

"County"), by and :through the undersigned attorneys, on behalf of the District Attorney for

Newton County, against Defendants Purdue Pharma L.P., Purdue Pharma Inc., The Purdue

Frederick Company, Johnson & Johnson, Janssen Pharmaceuticals, Inc., Janssen Pharrnaceutica

Inc. n/k/a Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a

Janssen Pharmaceuticals, Inc., Endo Health Solutions Inc., Endo Pharmaceuticals, Inc., and Does

1 — 100, alleges as follows:




PLAINTIFF'S ORIGINAL PETITION                                                                 ,I
                                        I.       INTRODUCTION

            I.   The United States is in the midst of an opioid epidemic caused by Defendants'

fraudulent marketing, sales, and distribution of prescription opioids ("opioids") that has resulted

in addiction, criminal activity, and loss of life.' Americans "consume 85% of all the opioids in the

world" and are "the most medicated country in the world . . . ."2 The opioid crisis has been

described as "the AIDS epidemic of our generation, but even worse."3 On October 26, 2017,

President Donald Trump "declared a nationwide public health emergency to combat the opioid

crisis."4

        2.       In 1997, each person in the United States, on average, consumed 96 mg morphine

equivalents. In 2010 that number increased to 710 mg per person.5 This amount has been estimated

as the equivalent to 7.1 kg of opioids per 10,000 people — or enough to supply each American with

5 mg of hydrocodone every 6 hours for 45 days.6

        3.       It's no surprise that in 2016 alone, health care providers wrote more than 289

million prescriptions for opioids, enough for every adult in the United States to have more than

one bottle of pi Ils.7

        4.       Unfortunately, using opioids too often leads to addiction and overdose from

opioids. It was estimated as early as 2001 that up to 40% of chronic pain patients were addicted to




I L. Manchikanti, Opioid Epidemic in the United States, Pain Physician, Jul, 2012, at I,
www.painphysicianjournal.org, attached hereto as Exhibit A.
2 David Wright, Christie on Opioids: "This is the AIDS Epidemic of Our Generation, but even Worse," CNN, Oct.
27, 2017, available at hup://www.cnn.com/2017/10/27/politics/chris-christie-opioid-commission-aids-
cnntv/index.html; Manchikanti, Ex. A, at 16 ("Gram for gram, people in the United States consume more narcotic
medication than any other nation worldwide.").
3 Wright, supra.
4 Dan Merica, What Trump's Opioid Announcement Means — and Doesn't Mean, CNN, Oct. 26, 2017, available at
http://www.cnn.com/2017/10/26/pol itics/national-health-emergency-national-disaster/index.htm I.
s Manchikanti, Ex. A, at 14.
6 Id.
  Prevalence of Opioid Misuse, BupPractice, Sept. 7, 2017, available at https://www.buppractice.com/node/15576.



PLAINTIFF'S ORIGINAL PETITION                                                                                     2
opioid pain medication. g Almost 2 million Americans were addicted to opioids in 2014.9 To put

the opioid crisis in perspective, the statistics demonstrate:

                      Roughly 21 to 29 percent of patients prescribed opioids for chronic pain misuse
                      them;

                      Between 8 and 12 percent develop an opioid use disorder; and

                      About 80 percent of people who use heroin first misused prescription opioids.1°

        5.       In 2014, more people died from drug overdoses than in any other year. Currently

more than 115 Americans die every day after overdosing on opioids.11 The Texas Legislature has

found "that deaths resulting from the use of opioids and other controlled substances constitute a

public health crisis."12

        6.       In fact, accidental drug overdose deaths, of which reportedly at least two-thirds are

opioid overdoses, are the leading cause of death for Americans under the age of 50. And these

accidental opioid drug overdose deaths exceed the number of deaths caused by cars or guns. A

report from the CDC found that from July 2016 to September 2017, emergency visits due to

suspected opioid overdoses continued to climb approximately 30% across the nation.13 The

increase was seen in adults of all age groups and in men and women in all geographic areas."

        7.       Over the next decade, the average number of deaths due to opioids is expected to

be 500,000.15 Proof that the opioid epidemic is far from slowing is the latest statistic that




  Prescription Drugs: Abuse and Addiction, National Institute of Drug Abuse (NIB Publication), Jul. 2001, at 13.
9 National Survey on Drug Use and Health, Substance Abuse and Mental Health Services Administration, 2014.
I° Opioid Overdose Crisis, National Institute on Drug Abuse, Jan. 2018, available at
https://www.drugabuse.gov/drugs-abuse/opioids/opioid-overdose-crisis.
" Id.
12 Tex. Att'y Gen. Op. No. KP-0168 (2017), citing Act of May 26, 2017, 851h Leg., R.S., ch. 534, § 3, 2017 Tex.

Sess. Law Serv. 1467, 1468.
" Jacqueline Howard, ER Visits for Opioid Overdose up 30%, CDC Study Finds, CNN, Mar. 6, 2018.
14
   Id.
15 Max Blau, STAT forecast: Opioids Could Kill Nearly 500,000 American in the next Decade, STAT, June 27,

2017, available at https://www.statne‘vs.com/2017/06/27/opioid-deaths-forecast/; see also Wes Rapaport,
Advocates for Painkiller Advocates Wants Society to Meet Them Halfivay, Big Country, Feb. 18, 2018 (stating the



PLAINTIFF'S ORIGINAL PETITION                                                                                      3
approximately 72,000 Americans died from drug overdoses last year in 2017.16 This increase is

due to a growing number of Americans using opioids and the opioids themselves are becoming

more deadly.17 The economic burden caused by opioid abuse in the United States is at least $78.5

billion," including lost productivity and increased social services, health insurance costs,

increased criminal justice presence and strain on judicial resources, and substance abuse treatment

and rehabilitation.'9 In 2015, Texas "had the second highest total healthcare costs from opioid

abuse in the nation ($1.96 billion)...

        8.       This epidemic did not occur by chance. Defendants manufacture, market, distribute,

and sell prescription opioids, including, but not limited to, brand-name drugs like OxyContin,

Opana, Percocet, Percodan, Duragesic, Ultram, Ultracet, and generics like oxycodone,

oxymorphone, hydromorphone, hydrocodone, fentanyl, and tramadol, which are powerful

narcotics.

        9.       Historically, opioids were considered too addictive and debilitating for treating non-


cancer chronic pain,21 such as back pain, migraines, and arthritis, and were used only to treat short-

term acute pain or for palliative or end-of-life care.

        10.      By the late 1990s or early 2000s, however, each Defendant began a marketing

scheme to persuade doctors and patients that opioids were not addictive and should be used



number of opioid overdose deaths is going to go up for at least several more years and explaining how Operation
Naloxone has administered more than $1 million of the powerful antidote).
16 Margot Sanger-Katz, Bleak New Estimates in Drug Epidemic: A Record 72.000 Overdose Deaths in 2017, The

New York Times, Aug. 15, 2018, haps://www,nytimes.com/2018/08/1 5/upshotiopioids-overdose-deaths-rising-
fentanyl.html (representing a 9.5 percent increase from 2016).
"
Is CDC Foundation's New Business Pulse Focuses on Opioid Overdose Epidemic, Centers for Disease Control and

Prevention, Mar. 15, 2017, available at https://www.cdc.gov/media/releases/2017/a0315-business-pulse-
opioids.html.
   Opioid Overdose Crisis, supra.
20 Kerry Craig, Opioid Addiction Results in one Woman's Daily Struggle, Sulphur Springs News-Telegram, Oct. 7,

2017, available at httpsiAvww.ssnewstelegram.cominews/opioid-addiction-results-in-one-woman-s-daily-
struggle/article_bded4eoa-ab80-11e7-a252-d3f304e26628.html.
21 "Chronic pain" means non-cancer pain lasting three months or longer.




PLAINTIFF'S ORIGINAL PETITION                                                                                     4
ubiquitously and perpetually to treat moderate, non-cancer chronic pain.22 Defendants' efforts to

"increase opioid use" and their campaign emphasizing "the alleged undertreatment of pain

continue to be significant factors of the [opioid] escalation."23 Defendants reassured the medical

community that opioids were not addictive and doctors prescribed them at a higher rate.24

Consequently, the National Institute of Drug Abuse attributes the opioid crises to Defendants'

successful marketing campaign.25 Each Defendant spent, and continues to spend large sums of

money to promote the benefits of opioids for non-cancer moderate pain while trivializing or even

denying their risks.

               I I.   The Defendants' promotional messages deviated substantially from any approved

labeling of the drugs and caused prescribing physicians and consuming patients to underappreciate

the health risks, and to overestimate the benefits of opioids.

               12.    Contrary to the language of their drugs' labels, Defendants falsely and misleadingly,

in their marketing: (1) downplayed the serious risk of addiction; (2) promoted and exaggerated the

concept of "pseudoaddiction" thereby advocating that the signs of addiction should be treated with

more opioids; (3) exaggerated the effectiveness of screening tools in preventing addiction; (4)

claimed that opioid dependence and withdrawal are easily managed; (5) denied the risks of higher

opioid dosages; and (6) exaggerated the effectiveness of "abuse-deterrent" opioid formulations to

prevent abuse and addiction.




22 See e.g.. °plaid Overdose Crisis, National Institute on Drug Abuse, Jan. 2018, available al
https://www.drugabuse.gov/drugs-abuse/opioids/opioicl-overdose-crisis (explaining the greater rate of prescribing
opioids due to misinformation to physicians, which led to a diversion and misuse of opioids before anyone knew
opioids were highly addictive).
23 Manchikanti, Ex. A, at I.

24 CDC/NCHS, National Vital Statistics System, Mortality, CDC Wonder, Atlanta, Ga: US Department of Health

and Human Services, 2017, available at lutps://ivonder.cdc.gov.
25
     See id.



PLAINTIFF'S ORIGINAL PETITION                                                                                       5
           13.      Defendants disseminated these falsehoods through ads, sales representatives, and/or

hand-picked physicians who supported Defendants' message. Sales representatives, working at

Defendants' behest, promoted highly addictive opioids through souvenirs and toys including, but

not limited to, opioid brand-bearing stuffed plush toys, dolls, coffee cups, fanny packs, water

bottles, notepads, pens, refrigerator magnets, clocks, letter openers, rulers, daytime planners, bags,

puzzles, posters, hand-held calculators, clipboards, highlighters, flashlights, key chains, clothing,

reflex mallets, and mock-ups of the United States Constitution.

           14.      Defendants also used third parties they controlled by: (a) funding, assisting,

encouraging, and directing doctors, known as "key opinion leaders" ("KOLs") and (b) funding,

assisting, directing, and encouraging seemingly neutral and credible professional societies and

patient advocacy groups (referred to hereinafter as "Front Groups").

           15.      Defendants worked with KOLs and Front Groups to taint the sources that doctors

and patients relied on for ostensibly "neutral" guidance, such as treatment guidelines, Continuing

Medical Education ("CM E") programs, medical conferences and seminars, and scientific articles.

Through their individual and concerted efforts, Defendants convinced doctors that instead of being

addictive and unsafe for long-term use in most circumstances, opioids were required in the

compassionate treatment of chronic pain, which Defendants termed an epidemic in America.

           16.      Defendants' aggressive marketing of opioids for chronic pain is "based on unsound

science and blatant misinformation, and accompanied by the dangerous assumptions that opioids

are highly effective and safe, and devoid of adverse events when prescribed by physicians."26

Nevertheless, Defendants' marketing was effective and, by 2011 there were 136.7 million

prescriptions for hydrocodone alone, with all opioids exceeding 238 million.27 Data demonstrates



26   Manchikanti, Ex. A, at 1-4.
" Id.


PLAINTIFF'S ORIGINAL PETITION                                                                        6
that "[o]ver 90% of patients received opioids for chronic pain management."28

        17.      Essentially each Defendant ignored science and consumer health for profits.

Defendants' efforts were so successful that opioids are now the most prescribed class of drugs

generating $11 billion in revenue for drug companies in 2014 alone. Sales for Purdue's OxyContin

grew from $48 million in 1996 to $1.1 billion in 2000 after it successfully and aggressively

marketed and promoted its opioid.29 In fact, OxyContin was a "leading drug of abuse" by 2004

through its availability." Even after Purdue reached a $600 million federal settlement in 2007, the

settlement failed to impact what is a "$13-billion-a-year opioid industry."31

        18.      As a direct and foreseeable consequence of Defendants' misrepresentations and

misleading marketing campaign to Newton County physicians and residents regarding the safety

and efficacy of using opioids for chronic non-cancer pain that resulted in an oversupply of opioids,

Newton County has spent and continues to spend large sums of money combatting the public

health crisis.

        19.      The money Newton County has spent comes directly from its taxpayers. These

taxpayers include Newton County physicians, who passed on Defendants' misleading safety and

efficacy information and prescribed more opioids to taxpaying residents in Newton County. These

taxpayers also included Newton County residents who either suffered the addictive effects of

consuming opioids or overdosed using Defendants' opioids that had been over-prescribed and

over-supplied to Newton County as intended by Defendants herein. Thus, this group of Newton

County residents has suffered not only injury to property, but also bodily injury, as a result of




28 Manchikanti, Ex. A. at 1-4.
29 Art Van Zee, M.D., The Promotion and Marketing of OlyContin: Commercial Triumph, Public Health Tragedy,
99 Am. J. Public Health 221, Feb. 2009, at I. attached hereto as Exhibit B.
30 Zee, supra.

31 Rebecca L. Haffajee, J.D., Ph.D., M.P.H. and Michelle M. Mello, ID., Ph.D., Drug Companies' Liability for the

Opioid Epidemic, N. Engl. J. Med., Dec. 14, 2017, at 2305.




PLAINTIFF'S ORIGINAL PETITION                                                                                      7
Defendants' misconduct in the false promotion and/or over-supply of prescription opioids.

         20.     Newton County has spent and continues to spend large sums of money combatting

the opioid crisis created by Defendants' negligent and fraudulent marketing campaign. Across the

country, including Texas, increased opioid prescribing has caused and continues to cause an

increase in overdoses and death. Defendants tracked the CDC data and knew that the more they

promoted opioid prescribing and distributed more opioids that non-therapeutic outcomes, such as

overdose, addiction, and criminality would occur. By 2010, enough opioids had been sold to

medicate every American adult with a typical dose of 5 mg of hydrocodone every 4 hours for 1

month.' The increased use of opioids has contributed to the increased rate of overdose deaths and

nonmedical use with the varying rates of sales in each state impacting the outcomes in each state.33

"Given that 3% of physicians accounted for 62% of the [opioids] prescribed in one study, the

proliferation of high-volume prescribers can have a large impact on state use of [opioids] and

overdose death rates."34 Not surprisingly, "Marge increases in overdoses involving .the types of

drugs sold by illegitimate pain clinics (i.e., 'pill mills') have been reported in Florida and Texas.""

For example, thousands of prescriptions were written for opioids in Newton County from 2012

2016, 36 and in 2016, there were approximately 24 —25.9 deaths per 100,000 people reported from

drug overdoses." A substantial number of those overdose deaths were a result, in whole or in part,

of opioid ingestion. Defendants' marketing misconduct, as well as Defendants' efforts to sell more

prescription opioids than can be consumed therapeutically, were natural and foreseeable causes of




32 Center for Disease Control, Vital Signs: Overdoses of Prescription Opioid Pain Relievers — United Stales, 1999-

2008, Morbidity and Mortality Weekly Report (MMWR), Nov. 4, 20 l I.
33 id

" Id.
"Id
36 https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html; hnps://vmw.ede.govinchs/data-visualization/drug-

poison ing-mortality.
37 https://www.edc.govinchs/data-visualization/drug-poisoning-mortality.




PLAINTIFF'S ORIGINAL PETITION                                                                                        8
overdose deaths and injuries in Newton County.

           21.        As a direct and foreseeable consequence of Defendants' conduct described

regarding prescription opioids, Newton County has committed and continues to commit resources

to provide and pay additional health care, law enforcement, social services, public assistance,

pharmaceutical care and other services necessary for its residents.

                 H.       RULE 47 STATEMENT OF MONETARY RELIEF SOUGHT

           22.        Per Rule 47 of the Texas Rules of Civil Procedure, the County states that although the

full measure of its damages is still being calculated, its damages caused by Defendants' acts and

omissions exceed $1,000,000 but are believed to be less than $100,000,000. Accordingly, at this time

in the litigation, Newton County states that it is seeking monetary relief for an amount greater than

$1,000,000 and less than $100,000,000, the rightful and just amount to be determined by the jury.

                                              III.    STANDING

           23.        Newton County has standing to bring this lawsuit because it has suffered an injury-

in-fact caused by Defendants' misconduct, and that harm can be redressed through this action.

Having decided that it was necessary to pursue these claims to protect the County's interests, the

County hired outside counsel to handle the litigation.38 The contract governing the County's

representation in this litigation was approved by the Texas Comptroller of Public Accounts

pursuant to Tex. Gov't Code § 403.0305.39

           24.        Defendants' misconduct has placed an unreasonable burden on Newton County's

resources and ability to provide the public services and employee benefits it is obligated to and/or




38 See Resolution for approval of bringing suit on behalf of Newton County, Texas, vs. various drug manufacturers,
developers, suppliers and others of a class of pharmaceutical class of drugs commonly referred to as opioids and
approval of Professional Services Agreement for Special Counsel attached hereto as Exhibit G and Executed and
Approved Retention Agreement attached hereto as Exhibit I-I.
39   /d.



PLAINTIFF'S ORIGINAL PETITION                                                                                   9
has authority to provide to its residents and employees. Newton County has the statutory duty

and/or authority to provide public safety and health services, including, but not limited to, the

following:

                         Supporting paupers;40

                         Providing county jails,4'

                         Providing health care in county jai Is;42

                         Providing fire protection,"

                         Enforcing drug laws,"

                         Contracting with drug centers,'

                         Commissioning drug education and counseling programs;46 and

                         Paying county and precinct officers and employee compensation, office and
                         travel expenses, and any other allowances.'

            25.      Defendants' misconduct — including Defendants' calculated marketing campaign

of misinformation to physicians and patients — caused the damages to the County. They misled

physicians into overprescribing opioids, which directly created the need for dramatically increased

public services. The County relied on these misrepresentations in paying for its employees'

healthcare costs causing the County to incur increased healthcare costs for its own employees.

            26.      The harm caused by Defendants' misconduct can be redressed by the Court in this

action. Defendants should be enjoined from continuing to manufacture, distribute, and sell opioids

in Newton County without educating physicians and patients about the actual risks and benefits of



4° Tex. Local Gov't Code § 81.027.
41 Id. at § 351.001.
42   Id. at § 351.045.
43 Id. at § 352.001.
" Id. at § 370.003.
45 Tex. Health 8: Safety Code at § 464.032.

46 Id. at § 465.001

47 Tex. Local Gov't Code § 152.011.



PLAINTIFF'S ORIGINAL PETITION                                                                        10
its drugs. Furthermore, Defendants should compensate Newton County for the funds it has

expended and continues to expend for medical insurance claims for opioids that were not medically

necessary, as well as increased costs of social services, health systems, law enforcement, the

judicial system, and treatment facilities.

                             IV.     VENUE AND JURISDICTION

       27.     Venue is proper in Newton County because all or a substantial part of the events or

omissions giving rise to this claim occurred in Newton County. TEX. CIV. PRAC. & REM. CODE

§15.002(a)(2). This Court has subject-matter jurisdiction over this matter because Plaintiff's damages

are in excess of the minimal jurisdictional limits of this Court. TEX. GOVT. CODE §24.007(b).

       28.     This Court has specific jurisdiction over all Defendants as their activities were

 directed toward Texas, and injuries complained of herein resulted from their activities. Guardian

 Royal Exchange Assur., Ltd v. English China Clays, P.L.C., 815 S.W.2d 223, 227 (Tex. 1991).

 Each Defendant has a substantial connection with Texas and the requisite minimum contacts with

 Texas necessary to constitutionally permit the Court to exercise jurisdiction. See   id at 226.

                                         V. PARTIES

A.     Plaintiff

       29.     This action is brought for and on behalf of Newton County, which provides a

wide range of services on behalf of its residents, including services for families and children,

public health, public assistance, law enforcement, and emergency care.

B.     Defendants

       30.     PURDUE PHA RMA L.P. is a limited partnership organized under the laws of

Delaware with its principal place of business in Stamford, Connecticut, and has at all times relevant

to this litigation conducted business in this State. Said limited partnership is required to maintain




PLAINTIFF'S ORIGINAL PETITION                                                                      II
a registered agent for service of process, but it has not designated such an agent. Therefore, said

limited partnership may be served with process through the Secretary of State for the State of

Texas at its registered agent in Delaware, The Prentice-Hall Corporation System, Inc., 251 Little

Falls Drive, Wilmington, DE 19808, pursuant to the Texas Long-Arm Statute, Tex. Civ. Prac. &

Rem. Code §§ i 7.041-.045. PURDUE PHARMA L.P. is, through its ownership structure, a Texas

resident. PURDUE PHARMA INC. is a New York corporation with its principal place of business

in Stamford, Connecticut, and has at all times relevant to this litigation conducted business in this

State. Said corporation is required to maintain a registered agent for service of process, but it has

not designated such an agent. Therefore, said corporation may be served with process through the

Secretary of State for the State of Texas at its registered agent in Delaware, Corporation Service

Company, 80 State Street, Albany, NY 12207, pursuant to the Texas Long-Arm Statute, Tex. Civ.

Prac. & Rem. Code §§ 17.041-.045. THE PURDUE FREDERICK COMPANY is a Delaware

corporation with its principal place of business in Stamford, Connecticut, and has at all times

relevant to this litigation conducted business in this State. Said corporation is required to maintain

a registered agent for service of process, but it has not designated such an agent. Therefore, said

corporation may be served with process through the Secretary of State for the State of Texas at its

registered agent in Delaware, The Prentice-Hall Corporation System, Inc., 251 Little Falls Drive,

Wilmington, DE 19808, pursuant to the Texas Long-Arm Statute, Tex. Civ. Prac. & Rem. Code

§§ 17.041-.045 (Purdue Pharma L.P., Purdue Pharma Inc., and The Purdue Frederick Company are

hereinafter referred to as "Purdue").

       31.     Purdue manufactures, promotes, sells, and distributes opioids in the U.S. and

Newton County. Purdue's opioid drug, OxyContin, is one of the most addictive and abused

prescription drugs in American history. Purdue has promoted opioids throughout the United States




PLAINTIFF'S ORIGINAL PETITION                                                                      12
and in Newton County.

       32.     JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its

principal place of business in Titusville, New Jersey, and may be served through its registered

agent for service of process, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX

75201. JANSSEN PHARMACEUTICALS, INC. is a wholly owned subsidiary of JOHNSON &

JOHNSON. JOHNSON & JOHNSON ("J&J") is a New Jersey corporation with its principal place

of business in New Brunswick, New Jersey, and has at all times relevant to this litigation conducted

business in this State. Said corporation is required to maintain a registered agent for service of

process, but it has not designated such an agent. Therefore, said corporation may be served with

process through the Secretary of State for the State of Texas at its corporate headquarters,

Attention: Legal Department, One Johnson & Johnson Plaza, New Brunswick, NJ 08933, pursuant

to the Texas Long-Arm Statute, Tex. Civ. Prac. & Rem. Code §§ 17.041-.045. ORTHO-MCNEI L-

JANSSEN PHARMACEUTICALS, INC., now known as JANSSEN PHARMACEUTICALS,

INC., is a Pennsylvania corporation with its principal place of business in Titusville, New Jersey,

and may be served through its registered agent for service of process, CT Corporation System,

1999 Bryan Street, Suite 900, Dallas, TX 75201. JANSSEN PHARMACEUTICA INC., now

known as JANSSEN PHARMACEUTICALS, INC., is a Pennsylvania corporation with its

principal place of business in Titusville, New Jersey, and may be served through its registered

agent for service of process, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX

75201. J&J is the only company that owns more than 10% of Janssen Pharmaceuticals' stock, and

corresponds with the FDA regarding Janssen's products. Upon information and belief, J&J

controls the sale and development of Janssen Pharmaceuticals' drugs and Janssen's profits inure

to J&J's benefit (Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc.,




PLAINTIFF'S ORIGINAL PETITION                                                                    13
Janssen Pharmaceutica Inc., and J&J are hereinafter referred to as "Janssen").

       33.     Janssen manufactures, promotes, sells, and distributes opioids in the U.S. and in

Newton County.

       34.     ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania, and has at all times relevant to this litigation conducted

business in this State. Said corporation is required to maintain a registered agent for service of

process, but it has not designated such an agent. Therefore, said corporation may be served with

process through the Secretary of State for the State of Texas at its registered agent in Delaware,

The Corporation Trust Company, Corporation Trust Center, 1209 Orange St., Wilmington, DE

19801, pursuant to the Texas Long-Arm Statute, Tex. Civ. Prac. & Rem. Code §§ 17.041-.045.

ENDO PHARMACEUTICALS, INC., a wholly-owned subsidiary of ENDO HEALTH

SOLUTIONS INC., is a Delaware corporation with its principal place of business in Malvern,

Pennsylvania, and may be served through its registered agent for service of process, CT

Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX 75201 (Endo Health Solutions Inc.

and Endo Pharmaceuticals, Inc. are hereinafter referred to as "Endo").

       35.     Endo develops, markets, and sells opioid drugs in the U.S. and in Newton County.

Endo also manufactures and sells generic opioids in the U.S. and Newton County, by itself and

through its subsidiary, Qualitest Pharmaceuticals, Inc.

       36.     The County lacks information sufficient to specifically identify the true names or

capacities, whether individual, corporate or otherwise, of Defendants sued herein under the

fictitious names DOES 1 through 100 inclusive. The County will amend this Petition to show their

true names and capacities if and when they are ascertained. Newton County is informed and

believes, and on such information and belief alleges, that each of the Defendants named as a DOE




PLAINTIFF'S ORIGINAL PETITION                                                                      14
has engaged in conduct that contributed to cause events and occurrences alleged in this Petition

and, as such, shares liability for at least some part of the relief sought herein.

                                    VI. FACTUAL ALLEGATIONS

        37.      Before the 1990s, generally accepted standards of medical practice dictated that

opioids should be used only for short-term acute pain — pain relating to recovery from surgery or

for cancer or palliative (end-of-life) care. Using opioids for chronic pain was discouraged or even

prohibited because there was a lack of evidence that opioids improved patients' ability to

overcome pain and function. Instead the evidence demonstrated that patients developed tolerance

to opioids over time, which increased the risk of addiction and other side effects.

        38.      After the 1990s, Defendants dramatically changed doctors' views regarding

opioids through a well-funded deceptive marketing scheme. Defendants were so successful that,

according to the National Safety Council, 74% of all doctors prescribe opioids for chronic back

pain and 55% prescribe opioids for dental pain, "neither of which is appropriate in most cases.”48

And 99% of doctors are prescribing tem for longer than the three-day recommended period as

recommended by the CDC.49 Twenty-three percent prescribe at least a month's worth of opioids

and evidence shows that just 30 days of usage can cause brain damage.'

        39.      Each Defendant used direct marketing and unbranded advertising (i.e., advertising

that promotes opioid use generally but does not name a specific opioid) disseminated by seemingly

independent third parties to spread false and deceptive statements about the risks and benefits of

long-term opioid use. Defendants advocated the widespread use of opioids for chronic pain even




48 National Safety Council, NSC Poll: 99% of Doctors Prescribe Highly-Addictive Opioids Longer than CDC
Recommends, 2017 (The NSC was founded in 1913 and chartered by Congress and is a non-profit organization
whose mission is to save lives by preventing injuries and deaths at work, in homes, and in the communities through
leadership, research, education, and advocacy).
49 !d.

3° Id.



PLAINTIFF'S ORIGINAL PETITION                                                                                   15
though it contravened the "cardinal principles of medical intervention — that there be compelling

evidence of the benefit of a therapy prior to its large-scale use."5I

A.         Defendants Used Multiple Avenues To Disseminate their False and Deceptive
           Statements about Opioids.

           40.       Defendants spread their false and deceptive statements by (1) marketing their

branded opioids directly to doctors treating patients residing in Newton County and the Newton

County patients themselves and (2) deploying so-called unbiased and independent third parties to

Newton County.

                     1. Defendants Spread and Continue to Spread Their False and Deceptive
                        Statements Through Direct Marketing of Their Branded Opioids.

           41.       Defendants' direct marketing of opioids generally proceeded on two tracks. First,

each Defendant conducted advertising campaigns touting the purported benefits of their branded

drugs. For example, Purdue spent $200 million promoting and marketing OxyContin in various

forms.52 Defendants spent more than $14 million on medical journal advertising of opioids in 2011,

nearly triple what they spent in 2001, including $8.3 million by Purdue, $4.9 million by Janssen,

and $1.1 million by Endo.

           42.       A number of Defendants' branded ads deceptively portrayed the benefits of opioids

for chronic pain. For example, Endo distributed and made available on its website,

www.opana.com, a pamphlet promoting Opana ER with photographs depicting patients with

physically demanding jobs like a construction worker and chef, implying that the drug would

provide long-term pain-relief and functional improvement.

           43.       Purdue also ran a series of ads, called "pain vignettes," for OxyContin in 2012 in

medical journals. These ads featured chronic pain patients and recommended OxyContin for each.



51 Manchikanti,    Ex. A, at 2.
52   Zee, Ex. B, at 2.




PLAINTIFF'S ORIGINAL PETITION                                                                       16
One ad described a "54-year-old writer with osteoarthritis of the hands" and implied that

OxyContin would help the writer work more effectively. Second, each Defendant promoted the

use of opioids for chronic pain through "detailers" — sales representatives who visited individual

doctors and medical staff in their offices — and small-group speaker programs.

         44.       Defendants devoted massive resources to direct sales contacts with doctors. In 2014

alone, Defendants spent $154 million on detailing branded opioids to doctors, including $108

million by Purdue, $34 million by Janssen, and $10 million by Endo.

         45.       Defendants sent their sales representatives to prescribers based on their specialties

and prescribing habits obtained from sales data through I MS Health. Defendants used this data to

monitor, and thereby target, specific physicians through the initial and renewal prescribing rates.

To ensure that their sales representatives were properly incentivized, Defendants motivated them

through bonuses. In 2001, Purdue paid $20 million in "sales incentive bonuses" to its sales

representatives .53

         46.       Defendants also utilized "influence mapping" to use decile rankings or similar

breakdowns to identify high-volume prescribers. The underlying strategy was that detailers would

have the biggest sales impact on high-volume prescribers. For example, Endo identified

prescribers representing 30% of its nationwide sales volume and planned sales visits three times

per month to these physicians. These detailers visited physicians across the nation, including

physicians in Newton County. Defendants also had access to data from [MS Health, which

provides Defendants specific details about which medications physicians prescribe and how

frequently they do so. This data was collected from more than 50% of the pharmacies in the United

States, which would inform Defendants which doctors to target to convince them to prescribe more




s' Zee, Ex. B, at 2.



PLAINTIFF'S ORIGINAL PETITION                                                                        17
opioids or to start prescribing opioids instead of the medications they had been prescribing.

        47.      Another manner in which Defendants expanded their sales was to target prescribers

in individual zip codes and local boundaries. Defendants would send a detailer based on ease of

in-person access and the likelihood of convincing the physician to prescribe a higher number of

opioids and at higher doses.

        48.      As part and parcel of their detailing of opioids to physicians, Purdue trained its sales

representatives to inform physicians that the risk of addiction was "less than one percent" even

though studies demonstrated that there was a high incidence of drug abuse associated with

prescription opioid use for chronic pain.'

        49.      As Defendants' marketing efforts grew, they targeted nurse practitioners and

physician assistants who, a 2012 Endo business plan noted, were "share acquisition" opportunities

because they were more responsive than physicians to details and wrote most of their prescriptions

without a physician consult.

        50.      Studies demonstrate that visits from sales representatives influence the prescribing

practices of residents and physicians by curtailing the prescription of generic drugs and rapidly

expanding the prescription of new drugs, such as opioids for chronic pain.55

        51.      Defendants also paid doctors to serve on speakers' bureaus, to attend programs, and

for meals.56 In 2017, Dr. Hadland identified some of these payments from pharmaceutical

companies to physicians prescribing opioids.57 It was the first time "industry payments to

physicians related to opioid marketing" could be collated because of the "Open Payments program




54 Zee, Ex. 13, at 3.
65 Id. at 6.
56 See Scott E. Hadland, M.D., M.P.H, M.S., Industry Payments to Physicians for Opioid Products, 2013-2015, 107

Am. J of Pub. Health 9, Sept. 2017, attached hereto as Exhibit C.
57 See Scott E. Hadland, M.D., M.P.11, M.S. Industry Payments to Physicians for Opioid Products, 2013-2015, 107

Am. J of Pub. Health 9, Sept. 2017, attached hereto as Exhibit C at 1493.




PLAINTIFF'S ORIGINAL PETITION                                                                                18
database" authorized under the "Physician Payments Sunshine Act."58 Dr. Hadland explained that

it was the first large-scale examination of these payments.59

         52.      One statistic Dr. Hadland gleaned from the data is that nearly 1 in 5 family

physicians in 2013, out of 108,971 active family physicians, received an opioid-related payment.°

After culling through the Open Payments program database, Dr. Hadland concluded that

"fflinancial transfers" from pharmaceutical companies to physicians prescribing opioids "were

substantial and widespread and may be increasing in number and value!'

         53.      Some of the financial transfers most likely involved speaker programs, which

provided: (1) an incentive for doctors to prescribe a particular opioid (so they might be selected to

promote the drug); (2) recognition and compensation for the doctors selected as speakers; and (3)

an opportunity to promote the drug through the speaker to his or her peers. These speakers gave

the false impression that they were providing unbiased and medically accurate presentations when

they were, in fact, presenting a script prepared by Defendants. On information and belief, these

presentations conveyed misleading information, omitted material information, and failed to correct

Defendants' prior misrepresentations about the risks and benefits of opioids.

         54.     Defendants employed the same marketing plans, strategies, and messages in and

around Newton County, Texas as they did nationwide. Across the pharmaceutical industry, "core

message" development is funded and overseen on a national basis by corporate headquarters. This

comprehensive approach ensures that Defendants' messages are accurately and consistently

delivered across marketing channels and in each sales territory. Defendants consider this high level

of coordination and uniformity crucial to successfully marketing their drugs.



58 Hadland, Ex. C.
59 Id. at 1495.
60
   Hadland, Ex. C, at 1494.
61 Id. at 1495.




PLAINTIFF'S ORIGINAL PETITION                                                                     19
                  2. Defendants Used a Diverse Group of Seemingly Independent Third Parties
                      to Spread False and Deceptive Statements about the Risks and Benefits of
                      Opioids.

         55.      Defendants also deceptively marketed opioids in and around Newton County

through unbranded advertising. This advertising was ostensibly created and disseminated by

independent third parties. But by funding, directing, reviewing, editing, and distributing this

unbranded advertising, Defendants controlled the deceptive messages disseminated by these third

parties and acted in concert with them to falsely and misleadingly promote opioids for treating

chronic pain. Unbranded advertising also avoided regulatory scrutiny because Defendants did not

have to submit it to the FDA, and therefore it was not reviewed by the FDA. But it is illegal for a

drug company to distribute materials that exclude contrary evidence or information about the

drug's safety or efficacy that "clearly cannot be supported by the results of the study."62 Moreover,

a drug company cannot compare or suggest that its "drug is safer or more effective than another

drug.. .when it has not been demonstrated to be safer or more effective in such particular by

substantial evidence of substantial clinical experience."63 It is therefore Defendants' responsibility

to ensure that not only is its label accurate and complete, but that any and all materials they

distribute is accurate and complete.64

         56.      Defendants' deceptive unbranded marketing often contradicted their branded

materials. For example, Endo's unbranded advertising contradicted its concurrent, branded

advertising for Opana ER:




62 21 C.F.R. § 99.101(a)(4).
63 21 C.F.R. § 202.1 (e)(6)(ii).
64 See 21 C.F.R. § 201.56 (providing general requirements for prescription drug labeling); 21 C.F.R.
§ 314.70(c)(6)(iii)(A-C) (providing for changes to labels that strengthen precautions, warnings, or adverse reactions,
as well as statements about drug abuse, dependence, or overdosage); see also Wyeth v. Levine, 555 U.S. 555 (2009)
(holding that a drug company bears responsibility for the content of its drug label at all times).




PLAINTIFF'S ORIGINAL PETITION                                                                                      20
                       Pain: Opioid Therapy                    Opana ER Advertisement
                           (Unbranded)                               (Branded)
                                                          "All patients treated with opioids
                   "People who take opioids as            require careful monitoring for
                   prescribed usually do not              signs of abuse and addiction, since
                   become addicted."                      use of opioid analgesic products
                                                          carries the risk of addiction even
                                                          under appropriate medical use."

       57.      Drug companies that make, market, and distribute opioids are generally subject to

rules requiring truthful marketing of prescription drugs. A drug company's branded marketing,

which identifies and promotes a specific drug, must: (a) be consistent with its label and supported

by substantial scientific evidence; (b) not include false or misleading statements or material

omissions; and (c) fairly balance the drug's benefits and risks.°

       58.      This framework ensures that drug companies, which are best suited to understand

the properties and effect of their drugs, bear the responsibility of providing accurate information

so that prescribers and users can assess the risks and benefits of the drugs.

       59.      Defendants did not follow this framework in assisting, creating, and/or distributing

third-party publications that included warnings and instructions either mandated by the FDA-

required drug labels or that described the risks and benefits known to Defendants. The publications

either failed to disclose the risk of addiction and misuse or affirmatively denied the risk of

addiction. The publications also "appeared" to be independent third-party materials that had the

effect of carrying more weight and credibility to convince physicians that opioids were safe for

chronic pain.

       a.       Defendants Utilized Treatment Guidelines to Promote their Deception.

       60.      Defendants used treatment guidelines to normalize the use of opioids for chronic




 21 U.S.C. § 352(a); 21 C.F.R. §§ 1.21(a); 202.1(e)(3); 202.1(e)(6).




PLAINTIFF'S ORIGINAL PETITION                                                                    21
pain. Doctors, especially general practitioners and family doctors, rely upon treatment guidelines

when faced with patients complaining of chronic pain. Scientific literature references treatment

guidelines in making its conclusions and third-party payers use treatment guidelines to determine

coverage. Even Endo's internal documents indicate that sales representatives discussed treatment

guidelines with doctors during individual sales visits.

               1.      The FSMB Wrote or Sponsored Misleading and Deceptive Guidelines.

       61.     Headquartered in Euless, Texas, the Federation of State Medical Boards ("FSMB")

is a trade organization representing the various state medical boards in the United States. The state

boards that comprise the FSMB membership have the power to license doctors, investigate

complaints, and discipline doctors. The FSMB finances opioid and pain-specific programs through

grants from Defendants.

       62.     In 1998, the FSMB developed         Model Guidelines for the Use of Controlled

Substances for the Treatment of Pain ("FSMB Guidelines"), which was produced in collaboration

with pharmaceutical companies. The FSMB guidelines instructed that opioids were "essential" for

the treatment of chronic pain, even as a first prescription option.

       63.     A book adapted from the 2007 FSMB guidelines,          Responsible Opioid Prescribing:

A Physician's Guide ("Opioid Prescribing"), released March 1, 2009 makes these same claims.

Opioid Prescribing was supported by a consortium of pharmaceutical companies and Front Groups

with an interest in ensuring that "effective" pain management included the use of opioids.

       64.     The author of Opioid   Prescribing, Scott Fishman, M.D., chaired the board and was

past president of the American Pain Foundation and served as president of the American Academy

of Pain Medicine and served on the board of directors. °plaid    Prescribing was sponsored by the

Alliance of State Pain Initiatives, Federation of State Medical Boards, and the University of




PLAINTIFF'S ORIGINAL PETITION                                                                     22
Wisconsin School of Medicine and Public Health.66

             65.   Dr. Fishman was a paid consultant to Cephalon and Eli Lilly. Dr. Fishman was also

a paid consultant, on the Speakers' Bureau, and part of the research support for Endo, Merck,

Janssen, Pfizer and Purdue.°

             66.   Opioid Prescribing was designed for continued medical education ("CME") in

which a physician had to read the book, complete questions, and fulfill administrative steps to

receive 7.5 hours of credit. The first page of Opioid Prescribing specifically states that opioids

are the "drugs of choice" and "essential in the treatment of persons with chronic non-cancer pain"

and that the CME will inform physicians about the laws and regulations governing the prescribing

of opioids for pain contro1.68 It also specifically teaches physicians how to protect their practices

from unwarranted federal scrutiny.69

             67.   Opioid Prescribing marketed "[o]pioid analgesics" as the "drugs of choice for the

management of moderate to severe pain . . . [which] may be essential in the treatment of persons

with chronic non-cancer pain."70 The goal was to "change patient care, medical knowledge,

practice-based learning, interpersonal and communication skills, and professionalism .            .."71   The

argument was that opioids were "underutilized" despite their "effectiveness."' The truth, known

to Dr. Fishman and Defendants herein, was that using opioids "for other than legitimate medical

purposes pose[d] a threat to the individual and society," posed high risks for overdose and

addiction, and remained unproven as safe and effective for the long-term treatment of non-cancer




66 ScottM. Fishman, M.D., Responsible Opiold Prescribing, A Physician's Guide, FSMB Foundation, Waterford
Life Sciences, 2009.
   d
67 i

"Id
69Id.

7° Id.   at i.
71M.

" Id



PLAINTIFF'S ORIGINAL PETITION                                                                               23
pain."

         68.      It was even conveyed to doctors that undertreating pain would be officially

disciplined whereas doctors prescribing opioids for chronic pain would not be disciplined. °plaid

Prescribing described a case in which a physician was sued for "elder abuse" and the jury awarded

$1.5 million to the plaintiff as an example of a physician that had been "successfully sued for not

treating pain aggressively."74 °plaid Prescribing cautioned that "these legal precedents sound a

warning that there are risks associated with under-treating."75 In actuality, it was a threat that

doctors would be punished if they failed to prescribe opioids to patients who complained about

pain. That teaching has held true given that according to the National Safety Council, 67% of

doctors prescribe opioids, in part, based on a patient's expectations.76 Moreover, approximately

74% of doctors incorrectly believe morphine and oxycodone are the most effective ways to treat

pain even though research shows that over-the-counter medications such as ibuprofen and

acetaminophen are the most effective pain relief for acute pain.77

         69.      Defendants also allayed any concerns doctors may have about patients exhibiting

addictive behavior by highlighting the now debunked myth of "pseudoaddiction." Dr. Fishman

described pseudoaddiction as a sign that patients were receiving an inadequate dose to obtain pain

relief, not as a sign that the patient was exhibiting drug-seeking or addictive behavior.'

         70.      Prescribing ()plaids taught physicians that the following signs were evidence of

"pseudoaddiction" and not drug seeking behavior or signs of addiction so long as prescribing

additional ()plaids resolves the pain:



" Fishman supra, at 6, 9.
   Id. at 28.
'a Fishman, supra.
76 National Safety Council, supra.
" Id.
'a Fishman, supra, at 62.



PLAINTIFF'S ORIGINAL PETITION                                                                   24
                           Requesting analgesics by name;

                           Demanding or manipulative behavior,

                           Clock watching;

                           Taking opioid drugs for an extended period;

                           Obtaining °plaid drugs from more than one physician; and

                           Hoarding opioids."

           71.        Indeed, the types of behaviors that Dr. Fishman posed as "MORE indicative of

addiction" included:

                           Stealing money to obtain drugs;

                           Performing sex for drugs;

                           Stealing drugs from others;

                           Prostituting others for money to obtain drugs;

                           Prescription forgery; and

                           Selling prescription drugs.8°

           72.        Certainly by the time a patient is performing sex for drugs, the patient has long been

addicted and exhibited addictive behavior that was ignored by physicians at the explicit direction

of Defendants. This conclusion is supported by the American Psychiatric Association.

           73.        In the DSM-I V, addiction is "manifested" by three (or more) of the following in a

12-month period, including:

                      a)      Tolerance described as:

                              A need for markedly increased amounts of the substance to achieve
                              intoxication or the desired effect

                              Or


79   Fishman supra.
g° Id. at 63.



PLAINTIFF'S ORIGINAL PETITION                                                                            25
                           Markedly diminished effect with continued use of the same amount of the
                           substance;

                  b)       Withdrawal manifested by:

                           The characteristic withdrawal syndrome for the substance

                           Or


                           The same (or closely related) substance is taken to relieve or avoid
                           withdrawal symptoms;

                  c)       The substance is taken in larger amounts or over a longer period than
                           intended; and

                  d)       Spending a great deal of time to obtain the substance, such as visiting
                           multiple doctors or driving long distances.81

         74.      According to Defendants, as seen in           Prescribing °plaids and other publications,

signs of addiction as defined by the American Psychiatric Association are not signs of addiction,

but of pseudoaddiction that justifies taking        more opioids for a longer period of time.

         75.      The reason not to discontinue the use of opioids — indeed, the foundation upon

which Defendants built its opioid empire— was "the undertreatment of pain."82 Opioid                    Prescribing

claimed the undertreatment of pain has "been recognized as a public health crisis for decades. The

cost of human suffering is immeasurable. Turning away patients in pain simply is not an option."83

However, according to Dr. Donald Treater, medical advisor at The National Safety Council:

"Opioids do not kill pain; they kill people."84




Si American Psychiatric Association, Diagnostic and Statistical Manual of Mental Disorders, Fourth Ed.,
Washington, D.C., American Psychiatric Assoc., 2000.
82 Fishman, supra, at 105.
   Fishman, supra; see also id. at 80 (stating that efforts have been made to reduce the undertreatment or non-
treatment of pain in children, the elderly, and in other vulnerable patient populations).
S4 National Safety Council, supra.




PLAINTIFF'S ORIGINAL PETITION                                                                                     26
         76.       Prescribing Opioids acknowledged that by 2005, more than 10 million Americans

were abusing prescription drugs, which is more than the combined number of people abusing

cocaine, heroin, hallucinogens, and inhalants combined.85 It also acknowledged that prescription

opioids are associated with more overdose deaths than cocaine and heroin combined.86 Yet the

book then cautioned that the "undertreatrnent" of non-cancer pain was a public health crisis of

equal importance that justified more opioid prescribing.

         77.      Under the guise of addressing "legitimate cause of undertreated pain" that "patients

and advocates have been pushing to address,"87 Defendants tailored opioid marketing campaigns

to affect children and the elderly. The Defendants made significant efforts to promote more opioid

prescribing for "untreated or undertreated pain in children, older patients, and in all other

vulnerable patient populations."88

         78.      Defendants also taught physicians that "[p]ain is what the patient says it is" and that

a physician "cannot measure or even confirm the pain that a patient is experiencing."89 As such,

"pain remains an untestable hypothesis."96 Furthermore, "[p]atients should not be denied opioid

medications except in light of clear evidence that such medications are harmful to the patient."9'

All in all, opioids would cure the "pain epidemic" facing Americans. And yet, chronic pain

continues to be a problem facing Americans, as well as an opioid epidemic of addiction and death.

         79.      A total of 200,000 copies of Opioid          Prescribing, which Dr. Fishman wrote for the

FSMI3, has been delivered to U.S. prescribers through 20 state medical boards, including Texas.92



85 Responsible Opioid Prescribing, supra, at 6.
86 Id.; Prescribing Opioids even recognized that "iblehind these figures lie millions of individual stories of personal
tragedy: untimely death, fractures families, shattered dreams and wasted lives." Id. at 7.
"Id. at 8.
88 Fishman, supra, at 8.
   See id. at 14.
   Id. at 13.
91 Id. at 9.

92 Scott M. Fishman, M.D., Listening to Pain, Oxford Univ. Press, 2012, at 135.




PLAINTIFF'S ORIGINAL PETITION                                                                                        27
The FSMB earned approximately $250,000 from the sale. The FSMB website describes the book

as the "leading continuing medication education (CME) activity for prescribers of opioid

medications."

        80.      The guidelines for Opioid Prescribing were posted online for use and reliance by

physicians throughout America, including but not limited to, those servicing patients in Newton

County. State medical boards even encouraged physicians to buy the book and participate in the

CME. The North Carolina Medical Board stated on its website that Prescribing Oploids "has been

widely used and supported in the medical and regulatory communities as the leading continuing

medical education (CME) activity for prescribers of opioid medications."93 The website then

informs physicians that a CME accompanies the book and directs them to the book and how to

claim the CME. The FSMB also hosted free CMEs in Texas, including Houston, Dallas, and

Austin, related to extended-release and long-acting opioids.94 The CME taught physicians the "safe

and responsible prescribing of opioid medications and [was] aimed at improving prescriber

training and counseling for patients while providing more thorough information on extended-

release or long-acting (ER/LA) opioid products on the market."95

        81.      The impact of Opioid Prescribing was even studied through a survey sent to 12,666

licensed Georgia physicians six weeks after receiving the book.96 The lead author was a member

of FSMB.97 A total of 508 physicians completed the online survey and of those, 82.1% rated the




93 North Carolina Medical Board, FSMB Foundation Publishes Second Edition of Prescribing Book, Forum

Newsletter, July 31, 2012; see also University of Wisconsin School of Medicine and Public Health, Federation of
State Medical Boards, Responsible Opioid Prescribing — Book Helps Physicians Reduce Risk of Opioid Diversion
and Abuse, April 1,2009 (describing the book and CME activity).
94 Texas Medical Board, Extended-Release and Long-Acting Opioid Analgesics Risk Evaluation and Mitigation

Strategy, www.tmb.state.tx.us.
95 /d.

96 A. Young, Physician Survey Evamining the Impact of an Educational Tool for Responsible Opioid Prescribing, J.

Opioid Management, Mar-Apr. 2012.
97 Id.




PLAINTIFF'S ORIGINAL PETITION                                                                                28
book either "very good" or "good" for improving care for their patients in pain.98 Almost one-third

(32.2%) claimed that they intended to make changes to their practice after reading the book.99 Of

note, 42.8% of solo practitioners and 41.6% of primary care providers were more likely to make

changes to their practice than doctors in other areas.") Of the respondents, 57.7% said that the

book was better than others with regard to prescribing opioids and on pain management.101

           82.   Opioid Prescribing was therefore an effective tool that impacted specific doctors

and their prescribing practices, as concluded by the study. Specifically, the study provided "insight

into which physician population would be the most receptive to the type of information presented

in Dr. Fishman's book" and that population was to "first target(] solo and primary care

physicians."102 Defendants found out that their educational efforts "significantly altered

prescription practices."")3

                 2.     The Joint Commission also Spread Deceptive Information.

           83.   The Joint Commission on Accreditation of Healthcare Organizations ("JCAHO")

is a United States-based non-profit, tax-exempt organization that "accredits and certifies nearly

21,000 health care organizations and programs in the United States."1°4 A majority of state

governments recognize accreditation from the Joint Commission as a condition of licensure and

for receiving Medicaid and Medicare reimbursements.105 CHRISTUS Jasper Memorial Hospital

in Jasper, Texas, which is the main hospital that feeds into Newton County, is accredited by and




99 /d.

" ld

    Id.
1 °2 Id.
103 Id

iO4 www.jointcommission.org.
'° Anthony Anonimo, Poppy Seed. Revealing the Rows of the Opioid Epidemic, Trinity Mother Frances Health
System, 2017, at 65.




PLAINTIFF'S ORIGINAL PETITION                                                                              29
subscribes to the JCAH0.1°6

           84.      According to the JCAHO, it "continuously improve[s] health care for the public"

and inspires health care organizations "to excel in providing safe and effective care of the highest

quality and value."107 The JCAHO is not independent, but has been influenced by Defendants and

those Defendants used the JCAHO as a marketing shill to spread the misleading message that

opioids are non-addictive and safe as a first-line analgesic to treat any complaint of pain.

           85.     In 2000, the JCAHO published Pain Assessment and Management: An

Organizational Approach ("Pain Assessment"), which was paid for by Purdue and reviewed by

June L. Dahl, Ph.D., who has worked for Abbott, Endo, and Purdue.1°8

           86.     The JCAHO mission statement on the inside cover page of the book explains that

it aspires "to continuously improve the safety and quality of care provided to the public through

the provision of health care accreditation and related services that support the performance

improvement in health care organizations."I09 One of its big achievements, however, is its

endorsements of new pain management standards that underscored Defendants' fraudulent

message.

           87.     JCAHO, with the help of the American Pain Society ("APS"), a Front Group,

loosened pain management standards thereby allowing doctors to prescribe opioids for any

complaint of pain. To that end, "Nile Joint Commission recognize[d] pain as a major, yet largely

avoidable, problem . . . .[and] has expanded the scope of its pain management standards, which

have been endorsed by the American Pain Society (APS), to cover all pain scenarios in accredited




106   www.jointcommission.org.
107

      Joint Commission on Accreditation of Healthcare Organizations, Pain Assessment and Management, 2000.
log




PLAINTIFF'S ORIGINAL PETITION                                                                                30
health care organizations rather than limiting the scope to end-of-life care." 110 (Emphasis

added.) On January 1, 2001, Texas incorporated JCAHO pain management standards for hospital

and healthcare group accreditation." The Texas Medical Association advertises that         Pain

Assessment "provides practical help in integrating pain assessment and management into

organizational systems .    ."112

       88.     Pain Assessment established the cornerstone of Defendants' message that "all pain

scenarios" should be included in pain management practices.n3 It explained that "[plain is the

most common reason individuals seek medical attention. According to the American Pain Society

(APS), 50 million Americans are partially or totally disabled by pain."'" "The conclusion? Pain

is undertreated — despite the availability of effective phamacologic and nonpharmacologic

therapies. Why?" 15

       89.     The answer is on the first page of      Pain Assessment. There is a chronic pain

epidemic. Chronic pain is undertreated. Chronic pain can be managed and even cured with opioids,

which are safe and effective, according to       Pain Assessment. And the JCAHO encouraged

organizations to establish standards for recording and responding to patient pain reports and

monitoring staff performance and compliance with those standards, so that a physician who did

not agree with the JCAHO standards faced the specter of poor performance evaluations.II6

       90.     According to   Pain Assessment, the reasons healthcare professionals had not used

opioids previously included: ( I) inadequate knowledge of opioids pharmacology and pain therapy,




110 Pain Assessment, supra.

III Texas Medical Association, JCAHO Pain Management Services, available at
https://www.texmed.org/Template.aspx?id=23898:terms=The%20war%20on%20pain.
"2 Pain Assessment, supra.
"3 Pain Assessment, supra, at p. I.
"4 1d.
' 15 1d.
116 Pain Assessment, supra, at 41-42.




PLAINTIFF'S ORIGINAL PETITION                                                                31
(2) poor pain assessment practices, (3) unfounded concerns about regulatory oversight, and (4)

fear of opioids' side effects such as tolerance and addiction."'

             91.     Pain Assessment asserted that few practitioners received adequate training in pain

management in medical school or during their residency resulting in the failure to prescribe opioids

or nonsteroidal anti-inflammatory drugs (NSAIDS) on a regular basis leaving patients without pain

relief."8 "[Many] health care professionals lack the knowledge and skills to manage pain

effectively, and they fear the effects of treatment."19 Too few health care systems make pain

management a priority.120 Some clinicians had "inaccurate and exaggerated concerns about

addiction, tolerance, respiratory depression, and other opioid side effects, which lead them to be

extremely cautious about the use of drugs."121 Instead of expanding upon and explaining the risks

of opioids, Pain Assessment states: "This attitude prevails despite the fact there is no evidence

that addiction is a signification issue when persons are given opioids for pain control." 122

(Emphasis added). That claim of insignificant addiction risk was false when made and remains

false today. Yet it worked as intended to mislead treating doctors, medical staff, and patients into

believing opioids could and should be utilized more often. Indeed, 74% of doctors "incorrectly

believe morphine and oxycodone" are the "most effective ways to treat pain" even though research

shows that over-the-counter pain relievers are the most effective for acute pain.' Even worse,

20% of doctors prescribing opioids prescribed at least a month's worth, even though the evidence

shows that "30-day use causes brain changes."I24




117   Pain Assessment, supra.
118 Id
"9 Id      at 3.
120 ird.   at I.
121 Pain    Assessment, supra, at 4.
122

1" National Safety Council, supra.
124   Pain Assessment, supra.




PLAINTIFF'S ORIGINAL PETITION                                                                       32
         92.      Patients also contributed to the pain epidemic by their reluctance to report their pain

and to take medications,I25 according to       Pain Assessment. Doctors were instructed to engage

patients in conversations about their pain before prescribing opioids by: (I) asking for pain relief

when the pain begins; (2) helping the doctor or nurse assess the pain; and (3) telling the doctor or

nurse if the pain is not relieved.126 Doctors were taught that "[Ole single most reliable indicator of

the existence and intensity of pain is the individual's self-report."I27 Indeed, the individual's self-

report was to be the primary source of information for the doctor and deemed more reliable than

the observations of others.I28

         93.      The bombardment of information, instruction, books, pamphlets, seminars, ads, and

marketing regarding this "pain epidemic" was so successful that pain has been included as the

"fifth vital sign" to be recorded along with the individual's temperature, pulse, respiration, and

blood pressure.129 This strategy was first pitched by the APS to ensure that pain management

gained acceptance in the medical community, which it did.' 3°

         94.      Beginning in 1999, the Veteran's Health Administration began routinely assessing

pain as the fifth vital sign in every individual.'' And according to &tin     Assessment, the research

showed that "when pain assessment information is included in clinical charts, those individuals'

analgesics [meaning opioids] are more likely to be increased."132 In other words, including pain as

a fifth element results in not only the prescribing of more opioids, it results in the prescribing of

higher doses of opioids.




125 Pain Assessment, supra, at 4.
126 Id. at 8.
127 Id. at 13.
IN id.

129  Pain Assessment, supra, at 20.
139  See id. 20-21.
13 ' Id. at 21.
132 Pain Assessment, supra.




PLAINTIFF'S ORIGINAL PETITION                                                                         33
         95.      Pain Assessment also framed the role of key opinion leaders ("KOL") as

trustworthy people "to evaluate new clinical information, assess new practices, and then determine

their value within the context of the local setting."133 Doctors were expected to accept KOLs

opinions even though KOLs are not "necessarily innovators or authority figures."134 KOLs

convinced practitioners that their current chronic pain treatment was "outdated, inappropriate,

unsupported by research evidence, or no longer accepted by colleagues."135

         96.      Expert leaders, on the other hand, influenced and implemented protocols with

individuals or small groups.136 These "academic strategies" included "conducting interviews to

determine baseline knowledge, stimulating active participation during educational sessions, using

concise graphic educational materials, and highlighting or replicating essential messages."137

Academic detailing was modeled after pharmaceutical detailing practices in which representatives

visited physicians to talk about specific medicines, just as Defendants' representatives met with

physicians to about opioids.138 Simply put, Pain Assessment was a part of a marketing campaign

to plow ground for Defendants to sell more opioids, and the book set forth sophisticated, multi-

layered marketing strategies that were most effective in executing the campaign.

         97.      If a doctor was not available to prescribe opioids, a nurse would suffice. A nurse

specializing in oncology, surgery, critical care, or a nurse anesthetist, as well as a clinical

pharmacist, can "serv[e] as role models, provid[e] pain management education and consultation,

and act[s] as agents of change."139 These educational efforts "significantly altered prescription




133 Pain Assessment, supra, at 24.
134 Id
135 See id. at 25.
136 id

137 Pain Assessment, supra, at 25.
138 See id.
139 Pain Assessment, supra.




PLAINTIFF'S ORIGINAL PETITION                                                                    34
practices."m°

          98.     To succeed in prescribing opioids for chronic pain, Defendants had to create a

market for chronic pain. To do so, Defendants literally encouraged patients not to tolerate pain and

to fear pain more than opioid addiction.'" Physicians and their staff were encouraged to educate

their patients about "effective pain management," which included the use of opioids.'42 Pain

Assessment explained research that showed Americans would rather bear pain because they were

afraid of "addiction, dependence on drugs, and tolerance to medications," which affected not only

                                                                                                    143
the patient's willingness to report pain, but to use adequate amount of opioids to control the pain.

A patient's reluctance to take opioids out of fear they would not function normally meant that the

problem was "underreported" and the pain went "untreated."44

          99.     Consequently, the answer was to inform and educate the patient that unrelieved

pain is harmful and that he or she should communicate pain.'45 Pain Assessment instructed the use

of pain assessment instruments, including pain intensity scales, to describe the nature of the pain

and stressed that the "most reliable indicator of pain" was the individual's self-report.146 Once the

patient reported the pain, the physicians and staff were taught to tell the patient about opioids,

explain that opioids were safe and effective, describe the name, dosage, and duration of the opioid

therapy, and explain the risk of pain versus the importance of pain management.'

          100.    To ensure that patients self-reported pain prior to hospital visits, Pain Assessment

encouraged health care systems to provide individuals and families with pain management




140 Pain Assessment, supra.
1" Id. at 33.
142 Id.

143 Id.
144 Pain Assessment, supra, at 33.
145 Id. at 35.
'46 /d

'" Id.




PLAINTIFF'S ORIGINAL PETITION                                                                       35
information prior to being admitted.'" And health care systems were told to leave individuals and

family members with audio and videotapes to watch and listen to about the "importance" of "pain

relief' so that they truly understood the message — that is, if you have "pain," tell us and we will

provide opioids.

         101.     The JCAHO was not independent and did not improve the safety or quality of

healthcare. Instead it was hijacked by Defendants to standardize pain management criteria that

required the use of opioids for chronic pain. The JCAHO was merely a pawn in the Defendants'

larger game.

         102.     Like other books and pamphlets used by Defendants to spread their "message,"

Pain Assessment was distributed throughout the nation and in Texas. As of today, anyone can buy

a used copy of Pain Assessment on Arnazon.com for $26.48 plus $5.99 in shipping costs from a

seller in Texas.

         b.       Key Opinion Leaders (KOLs) were another Means of Disseminating False
                  Information.

         103.     Defendants also sponsored KOLs, a small circle of doctors who, upon information

and belief, were selected, funded, and elevated by Defendants because they publicly supported

dispensing opioids more widely and indiscriminately.

         104.     Defendants paid KOLs to serve as consultants or to appear on their advisory boards

and to give talks or present CM Es, and Defendants' support helped these KOLs become respected

industry experts. As they rose to prominence, these KOLs promoted the benefits of opioids to treat

chronic non-cancer pain, repaying Defendants by advancing their marketing goals.

         105.     KOLs wrote articles and books, gave speeches, and taught CMEs to promote the

utilization of opioids to treat moderate non-cancer pain. Defendants created opportunities for



I " Pain Assessmenl, supra, at 36.




PLAINTIFF'S ORIGINAL PETITION                                                                    36
KOLs to participate in "studies" and write papers for the purpose of advancing Defendants'

marketing theme: opioids should be dispensed regularly and perpetually to treat a broad array of

pain complaints.

       106.    Defendants' KOLs also served on committees that developed treatment guidelines

that strongly encourage using opioids to treat chronic pain, and on the boards of pro-opioid

advocacy groups and professional societies that develop, select, and present CMEs. Defendants

were able to direct and exert control over each of these activities through their KOLs.

       107.   Pro-opioid doctors are one of the most important avenues that Defendants use to

spread their false and deceptive statements about the risks and benefits of long-term opioid use.

Defendants know that doctors rely heavily and less critically on their peers for guidance, and KOLs

provide the false appearance of unbiased and reliable support for using opioids for chronic pain.

       108.    Different Defendants utilized many of the same KOLs. Two of the most prominent

are described below.

               1. Russell Portenoy

       109.   Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL who

Defendants identified and promoted to further their marketing campaign. Dr. Portenoy received

research support, consulting fees, and honoraria from Endo, Janssen, and Purdue (among others),

and was a paid consultant to Purdue.

       110.    Dr. Portenoy was instrumental in opening the door for the regular use of opioids to

treat chronic pain. He served on the American Pain Society ("APS")/American Academy of Pain

Medicine ("AAPM") Guidelines Committees, which endorsed the use of opioids to treat chronic

pain, first in 1997 and again in 2009. He was also a member of the board of the American Pain




PLAINTIFF'S ORIGINAL PETITION                                                                   37
Foundation ("APP'), an advocacy organization almost entirely funded by Defendants.

        111.    Dr. Portenoy also made frequent media appearances promoting opioids. He

appeared on Good Morning America in 2010 to discuss using opioids long-term to treat chronic

pain. On this widely-watched program, broadcast in Texas and across the country, Dr. Portenoy

claimed: "Addiction, when treating pain, is distinctly uncommon. If a person does not have a

history, a personal history, of substance abuse, and does not have a history in the family of

substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

assured that that person is not going to become addicted." 49

        112.    Perhaps realizing that "[m]ore than 16,000 people die from opioid overdoses every

year," Dr. Portenoy is now having "second thoughts" about the "wider prescription" of drugs like

Vicodin, OxyContin, and Percocet.I5° Dr. Portenoy later admitted in a 2010 videotaped interview

that he "gave innumerable lectures in the late 1980s and '90s about addiction that weren't true."15I

According to Dr. Portenoy, because the primary goal was to "destigmatize" opioids, he and other

doctors promoting them overstated their benefits and glossed over their risks.

        113.    Dr. Portenoy put doctors' fear that opioids were dangerous and addictive, and

meant only for cancer patients, to rest by arguing that they could be taken safely for months, even

years, by patients with chronic pain.152 Dr. Portenoy, as well as other doctors making the speaker

rounds, asserted that "[Ijess than 1% of opioid users became addicted, the drugs were easy to

discontinue and overdoses were extremely rare in pain patients."53




149  Good Morning America television broadcast, ABC News, Aug. 30, 2010.
15° Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, WALL ST. J., Dec.
 17. 2012, attached hereto as Exhibit D.
151 Id.
152
    Catan, supra.
I53 Catan, supra.




PLAINTIFF'S ORIGINAL PETITION                                                                    38
          114.     Dr. Portenoy also conceded that "[d]ata about the effectiveness of opioids does not

exist."I54 Dr. Portenoy candidly stated: "Did I teach about pain management, specifically about

opioid therapy, in a way that reflects misinformation? Well...! guess I did."155

          115.     Before his moment of clarity, Dr. Portenoy co-authored a guide to publicize the

benefits of opioids for chronic pain, which was paid for by an unrestricted education grant from

Endo, titled     A Clinical Guide to °plaid Analgesia ("Opioid Analgesia").156 Opioid Analgesia

reiterated that opioids are "absolutely necessary" for pain relief.'57

         116.      Although   Opioid Analgesia claimed "to help clinicians make practical sense of the

varied and often conflicting pharmacologic, clinical and regulatory issues to promote the most

healthful outcomes possible for patients in pain,"158 the reality was that it expressed regret that

federal and state governments had passed controlled substances acts to stem addiction, which had

curtailed the prescription of opioids.159 This regulation, explained        Opioid Analgesia, "contributed

to the underuse of opioid nnedications."160

         117.      As with all other books, guidelines, and CMEs promoted by Front Groups and

KOLs,    Opioid Analgesia establishes the absolute need for opioids in light of the chronic pain

epidemic. "Because pain is inherently subjective, patient self-report is the 'gold standard' for

assessment."161 If there's no discernible reason for the pain, then it should be characterized as

"idiopathic."I62 Regardless of how the pain is characterized, the solution, per         Opioid Analgesia, is

opioids.



154 Catan, supra.

' 55 /d.
156 Perry G. Fine, M.D. and Russell K. Portenoy, M.D., A Clinical Guide w Opioid Analgesia, McGraw-Hill, 2004.

157 Id. at 2.

I " Id. at 3.
159 id.

'60 1d. at 6.
    Fine, supra. at 34.
162 Fine, supra, at 35.




PLAINTIFF'S ORIGINAL PETITION                                                                               39
            118.        "While opioid analgesics are controlled substances, they are also essential

medication and are absolutely necessary for relief of pain."163 "Opioid analgesics should be

accessible to all patients who need them for relief of pain."164 Brushing away any concerns about

addiction,       Opioid Analgesia posits that "[a] patient who has reached middle age without

developing compulsive use behaviors to potentially abusable drugs, including alcohol and nicotine,

appears to be at a very low risk" of addiction, especially if "there is no family history of

addiction."165

            119.        Underplaying the risks of addiction,    Opioid Analgesia falsely claimed that

"[o]verall, the literature provides evidence that the outcomes of the drug abuse and addiction are

rare among patients who receive opioids for a short period (i.e., for acute pain) and among those

with no history of abuse who receive long-term therapy for medical indications."166 Even while

admitting there is "very little information about the risks of misuse, abuse, or addiction among

different opioid-treated populations" and even admitting the "[w]hen misused, opioids pose a

threat to society,"167 Defendants' intentionally marketed opioids as effective and safe for treatment

of chronic pain and summed up the risk of addiction for short-term therapy as "rare."168

            120.        Of course when addiction is as narrowly defined as it is in the books, CMEs, and

guidelines that Defendants publishes, the risk of addiction would be termed as "rare." The

behaviors cited in Opioid          Analgesia as "probably more suggestive" of addiction included:

                        •   Selling prescription drugs;

                        •   Forging prescriptions;




163   Id. at Table 1.
164 Id.
165 /d. at 21.
166

167   Id. at 31, 2.
168   Fine, supra, at 34.




PLAINTIFF'S ORIGINAL PETITION                                                                        40
                          Stealing or "borrowing" drugs from others;

                          Injecting or inhaling (snorting, smoking) oral formulations; and

                          Obtaining the prescription drugs from nonmedical sources.I69

     121. Whereas the following behaviors are "probably less suggestive" of addiction:

                          Aggressive complaining about the need for more drug;

                          Drug hoarding during periods of reduced symptoms;

                          Requesting specific drugs; and

                          Using the drug, without approval, to treat another symptom.n°

         122.      Instead of these behaviors being symptoms of possible addiction, Dr. Portenoy

terms these behaviors as a "phenomenon" termed "pseudoaddiction."171 Pseudoaddiction allows

physicians to discount these behaviors because "they are driven by desperation surrounding

unrelieved pain" and are "eliminated by measures that relieve the pain, such as an increase in

medication."172 Instead of treating the "less suggestive" symptoms for what they are — signs of

addiction.

          123.     Opioid Analgesic was a success for Defendants in that it has been and continues to

be used extensively in CM Es, pamphlets, and reading lists for physicians looking for information

regarding opioids. For example, °plaid Analgesia was cited just last year in a presentation at the

University of North Texas College of Pharmacy on April 28, 2017, entitled Adverse Drug Events

Associated with Opiate-Based Pain Management (Emphasis added). It has also been listed as a

reference for a CME entitled The Management of Opioid-Induced Constipation published by the

University of North Texas Health Science Center, which was valid for CME from May 2009 to



169 Fine, supra, at 85.
"° Id
    Id. at 35.
172 id




PLAINTIFF'S ORIGINAL PETITION                                                                     41
May 2010. Finally, the book was included in the suggested reading list for a seminar entitled When

Opioids Are Indicated for Chronic Pain presented on March 26, 2011, in Houston, Texas.

               2. Lynn Webster

        124.   Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

of Lifetree Clinical Research, an otherwise-unknown pain clinic in Salt Lake City, Utah. Dr.

Webster was President in 2013 and is a current board member of AAPM, a Front Group that

ardently supports using opioids for chronic pain. He is a Senior Editor of Pain Medicine, the same

journal that published Endo special advertising supplements recommending Opana ER. Dr.

Webster authored numerous CMEs sponsored by Endo and Purdue while he was receiving

significant funding from Defendants.

        125.   In 2011, Dr. Webster presented a program via webinar sponsored by Purdue titled

Managing Patient's Opioid Use: Balancing the Need and the Risk. Dr. Webster recommended

using risk screening tools, such as urine testing and patient agreements as a way to prevent "overuse

of prescriptions" and "overdose deaths," which was available to and was intended to reach doctors

treating Newton County residents.

        126.   Dr. Webster also was a leading proponent of the concept of "pseudoaddiction," the

notion that addictive behaviors should be seen not as warnings, but as indications of undertreated

pain. In Dr. Webster's description, the only way to differentiate the two was to increase a patient's

dose of opioids. As he and his co-author wrote in a book entitled Avoiding Opioid Abuse While

Managing Pain (2007), a book that is still available online, when faced with signs of aberrant

behavior, increasing the dose "in most cases . . should be the clinician's first response." Endo

distributed this book to doctors.




PLAINTIFF'S ORIGINAL PETITION                                                                     42
            127.    Years later, Dr. Webster reversed himself, acknowledging that Ipseudoaddiction]

obviously became too much of an excuse to give patients more medication."173 Dr. Webster also

admits that "[i]t's obviously crazy to think that only 1% of the population is at risk for opioid

addiction."

           c.       Front Groups Affirmed Defendants Falsities.

            128.    Defendants entered into arrangements with seemingly unbiased and independent

patient and professional organizations to promote °plaids for treating chronic pain. Under

Defendants' direction and control, these "Front Groups" generated treatment guidelines, unbranded

materials, and programs that favored using opioids for chronic non-cancer pain. They also assisted

Defendants by responding to negative articles, by advocating against regulatory changes that

would limit prescribing opioids in accordance with the scientific evidence, and by conducting

outreach to vulnerable patient populations targeted by Defendants.

            129.    These Front Groups depended on Defendants for funding and, in some cases, for

survival. Defendants also exercised control over programs and materials created by these groups

by collaborating on, editing, and approving their content, and by funding their dissemination. In

doing so, Defendants made sure these Front Groups would generate only the messages Defendants

wanted to distribute. Even so, the Front Groups held themselves out as independent and as serving

the needs of their members— whether patients suffering from pain or doctors treating those patients.

           130.    Defendants Endo, Janssen, and Purdue utilized many Front Groups, including many

of the same ones. Several of the most prominent are described below, but there are many others,

including the American Pain Society ("APS"), American Geriatrics Society ("AGS"), the

Federation of State Medical Boards ("FSMB"), American Chronic Pain Association ("ACPA"),



'73 John Fauber & Ellen Gabler, Networking Fuels Painkiller Boom, MILWAUKEE WISC. J. SENTINEL, Feb. 19, 2012.
174   Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, WALL Si. J., Dec.17, 2012.



PLAINTIFF'S ORIGINAL PETITION                                                                              43
American Society of Pain Education ("ASPE"), National Pain Foundation ("NPF") and Pain &

Policy Studies Group ("PPSG").

                 1. American Pain Foundation ("APF")

        131.     APF was founded in 1997 and professed to be an independent non-profit 501(c)3

organization "serving people with pain through information, advocacy and support."175 It had a

membership of "close to 100,000 and growing" in 2010 and claimed to be the "largest advocacy

group for people with pain."176 The APF lauded its participation in "close to 100 policy activities,"

which included testifying at legislative hearings to securing state and local proclamations for Pain

Awareness Month.177

        132.     APF, however, as the most prominent of Defendants' Front Groups, received more

than $10 million in funding from opioid manufacturers from 2007 until it closed its doors in May

2012. Endo alone provided more than half that funding; Purdue was next at $1.7 million. Despite

the influx of funds from pharmaceutical companies, APF claimed to be an independent patient

advocacy group.

        133.     In 2009 and 2010, more than 80% of APF's operating budget came from

pharmaceutical industry sources. Including industry grants for specific projects, APF received

about $2.3 million from industry sources out of total income of about $2.85 million in 2009. In

2010, Endo paid APF more than $1 million and Purdue paid APF between $1 million and 4.9

million.I78 By 2011, APF was entirely dependent on incoming grants from Purdue, Endo, and

others to avoid using its line of credit. One of its board members, Russell Portenoy, explained the




175 American Pain Foundation, Treatment Options: A Guide for People Living with Pain, www.painfoundation.org;

see also 2010 Annual Report, American Pain Foundation.
176 2010 Annual Report, supra.

1111d.

'78 1d.




PLAINTIFF'S ORIGINAL PETITION                                                                             44
lack of funding diversity was one of the biggest problems at APF.

            134.    APF issued education guides for patients, reporters, and policymakers that

recommended opioids for chronic pain while trivializing their risks, particularly the risk of

addiction. Its     Pain Community News, an "esteemed" quarterly newsletter, had a print circulation

of more than 68,000 plus additional online readers.179 Its monthly electronic newsletter,                       Pain

Monitor, was a monthly newsletter that provided links to pain-related news and research.18° The

APF also provided "patient representatives" for Defendants' promotional activities, including

Purdue's      Partners Against Pale' and Janssen's Let's Talk Pain 82

            135.    In one of its publications, Treatment     Options: A Guide for People Living with Pain,

("Treatment Options"), APF recognized contributions from Cephalon and Purdue.' 83 Treatment

Options was reviewed by Scott Fishman, M.D., Vice Chairman of the APF Board of Directors, and

Russell Portenoy, M.D., a Member of the APF Board of Directors and also a KOL.Ig4 Treatment

Options set the stage for prescribing opioids by explaining their underuse despite their benefits.185

It dismissed the risk of addiction with the rhetoric that physical dependence was nothing more than

symptoms or signs of withdrawal that occurred when opioids were stopped suddenly or the dose

lowered too quickly.186

            136.    Responsible °plaid Prescribing and The War on Pain both had a tremendous

impact on doctors' prescribing habits. In 2000, Scott Fishman, M.D., who served on API's board,




179   2010 Annual Report, supra, at 2.
180   Id at 2.
181 In its "Partner against Pain" website, Purdue claimed that the risk of addiction from the use of OxyContin in

treating "chronic non-cancer pain" was "extremely small"; see also Zee, Ex. B, at 3.
182 Let's Talk Pain was a "coalition effort that focus[ed] on supporting positive patient-provided communications"

regarding pain.
I" Treatment Options, supra, at ii.
I" Id. at iv.
185 Id. at I I.

186 Id. at 14 (referring to symptoms such as sweating, rapid heart rate, nausea, diarrhea, goosebumps, and anxiety).




PLAINTIFF'S ORIGINAL PETITION                                                                                      45
co-authored        The War on Pain ("Pain War") as general authoritative information about pain

medicine."' 87

            137.    Pain War seeks new specialties in which opioids can be prescribed for chronic pain.

Rheumatologists treating arthritis have been overlooked because they were more prone to

prescribe NSAIDS instead of opioids, such as morphine.188 But such "outdated ideas about

addiction and concerns about social stigmas" need to evolve because opioids offer "substantial

relief' with "less severe long-term side effects than chronic anti-inflammatories."189

            138.    Pain War advocates for physical dependence to opioids, and equates withdrawal

symptoms from opioid drugs to that of cessation of coffee drinking. A "pain patient who is

dependent on opioids finds life restored," the book advises, and then explains that removing a

patient from opioids causes physical, not psychological, consequences, like quitting           coffee)"

Addiction to opioids is treated as a "phobia" or "notion" that "using opioids" are "always

addictive."191

            139. Pain War censures the failure to prescribe opioids and even suggests that such

failure is a criticism of the patient. For example:

                    Doses tend to be too low, the right narcotic preparation tends to be avoided, and the
                    prescribing period is often too short. Medicine's reluctance to use appropriate doses
                    of opioid drugs gives patients the wrong message — their pain isn't that important,
                    they are not trustworthy, they may be addicts, they are bad people if they take drugs
                    even if they are prescribed.192

            140. Pain War was distributed across the nation, and sold in Texas, as evidence by a

seller from Texas offering the used book for $9.56 plus $5.99 in shipping costs on Amazon.com.




187   Scott Fishman, M.D., with Lisa Berger, The War on Pain, First Quill, 1" ed., 2000.
' 88 1d  at 154.
189 Fishman, War on Pain, supra, at 155,
 '90 1d. at 187.
' 9' Id. at 185.
192   Id.


PLAINTIFF'S ORIGINAL PETITION                                                                         46
        141.     As late as 2008, the APF was still relaying the same message. In A Reporter's

Guide: Covering Pain and Its Management ("Reporter's Guide"), the APF extolled that "[t]he

person with pain is the authority on the existence and severity of his/her pain. The self-report is

[the] most reliable indicator."193 The Reporter's Guide referred to pain as a health crisis and

concluded that it affected more Americans than "diabetes, heart disease and cancer combined."94

        142.     Yet APF, Defendants' Front Group also admitted that:

                 •   71% of people abusing prescription pain relievers received them from a friend
                     or family member without a prescription;

                 •   Approximately 2.2 million Americans abused pain medication for the first time
                     in 2006; and

                 •   Between 1992 and 2002, reported abuse by teenagers increased by 542%.195

        143.     Even though Defendants knew about the risks involved in prescribing opioids or

ingesting opioids, they continued to disseminate a story about a "pain epidemic" that could be

treated only through the use of opioids. Even a 542% increase in abuse by teenagers in the United

States in the span often years did not make Defendants change their marketing strategy or otherwise

modify their educational or promotional materials concerning the risks associated with the use of

opioids.

        144.     In addition to these publications, APF also engaged in a significant multimedia

campaign — through radio, television, and the internet — to educate patients about their "right" to

pain treatment, namely opioids. APF's local and national media efforts resulted in 1,600 media

stories on pain in 2010, which was an increase of 1,255% from 2009.196 APF surmised that it




'93 American Pain Foundation, A Reporter's Guide: Covering Pain and Its Management, Oct. 2008, at 1, attached
hereto as Exhibit E.
194 Id. at 29.
19$ Reporter's Guide, EN. E, at 29.
196 Reporter's Guide, supra, at 15.




PLAINTIFF'S ORIGINAL PETITION                                                                                   47
reached more than 600 million people with information and education related to pain.I97 All of the

programs and materials were available nationally and were intended to reach patients and

consumers in Newton County.

         145.    APF's website was visited by nearly 275,000 people in 2010 and a National Pain

Foundation was expected to be complete in 2011.1" In May 2012, the U.S. Senate Finance

Committee began investigating the financial ties between Front Groups and trade organizations,

such as APF and the FSMB, and the opioid manufacturers. This investigation not only caused

damage to APF's credibility but caused Defendants to cease its funding.

         146.    The Senate Finance Committee intended to investigate whether pharmaceutical

companies were responsible for the opioid epidemic by "promoting misleading information about

the drugs' safety and effectiveness."199 The Senate Finance Committee was concerned that a

"network of national organizations and researchers with financial connections to the makers of

narcotic painkillers. .. helped create a body of dubious information 'favoring opioids' that can be

found in prescribing guidelines, patient literature, position statements, books and doctor education

courses."200

        147.     The Senate Finance Committee was especially concerned that "faimong the FSMB's

educational initiatives has been the development and distribution of a guidebook intended to help

physicians recognize the risk of opioids and follow responsible and safe prescribing standards."20I

(Emphasis in original.) Hence, Dr. Fishman and his book °plaid          Prescribing: A Physician 's Guide,

the first edition of which was released in 2007 and later accredited by the University of Wisconsin




197  Reporter's Guide, supra.
198  2010 Annual Budget, supra, at 6
' 99 See Letter to Dr, Humayun Chaudhy dated May 8, 2012 from Charles E. Grassley and Max Baueus, at p. 2.
200 Id. quoting Milwaukee Journal Sentinel/McdPage Today, Follow the Money: Pain, Policy, and Profit, Feb. 19,
2012, available al at http://medpagetoday.comiNeurology/PainManagement/3 1256.
201 Chaudhy Letter, supra, at 5.




PLAINTIFF'S ORIGINAL PETITION                                                                                48
School of Medicine and Public Health, was at the center of the investigation.202

          148.   The Senate Finance Committee asked for any grants or financial transfers used to

produce the book, the revenue generated from the sale of the book, each state that distributed the

book, and the names of any people or organization involved in writing or editing the book.203

          149.   Within days, APF's board voted to dissolve the organization and it ceased to exist.

The FSMB responded to the Senate Finance Committee's inquiry, however, and agreed that "the

abuse and misuse of opioids is a serious national problem."204 Dr. Chaudhy, speaking on behalf of

the FSMB, acknowledged that "prescription drug abuse and related deaths has grown at an alarming

pace in the United States."205 Dr. Chaudhy described Dr. Fishman, the author of Opioid Prescribing,

as "one of the nation's leading experts in pain medicine."206

          150.   Opioid Prescribing was released from 2007 through January 2012, was distributed

in each of the 50 states, including Texas, and supported in the medical community as an educational

resource for doctors.207 The book is still being sold today. For example, a used copy of the book is

being sold on Amazon.com by Delta River Books, located in Texas, for $51.49 plus $3.99 in

shipping. Dr. Fishman also toured and gave keynote speeches about                   °plaid Prescribing. For

example, Dr. Fishman presented the keynote at the Federation of State Medical Board Meeting in

Fort Worth, Texas on April 28, 2012, which lasted three days.208 The book was also used

extensively by state regulators to make safe and responsible decisions about prescribing opioids.209




'Chaudhy Letter, supra.
205 Id at 3.
204 Letter to Max Baucus and Charles Grassley dated June 8,2012 from Humayun J. Chaudhy, DO, FACP, at I.
205 Chaudhy Letter, supra, at I.
2'  Id. at 5.
207

208U,C.  Davis, Fishman Gives Keynote at Federation of State Medical Boards Meeting, May 1, 2012, available at
https://ucdmc.ucdavis.edutpublishinewsinewsroom/6523.
2" Chaudhy, supra, at 5, 17.




PLAINTIFF'S ORIGINAL PETITION                                                                                    49
            151.    As described herein, Dr. Fishman and his book was partly funded by Endo and

Purdue, among others as evidenced in the response. In 2004, Purdue paid $87,895 in the form of a

grant to the FSMB to update the FSMB Model Guidelines for the Use of Controlled Substances in

the Treatment of Pain, along with other objectives related to opioids.21° In 2005, Purdue paid

$244,000 to FSMB and in 2006, Purdue paid $207,000 to FSMB for the continuation of the same

project.2" In 2008, Endo and Purdue each paid $100,000 in the form of a grant for the distribution

of Responsible Opioid Prescribing.' Thus, from 2000-2012, Purdue paid $734,505.06 and Endo

paid $411,620.00 to the FSMB and FSMB Foundation.

            152.    Dr. Chaudhy's response merely underscored Defendants' role, through KOLs and

Front Groups, in controlling the message these groups conveyed about opioids.

                    2. American Academy of Pain Medicine ("AAPM")

           153.     The American Academy of Pain Medicine, with Defendants' assistance, prompting,

involvement, and funding, issued treatment guidelines and sponsored and hosted medical

education programs essential to Defendants' deceptive marketing of chronic opioid therapy.

           154.     AAPM received over $2.2 million in funding since 2009 from opioid

manufacturers. AAPM maintained a corporate relations council, whose members paid $25,000 per

year (on top of other funding) to participate. The benefits included allowing members to present

educational programs at off-site dinner symposia in connection with AAPM's marquee event — its

annual meeting held in Palm Springs, California, or other resort locations. AAPM describes the

annual event as an "exclusive venue" for offering education programs to doctors. Membership in

the corporate relations council also allows drug company executives and marketing staff to meet




210   Chaudhy Letter, supra, at II.
2"  Id. at 11-12.
212 Id. at 12.




PLAINTIFF'S ORIGINAL PETITION                                                                  50
with AAPM executive committee members in small settings. Defendants Endo, and Purdue were

members of the council and presented deceptive programs to doctors who attended this annual

event.

         155.    AAPM is viewed internally by Endo as "industry friendly," with Endo advisors and

speakers among its active members. Endo attended AAPM conferences, funded its CMEs, and

distributed its publications. The conferences sponsored by AAPM heavily emphasized sessions

on opioids —37 out of roughly 40 at one conference alone. AAPM's presidents have included top

industry-supported KOLs Perry Fine, Russell Portenoy, and Lynn Webster. Dr. Webster was even

elected president of AA PM while under a DEA investigation. Another past AAPM president, Dr.

Scott Fishman, stated that he would place the organization "at the forefront" of teaching that "the

risks of addiction are . . small and can be managed."213

         156.    Defendants influenced AAPM through both their significant and regular funding

and the leadership of pro-opioid KOLs within the organization. AAPM's staff understood they and

their industry funders were engaged in a common task — propagate a "pain epidemic" and solve it

by teaching that opioids were safe and effective for treating chronic pain.

         157.    In 1997, AAPM and the American Pain Society jointly issued a consensus

statement,   The Use of Opioids for the Treatment of Chronic Pain, which endorsed opioids to treat

chronic pain and claimed there was a low risk that patients would become addicted to opioids. The

co-author of the statement, Dr. Haddox, was a paid speaker for Purdue at the time. Dr. Portenoy,

Defendants' KOL, was the sole consultant. The consensus statement remained on AAPM's

website until 2011.




213 Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Medicine, Chief

of the Division of Pain Medicine, Univ. of Cal., Davis (2005), available at
http://www.medscape.orgiviewarticle/500829.




PLAINTIFF'S ORIGINAL PETITION                                                                                51
       158.    AAPM and APS issued their own guidelines in 2009 ("AAPM/APS Guidelines")

and continued to recommend using opioids to treat chronic pain. Fourteen of the 21 panel members

who drafted the AAPM/APS Guidelines, including KOLs Dr. Portenoy and Dr. Perry Fine of the

University of Utah, received support from Janssen, Endo, and Purdue.

       159.    The 2009 Guidelines promote opioids as "safe and effective" for treating chronic

pain, despite acknowledging limited evidence, and conclude that the risk of addiction is

manageable for patients regardless of past abuse histories. One panel member, Dr. Joel Saper,

Clinical Professor of Neurology at Michigan State University and founder of the Michigan

Headache & Neurological Institute, resigned from the panel because he was concerned the 2009

Guidelines were influenced by contributions that drug companies, including Defendants, made to

the sponsoring organizations and committee members. These AAPM/APS Guidelines have been

a particularly effective channel of deception and have influenced not only treating physicians, but

also the body of scientific evidence on opioids. The Guidelines have been cited 732 times in

academic literature, were disseminated in and around Newton County during the relevant time

period, are still available online, and were reprinted in the Journal of Pain.

B.     Defendants' Marketing Scheme Misrepresented the Risks and Benefits of Opioids.

       160.    To convince doctors and patients in Newton County that opioids can and should be

used to treat chronic pain, Defendants had to convince them that long-term opioid use is non-

addictive, safe, and effective. Knowing they could do so only by deceiving those doctors and

patients about the risks and benefits of long-term opioid use, Defendants made claims that were

not supported by, and were contrary to, the scientific evidence. Defendants have not corrected

their misrepresentations.




PLAINTIFF'S ORIGINAL PETITION                                                                   52
         161.    Defendants also deceptively trivialized and failed to disclose the risks of long-term

opioid use, particularly the risks of addiction and overdose, through a series of misrepresentations

that have since been conclusively debunked by numerous published studies and the magnitude of

human misery caused by Defendants' deceptions. These misrepresentations — which are described

below — reinforced each other and created the dangerously misleading impression that opioids are

the best treatment option for any recurrent moderate pain because: (1) only a miniscule number of

patients, if any, would become addicted; (2) all patients with a substantial risk of becoming

addicted to opioids could be readily identified; (3) patients who displayed signs of addiction

probably were not addicted and, in any event, could easily be weaned from the drugs; (4) the use

of higher opioid doses do not escalate risk of addiction or overdose; and (5) "abuse-deterrent"

opioids are reliably safe and effective for perpetual use. Defendants still espouse these

misrepresentations today.

         162.    First, Defendants falsely claimed the risk of addiction is low and unlikely to


develop when opioids are prescribed, as opposed to those obtained illicitly; and failed to disclose

the greater risk of addiction with prolonged use of opioids.214 For example:

                 a)       Purdue sponsored APF's Treatment Options: A Guide for People Living
                          with Pain (2007), which instructed that addiction is rare and limited to
                          extreme cases of unauthorized dose escalations, obtaining duplicative
                          opioid prescriptions from multiple sources, or theft. This publication is still
                          available online;

                 b)       Endo sponsored a website, Painknowledge.com, which claimed in 2009 that
                          "[p]eople who take opioids as prescribed usually do not become addicted."
                          Another Endo website, PainAction.com, stated "Did you know? Most
                          chronic pain patients do not become addicted to the opioid medications that
                          are prescribed for them.",

                 c)       Endo distributed a pamphlet with the Endo logo entitled Living with
                          Someone with Chronic Pain, which stated that: "Most health care providers

214 See, e.g., Manchikanti, Ex. A, at 22 (blaming adverse consequences on abuses and overuses instead of

appropriately blaming opioids used as directed).



PLAINTIFF'S ORIGINAL PETITION                                                                              53
                         who treat people with pain agree that most people do not develop an
                         addiction problem." A similar statement appeared on the Endo website,
                         www.oparia.com;

                 d)      Janssen reviewed, edited, approved, and distributed a patient education
                         guide entitled Finding Relief Pain Management for Older Adults (2009),
                         which described as "myth" the claim that opioids are addictive, and asserted
                         as fact that "[m]any studies show that opioids are rarely addictive when used
                         properly for the management of chronic pain.";

                 e)      Janssen currently runs a website, Prescriberesponsibly.com (last updated
                         July 2, 2015), which claims that concerns about opioid addiction are
                         "overestimated";

                         Purdue sponsored APF's A Policymaker's Guide to Understanding Pain &
                         Its Management — which claims that less than I% of children prescribed
                         opioids will become addicted and that pain is undertreated due to
                         "misconceptions about opioid addiction[]." This publication is still
                         available online; and


                 g)      Detailers for Purdue, Endo, and Janssen in and around Newton County
                         minimized or omitted any discussion with doctors of the risk of addiction;
                         misrepresented the potential for opioid abuse with purportedly abuse-
                         deterrent formulations; and routinely did not correct the misrepresentations
                         noted above.

        163. These claims contradict empirical evidence. As noted by the CDC, there is

"extensive evidence" of the "possible harms of opioids (including opioid use disorder [an

alternative term for opioid addiction])."215 The CDC has explained that "[o]pioid pain medication

use presents serious risks, including... opioid use disorder" and that "continuing opioid therapy for

3 months substantially increases risk for opioid use disorder."2I6 In fact, as many as "1 in 4 patients

receiving long-term opioid therapy in primary care settings struggle with opioid use disorder."2"

Among the 12 recommendations by the new CDC guidelines to improve patient care and safety is

that non-opioid therapy is preferred for chronic pain unless there is active cancer or it is for palliative



2" Centers for Disease Control and Prevention, CDC Guideline for Prescribing Opioids for Chronic Pain— United
Siaies 2016, Mar. 18, 2016.
216 ird.

217 ird.




PLAINTIFF'S ORIGINAL PETITION                                                                               54
and end-of-life care.218

         164.     Defendants' long-standing claims that opioid addiction and overdose are anomalies

largely attributable to patient abuse of the drug, are demonstrably false. Indeed, the majority of

cases "involving injury and death occur in people using opioids exactly as prescribed

         165.     In 2010, a study addressed the rates of opioid overdose with patients receiving

average prescribed daily opioids versus patients receiving medically prescribed chronic opioid

therapy.22° The patients included those receiving three-plus opioid prescriptions within 90-days

for chronic non-cancer pain between 1997 and 2005.221 Patients who received 50-99 mg had a 3.7-

fold increase in overdose risk (95% C.I. 1.5, 9.5) and a 0.7 annual overdose rate.222

         166.     The authors determined that even though opioids provide some pain relief for

chronic pain, balancing the long-term risks with the benefits was still "poorly understood."223

Those patients who had not received opioids lately had a lower risk of overdose, however, than

patients consistently receiving opioids at a low dosage.224

         167.     The authors pointed to previous studies that indicated a rise in opioid-related

overdoses with an increase in prescribing opioids for non-cancer pain, but the belief that such

phenomenon was caused by patients obtaining opioids from non-medical sources:-5 This study,

proves for the first time, however, that the risk of overdose is directly linked to the prescription

and use of medically prescribed opioids.226




218 CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
219 Manchikanti, Ex. A, at 22.
220 Kate M. Dunn, Ph.D., Kathleen W. Saunders, J.D., Overdose and Prescribed Opioids: Association among

Chronic Non-Cancer Pain Patients, Ann. Intern. Med., Dec. 10, 2010, at 2.
221 Id.

222 Id.

223

224 Dunn, supra, at 6.
225 Id. at 7.
226 1d.




PLAINTIFF'S ORIGINAL PETITION                                                                             55
            168.    The authors of a Washington study in which the authors obtained Washington

Medicaid data from the Washington Heath Care Authority reached a similar conclusion.227 The

opioid prescription claim history was examined for each "opioid poisoning" for the months that

enrollees received Medicaid FFS prescription benefits.228 The authors concluded that a large

percentage of opioid poisonings happened at lower prescribed doses and in individuals who were

not considered chronic users.229

            169.    The authors noted that previous opioid guidelines focused on opioid doses above

80-120 mg/d MED even though previous studies showed risk of opioid deaths and poisonings at

much lower doses and that most non-methadone opioid poisonings had been prescribed below

these guidelines levels.230 The authors concluded that only a small percentage of patients are

prescribed opioids at a dosage greater than 120 mg/d MED, but that a large percentage of the

opioids poisonings have been occurring in patients taking lower doses and in patients not

considered chronic users.23 ' Overdoses were therefore occurring in patients prescribed opioids for

chronic non-cancer pain at increased rates and the overdose risk increased with an average

prescription dose.232 The guidelines and other educational material regarding opioids need to be

changed to reflect the opioid poisoning among this population.233

            170.    In fact, "Nile majority of deaths (60%) occur in patients when they are given

prescriptions based on prescribing guidelines by medical boards with 20% of deaths in low dose

opioid therapy.. ."234 The way to cure the "crisis of opioid use in the United States" is to change



227 Deborah Fulton-Kehoe, Ph.D., °plaid Poisonings in Washingion Siaie Medicaid: Trends, Dosing, and
Guidelines, 53 Medical Care 8, Aug. 2015, at 680.
228 1d.
229   /d
230 Id. at 683.
231 Id. at 684.
232

"3 Id.
234   Manchikanti, Ex. A. at 1.



PLAINTIFF'S ORIGINAL PETITION                                                                          56
"inappropriate prescribing patterns, which are largely based on a lack of knowledge, perceived

safety, and inaccurate belief of undertreatment of pain."'

            171.   Another study found that approximately 60% of overdoses occur in medical users

of opioids prescribed by a single physician to manage chronic pain.236 Non-medical users comprise

only a statistical minority of opioid overdoses.237

            172.   Scientific evidence underscores the conclusion that low-dose opioid therapy for

chronic pain, opioids taken as prescribed, opioids obtained from a single doctor, and opioids

prescribed pursuant to prescribing guidelines cause many overdoses. Defendants, however,

disseminated contrary messaging throughout their marketing campaigns to sell more opioids.

            173.   Second, Defendants falsely instructed doctors and patients that signs of addiction

are actually signs of undertreated pain and should be treated by prescribing more opioids.

Defendants called this phenomenon "pseudoaddiction"— a term coined by Dr. David Haddox, who

went to work for Purdue, and popularized by Dr. Russell Portenoy, a KOL for Endo, Janssen, and

Purdue — and claimed that pseudoaddiction is substantiated by scientific evidence. For example:

                   a)     Purdue sponsored Responsible Opioid Prescribing (2007), which taught
                          that behaviors such as "requesting drugs by name," "demanding or
                          manipulative behavior," seeing more than one doctor to obtain opioids,
                          and hoarding, are all signs of pseudoaddiction, rather than true addiction.
                          Responsible Op/old Prescribing remains for sale online. The 2012
                          edition continues to teach that pseudoaddiction is real;

                   b)     Janssen sponsored, funded, and edited the Let 's Talk Pain website, which
                          in 2009 stated: "pseudoaddiction . . . refers to patient behaviors that may
                          occur when pain is under-treated . . Pseudoaddiction is different from
                          true addiction because such behaviors can be resolved with effective pain
                          management";




  Manchikanti, Ex. A, at I.
235

  Barbara Zedler, M.D., Risk Factors for Serious Prescription Opioid-Related Toxicity or Overdose Among
236

Veterans Health Administration Patients, Pain Medicine, 2014, at 1912, attached hereto as Exhibit F.
237
      Id.




PLAINTIFF'S ORIGINAL PETITION                                                                             57
                 c)       Endo sponsored a National Initiative on Pain Control (NIPC) CME
                          program in 2009 titled Chronic Opioid Therapy: Understanding Risk
                          While Maximizing Analgesia, which promoted pseudoaddiction by
                          teaching that a patient's aberrant behavior was the result of untreated pain.
                          Endo substantially controlled NIPC by funding NIPC projects;
                          developing, specifying, and reviewing content; and distributing NIPC
                          materials;

                 d)       Purdue published a pamphlet in 2011 entitled Providing Relief
                          Preventing Abuse, which described pseudoaddiction as a concept that
                          "emerged in the literature" to describe the inaccurate interpretation of
                          [drug-seeking behaviors] in patients who have pain that has not been
                          effectively treated."; and

                  e)      Purdue sponsored a CME program entitled Path of the Patient, Managing
                 ,        Chronic Pain in Younger Adults at Risk for Abuse. In a role play, a
                          chronic pain patient with a history of drug abuse tells his doctor that he
                          is taking twice as many hydrocodone pills as directed. The narrator notes
                          that because of pseudoaddiction, the doctor should not assume the patient
                          is addicted even if he persistently asks for a specific drug, seems
                          desperate, hoards medicine, or "overindulges in unapproved escalating
                          doses." The doctor treats this patient by prescribing a high-dose, long-
                          acting opioid.

         174.    The 2016 CDC Guideline rejects the concept of pseudoaddiction. The CDC

Guideline nowhere recommends that opioid dosages be increased if a patient is not experiencing

pain relief. To the contrary, the Guideline explains that "[p]atients who do not experience

clinically meaningful pain relief early in treatment...are unlikely to experience pain relief with

longer-term use,"238 and that physicians should "reassessn pain and function within I month"'

in order to decide whether to "minimize risks of long-term opioid use by discontinuing

opioids"2" because the patient is "not receiving a clear benefit."241

         175.    Third, Defendants falsely instructed doctors and patients that addiction risk

screening tools, patient contracts, urine drug screens, and similar strategies allowed them to



'8 CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
239
    Id.
24° CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
241 Id




PLAINTIFF'S ORIGINAL PETITION                                                                             58
reliably identify and safely prescribe opioids to patients predisposed to addiction. These

misrepresentations were especially insidious because Defendants aimed them at general

practitioners and family doctors who lack the time and expertise to closely manage higher-risk

patients. Defendants' misrepresentations made these doctors feel more comfortable prescribing

opioids to their patients, and patients more comfortable starting opioid therapy for chronic pain.

For example:

                    a)      Endo paid for a 2007 supplement in the Journal of Family Practice written
                            by a doctor who became a member of Endo's speakers' bureau in 2010. The
                            supplement, entitled Pain Management Dilemmas in Primary Care: Use of
                            Opioids, emphasized the effectiveness of screening tools, claiming that
                            patients at high risk of addiction could safely receive chronic opioid therapy
                            using a "maximally structured approach" involving toxicology screens and
                            pill counts;

                    b)      Purdue sponsored a 2011 webinar, Managing Patient's Oploid Use:
                            Balancing the Need and Risk, which claimed that screening tools, urine
                            tests, and patient agreements prevent "overuse of prescriptions" and
                            "overdose deaths;" and

                    c)      As recently as 2015, Purdue has represented in scientific conferences that
                            "bad apple" patients — and not opioids — are the source of the addiction crisis
                            and that once those "bad apples" are identified, doctors can safely prescribe
                            opioids without causing addiction.

           176. Once again, the 2016 CDC Guideline confirms these representations are false. The

Guideline notes that there are no studies assessing the effectiveness of risk mitigation strategies —

such as screening tools, patient contracts, urine drug testing, or pill counts — widely believed by

doctors to detect and deter outcomes related to addiction and overdose.242 As a result, the Guideline

recognizes that doctors should not overestimate the risk screening tools for classifying patients as

high or low risk for opioid addiction because they are insufficient to rule out the risks of long-term

opioid therapy,243



242   CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
243




PLAINTIFF'S ORIGINAL PETITION                                                                           59
            177.    Fourth, to underplay the risk and impact of addiction and make doctors feel more

comfortable starting patients on opioids, Defendants falsely claimed that opioid dependence can

easily be addressed by tapering and that opioid withdrawal is not a problem thereby failing to

disclose the increased difficulty of stopping opioids after long-term use.

            178.    For example, a CME sponsored by Endo, entitled Persistent Pain in the Older

Adult, claimed that withdrawal symptoms can be avoided by tapering a patient's opioid dose by

10%-20% for 10 days. And Purdue sponsored APF's A Palicymaker's Guide to Understanding

Pain & Its Management, which claimed that "[s]ymptoms of physical dependence can often be

ameliorated by gradually decreasing the dose of medication during discontinuation."

           179.     Defendants deceptively minimized the significant symptoms of opioid withdrawal,

which, as explained in the 2016 CDC Guideline, include drug cravings, anxiety, insomnia,

abdominal pain, vomiting, diarrhea, sweating, tremor, tachycardia (rapid heartbeat), spontaneous

abortion and premature labor in pregnant women, and the unmasking of anxiety, depression, and

addiction — and grossly understated the difficulty of tapering, particularly after long-term opioid

use.

           180.     Yet the 2016 CDC Guideline recognizes that the duration of opioid use and the

dosage of opioids prescribed should be limited to "minimize the need to taper opioids to prevent

distressing or unpleasant withdrawal symptoms,"2" because "physical dependence on opioids is

an expected physiologic response in patients exposed to opioids for more than a few days."245

(Emphasis Added.) The Guideline further states that "tapering opioids can be especially

challenging after years on high dosages because of physical and psychological dependence"246 and




244   CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
245 kt

246 Id




PLAINTIFF'S ORIGINAL PETITION                                                                    60
highlights the difficulties, including the need to carefully identify "a taper slow enough to minimize

symptoms and signs of opioid withdrawal"242 and pausing and restarting tapers depending on the

patient's response.

        181.     The CDC also acknowledges the lack of any "high-quality studies comparing the

effectiveness of different tapering protocols for use when opioid dosage is reduced or opioids are

discontinued."248 Contrary to the       Treatment Options distributed by the APF, withdrawal from

opioids involves much more than mere "physical" dependence occurring only when opioids are

stopped suddenly or the dose lowered too quickly.

        182.     Fifth, Defendants falsely claimed that doctors and patients could increase opioid

dosages indefinitely without added risk and failed to disclose the greater risks to patients at higher

dosages. The ability to escalate dosages was critical to Defendants' efforts to market opioids for

long-term use to treat chronic pain because, absent this misrepresentation, doctors would have

abandoned treatment when patients built up tolerance and lower dosages did not provide pain

relief. For example:

                 a)       Purdue sponsored APF's Treatment Options: A Guide for People Living
                          with Pain (2007), which claims that some patients "need" a larger dose of
                          an opioid, regardless of the dose currently prescribed. The guide stated that
                          opioids have "no ceiling dose" and are therefore the most appropriate
                          treatment for severe pain. This guide is still available for sale online;

                 b)       Endo sponsored a website, painknowledge.com, which claimed in 2009 that
                          opioid dosages may be increased until "you are on the right dose of
                          medication for your pain.";

                 c)       Endo distributed a pamphlet edited by a KOL entitled Understanding Your
                          Pain: Taking Oral Opioid Analgesics, which was available during the time
                          period of this Complaint on Endo's website. In Q&A format, it asked "If I
                          take the opioid now, will it work later when I really need it?" The response
                          is, "The dose can be increased. . . . You won't 'run out' of pain relief";



247 CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
24s id




PLAINTIFF'S ORIGINAL PETITION                                                                       61
                    d)      Janssen sponsored a patient education guide entitled Finding Relief Pain
                            Management for Older Adults (2009), which was distributed by its sales
                            force. This guide listed dosage limitations as "disadvantages" of other pain
                            medicines but omitted any discussion of risks of increased opioid dosages;

                    e)      Purdue's In the Face of Pain website promotes the notion that if a patient's
                            doctor does not prescribe what, in the patient's view, is a sufficient dosage
                            of opioids, he or she should find another doctor who will;

                            Purdue sponsored APF's A Policymaker's Guide to Understanding Pain &
                            Its Management, which taught that dosage escalations are "sometimes
                            necessary," even unlimited ones, but did not disclose the risks from high
                            opioid dosages. This publication is still available online;


                    g)      Purdue sponsored a CME entitled Overview of Management Options that is
                            still available for CME credit. The CME was edited by a KOL and taught
                            that NSA IDs and other drugs, but not opioids, are unsafe at high dosages;
                            and

                    h)      Purdue presented a 2015 paper at the College on the Problems of Drug
                            Dependence, the "the oldest and largest organization in the US dedicated to
                            advancing a scientific approach to substance use and addictive disorders,"
                            challenging the correlation between opioid dosage and overdose.

           183.     These claims conflict with the scientific evidence, as confirmed by the FDA and

CDC. As the CDC explains in its 2016 Guideline, the "[Nenefits of high-dose opioids for chronic

pain are not established"249 while the "risks for serious harms related to opioid therapy increase at

higher opioid dosage.,525o

           184.     More specifically, the CDC explains, "there is now an established body of scientific

evidence showing that overdose risk is increased at higher opioid dosages."25 ' Similarly, there is

an "increased risk for opioid use disorder, respiratory depression, and death at higher dosages."252

That is why the CDC advises doctors to avoid increasing dosages above 90 morphine milligram

equivalents per day.



249
      CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
250 Id

251   1d
252   1d




PLAINTIFF'S ORIGINAL PETITION                                                                         62
           185.    Finally, Defendants' deceptive marketing of the so-called abuse-deterrent

properties of some of their opioids has created false impressions that these opioids reliably curb

addiction and abuse.

           186.    More specifically, Defendants have made misleading claims about the ability of

their so-called abuse-deterrent opioid formulations to deter use. For example, Endo's

advertisements for the 2012 reformulation of Opana ER claimed that it was designed to be crush

resistant in a way that suggested it was more difficult to misuse the product. This claim was false.

           187.    The FDA warned in a 2013 letter that there was no evidence Endo's design would

provide a reduction in oral, intranasal or intravenous use." Moreover, Endo's own studies, which

it failed to disclose, showed that Opana ER could still be ground and chewed.

           188.    In a 2016 settlement with the State of New York, Endo agreed not to make

statements in New York that Opana ER was designed to be or is crush-resistant. The State found

those statements false and deceptive because there was no difference in the ability to extract the

narcotic from Opana ER.

           189.    Similarly, the 2016 CDC Guideline states that no studies support the notion that

"abuse-deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse,"254

noting that the technologies — even when they work — "do not prevent opioid abuse through oral

intake, the most common route of opioid abuse, and can still be abused by non-oral routes."'

           190.    These numerous, long-standing misrepresentations of the risks of long-term opioid

use spread by Defendants successfully convinced doctors and patients to underestimate those risks.




253   See FDA Statement: Original Opana ER Relisiing Delermination,May   10, 2013.
254
      CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
255   hi




PLAINTIFF'S ORIGINAL PETITION                                                                     63
C.      Defendants Grossly Overstated the Benefits of Chronic Opioid Therapy.

         191.    To convince doctors and patients that opioids should be used to treat chronic pain,

Defendants had to persuade them that there was a significant benefit to long-term opioid use. But

as the 2016 CDC Guideline makes clear, there is "insufficient evidence to determine the long-term

benefits of opioid therapy for chronic pain."256

        192.     In fact, the CDC found no evidence showing "a long-term benefit of opioids in pain

and function versus no opioids for chronic pain with outcomes examined at least 1 year later (with

most placebo-controlled randomized trials < 6 weeks in duration)"252 and that other treatments

were more or equally beneficial and less harmful than long-term opioid use.

         193.    Nonetheless, Defendants were legion in their misrepresentations that opioid drugs

were appropriate for use as a long-term lifestyle. For example:

                 a)      Endo distributed advertisements that claimed that the use of Opana ER for
                         chronic pain would allow patients to perform demanding tasks like
                         construction work or work as a chef and portrayed seemingly healthy,
                         unimpaired subjects;

                 b)      Janssen sponsored and edited a patient education guide entitled Finding
                         Relief Pain Management for Older Adults (2009)— which states as "a fact"
                         that "opioids may make it easier for people to live normally." The guide
                         lists expected functional improvements from opioid use, including sleeping
                         through the night, returning to work, recreation, sex, walking, and climbing
                         stairs;

                 c)      Purdue ran a series of advertisements for OxyContin in 2012 in medical
                         journals entitled "pain vignettes," which were case studies featuring
                         patients with pain conditions persisting over several months and
                         recommending OxyContin for them. The ads implied that OxyContin
                         improves patients' function;

                 d)      Responsible °plaid Prescribing (2007), sponsored and distributed by Endo
                         and Purdue, taught that relief of pain by opioids, by itself, improved
                         patients' function. The book remains for sale online;



' CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
 27 /d.




PLAINTIFF'S ORIGINAL PETITION                                                                     64
                 e)      Purdue sponsored APF's Treatment Options: A Guide for People Living
                         with Pain (2007), which counseled patients that opioids "give [pain
                         patients] a quality of life we deserve." The guide was available online until
                         APF shut its doors in 2012;

                 0       Endo's NIPC website painknowledge.com claimed in 2009 that with
                         opioids, "your level of function should improve; you may find you are now
                         able to participate in activities of daily living, such as work and hobbies,
                         that you were not able to enjoy when your pain was worse." Elsewhere, the
                         website promoted improved quality of life (as well as "improved function")
                         as benefits of opioid therapy. The grant request that Endo approved for this
                         project specifically indicated NIPC's intent to make misleading claims
                         about function, and Endo closely tracked visits to the site;

                g)       Endo was the sole sponsor, through NIPC, of a series of CMEs titled
                         Persistent Pain in the Older Patient, which claimed that chronic opioid
                         therapy has been "shown to reduce pain and improve depressive symptoms
                         and cognitive functioning." The CME was disseminated via webcast;

                 h)      Janssen sponsored, funded, and edited a website, Let's Talk Pain, in 2009,
                         which featured an interview edited by Janssen claiming that opioids allowed
                         a patient to "continue to function." This video is still available today on
                         YouTube;

                 i)      Purdue sponsored the development and distribution of APF's A
                         Policymaker's Guide to Understanding Pain & Its Management, which
                         claimed that "multiple clinical studies" have shown that opioids are
                         effective in improving daily function, psychological health, and health-
                         related quality of life for chronic pain patients." The Policymaker's Guide
                         was originally published in 2011 and is still available online today; and

                j)       Purdue's, Endo's, and Janssen's sales representatives have conveyed and
                         continue to convey the message that opioids will improve patient function.

        194. These claims are unsupported by the scientific literature. The 2016 CDC Guideline

explained, "There is no good evidence that opioids improve pain or function with long-term use"258

and "complete relief of pain is uniikely."259 The CDC reinforced this conclusion throughout its

2016 Guideline:

                 a)      "No evidence shows a long-term benefit of opioids in pain and function
                         versus no opioids for chronic pain with outcomes examined at least 1 year

  CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
258

259Id (emphasis added).




PLAINTIFF'S ORIGINAL PETITION                                                                      65
                          later ....,,;26O


                   b)     "Although opioids can reduce pain during short-term use, the clinical
                          evidence review found insufficient evidence to determine whether pain
                          relief is sustained and whether function or quality of life improves with
                          long-term opioid therapy.";26I and

                   c)     "[E]vidence is limited or insufficient for improved pain or function with
                          long-term use of opioids for several chronic pain conditions for which
                          opioids are commonly prescribed, such as low back pain, headache, and
                          fibromyalgia."262

            195.   The CDC also noted that the risks of addiction and death "can cause distress and

inability to fulfill major role obligations."263

            196.   Defendants also falsely emphasized or exaggerated the risks of competing products

like NSAIDs so that doctors and patients would look to opioids first for treating chronic pain.

Once again, Defendants' misrepresentations contradicted non-industry sponsored scientific

evidence. In addition, Purdue misleadingly promoted OxyContin as unique among opioids in

providing 12 continuous hours of pain relief with one dose. In fact, OxyContin does not last for

12 hours — a fact that Purdue has known at all times relevant to this action.

            197.   According to Purdue's own research, OxyContin wears off in under six hours in one

quarter of patients and in under 10 hours in more than half. The reason is that OxyContin tablets

release approximately 40% of their active medicine immediately, after which release tapers.

Although the patient experiences a powerful initial response, there is little or no pain relief at the

end of the dosing period because less medicine is released.

            198.   This phenomenon is known as "end of dose" failure, and the FDA found in 2008

that a substantial number of chronic pain patients taking OxyContin experience it.



260 CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
261 Id.
262 1d.
263   Id.




PLAINTIFF'S ORIGINAL PETITION                                                                      66
       199. This "end of dose" failure not only renders Purdue's promise of 12 hours of relief

false and deceptive, it also makes OxyContin more dangerous because the declining pain relief

patients experience toward the end of each dosing period drives them to take more OxyContin

before the next dosing period begins, quickly increasing the amount of drug they are taking and

spurring growing dependence.

       200. Purdue's competitors were aware of this problem. For example, Endo ran

advertisements for Opana ER referring to "real" 12-hour dosing. Nevertheless, Purdue falsely

promoted OxyContin as if it were effective for a full 12 hours. Indeed, Purdue's sales

representatives continue to tell doctors in and around Newton County that OxyContin lasts a full

12 hours.

D.     Defendants also engaged in Other Unlawful, Unfair, and Fraudulent Misconduct.

       201.    Other Defendants herein participated in illicit and unlawful prescribing of its drugs.

For example, Purdue did not report illegal prescribing of OxyContin until years after law

enforcement shut down a Los Angeles clinic that prescribed more than 1.1 million OxyContin

tablets. In doing so, Purdue protected its own profits at the expense of public health and safety.

       202. The State of New York also found that Endo failed to require sales representatives

to report signs of addiction, diversion, and inappropriate prescribing; paid bonuses to sales

representatives for detailing prescribers who were subsequently arrested or convicted for illegal

prescribing; and failed to prevent sales representatives from visiting prescribers whose suspicious

conduct had caused them to be placed on a no-call list.

E.     Defendants Targeted Susceptible Prescribers and Vulnerable Patient Populations.

       203. As part of their deceptive marketing scheme, Defendants identified and targeted

susceptible prescribers and vulnerable patient populations in the U.S. and in and around Newton




PLAINTIFF'S ORIGINAL PETITION                                                                        67
County. For example, Defendants focused their deceptive marketing on primary care doctors, who

were more likely to treat chronic pain patients and prescribe opioids, but were less likely to be

educated about treating pain and the risks and benefits of opioids.

           204.     Defendants also targeted vulnerable patient populations like the elderly and

veterans, who tend to suffer from chronic pain. Defendants targeted these vulnerable patients even

though the risks of long-term opioid use were significantly greater for them.

           205.     For example, the 2016 CDC Guideline observes that existing evidence shows that

elderly patients taking opioids suffer from elevated fall and fracture risks, greater risk of

hospitalization, and increased vulnerability to adverse drug effects and interactions. The Guideline

therefore concludes that there are "special risks of long-term opioid use for elderly patients" and

recommends that doctors use "additional caution and increased monitoring" to minimize the risks

of opioid use in elderly patients.

           206.     The same is true for veterans, who are more likely to use anti-anxiety drugs

(benzodiazepines) for post-traumatic stress disorder, which interact dangerously with opioids.

           207.     Defendants achieved their goal in targeting these vulnerable populations when the

Arthritis Foundation published its           Guide to Pain Management in 2003 ("Pain Management

Guide").264 The Pain Management Guide was published by a neutral third-party that not only

believed the message Defendants had been selling for years, but it continued to relay that message

to patients experiencing chronic pain — elderly patients with arthritis.265

           208.     The   Pain Management Guide was intended for a population of "70 million
                                                       15266 It parroted falsities, such as the low risk
Americans who have arthritis or other related diseases.




264
      Susan Bernstein, The Arthritis Foundation's Guide to Pain Management, Arthritis Foundation, 2003.
265 ird
266 Id




PLAINTIFF'S ORIGINAL PETITION                                                                             68
of developing an addiction to opioids and cited Defendants' false statistic: "The addiction rate

from narcotics is approximately one percent."267

            209.     The Arthritis Foundation even accepted and repeated Defendants' distinction

between dependence and addiction. A person with dependence suggests he or she would

experience withdrawal symptoms upon stopping opioids while addiction "is a self-destructive,

habitual use" of opioids.268 The      Pain Management Guide brushes aside concerns about addiction

and recommends higher doses of opioids for patients who develop a dependence on opioids269 —

the exact message that Defendants had been spouting for years.

            210.     The fact that neutral third parties were relying on and buying Defendants' false

propositions only verifies Defendants' successful fraud on the medical and non-medical

community at large.

F.          Although Defendants knew that their Marketing of Opioids was False and Deceptive,
            they Fraudulently Concealed their Misconduct.

            211.     Defendants, both individually and collectively, made, promoted, and profited from

their misrepresentations about the risks and benefits of opioids for chronic pain even though they

knew their misrepresentations were false and deceptive. Defendants knew that the marketing

scheme being promoted by Defendants was misleading, inaccurate, and simply false. The history

of opioids, as well as research and clinical experience over the last 20 years, established that

opioids were highly addictive and responsible for a long list of very serious adverse outcomes.

            212.     In The Journal of the American Medical Association November 2002 edition,

which Defendants meant to reach physicians throughout the nation, Purdue advertised OxyContin




267   Bernstein, supra, at 70-71.
268   Id. at 70.
269   id.




PLAINTIFF'S ORIGINAL PETITION                                                                      69
as a safe drug with minimal safety risks.270 The ad depicts a man and boy fishing with a title in

large white letters exclaiming that "THERE CAN BE LIFE WITH RELIEF" with "LIFE WITH

RELIEF" as the largest words in the advertisement.271 Purdue then informs physicians that "[Ole

most serious risk associated with opioids, including OxyContin, is respiratory depression.""

            213.   Purdue fraudulently represented that respiratory depression was not only the most

serious risk for its own drug OxyContin, but for opioids in general, even though it knew that

opioids carried a risk of addiction and death.

            214.   The ad continues with benign side effects that may occur with the use of

OxyContin, such as "constipation, nausea, sedation, dizziness, vomiting, pruritus, headache, dry

mouth, sweating, and weakness."" These side effects are certainly a far cry from addiction or

death. Of course this ad also claims that OxyContin is a "continuous around-the-clock analgesic,"

which is equally false.274

            215.   Because of the bold misrepresentations and omissions in its ads occurring in the

October 2, 2002 JAMA issue, and one occurring in the November 13, 2002 issue, the FDA wrote

a warning letter to Michael Friedman, the Executive Vice President and Chief Operating Officer

of Purdue.' Mr. Abrams explained that "[y]our journal advertisements omit and minimize the

serious safety risks associated with OxyContin, and promote it for uses beyond which have been

proven safe and effective."" Mr. Abrams reprimanded Purdue for failing to present "aty

information" in the advertisement about the "potentially fatal risks" or the potential for abuse




" The Journal of American Medical Association, Nov. 13, 2002.
2

271 Id. at 1,3.
272j

273   !d.
274 JAMA, supra, at I, 3.
    Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc'ns, to Michael Friedman, Exec.
Vice Pres. and COO, Purdue Pharma L.P.
276 Id. at I.




PLAINTIFF'S ORIGINAL PETITION                                                                              70
associated with OxyContin.277

            2 16. Mr. Abrams was concerned that these advertisements suggested such a "broad use

of [OxyContin] to treat pain without disclosing the potential for abuse with the drug and the

serious, potentially fatal risks associated with its use. . . ."278 Purdue's actions were "especially

egregious and alarming" given "its potential impact on the public health."279 Mr. Abrams pointed

out to Purdue the reality that "[Ot is particularly disturbing that your November Ad would tout

'Life with Relief,' yet fail to warn that patients can die from taking OxyContin."28°

            217.   Purdue Pharma has consistently disregarded serious harm that it knew Oxycontin

caused. For example, in Kentucky in 2001, three people and one estate sued Purdue for becoming

addicted to OxyContin even though they were taking the drug as prescribed.281 Several similar

lawsuits were filed against Purdue by individuals.282 Dr. J. David Haddox, an executive at Purdue,

responded to these claims: "A lot of these people say, 'Well, I was taking the medicine like my

doctor told me to,' and then they start taking more and more and more                 I don't see where that's

my problem."283

            218.   Not surprisingly, three current and former executives from Purdue plead guilty in

2007 to criminal charges that they misled regulators, doctors, and patients about OxyContin's risk

of addiction.2" In pleading guilty to misbranding charges, Purdue admitted it had fraudulently

marketed OxyContin as a drug less prone to addiction and as having fewer side effects than other




277   Warning Letter from Thomas Abrams, supra.
278   Id. at 2.
" Id.
2

280Id. at 4.
'Chris Kahn, Maker of OxyContin Faces at least 13 Lawsuits," July 27, 2001, Port Arthur News.
282
      Id.
283
      Id.
284See Barry Meier, In Guilty Plea, OxyContin Maker to Pay S600 Million. May 1 0, 2007, available at
http:/Avww.nytimes.com/2007/05/10/business/Ildrug-web.html; see also Zee, Ex. B, at 3-4.



PLAINTIFF'S ORIGINAL PETITION                                                                              71
opioids.285 In reality, unlike most other opioids, OxyContin contained pure oxycodone without any

other ingredients, which made it a higher-dose narcotic despite its time-release design that Purdue

hawked as ameliorating its addictive potentia1.286

         219.     Defendants avoided detection of their fraudulent conduct by disguising their role

in the deceptive marketing through funding and using third parties, such as Front Groups and

KOLs. Doctors and patients trusted these third parties and did not realize that it was the

pharmaceutical companies that were actually feeding them false and misleading information.

         220.     Defendants also manipulated their promotional materials and the scientific

literature to make it appear that the information promoted was accurate, truthful, and supported by

objective evidence when it was not.

         221.     Thus, Defendants successfully concealed from the medical community and patients

facts sufficient to arouse suspicion of the claims Newton County now asserts. Newton County did

not know of the existence or scope of Defendants' industry-wide fraud and could not have acquired

such knowledge earlier through the exercise of reasonable diligence.

G.       By Increasing Opioid Prescriptions and Use, Defendants' Deceptive Marketing
         Scheme has fueled the Opioid Epidemic and Damaged Newton County Communities.

         222.     Defendants' misrepresentations deceived doctors and patients about the risks and

benefits of long-term opioid use. Studies reveal that many doctors and patients are unaware of or

do not understand the risks or benefits of opioids. Indeed, patients often report that they were not

warned they might become addicted to opioids prescribed to them. As reported in January 2016,

a 2015 survey of more than 1,000 opioid patients found that 4 out of 10 were not told opioids were




285 See Meier, supra.
"6 See id.




PLAINTIFF'S ORIGINAL PETITION                                                                    72
potentially addictive.287

            223.     Defendants' deceptive marketing scheme caused, and continues to cause, doctors

in and around Newton County to prescribe opioids for chronic pain conditions such as back pain,

headaches, arthritis, and fibromyalgia. Absent Defendants' fraud, these doctors would not have

prescribed as many opioids that negatively impacted residents of Newton County.

            224.     Defendants' deceptive marketing scheme also caused, and continues to cause,

patients to purchase and use opioids for their chronic pain believing they are safe and effective.

Absent Defendants' deceptive marketing scheme, fewer patients would be using opioids long-term

to treat chronic pain, and those patients using opioids would be using less of them.

            225.    Defendants' deceptive marketing has caused and continues to cause the prescription

and use of opioids to explode. Indeed, this dramatic increase in opioid prescriptions and use

corresponds with the dramatic increase in Defendants' spending on their deceptive marketing

scheme. Defendants' spending on opioid marketing totaled approximately $91 million in 2000. By

2011, that spending had tripled to $288 million.

            226.    The escalating number of opioid prescriptions written by doctors who were

deceived by Defendants' deceptive marketing scheme is the cause of a correspondingly dramatic

increase in opioid addiction, overdose, and death throughout the U.S. and Newton County. The

increase in opioid prescriptions equals an increase in "disability, medical costs, subsequent

surgery, and continued or late opioid use."288

            227.    Scientific evidence demonstrates a strong correlation between opioid prescriptions

and addiction to opioids. In a 2016 report, the CDC explained that prescribing opioids has



287   Hazelden Betty Ford Foundation, Missed Questions, Missed Opportunities, Jan. 27, 2016, available at

prevent-opioid-addiction.
288
   Manchikanti, Ex. A, at 23.




PLAINTIFF'S ORIGINAL PETITION                                                                               73
quadrupled since 1999, which has resulted in a parallel increase in opioid overdoses.289 Indeed,

there has been a two-third increase in overdose deaths from using opioids since 2000.290 For these

reasons, the CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are

critical "to reverse the cycle of opioid pain medication misuse that contributes to the opioid

overdose epidern ic."291

         228.     Due to the increase in opioid overdoses, first responders, such as police officers,

have been and will continue to be in the position to assist people experiencing opioid-related

overdoses.292 In 2016, "over 1,200 law enforcement departments nationwide carried naloxone in

an effort to prevent opioid-related deaths."293

         229.    Defendants' deceptive marketing scheme has also detrimentally impacted children

in Newton County. Overprescribing opioids for chronic pain has made the drugs more accessible

to school-aged children, who come into contact with opioids after they have been prescribed to

friends or relatives in the same household.

         230.    Defendants' conduct has adversely affected Newton County's child protection

agencies in the number of children in foster care driven by parental drug addiction. Children with

parents addicted to drugs tend to stay in foster care longer, and they often enter the system having

experienced significant trauma, which makes these cases more expensive for counties like Newton

County.




2" CDCINCEIS, National Vital Statistics System, Mortality, CDC Wonder, Atlanta, GA: US Department of Health
and Human Services, 2016, available at https://wonder.cdc.govi; Rudd RA, Seth P, David F. Scholl L. Increases in
Drug and Opioid-Involved Overdose Deaths— United States, 2010-2015, Morb Mortal Wkly Rep., Dec. 16, 2016.
29° CDC, National Vital Statistics System, Mortality, Morb Mortal Wkly Rep., Jan. 1, 2006, at 1378-82, Increases in
Drug and Opioid Deaths- United States, 2000-2014.
2'1 CDC Guideline for Prescribing Opioids for Chronic Pain, supra; see also Rudd, supra.
292 Tex. Att'y Gen. Op. No. KP-0168 (2017).

293 Id. citing http://www.nchrc.org/1 aw-en forcem ent/us- I aw-en forcem ent-who-carry-na I oxone/.



PLAINTIFF'S ORIGINAL PETITION                                                                                    74
        231.     Opioid addiction is one of the primary reasons that Newton County residents seek

treatment for substance dependence. A significant number of admissions for drug addiction were

associated with a primary diagnosis of opiate addiction or dependence.

        232.     Defendants' creation, through false and deceptive advertising and other unlawful

and unfair conduct, of a virtually limitless opioid market has significantly harmed Newton County

communities. Defendants' success in extending the market for opioids to new patients and chronic

pain conditions has created an abundance of drugs available for non-medical and criminal use and

fueled a new wave of addiction and injury. It has been estimated that 60% of the opioids to which

people are addicted come, directly or indirectly, through doctors' prescriptions.294

        233.     Law enforcement agencies have increasingly associated prescription drug addiction

with violent and property crimes. Despite strict federal regulation of prescription drugs, local law

enforcement agencies are faced with increasing diversion from legitimate sources for illicit

purposes, including doctor shopping, forged prescriptions, falsified pharmacy records, and

employees who steal from their place of employment. The opioid epidemic has prompted a

growing trend of crimes against pharmacies including robbery and burglary. This ongoing

diversion of prescription narcotics creates a lucrative marketplace.

        234.     The rise in opioid addiction caused by Defendants' deceptive marketing scheme

has also resulted in an explosion in heroin use. For example, heroin use has more than doubled in

the past decade among adults aged 18 to 25 years.295 Moreover, heroin-related overdoses in the

United States has more than quadrupled since 2010.296



294 Nathaniel P. Katz, Prescription ()plaid Abuse: Challenges and Opportunities for Payers, Am. J. Managed Care,
Apr. 19 2013, at 5 ("The most common source of abused [opioids] is, directly or indirectly, by prescription."),
available at http://www.ajme.com/publications/issue/2013/2013- -vol 1 9-n4/Prescription-Opioid-Abuse-Challenges-
and-Opportunities-for-Payers.
295 Centers for Disease Control and Prevention, Vital Signs: Today's Heroin Epidemic More People at Risk,

Multiple Drugs Abused, MMWR 2015, available at https://www.cdc.gov/vitalsigns/heroin/index.html.
296




PLAINTIFF'S ORIGINAL PETITION                                                                                 75
           235.     The costs and consequences of opioid addiction are staggering. For example, in

2007, the cost of healthcare due to opioid addiction and dependence was estimated at 25 billion,

the cost of criminal justice was estimated at 5.1 billion, and the cost of lost workplace productivity

was estimated at 25.6 billion.

           236.     Texas had the second highest healthcare costs in 2015 from opioid abuse in the

nation totaling $1 .96 billion.297 One in five Texas high school students has taken prescription drugs

without a valid prescription.298 And four of the top 25 cities for abuse in the United States — two

of them located in East Texas — is in Texas.299

           237.     Prescription opioid addiction and overdose have an enormous impact on the health

and safety of individuals, as well as communities at large, because the consequences of this

epidemic reach far beyond the addicted individual.

           238.     Newton County has also expended funds for false claims submitted on the County's

health plans that were paid as medically necessary when they were not and prescriptions for opioids

through worker's compensation benefits.

           239.     The repercussions for residents of Newton County therefore include job loss, loss

of custody of children, physical and mental health problems, homelessness and incarceration,

which results in instability in communities often already in economic crisis and contributes to

increased demand on community services such as hospitals, courts, child services, treatment

centers, and law enforcement. Defendants knew, and should have known, about the harms that

their deceptive marketing has caused, and continues to cause, and will cause in the future.

Defendants closely monitored their sales and the habits of prescribing doctors. Their sales




297   Craig, Pandemic, supra.
298 /d.
299 Id




PLAINTIFF'S ORIGINAL PETITION                                                                      76
representatives, who visited doctors and attended CM Es, knew which doctors were receiving their

messages and how they were responding.

       240.    Defendants also had access to and carefully watched government and other data

that tracked the explosive rise in opioid use, addiction, injury, and death. Defendants not only

knew, but intended that their misrepresentations would persuade doctors to prescribe and

encourage patients to use their opioids for chronic pain.

       241.    Defendants' actions are neither permitted nor excused by the fact that their drug

labels may have allowed, or did not exclude, the use of opioids for chronic pain. FDA approval

of opioids for certain uses did not give Defendants license to misrepresent the risks and benefits of

opioids. Indeed, Defendants' misrepresentations were directly contrary to pronouncements by, and

guidance from, the FDA based on the medical evidence and their own labels.

       242.    Nor is Defendants' causal role broken by the involvement of doctors. Defendants'

marketing efforts were ubiquitous and highly persuasive. Their deceptive messages tainted

virtually every source doctors could rely on for information and prevented them from making

informed decisions. And both doctors and patients in Newton County relied on information

Defendants distributed whether it was through ads, magazines, trade journals, websites, CM Es,

KOLs, and/or front groups. Defendants also hijacked what doctors wanted to believe — namely,

that opioids represented a means of relieving their patients' suffering and of practicing medicine

more compassionately.

       243.    The funds that Newton County has used and will continue to use for all the costs

associated with Defendants' false, misleading, and fraudulent marketing are taxpayer funds.

Defendants specifically targeted physicians in Newton County with fraudulent claims concerning

the benefits of opioids for chronic pain while omitting the lack of efficacy.




PLAINTIFF'S ORIGINAL PETITION                                                                     77
       244.    Defendants also fraudulently omitted the fact that opioids were addictive even

though they knew, or should have known, that physicians in Newton County would either use the

misinformation Defendants relayed to them to prescribe opioids to Newton County residents or

give this information to Newton County residents, resulting in the over-prescribing and/or overuse

of opioids in Newton County.

       245.    Defendants' actions and omissions were each a cause-in-fact of Newton County's

past and future damages. Defendants' wrongful conduct caused injuries to Newton County in the

past, continues to cause injuries to Newton County, and will continue to cause injuries to Newton

County in the future. Future damages include, but are not limited to, additional resources for

counseling and medication assisted treatment of addicts, medical treatment for overdoses, life

skills training for adolescents, increased law enforcement, and additional resources to treat the

psychological effects of opioids and the underlying conditions that make people susceptible to

opioid addiction, all of which will be obtained through taxpayer resources.

                VII. FIRST CAUSE OF ACTION: NEGLIGENT AND/OR
                 INTENTIONAL CREATION OF A PUBLIC NUISANCE
                           AGAINST ALL DEFENDANTS

       246.    Newton County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Petition as though fully alleged herein.

       247.    Defendants knowingly encouraged doctors in and around Newton County to

prescribe, and residents to use, highly addictive opioids for chronic pain even though Defendants

knew using opioids had a high risk of addiction and reduced quality of life.

       248.    By doing so, Defendants purposefully interfered with Newton County's public

health, public safety, public peace, public comfort, and public convenience.




PLAINTIFF'S ORIGINAL PETITION                                                                  78
         249.     Defendants, individually and in concert with each other, have contributed to and/or

assisted in creating and maintaining a condition that is harmful to the health and safety of Newton

County residents, and/or unreasonably interferes with the peace and comfortable enjoyment of life

in violation of Texas law.

         250.     The public nuisance created by Defendants' actions is substantial and unreasonable

— it has caused and continues to cause significant harm to the community — and the harm inflicted

outweighs any offsetting benefit.

         251.     The staggering rates of opioid use resulting from Defendants' marketing efforts

have caused, and continues to cause, harm to the community including, but not limited to:

                  a)       Upwards of 30% of all adults use opioids. These high rates of use have led
                           to unnecessary opioid addiction, overdose, injuries, and deaths;

                  b)       Children have been exposed to opioids prescribed to family members or
                           others resulting in injury, addiction, and death. Easy access to prescription
                           opioids has made opioids a recreational drug of choice among Newton
                           County teenagers; opioid use among teenagers is only outpaced by
                           marijuana use. Even infants have been born addicted to opioids due to
                           prenatal exposure causing severe withdrawal symptoms and lasting
                           developmental impacts;

                  c)       Residents of Newton County, who have never taken opioids, have endured
                           both the emotional and financial costs of caring for loved ones addicted to
                           or injured by opioids and the loss of companionship, wages, or other support
                           from family members who have used, become addicted to, overdosed on, or
                           been killed by opioids;

                  d)       More broadly, opioid use and addiction have driven Newton County
                           residents' health care costs higher300;

                  e)       Employers have lost the value of productive and healthy employees who
                           have suffered from adverse consequences from opioid use;

                  0        Defendants' success in extending the market for opioids to new patients and
                           chronic conditions has created an abundance of drugs available for criminal

" See,
1        e.g., Manchikanti; Ex. A, at 14 (stating that the escalating use of opioids in high doses over long periods of
time, lifetime use of long-acting drugs, or the combination has serious consequences for the costs of health care and
economic stability).




PLAINTIFF'S ORIGINAL           PETITION                                                                              79
                      use and fueled a new wave of addiction and injury. Defendants' scheme
                      created both ends of a new secondary market for opioids — providing both
                      the supply of narcotics to sell and the demand of addicts to buy them;


              g)      This demand has created additional illicit markets in other opiates,
                      particularly heroin. The low cost of heroin has led some of those who
                      initially become addicted to prescription opioids to migrate to cheaper
                      heroin, fueling a new heroin epidemic in the process;

              h)      Diverting opioids into secondary, criminal markets and increasing the
                      number of individuals who are addicted to opioids has increased the
                      demands on emergency services and law enforcement in Newton County;

                      All of Defendants' actions have caused significant harm to the community
                      — in lives lost; addictions endured; the creation of an illicit drug market and
                      all its concomitant crime and costs; unrealized economic productivity; and
                      broken families and homes;


              j)      These harms have taxed the human, medical, public health, law
                      enforcement, and financial resources of Newton County; and

              k)      Defendants' interference with the comfortable enjoyment of life of a
                      substantial number of people is entirely unreasonable because there is
                      limited social utility to opioid use and any potential value is outweighed by
                      the gravity of harm inflicted by Defendants' actions.

       252. Defendants knew, or should have known, that promoting opioid use would create a

public nuisance in the following ways:

              a)      Defendants have engaged in massive production, promotion, and
                      distribution of opioids for use by the citizens of Newton County;

              b)      Defendants' actions created and expanded the market for opioids,
                      promoting its wide use for pain management;

              c)      Defendants misrepresented the benefits of opioids for chronic pain and
                      fraudulently concealed, misrepresented, and omitted the serious adverse
                      effects of opioids, including the addictive nature of the drugs; and

              d)     Defendants knew, or should have known, that their promotion would lead
                     to addiction and other adverse consequences that the larger community
                     would suffer as a result.




PLAINTIFF'S ORIGINAL PETITION                                                                     80
        253.   Defendants' actions were, at the least, a substantial factor in doctors and patients

not accurately assessing and weighing the risks and benefits of opioids for chronic pain thereby

causing opioids to become widely available and used in Newton County.

        254.   Without Defendants' actions, opioid use would not have become so widespread and

the enormous public health hazard of opioid addiction would not have existed and could have been

averted.

       255.    The health and safety of the citizens of Newton County, including those who use,

have used, or will use opioids, as well as those affected by opioid users, is a matter of great public

interest and legitimate concern to Newton County's citizens and residents. It was foreseeable to all

Defendants that the burden of the opioid crisis would fall to counties like Newton County in the

form of social and economic costs. Specifically it was foreseeable that Newton County would

sustain damages as an employer obligated to provide healthcare coverage to its employees and as

a local government obligated to provide public services to its citizens.

       256.    The public nuisance created, perpetuated, and maintained by Defendants can be

abated and further reoccurrence of such harm and inconvenience can be prevented.

       257.    Defendants' conduct has affected and continues to affect a considerable number of

people within Newton County and is likely to continue to cause significant harm to patients who

take opioids, their families, and the community at large.

       258.    Each Defendant created or assisted in creating the opioid epidemic, and each

Defendant is jointly and severally liable for its abatement. Furthermore, each Defendant should be

enjoined from continuing to create, perpetuate, or maintain said public nuisance in Newton

County. Furthermore, Defendants should compensate Newton County for the funds it has

expended and continues to expend for medical insurance claims for opioids that were not medically




PLAINTIFF'S ORIGINAL PETITION                                                                      81
valid, as well as increased costs of social services, health systems, law enforcement, judicial

system, and treatment facilities.

              VIII. SECOND CAUSE OF ACTION: COMMON LAW FRAUD
                                       AGAINST ALL DEFENDANTS

       259.    Newton County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Petition as though fully alleged herein.

       260.    At all relevant and material times, Defendants expressly and/or impliedly warranted

that opioids were safe, of merchantable quality, and fit for use.

       261.    Defendants' superior knowledge and expertise, its relationship of trust and

confidence with doctors and the public, its specific knowledge regarding the risks and dangers of

opioids, and its intentional dissemination of promotional and marketing information about opioids

for the purpose of maximizing sales, each gave rise to the affirmative duty to meaningfully disclose

and provide all material information about the risks and harms associated with opioids.

       262.    At all relevant and material times, Defendants, individually and acting through their

employees and agents, and in concert with each other, fraudulently represented to physicians, who

Defendants knew would justifiably rely on Defendants' representations, that opioids were safe and

effective for treating chronic pain.

       263.    Defendants' false representations were fraudulently made, with the intent or

purpose that healthcare providers and patients would justifiably rely upon them, leading to the

prescription, administration, filling, purchasing, and consumption of opioids in Newton County.

       264.    Defendants' deliberate misrepresentations and/or concealment, suppression, and

omission of material facts as alleged herein include, but are not limited to:

               a)      Making false and misleading claims regarding the known risks of the
                       addictive nature of opioids and suppressing, failing to disclose, and
                       mischaracterizing the addictive nature of opioids and in concomitant costs,




PLAINTIFF'S ORIGINAL PETITION                                                                    82
                       such as overdoses, deaths, and heroin addiction;

               b)      Making false and misleading written and oral statements that opioids are
                       more effective than traditional pain killers for chronic pain, or effective at
                       all and/or omitting material information showing that opioids are no more
                       effective than other non-addictive drugs for chronic pain;

               c)      Issuing false and misleading warnings and/or failing to issue adequate
                       warnings concerning the risks and dangers of using opioids;

               d)      Making false and misleading claims downplaying the risk of addiction
                       when using opioids and/or setting forth guidelines that would purportedly
                       identify addictive behavior; and

               e)      Making false and misleading misrepresentations concerning the safety,
                       efficacy and benefits of opioids without full and adequate disclosure of the
                       underlying facts which rendered such statements false and misleading.

       265.    Defendants willfully, wantonly, and recklessly disregarded their duty to provide

truthful representations regarding the safety and risk of opioids, including the fact that upon

information and belief, there was suspicion for diversionary purposes.

       266.    Defendants made these misrepresentations with the intent that the healthcare

community and patients would rely to their detriment.

       267.    Defendants' misrepresentations were made with the intent of defrauding and

deceiving the medical community and consumers to induce and encourage the sale of opioids.

       268.    Defendants' fraudulent representations evidence their callous, reckless, willful, and

depraved indifference to the health, safety, and welfare of consumers living in Newton County.

       269.    Defendants omitted, misrepresented, suppressed and concealed material facts

concerning the dangers and risk of injuries associated with the use of opioids, as well as the fact

that the product was unreasonably dangerous.

       270.    Defendants' purpose was willfully blind to, ignored, downplayed, avoided, and/or

otherwise understated the serious nature of the risks associated with the use of opioids.




PLAINTIFF'S ORIGINAL PETITION                                                                      83
       271.    Defendants' failure to stem, rather than fuel spikes of opioid sales was intended to

encourage the sale of opioids, even if the circumstances provided suspicion for diversionary

purposes.

       272.    The treating medical community and consumers in Newton County did not know

that Defendants' representations were false and/or misleading and justifiably relied on them.

       273.    Defendants had sole access to material facts concerning the dangers and

unreasonable risks of opioids, which they intentionally concealed.

       274.    As a direct and proximate result of Defendants' fraudulent misrepresentations and

intentional concealment of facts, upon which the medical community and consumers in Newton

County reasonably relied, Newton County suffered actual and punitive damages.

                    LX.     THIRD CAUSE OF ACTION: NEGLIGENCE
                               AGAINST ALL DEFENDANTS

       275.    Newton County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Petition as though fully alleged herein.

       276.    Defendants have a duty to exercise reasonable care in marketing its opioids to

physicians treating residents of Newton County and Newton County residents. Defendants have

breached their duty by knowingly and fraudulently misrepresenting the benefits of, and

downplaying the risks of, opioids for chronic pain.

       277.    Defendants have used deceitful marketing ploys, KOLs, Front Groups, and other

schemes to increase profits at the cost of public health causing an opioid epidemic. Defendants

have acted willfully, wantonly, and maliciously.

       278.    As a proximate result, Defendants and its agents have caused Newton County to

incur excessive costs to treat the opioid epidemic in its county including, but not limited to,

increased costs of social services, health systems, law enforcement, judicial system, and treatment




PLAINTIFF'S ORIGINAL PETITION                                                                   84
facilities. It was foreseeable to all Defendants that the burden of the opioid crisis would fall to

counties like Newton County in the form of social and economic costs. Specifically it was

foreseeable that Newton County would sustain damages as an employer obligated to provide

healthcare coverage to its employees and as a local government obligated to provide public

services to its citizens.

        279.     Newton County and its residents are therefore entitled to actual and punitive

damages.

                 X.    FOURTH CAUSE OF ACTION: GROSS NEGLIGENCE
                             AGAINST ALL DEFENDANTS

        280.     Newton County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Petition as though fully alleged herein.

        281.     Defendants' marketing scheme to optimize profits by misrepresenting and falsely

promoting ()plaids as the panacea to chronic pain was done intentionally.

        282.     Defendants' hiring of KOLs, Front Groups, and others to spread its fraudulent

message that opioids were useful and beneficial for chronic pain was grossly negligent and done with

conscious indifference or reckless disregard for the safety of others.

        283.     Each Defendant's actions and omissions as described herein, singularly or in

combination with each other, were malicious resulting in damages and injuries to Newton County and

its residents.

        284.     At every stage, Defendants knew, or should have known, that their conduct would

create an unreasonable risk of physical harm to others, including Newton County and its residents,

and should be held liable in punitive and exemplary damages to Newton County.




PLAINTIFF'S ORIGINAL PETITION                                                                    85
               Xl.    FIFTH CAUSE OF ACTION: UNJUST ENRICHMENT
                             AGAINST ALL DEFENDANTS

       285.    Newton County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Petition as though fully alleged herein.

       286.    As an expected and intended result of their conscious wrongdoing as set forth in

this Petition, Defendants have profited and benefited from opioid purchases made by Newton

County and its residents.

       287.    When Newton County and its residents purchased opioids, they expected that

Defendants had provided necessary and accurate information regarding those risks. Instead,

Defendants had misrepresented the material facts regarding the risks and benefits of opioids and

distributed or disbursed opioids even though, upon information and belief, there was suspicion for

diversionary purposes.

       288.    Defendants took undue advantage and received a benefit because the County bore

the cost of the externalities of Defendants' wrongful conduct. Moreover, the County had no choice

and was effectively required to cover these costs to Defendants' benefit.

       289.    Defendants have been unjustly enriched at the expense of Newton County, and

Newton County is therefore entitled to damages to be determined by the jury.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays:

               a.     That the acts alleged herein be adjudged and decreed to be unlawful and that
                      the Court enter a judgment declaring them to be so;

               b.     That Defendants be enjoined from, directly or indirectly through KOLs,
                      Front Groups or other third parties, continuing to misrepresent the risks and
                      benefits of the use of opioids for chronic pain, and from continuing to
                      violate Texas law;




PLAINTIFF'S ORIGINAL PETITION                                                                   86
              c.     That Plaintiff recover all measures of damages, including punitive and
                     exemplary damages, allowable under the law, and that judgment be entered
                     against Defendants in favor of Plaintiff;

              d.     That Plaintiff recover restitution on behalf of Newton County consumers
                     who paid for opioids for chronic pain;

              e.     That Plaintiff recover the costs and expenses of suit, pre- and post-judgment
                     interest, and reasonable attorneys' fees as provided by law; and

              f.     That Defendants be ordered to abate the public nuisance that they created in
                     in violation of Texas common law.


Date: December 7,2018

                                    Respectfully Submitted,

                                    Newton County District Attorney

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PLAINTIFF'S ORIGINAL PETITION                                                                  87
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PLAINTIFF'S ORIGINAL PETITION   88
EXHIBIT A
                                                                           Pain Physician 2012) 15:E59-ES38             • ISSN 2150-1149



             Health Policy



           gbpioid Epidemic in the United States)


                           Laxmaiah Manchikanti, MD', 5tandiford Helm II, MD2, Bert Fellows, MA3, Jeffrey W. Janata,
                           PhD4, Vidyasagar Pampati, Mks, Jay 5. Grider, DO, PhDs, and Mark V. Boswell, MD, PhD7


    From:4/4Pain Management Center of            Over the past .tvvp decades as the prevalence of chronic pain and health care costs have
  Paducah, Paducah, KY, and 4/University           - xplo_ded, ap op_ioid epidemic with adverse consequences has escalated. Efforts to in-Crease
of Louisville, Louisville, KY; 'Pacific Coast
                                                 opioid use and a campaign touting the alleged undertreatment of pain continue to be
 Pain Management Center, Laguna Hills,
   CA; University Hospitals of Cleveland,        significant factors in the escalation)(many argurnents in favor of opioids are based solely_on
       Cleveland, OH; and 'University of        traditions,_expe_rt opjpion,. practiar we_rience_and uncontrolled anecdotal observations
                  Kentucky, Lexington, KY.      (Civer_the past 20_ years, the liberalization of laws_governing. the prescribing 9f_.ods for
                                                Che treatment of chronic non cancer painby the state medical boards has led_to drama_t4
     Dr. Manchikanti is Medical Director
      of the Pain Management Center of
                                                C:eases
                                                 ir        _in_opd _use. Thii . has evolved_ into the present_ stage, with the introduction
      Paducah, Paducah, KY, and Clinical        uf new pain management standards by _the. Joint Commission on the Accreditation o_D
            Professor, Anesthesiology and       [__
                                                 Healthcare Organizations (JCAHO) in 2000, an_increased awareness of the right to pa4
    Perioperative Medicine, University of        relief, the support of various organizations suppOiting, the use of opioids in_large dose
                  Louisville, Louisville, KY.
    Dr. Helm is Medical Director, Pacific
                                                 and finally, aggressive marketing by .the pharmaceutical industry. These positions are based
Coast Pain Management Center, Laguna             on unsound science and bl atant misinformatipn,_and_accomponied_by the dangerou
                                  Hills, CA.        ssumptiops that _opioids are higtly effective and_safeand devoid of adverse events when
      Bert Fellows is Director Emeritus of        , rescribed byplysicia6i)
        Psychological Services at the Pain
        Management Center of Paducah,
                               Paducah, KY.     Results of the 2010 National Survey on Drug Use and Health (NSDUH) showed that an
 Dr. Janata is Division Chief, Psychology,      estimated 22.6 million, or 8.9% of Americans, aged 12 or older, were current or past
 University Hospitals of Cleveland, Case        month illicit drug users, The survey showed that just behind the 7 million people who had
     School of Medicine, Cleveland, OH.
                                                used marijuana, 5.1 million had used pain relievers. It has also been shown that only one
      Vidyasagar Pampati is a Statistician
      at the Pain Management Center of          in 6 or 17.3% of users of non-therapeutic opioids indicated that they received the drugs
                    Paducah, Paducah, KY.       through a prescription from one doctor.
        Or. Grider is Associate Professor,
           Department of Anesthesiology,        The escalating use of therapeutic opioids shows hydrocodone topping all prescriptions
  University of Kentucky, Lexington, KY.
  Or. Boswell is Chairman, Department
                                                with 136.7 million prescriptions in 2011, with all narcotic analgesics exceeding 238 million
     of Anesthesiology and Perioperative        prescriptions. It has also been illustrated that opioid analgesics are now responsible for
       Medicine, University of Louisville,      more deaths than the number of deaths from both suicide and motor vehicle crashes, or
                              Louisville, KY    deaths from cocaine and heroin combined. A significant relations  "'-r—
                                                                                                                    lip escFs"1—'
                                                                                                                               3.etwrerr s"gin
               Address correspondence:
                                                of opioid pain relievers and deaths. The majprity of deaths 0%) occur in patie_n_ls_wjal
            Laxmaiah Manchikanti, M.D.           he are gjven_prescriptions_based on prescribinmpidelines by medical boardAwith 20%
                     21131. Lone Oak Road       of deaths in low dose opioid therapy of 100 mg of morphine equivalent dose or less per
               Paducah, Kentucky 41003          day and 40% in those receiving morphine of over 100 mg per day. In comparison, 40%
          E-mail: drImOthepainmd.com
                                                of deaths occur in individuals abusing the drugs obtained through multiple prescriptions,
       Disclaimer:There was no external         doctor shopping, and drug diversion.
       funding in the preparation of this
                             manuscript.         The purpose of this comprehensive review is to describe various aspects of crisis of opioid
              Conflict of interest: None.
                                                 use in the United States. iThe oatacIF.7t1-Tat must be surmountedáf primarily inapprcipnatel
        Manuscript received: o3/a8/24a2a        M61171-67fterr   ig7irch are largely based on a lack of knowledge,mrceive_d safety,m6
    Accepted for publication: 04/00012          fiFlaccurate belief of undertreatment of WO.

                  Free full manuscript:         Key words: Opioid abuse, opioid misuse, nonmedical use of psychotherapeutic drugs,
          www.painphysicianjournal.com
                                                nonmedical use of opioids, National Survey on Drug Use and Health, opioid guidelines.

                                                Pain Physician 2012; 15:E59-E538


                                                      www.painphysicianjournal.com
                                Pain Physician: Opioid Special Issue July 2012; 15:ES9-ES38




T         he Institute of Medicine (10M) recently published
          a report on relieving pain in America (1,2). The
          report identified multiple facts, including that
there are more than 116 million Americans with pain
persisting from weeks to years, with financial costs
                                                                     to condone an increase in prescribing (50,91-93). This
                                                                     is illustrated by the language in the model guidelines,
                                                                     which state (65), "no disciplinary action will be taken
                                                                     against a practitioner based solely on the quantity and/
                                                                     or frequency of opioids prescribed." Thus, the use of
ranging from $560 billion to $635 billion per year. The              opioids in general, including long-acting and potent
report alluded to the serious problem of the diversion               forms of opioids, have dramatically increased due to a
and abuse of opioid drugs, questioning their long-term               shift in regulations largely driven by published, albeit
usefulness. The 10M committee reported that when                     extremely weak, evidence suggesting that opioids are
opioids are used as prescribed; they can be safe and                 not only highly effective, but also safe in selected per-
effective for acute postoperative pain, procedural pain,             sons with chronic non-cancer pain, even though this se-
and patients nearing the end of life who desire more                 lection criteria are extremely weak and these guidelines
pain relief. While the 10M committee does promote                    have only facilitated overuse of opioids (31,71,94-98).
pain treatment, including opioids, they do acknowledge               Nearly 2 decades later, the scientific evidence for the
a serious crisis in the diversion and abuse of opioids               effectiveness of opioids for chronic non-cancer pain
and a lack of evidence for the long-term usefulness of               remains unclear (35,71,96,99-119).fg_additiontp_ongiA
opioids in treating chronic pain. Along with increases in           Egg concerns with regard to thE ladk         e_ffettiVenes4)
the prevalence of chronic pain, health care costs, and              (crf        s thronic nO '7='
                                                                                               i  ice.Cp
                                                                                                      -a n
adverse consequences due to opioid use, the opiold                  there is growing evidec                 le plysiologic and)
crisis is escalating (1-49). Despite mounting evidence,                                                   uças
efforts to increase opioid use based on the alleged
undertreatment of pain continue (50-63). In fact, Stein             (32,71,95,96;102,103:110-115,125"-140),-thiThiWIitTOO
(64) summarized the evidence succinctly, noting that                rRiTe7;to
                                                                     pi        -- jcTer
                                                                                     -iirry and                    ancl=)     m
"many arguments in favor of opioids are solely based                (13 02;36,95,96T 1f6-127, 136, 138:151.)—
                                                                                                            , a nd a ,sie-
                                                                                                                         a-d-Firi)
on traditions, expert opinion, practical experience, and            Cc=in opioid-related fatalities (32'34:37 129,130,152)
uncontrolled anecdotal observations."                               (1_62),) In fact, in 2008 drug poisoning in the United
      Starti                             tate
                                           .— mecMi-l:)oards
                                                         --)         States has been reported to contribute to one death
rirtailed.re-  siTictions. onlaws7qciv-erning the - prescrib")       every 15 minutes (160).turthermore, op.iords have been)
(ig of oploisis for.the.treatment of_chronic_non-cancq               shown to contribute to one ,death eve 36 minutes in
  •ain, resulting in a dramatic increase in the number of           (the United States in 2008..0i-relating witb_tbese fata10
6)rescriptions (65). This developm.ent gathered ,momen)             0:sales and substance abuse treatment.adrnissis
(turn .wit
         —h ,thintr:OiliTction of:ffeiv-J:fainThienagement)         (11-"aTE    sediaista 7)-i
                                                                                             -5117(125712T 159;160 64:1_683
rstandcfcfor iri.,ati-at-Wc1_     -6T.it-Ftient medi5.17R                With the above background highlighting a steady
(implerrirehtid by,thejoiht,COltaiSsiori-On- the AcTred1)           increase in fatalities with opioid use and very little evi-
(tatio.n of ,Health Car_e_OrganizatirTr-  IsAJCAHOrin-20'00)        dence of effectiveness, it remains to be seen who will
(Tgand -an 'increased -aWareness o_f tb.e right t6 pein re)         ultimately bear the responsibility for the premature
Et:I   nth
        —-   0 which provicteci                 f or physicians.    adoption of opioids as a treatment standard (116). It
ke Oth.W        - fa-cr2g an. increase in ,prescripj                has been speculated that in the coming years, there will
r—Tcle
 tons incli.                         ting by the pharmateu-         likely be an extensive "postmortem" on the massive
Fc7fTriaL717-  0--hri7O=r---     ) of opioids,by.riumerous   7      opioid treatment movement and the escalating social
E—-
  lysidans arx                  )e.increased "..--.-.----
                                                 use cif opioids)   crisis that has accompanied it (116).(FiliNTe7511M
(j,rT theyeatrr-iFitT)f.efu:iriiTiirabcer p-aji2,..0-KifiyA         cepted that this massive treatment movement has led
rairorganizations. These                                            rn
                                                                    to.hu ecaateral
                                                                                  --    ciary     Iterms of diveron,
                                                                                                            .---     misuse,)
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based on untenable science and misinformation, and                  for chronic non-cancer pain is in direct violation of the
contended that opioids ace highly effective and saf                  establi5he0 cardinal prir7717717ri
                                                                    C-                                             vention
Pitb-cT.it -a-dveise-effFcthen prsa'ibed bKp_f_y
                                              i                      - that there be compelling evidence of the benefit of a
                     Moreover, a recent examination of              (therapy prior to its largezscale_use (116)
model guidelines for curtailing controlled substance                    A cautious approach has been advocated in recent
abuse revealed that the guidelines appeared instead                 years by many (17,33,35,49,110-115,117-119,169). This



ES10                                                                                                www.painphysicianjournal.com
                                                Opioid Epidemic in the United States




manuscript is undertaken to evaluate the escalating                        population. Cocaine was used by 1.5 million, whereas
opioid crisis which although heavily regulated, contin-                    hallucinogens were used in the past month by 1.2 mil-
ues to be uncontrolled.                                                    lion persons (Fig. 1 and Table 1). Next to marijuana, 7.0
                                                                           million (27%) persons age 12 or older had used pre-
1.0 NON-MEDICAL USE OF
                                                                           scription-type psychotherapeutic drugs non-medically
PSYCHOTHERAPEUTIC DRUGS
                                                                           in the past month (current use). Of these, 5.1 million
                                                                           had used pain relievers. The category of psychother-
1.1 Current Non-Medical Use                                                apeutics used in the tables and figures includes the
     Results of the 2010 National Survey on Drug Use                       nonmedical use of any prescription-type pain relievers,
and Health (NSDUH) (170), an annual survey sponsored                       tranquilizers, stimulants, or sedatives. However, over-
by the Substance Abuse and Mental Health Services Ad-                      the-counter substances are not included in these stud-
ministration (SAMHSA), showed that an estimated 22.6                       ies. The categories of nonmedical use of psychothera-
million, or 8.9% of Americans, age 12 or older, were cur-                  peutics and pain relievers were well ahead of the illicit
rent (past month) illicit drug users, Illicit drugs include                use of cocaine, hallucinogens, inhalants, methamphet-
marijuana, cocaine, heroin, hallucinogens, inhalants, or                   amine, heroin, and lysergic acid diethylamide (LSD).
prescription-type psychotherapeutics (defined in this                          Overall, there has been an increase in the cur-
survey as prescription-type pain relievers, tranquilizers,                 rent use of all illicit drugs and marijuana, without any
stimulants, and sedatives) used non-medically. Marijua-                    change for psychotherapeutics and hallucinogens and
na was the most commonly used illicit drug with 17.4                       a decrease for cocaine from 2002 to 2010, as shown in
million current (past month) users, or 6.9% of the US                      Fig. 2.




                                   Illicit Drugs"                                                                     22.6


                                      Marijuana                                                         17.4


                         Ptyc.hotherapeutics                               7.0


                                         Cocaine I 15


                                Hallucinogens
                                                      11.2


                                        Inhalants I 0.7


                                           Heroin        0.2


                                                     0             5             10           15            20            25

                                                                           Numbers in Millions
                        Drugs include marijuana/hashish. cocaine (including cradr), heroin, hallucinogens, ,inhalanz, or prescription-
                  type psychotherapentics used nomneditally,


 Fig. I. Past month illicit drug use among persons aged 12 or older: 2010.
 Source: Substance Abuse and Mental Health Services Administration. Results front the 2010 National Survey on Drug Use and Health: Sum-
 mary of National Findings. httpl/www.samhsa.govidataiNSDUH/2k lONISDUH/2k10Results.pdf (170) Access date 2/22/2012.



www.painphysicianjournal.com                                                                                                              E511
                            Table I. Types of illicit drug use in the past month among persons aged 12 or older: Numbers in thousands, from 1998 to 2010.


                                                                                                                                                                                                        12-Year %
                              Drugs                     1998      1999      2000      2001      2002       2003       2004       2005       2006        2007       2008       2009        2010         change from
                                                                                                                                                                                                       1998 to 2010

                              Nonmedical Use of         2,477     3.952     3.849     9.811      6,287      6,451     6,110      6.491      7,095'      6,895      6.224       6,953      6,967
                                                                                                                                                                                                          181%        1
                              Psychotherapeuticei      (1.1%)    (1.8%)    (1.7%)    (2.1%)     (2.7%)     (2.7%)    (2.5%)     (2.7%)      (2.9W)     (2.8%)     (2.5%)      (2.8%)     (2.7%)

                                                                                      3,497
                                                                  2,621     2.782                4,377      4,693      4,404     4,658       5,220      5,174      9,747       5.257      5.100
                              Pam Relievers               --                                                                                                                                               NA
                                                                 (1.2%)    (1.2%)               (1.9%)     (2.0%)     (1.8%)    (1.9%)      (2.1%)     (2.1%)     (1.9%)      (2.1%)     (2.0%)
                                                                                      (1,6%)




                                                                                                                                                                                                                          Pain Physician: Opioid Special Issue July 2012; 15:ES9-ES38
                                                                                                                       325        334        276         369        435        510         564
                              OxyContin'                  --        --        --        --         -         -                                                                                             NA
                                                                                                                      (0.1%)     (0.1%)    (0.1W)      (0.1%)     (0.2%)      (0.2%)     (0.2%)

                                                         655      1,097     1,000      1,358     1,804      1,830      1,616     1,817       1,766      1,835      1,800       2,010      2.160
                              Tranquilizers                                                                                                                                                               230%
                                                       (0.3%)    (0.5%)    (0.4%)     (0.6%)    (0.8%)     (0.8%)     (0.7%)    (0.7%)      (0,7%)     (0.7%)     (0.7%)      (0.8%)     (0.9%)

                                                                                                                      1,312'     1,188"
                                                         633       950       788       1,018     1,303'    1,310'                            1,385"     1,053       904        1,290      1.077
                              Stimulants                                                                                                                                                                   70%
                                                       (0.3%)    (0.4%)    (0.4%)     (0.5%)    (0.690)   (0.690                            (0.696°)   (0,4%)     (0.4%)      (0.5%)     (0.4%)
                                                                                                                     (0.5%")    (0.$W)
                                                                             175
                                                         210       229                  306      436°        294        265       272        385         346        234        370         374
                              Sedatives'                                                                                                                                                                   78%
                                                       (0.1%)    (0.1%)               (0.1%)   (0.290)     (0.1%)     (0.1%)    (0.1%)     (0.2%)      (0.1%)     (0.1%)      (0.1%)     (0.1%)
                                                                            (0.1%)

                              Marijuana and            11,016    10,458     10,714    12,122    14,584     14,638     14,576    14,626      14,813     14,448     15.203      16,718     17,373
                                                                                                                                                                                                           58%
                              Hashish                  (5.0%)    (4.7%)      (4.8)    (5.4%)    (6.2%)     (6.296)    (6.1%)    (6.0%)      (6.0%)     (5.8%)     (6.1%)      (6.6%)     (6.9%)

                                                                                      1,667
                                                        1,750     1,552     1,213                2,020      2,281      2,021     2,397       2,421      2.075      1,855       1,637      1,466
                              Cocaine                                                                                                                                                                     -16%
                                                       (0.8%)    (0.7%)    (0.5%)               (0.9%)     (1.0%)     (0.8%)    (1.0%)      (1.0%)                            (0.7%)     (0.6%)
                                                                                     (0.7%)

                              TOTAL ILLICIT
                                    ILLICIT            13.615    13,829    14,027     15,910    19.522     19,470      19.071   19,720      20,357     19.857     20,077      21,813     22.622
                                                                                                                                                                                                           66%
                              DRUGS'                   (6.2%)    (6.3%)    (6.3%)     (7.1%)    (8.3%)     (8.2%)     (7.9%)    (8.1%)      (8.3%)     (8.0%)     (8.0%)      (8.7%)     (8.9%)
                             - Not available.
                            Note: 2002 to 2008 data is based on 2008 National Survey on Drug Use and Health Survey Report.
                            a Difference between estimate and 2008 estimate is statistically significant at the 0.05 level.b Difference between estimate and 2008 estimate is statistically signifi-
                            cant at the 0.01 level,
                            1 Illicit Drugs include marijuana/hashish, cocaine (including crack). heroin, hallucinogens. inhalants, or prescription-type psychotherapeutics used nonmedi-
umpleuino!uepskidu!ed•mmA




                            cally. Illicit Drugs Other
                            Than Marijuana include cocaine (including crack), heroin, hallucinogens, inhalants, or prescription-type psychotherapeutics used nonmedically. The estimates
                            for Nonmedical Use of Psychotherapeutics. Stimulants, and Metharnphetamine incorporated in these summary estimates do not include data from the metham-
                            phetamine items added in 2005 and 2006.
                            2 Nonmedical use of prescription-type psychotherapeutics includes the nonmedical use or pain relievers, tranquilizers, stimulants, or sedatives and does not
                            include over-the counter drugs.
                            3 Estimates of Nonmedical Use of Psychotherapeutic& Stimulants, and Methamphetarnine in the designated rows include data from methamphetamine items added
                            in 2005 and 2006 and are not comparable with estimates presented in NSDUH reports prior to the 2007 National Findings report. For the 2002 through 2005 survey
                            years. a Bernoulli stochastic imputation procedure was used to generate adjusted estimates comparable with estimates for survey years 2006 and later.
                            Source: SAM HSA, Office of Applied Studies, National Survey on Drug Use and Health. 1998 - 2010.
                            wwwsamhsa.gov/data/NSDUH/2kIONSDUHi2ktOResult5.pdf(170) Access date 2/22/2012
                                                        Opioid Epidemic in the United States



                                                                                                                           8.9
                                                                                                                 11.7
                                                      8.2+                          8.3*
                                                                         8.1+                 8.0+      ao+
                                                                7.9*

                                                                                                                           6.9
                                                                                                                 6.6
              Percent Using in Past Month




                                                                6.14     6.0+       6D*                 6.1 +
                                                                                             5.6+




                                                                                    2.9       2.6                2.6
                                             2.7      2.7                2.7                                               27
                                                                2.5                                     2.5
                                                                                                                 -IF       •
                                                                                    1.0+
                                                                                             os+        0.7 t    0.7       0.6

                                             0.5  0.4  0.4+  i.4  0.                         0.4  t.4  0.5   0.5
                                              i    I    I     I    i                          I    I     I    I
                                            2002 2003 2004 2005 2006                        2007 2008 2009 2010

                                            -6- Illicit Drugs          -4- Marijuana                 •--g- Psychotherapeutics
                                            7A- Cocaine                    Hallucinogens
      - Difference between this estimate and the 2010 estimate is statistically significant at the .05 level.


  Fig. 2. Past month use of selected illicit drugs among persons aged 12 or older: 2002-2010.
  Source: Substance Abuse and Mental Health Services Administration. Results from the 2010 National Survey on Drug Use and Health:
  Summary or National Findings. http://www.samhsa.gov/data/NSDUI-1/ 2k1ONSDUH/2k1OResults.pdf (170) Access date 2/22/2012




1.2 Past Year Initiates                                                         1.3 Past Year Use
     In 2010, there were 2.4 million persons age 12 or                                The analysis of long-term statistics based on yearly
older who used psychotherapeutics non-medically for                             use of illicit drugs is disturbing. The past year use of il-
the first time within the past year. Numbers of new                             licit drugs in 2010 was 38.806 million, or 15.3% of the
users for specific psychotherapeutics in 2010 were 2.0                          population (Table 3). Nonmedical use of psychothera-
million for pain relievers, 1.2 million for tranquilizers,                      peutics for the past year in the 2010 survey was 16.031
624,000 for stimulants, and 252,000 for sedatives (Table                        million or 6.3% population age 12 or older, compared
2 and Fig. 3). The specific drug categories with the larg-                      to 2.6% of the population in 1998. Of importance is the
est number of recent initiatives among persons age 12                           fact that nonmedical use of psychotherapeutics was just
or older were nonmedical use of pain relievers (2,004                           behind marijuana and hashish with use by 11.5% of
million) and marijuana (2,426 million), followed by                             the population age 12 or older in 2010, increased from
nonmedical use of tranquilizers (1,238 million), ecstasy                        8.6% in 1998. Overall, nonmedical use of psychothera-
(0.937 million), inhalants (0.793 million), cocaine (0.637                      peutics increased 178% from 1998 to 2010, compared
million), and stimulants (0.624 million) (Fig. 3). More                         to marijuana 56% and cocaine at 17%.
strikingly, in 2010, the number of new nonmedical users
of OxyContin (oxycodone) age 12 or older was 598,000                            1.4 Lifetime Use
with an average age at first use of 22.8 years among                                Lifetime use of illicit drugs (lifetime use indicates
those age 12 to 49 (170).                                                       use of a specific drug at least once in the respondent's



www.painphysicianjournal.com                                                                                                          ES13
                                               -0 O W =
                                                  rT,                  Table 2. Past year initiates for illicit drags from 1998 to 2010 (numbers in thousands) for 12 years.
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                                                        f9                                  1998      1999    2000    2001    2002     2003    2004    2005     2006      2007     2008      2009     2010      12-Year
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                                 w U1 ID N-1                                                                                                                                                                  % change
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                                             eL                        Drugs
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                                         _= c.,,,                      Pain                 1,548     1,810   2,268   2,400   2,320    2,456   2.922   2,193    2,150     2,147    2,176     2,179    2,004       29%
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                                                             2),       Tranquilizers            860   916     1,298   1.212   1,189    1,071   1.180   1,286    1.112     1.232     1.127    1,226    1,238       44%
                                 •                1 ▪
                                         0- tol :•1
                                   (1)
                                 10`g. o 5 fP
                                 2 0                                   Stimulants'              648   706     808     853      783     715     793'    647      8454       642      $99      702      624         -9%
                                 "t                 = 0 n
                                                        <
                                 • 11 3
                                    7 o       Di                       Sedatives                197    164    191     225      209     199     240     247       267       198      181       186      252        71%
                                 ea o CD 0.H.3
                                           3" 0




                                                                                                                                                                                                                                           Opioid Special Issue July 20 12;
                                         .           C ft,
                                                    tn ,< CD           Marijuana           2,498      2,640   2,746   2.793   2,196    1,973   2,142   2,114    2,063     2,090    2,208     2,361    2,926       .3%
                                 CD      3 3. W
                                              3
                                       ▪ NJ „
                                 ,•••• "      "n
                                         -a
                                          .40
                                                    7 a                Cocaine                  868   917     1,002   1,140   1.032'   986     998'    872'     9774      906'      722      617      637        -27%


                                                                       Heroin                   140    121     114     154     117      92      118     108      91        106      114       180      140        0%
                                 O;      a; 2 3         3.                           .   ,...
                                 •       cn         D    3
                                         -          3 0 ip         Note: 2002 to 2008 data is based on 2008 National Survey on Drug Use and Health Survey Report.
                                                    fP z 74,       -- Not available.
                                 =-•     5  C 0
                                       =                           a Difference between estimate and 2008 estimate is statistically significant at the 0.05 level.
                                 1,..J oTican 3                    b Difference between estimate and 2008 estimate is statistically significant at the 0.01 level.
                                                    -0 to
                                      -• tr, c                       Illicit Drugs include marijuana/hashish, cocaine (including crack), heroin, hallucinogens, inhalants, or prescription-type psychotherapeutics used
                                 0 3            "
                                      p..) 0.-u m                  nonmedically. Illicit Drugs Other Than Marijuana include cocaine (including crack), heroin, hallucinogens, inhalants, or prescription-type psychothera-




                                                                                                                                                                                                                                                                          15:ES9-E538
                                      9,           n               peutics used nonmedieally. The estimates for Nonmedical Use of Psychotherapeutics. Stimulants, and Methamphetamine incorporated in these summary
                                           1.0.       -•
                                                r -0 St            estimates do not include data from the methamphetamine items added in 2005 and 2006. See Section B.4.8 in Appendix B of the Results from the 2008
                                      0 =o;        „.
                                 .74;       F. C 0s                National Survey on Drug Use and Health: National Findings.
                                 CD p ru           D a             2 Nonmedical use of prescription-type psychotherapeutics includes the nonmedical use of pain relievers, tranquilizers, stimulants, or sedatives and does
                                                      4.
                                  3 -R.                            not include over-the counter
                                          to .<
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                                  CD                               drugs.
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                                 C         Z.   3•
                                 c,s    o 41) 0                    3 Estimates of Nonmedical Use of Psychotherapeutics. Stimulants, and Methamphetamine in the designated rows include data from methamphetamine
                                     o- 3
                                 • n,               c eD           items added in 2005 and 2006 and are not comparable with estimates presented in NSDUH reports prior to the 2007 National Findings report. For the
                                 - -0      0"                      2002 through 200$ survey years, a Bernoulli stochastic imputation procedure was used to generate adjusted estimates comparable with estimates for sur-
                                  - 0 ira to
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                                              1:1 P                vey years 2006 and later.
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                                           C c                     Source: Substance Abuse and Mental Health Services Administration. Results from the 2010 National Survey on Drug Use and Health: Summary of Na-
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                                                                   tional Findings. http://www.samhsa.govidata/NSDUH/2k1ONSDUlii2k1 OResults.pdf (170) Access date 2/22/2012
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                                                                                                   PCP
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                                        164arlpana Tienquers tritiatints  Stimulate Sedatives
          Note: The specific drug refers to the one that was used for the first time, regardless of whether it was the first drug
                 used or not.


  Fig. 3. Pass year iniiiates for specific illicit drugs among persons aged 12 or older: 2010.
  Source: Substance Abuse and Mental Health Services Administration. Results from the 2010 National Survey on Drug Use and Health:
  Summary of National Findings. hupl/www.samhsa.goe/data/NSDUH/2kIONSDUH/2kloResults.pd((170) Access date 2/22/2012




sons age 12 or older was topped by marijuana (41.9%                     est rate among 21 to 25 year olds 20.5% (Fig. 6) (144).
of the population) followed by nonmedical use of psy-                   In 2010, adults age 26 or older were less likely to be
chotherapeutics (20.4% of the population).                              current drug users than youths age 12 to 17 or young
                                                                        adults age 18 to 25 (6.6 versus 10.1 and 21.5%, respec-
1.5 Abuse Based on Age                                                  tively). However, there were more drug users age 26 or
     In 2010, young adults age 18 to 25 demonstrated                    older (12.8 million) than users in the 12-to-17-year age
rates of current use of illicit drugs to be higher (21.5%)              group (2.5 million) and 18-to-25-year age group (7.3
than for youths age 12 to 17(10.1%) and adults age 26                   million) combined.
or older (6.6%), with 6.9% using marijuana, 2.7% using
psychotherapeutics non-medically, 0.6% using cocaine,                   1.6 Abuse Based on Gender
and 0.5% using hallucinogens among young adults 18-                         In 2010, the survey results were similar to prior
25 (Fig. 4). Past month nonmedical use of prescription-                 years with males being more likely than females to be
type drugs among young adults increased from 20.2%                      current illicit drug users (11.2% versus 6.8%). Males
in 2002 to 21.5% in 2010. This was primarily due to an                  were more likely than females to be past month users
increase in the rate of pain reliever use which was 4.1%                of marijuana (9.1% versus 4.7%). Rates of past month
in 2002 and 4.9% in 2006 (170). As illustrated in Figure                nonmedical use of psychotherapeutic drugs among
5, overall illicit drug use increased from 8.3% to 8.9% in              males and females was 3% and 2.5%, pain relievers was
2010 in the age group from 18 to 25.                                    2.3% and 1.7%, cocaine was 0.8% and 0.4% and hal-
     Rates of past month illicit drug use varied with age.              lucinogens was 0.6% and 0.3% (170).
Through the adolescent years from 12 to 17, the rates
of current illicit drug use in 2010 increased from 4.0%                 1.7 Abuse During Pregnancy
at ages 12 or 13, to 9.3% at ages 14 or 15, to 16.6%                         Among pregnant woman age 15 to 44 years, a sig-
at ages 16 or 17 (170). The highest rate of 23.1% was                   nificantly lower proportion of women used illicit drugs
noted among persons age 18 to 20, with the next high-                   in the past month (4.4%) compared to 10.9% of their



www.painphysicianjournal.com                                                                                                         ES15
                           Table 3. Types of illicit drug use in the past year among persons aged 12 or older: numbers in thousands from 1998 to 2010 (12 years).
                                                                                                                                                                                                             12-year
                                                                                                                                                                                                            % change
                                    Drugs             1998        1999       2000           2001     2002        2003        2004       2005        2006       2007        2008          2009      2010
                                                                                                                                                                                                            from 1998
                                                                                                                                                                                                              to 2010
                             Nonmedical Use of       5,759      9,220       8,761      11.102      14,795      15.163      14.849      15.346     16,482"     16,280'    15,166         16,006    16,031
                                                                                                                                                                                                            178%
                             Psychotherapeuticsa-    (2.6%)     (4.2%)      (3.9%)     (4.9%)      (6.3%)      (6.4%)      (6.2%)      (6.3%)     (6.7%1      (6.6%1     (6.1%)         (6.4%)    (6.3%)
                                                                 6,582      6,466      8,353       10.992'     11,671      11,256      11,815     12.649      12,466     11.885         12,405    12.213    85%
                              Pain Relievers         --
                                                                 (3.0%)     (2.9%)     (3.7%)      (4.7%)      (4.9%)      (4.7%)      (4.9%)     (5.1%1      (5.0%)     (4.8%)         (4.9%)    (4.8%)    From 1999
                                                                                                                           1,213'      1.226      1,323       1,422      1,459          1,677     1,869     54%
                              OxyContin°             --          --         --         --          --          --




                                                                                                                                                                                                                        PainPhysician: Opioid Special Issue July 2012; 15:ES9-ES38
                                                                                                                           (0.5%)      (0.5%)     (0.5%)      (0.6%)     (0.6%)         (0.7%)    (0.7%)    From 2004
                                                     1,940       2,728      2,731      3,673       4,849       5,051       5,068       5,249      5,058       5,282      5,103          5,460     5,581
                              Tranquilizers                                                                                                                                                                 188%
                                                     (0.9%)      (1.2%)     (1.2%)     (1.6%)      (2.1%)      (2.1%)      (2.1%)      (2.2%)     (2.1%)      (2.1%)     (2.0%)         (2.2%)    (2.2%)
                                                     1,489       2,291      2.112      2.486       3,380"      3.03P       3.250       3,088'     3,791°      2398       2.639          3,060     2,887
                              Stimulants3                                                                                                                                                                   99%
                                                     (0.7%)      (1.0%)     (0.9%)     (1.1%)      (1.4%1      (1.3961     ( I AV)     (1.3961    (1.590)     (1.2%)     (1.1%)         (1.2%)    (1.1%)
                                                     522         631        611        806         981b        831a        737         750        926 b       864'       621            811       907
                              Sedatives                                                                                                                                                                     56%
                                                     (0.2%)      (0.3%)     (0.3%)     (0.4%)      (0.4%1      (0.3%1      (0.3%)      (0.3%)     (0.4961     (0.3%9     (0.2%)         (0.3%)    (0.4%)
                             Marijuana and           18,710      19,102     18,589     21,096       25,755     25,231      25,451      25,375     25,378      25,095     25,768         28,521    29.206
                                                                                                                                                                                                            56%
                             Hashish                 (8.6%)      (8.6%)     (8.3%)     (9.3%c)      (11.0%1    (10.6%)     (10.6%)     (10.4%)    (10.3%)     (10.1%)    (10.3%)        (11.3%)   (11.5%)
                                                                                                                           5, 658
                                                     3.811       3,742      3,328      4,186       5,902'      5.908'                  5,523      6,069"      5,738      5,255          4,797     4,449
                             Cocaine                                                                                       (2.4%                                                                            17%
                                                     (1.7%)      (1.7%)     (1.5%)     (1.9960     (2,5961     (2,5%1                  (2.3%)     (2.5961     (2.3%)     (2.1%)         (1.9%)    (1.8%)
                                                                                                                           al
                             TOTAL ILLICIT           23,115      25,402     24.535     28.409      35,132      34,993      34.807      35.041     35.775      35.692     35.525         37.957    38,806
                                                                                                                                                                                                            68%
                             DRUGSI                  (10.6%)     (11.5%)    (11.0%)    (12.6%1     (14.9%1     (14.7%)     (14.5%)     (14.4%)    (14.5%)     (14.4%)    (14.2%)        (15.1%)   (15.3%)

                           -- Not available.
                           Note: 2002 to 2010 data is based on 2010 National Survey on Drug Use and Health Survey Report. a Difference between estimate and 2010 estimate is sta-
                           tistically significant at the 0.05 level. b Difference between estimate and 2010 estimate is statistically significant at the 0.01 level.
                           1 Illicit Drugs include marijuana/hashish, cocaine (including crack), heroin, hallucinogens, inhalants, or prescription-type psychotherapeutics used non-
                           medically. Illicit drugs other than marijuana include cocaine (including crack), heroin, hallucinogens, inhalants, or prescription-type psychotherapeutics
                           used non-medically. The estimates for nonmedical use of psychotherapeutics, stimulants, and methamphelamine incorporated in these summary estimates
                           do not include data from the methamphetamine items added in 2005 and 2006.
                           2 Nonmedical use of prescription-type psychotherapeutics includes the nonmedical use of pain relievers, tranquilizers, stimulants, or sedatives and does
                           not include over-the counter drugs.
n o [u ep!sA qd u!ed•hwm




                           3 Estimates of nonmedical use of psychotherapeulics. stimulants, and methamphetamine in the designated rows include data from methamphetamine
                           items added in 2005 and 2006 and are not comparable with estimates presented in NSDUI-I reports prior to the 2007 National Findings report. For the 2002
                           through 2005 survey years, a Bernoulli stochastic imputation procedure was used to generate adjusted estimates comparable with estimates for survey years
                           2006 and later.
                           Source: Substance Abuse and Mental Health Services Administration. Results from the 2010 National Survey on Drug Use and Health: Summary of Na-
                           tional Findings. http://www.samhsa.gov/data/NSDUH/2k1ONSDUH/2k10Results.pdf (170). Access date 2/2212012
WO3'
   e
woD-I ew nofuep!sAydu!ed.mmm
                               Table 9. Types of illicit drugs of lifetime use among persons aged 12 or older: numbers in thousands, 1998 —2010.



                                                                                                                                                                                                                    12-Year
                                                                                                                                                                                                                    % change
                                Drug                    1998       1999        2000        2001        2002         2003         2004         2005         2006        2007           2008      2009      2010
                                                                                                                                                                                                                    from 1998
                                                                                                                                                                                                                    to 2010



                                Nonmedical Use of       20.193      34.076     32,443      36.028      47,958"      49,001'      49,157       49,571 a     50,965      50,415         51,970    51,771    51,641
                                                                                                                                                                                                                    156%
                                Psychotherapeutics'     (9.2%)      (15.4%)    (14.5%)     (16.0%)     (20.4%)      (20.6%)      (20.9%)      (20.4%)      (20.7%)     (20.3%)        (20.8%)   (20.6%)   (20.4%)

                                                                    19,888     19,210      22,133      29,611 b     31.207"      31.768 "     32.692"      33,472      33,060         34.861    35,046    34,776    75%
                                Pain Relievers           --
                                                                    (9
                                                                    __ .0%)    (8.6%)      (9.8%)      (12.6%")     (13.1%')     (13.2% `)    (13.4%)      (13.6%)     (13.3%)        (14.0%)   (13.9%)   (13.7%)   From 1999
                                                                                                       1,924 b      2.832 "      3,072 "      3,481"       4.098 "     4.359          4,842     5,829     6,121     218%
                                OxyContin*               --
                                                                                                       (0.8% b)     (1.2% ")     (1.3% b)     (1.4% ")     (1.7%")     (1.8%)         (1.9%)    (2.3%)    (2.4%)    From 2002




                                                                                                                                                                                                                                sa esPal!un aqiu! 3!wapd3 pp!do
                                                        7,726       13,860     13,007      13,945      19,267 '     20,220       19,852'      21,041       21,303       20,208        21,476    21.755    22,103
                                Tranquilizers                                                                                                                                                                       186%
                                                        (3.5%)      (6.3%)     (5.8%)      (6.2%)      (8.2%)       (8.5%)       (8.3%)       (8.7%)       (8.7%)       (8.2%)        (8.6%)    8.6%)     (8.796)
                                                        9,614       15,922     14,661      16,007      23,496 b     23,004 '     22,297       20,983       22,468       21,659        21,206    21,930    21,660
                                Stimulants                                                                                                                                                                          125%
                                                        (4.9%)      (7.2%)     (6.6%)      (7.1%)      (10.0%4      (9.7%")      (9.3%b)      (8.6%)       (9.l%•)      (8.7%)        (8.5%)    (8.7%)    (8.5%)
                                                        4,640       7,747      7,192       7,477       9.960'       9,510        9,891        8,982        8.822        8,396         8,882     8,605     7,631
                                Sedatives                                                                                                                                                                           64%
                                                        (2.1%)      (3.5%)     (3.2%)      (3.3%)      (4.2% ")     (4.0%')      (4.1% a)     (3.7%)       (3.6%)       (3.9%)        (3.6%)    (3.4%a)   (3.2%)
                                Marijuana and           72,070      76,428     76,321      83,272      94,946 "     96,611 b     96,772b      97,545"      97,825"      100,518       102,904   104,996   106.232
                                                                                                                                                                                                                    47%
                                Hashish                 (33.0%)     (34.6%)    (34.2%)     (36.9W)     (40.4%)      (40.6%)      (90.2%)      (40.1%)      (39,8%')     (40.6%)       (91.0%)   (41.5%)   (41.9%)
                                                        23,089      25,406     24,896      27,788      33,910 '     34,891 '     34,153 b     33,673 '     35,298       35,882        36,773    36,599    37.210
                                Cocaine                                                                                                                                                                             61%
                                                        (10.69)     (11.5%)    (11.2%)     (12.3%)     (19.4%)      (19.7%)      (14.2%)      (13.8%)      (14.3%)      (19.5%)       (14.7%)   (14.5%)   (14.7%)
                                                                                                        108,255
                               I
                               TOTAL ILLICIT            78,123      87,734     86.931      94,140                  _ 110.205"    110.057 b    112,085"     111,774"     114,275'      117,325   118.705   119,508
                                                                                                        b                                                                                                           53%
                               DRUGS1                   (35.8%)     (39.7%)    (38.9%)     (41.7W)                   (46.4%)     (45.8% a)    (46.1%)      (45.4%")     (46.1%)       (47.0%)   (47.1%)   (47.1%)
                                                                                                     . (46.091.)
                               -- Not available.
                               Note: 2002 to 2010 data is based on 2010 National Survey on Drug Use and Health Survey Report.
                               a Difference between estimate and 2010 estimate is statistically significant at the 0.05 level.
                               b Difference between estimate and 2010 estimate is statistically significant at the 0.01 level.
                               1 Illicit Drugs include marijuana/hashish, cocaine (including crack), heroin, hallucinogens, inhalants. or prescription-type psychotherapeutics used
                               non-medically. Illicit drugs other than marijuana include cocaine (including crack), heroin, hallucinogens, inhalants, or prescription-type psycho-
                               therapeutics used non-medically. The estimates for nonmedical use of psychotherapeutics. stimulants, and methamphetamine incorporated in these
                               summary estimates do not include data from the methamphetamine items added in 2005 and 2006.
                               2 Nonmedical use of prescription-type psychotherapeutics includes the nonmedical use of pain relievers, tranquilizers, stimulants, or sedatives and
                               does not include over-the counter drugs.
                               3 Estimates of nonmedical use of psychotherapeutics, stimulants, and methamphetamine in the designated rows include data from methamphet-
                               amine items added in 2005 and 2006 and are not comparable with estimates presented in NSDUH reports prior to the 2007 National Findings re-
                               port. For the 2002 through 2005 survey years, a Bernoulli stochastic imputation procedure was used to generate adjusted estimates comparable with
                               estimates for survey years 2006 and later.
                               Source: Substance Abuse and Mental Health Services Administration. Results from the 2010 National Survey on Drug Use and Health: Summary of
                               National Findings. http://www.samhsa.gov/data/NSDUH/2k1ONSDU11/2k1OResults.pdf (170) Access date 2J22/2012
                                                              Pain Physician: Opioid Special Issue July 2012; 15:E59-ES38



                                                         25 -

                                                                                                                                        21.2    21'5
                                                                  20.2+    2034                  201+     19.8+
                                                                                       19.4'                      19.7+       19.6+
                                                         20 -
                      Percent Using in PastMonth
                                                                                                                                       -0- 12 to 17
                                                         15 -                                                                          -4- 18 to 25
                                                                                                                                           26 or Older
                                                                  11.6+    11.2+
                                                                                       10,6
                                                                                                  9.9     9.8                           10.0    10.1
                                                                                                                      9.5     9.3+
                                                         10 -

                                                                                                                               5.9+      8.3     6.6


                                                          5-



                                                          0
                                                                  2002     2003        2004      2005     2006    2007        2008     2009     2010
                     Diffetence between this estimate and the 2010 estimate is statistically significant at the .05 level.

 Fig. 4. Comparative analysis of past month use of illicit drugs among various age groups.
 Source: Substance Abuse and Mental Health Services Administration. Results from the 2010 National Survey on Drug Use and Health: Sum-
 mary of National Findings. http://v.ww.samhsa.gov/data/NSDU11/2k1ONSOUH/2k I OResults.pdf (170) Access date 2/22/2012



                                                                                                                                                  8.9
                                                                                                                                          8.7
                                                         •-        8.3+      82                            8.3+
                                                                                                                                 .0+
                                                         8 -
                                                                    •
                                                                                                                                                  6.9
                                                         7 -                                                                              68
                             PercentUsing in PastMonth




                                                                   8.2+      6.2+        al+                                   6.11
                                                                                                   ao+     e.e+
                                                                                                                       5.84
                                                         6 -

                                                         5 -

                                                         4 -
                                                                                                           2.9                           2-8
                                                                   2.7       2.7                   2:7                                            2.7
                                                         3 -                             2.5                                   2.5
                                                                                                                                                  a
                                                         2 -
                                                                   me        1 . 0+     0,84.      4.0+    18+
                                                                                                                      0.8+     0.7+       0.7
                                                              -                                                                                   0.6

                                                         0         05        04                                         i-dtOt                    0.5
                                                                  2002     2003        2004      2005     2006    20107 2008 2009 2010

                                                                  -4,- Illicit Drugs            -•- Marijuana                    Psycholherapeuits
                                                                  -A- Cocaine                        Ilatkicinogens
                 Difference bewail this estimate and the 2010 estimate IS statistically significant at the .05 level.


 Fig. 5. Past month use of selected illicit drugs among young adults aged 18 to 25: 2002-2010.
 Source: Substance Abuse and Mental Health Services Administration. Results from the 2010 National Survey on Drug Use and Health: Sum-
 mary of National Findings. http://www.samhsa.gov/data/NSDUH/2k1ONSDUH/2k1OResults.pdf (170) Access date 2/22/2012



ES18                                                                                                                                       www.painphysicianjournal.com
                                                           Opioid Epidemic in the United States



                                                  25 —                                                                I.2009
                                                                0.1
                                                                                                                      02010

                    Percent Uting In Past Month   20 —



                                                  15 —



                                                  10 —




                                                          14-15 18-20 26-29 35-39 45-49 55-59 65+
                                                     12-13   16-17 21-25 30-34 40-44 50-54  60-64
                                                                             Age in Years
                  Dffeletwebencena this intimate and flie 2010 +intimate is mviiktirAly sigoirteaniit (ha _05 kvel.


  Fig. 6. Past month illicit drug use among persons aged 12 or older, by age: 2009 and 2010.
  Source: Substance Abuse and Mental Health Services Administration. Results from the 2010 National Survey on Drug Use and Health: Sum-
  mary of National Findings. http-J/wwwsamhsa.gov/data/NSDUH/2kl0NSD(JH/2kI0Reautts.pdf(l70) Access date 2/22/2012



                                                                              1.10 Drug Abuse Among Criminals
nonpregnant counterparts. These figures are based on                              In 2010, an estimated 1.5 million adults age 18 or
data averaged for 2009 and 2010 (170).                                        older who were on parole or supervised release from jail
                                                                              during the past year had higher rates of dependence on
1.8 Abuse Based on Employment                                                 or abuse of a substance (27%) than their counterparts
      Employment also seemed to have a significant in-                        who were not on parole or supervised release during
fluence in 2010. Among adults age 18 or older, the rate                       the past year (8.7%). In 2010, probation status was as-
of illicit drug use was higher for unemployed persons                         sociated with substance dependence or abuse. The rate
(17.5%) than for those who were employed full time                            of substance dependence or abuse was 29.9% among
(8.4%) or part time (11.2%) (170).                                            adults who were on probation during the past year,
                                                                              which was significantly higher than the rate among
1.9 Regional Variations                                                       adults who were not on probation during the past year
     There were also differences based on geographic                          was 8.3% (170).
area among persons age 12 or older in 2010. The rate of
current illicit drug use in 2010 was 11.0% in the West,                       1.11 Driving Under the Influence
9.4% in the Northeast, 8.2% in the Midwest, and 7.8%                               Driving under the influence of illicit drugs is a crim-
in the South (170). Further, the rate of current illicit drug                 inal act and dangerous to the public. In 2010, 10.6 mil-
use in metropolitan areas was higher than the rate in                         lion persons, or 4.2% of the population age 12 or older,
non-metropolitan areas with 9.4% in large metropoli-                          reported driving under the influence of illicit drugs dur-
tan counties, 8.8% in small metropolitan counties, and                        ing the past year. This rate was highest among young
7.5% in non-metropolitan counties as a group (170).                           adults age 18 to 25 with 12.7% (170).




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                                 Pain Physician: Opioid Special Issue July 2012; 15:ES9-E538


                                                                         major depressive disorder (171). Further, SPD indicates
1.12 Frequency of Abuse                                                  a respondent recently experienced heightened distress
   Among past year marijuana users age 12 or older in                    symptomatology that may be affecting health and be-
2010, the following patterns were revealed (170):                        havior during the past 30 days. However, this distress
•  15.7% used marijuana on 300 or more days within                       may be part of a chronic psychological disturbance
   the past 12 months, translating to 4.6 million using                  (even SMI) or may represent a temporary disturbance
    marijuana on a daily or almost daily basis over a                    that could subside after a brief period of adjustment.
   12-month period.
•  39.9%, or 6.9 million, used the drug on 20 or more                    2.1 Serious Medical Illness and Drug Abuse
    days in the past month (current use).                                    The prevalence of SMI in 2010 was shown in 11.4
                                                                         million adults, representing 5.0% of all adults, with the
2.0 MENTAL HEALTH PROBLEMS AND
                                                                         highest rates being in adults age 18 to 25 (7.7%) and
NONMEDICAL USE OF DRUGS
                                                                         lowest for adults age 50 or older (3.2%) as shown in Fig-
    The NSDUH survey of 2010 evaluated the preva-                        ure 7 (171). The prevalence of SPD among women age
lence and treatment of serious mental illness (SMI),                     18 or older was higher (6.5%) than among men (3.4%)
serious psychological distress (SPD), and major depres-                  in that age group (171).
sive episode (MDE) and the association of these prob-
lems with substance use and substance dependency or                      2.2 Major Depressive Episodes and Drug
abuse. SPD is an overall indicator of the past 30 days                   Abuse
of psychological distress, whereas MDE is defined as a                       The prevalence of a MDE in 2010 was 6.8% of per-
period of at least 2 weeks when a person experienced a                   sons age 18 or older, or 15.5 million adults, with at least
depressed mood or loss of interest or pleasure in daily                  one MDE in the past year. The number of adults who
activities and had symptoms that met the criteria for a                  had past year MDE was 6.8%. Even then, the past year




                         8                          7-7


                                                                                                                  6.5

                         6                                         5.8

                                   5,0
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                t)       4
                ow                                                                                 3.4
                                                                                  32
                a)
               (0 .5     3
               .c




                         1


                         0
                              18 or Older        18 to 25       26 to 49 60 or Older             Male         Female
                                                              Age Group                                  Gender

 Fig. 7. Serious mental illness, psychological distress, and nontherapeutic drug use, among persons age 18 and older, by age, 2010.
 Source: Substance Abuse and Mental Health Services Administration. Results from the 2010 National Survey on Drug Use and Health: Men-
 tal Health Findings. www.samhsa.gov/da1a/NSDU1-/2k10MH_Findings/2k10MHResults.pdf (171) Access date 2/23/2012



E520                                                                                                      www.painphysicianjournal.com
                                              Opioid Epidemic in the United States




prevalence of MDE in 2010 was lower for those age 50                   abuse in the past year was more likely than those with
or older (5.6%) compared with rates among persons                      MDE to have used an illicit drug in the past year (22.0%
age 18 to 25 (8.2%) and those age 26 to 49 (7.5%).                     versus 7.9%) (171). A similar pattern was observed for
However, the past year prevalence of MDE was higher                    specific types of past year illicit drug use, such as mari-
among adult females than among adult males, 8.4%                       juana and the nonmedical use of prescription-type psy-
versus 5.1%. In addition, among women, past year                       chotherapeutics. Figure 8 illustrates substance abuse in
MDE rates were higher with 11.3% for 18 to 25 year                     adults by MDE.
olds, 9.2 for 26 to 49 year olds compared with those of                      The prevalence of a MDE in youths age 12 to 17 in
50 or older with only 6.7%. Further, the prevalence of                 2010 showed that 1.9 million (8.9%) reported at least
MDE also varied by race and ethnicity with the highest                 one MDE during the past year. Among youths age 12 to
rate among persons reporting 2 or more races (10.8%),                  17, the past year prevalence of MDE ranged from 3.3%
while rates for single race groups were 7.3% among                     among 12-year-olds to 10.9% among those age 16, and
whites, 5.6% among Hispanics, 7.7% among Ameri-                        10.3% among those age 17 (171).
can Indians or Alaska Natives, 5.8% among blacks, and                        Among youths with MDE age 12 to 17, 37.2%
3.8% among Asians.                                                     had used illicit drugs in 2010, in contrast to 37.4% in
     In addition, in 2010 the past prevalence of MDE                   2008. This was higher than the 17.8% of youths in the
with severe impairment for adults age 18 or older was                  past year that did not have a MDE but had used illicit
higher among unemployed persons (9.3%) than among                      drugs. This pattern, however, was similar to specific
persons employed full time (5.4%).                                     types of illicit drug use including marijuana and the
     In 2010, an adult age 18 or older with a combina-                 nonmedical use of prescription-type psychotherapeu-
tion of a MDE and substance use and dependence or                      tics (171).




                                                •      Had Major Depressive Episode in the Past Year
                       25-
                                                D      Did Not Have Major Depressive Episode in the Past Year
                                     22.0


                       20-
                                                                                                    17.1




                                                                     8.8
                                                 7.9
                                                                                                                6.6

                         5-
                                                                                 2.1




                                 Drug or Alcohol                 Drug Dependence               Alcohol Dependence
                               Dependence or Abuse                  or Abuse                        or Abuse


   Fig. 8. Substance dependence or abuse among adults age 18 or older, by major depressive episode in the past years, 2010.
   Source: Substance Abuse and Mental Health Services Administration. Results from the 2010 National Survey on Drug Use and Health:
   Mental Health Findings, ,,,,-ww,samhsa.govidata/NSDUH/2k10MH_Findings./2k10MHResults.pdf (171) Access date 2/23,12012




www.painphysicianjournal.com                                                                                                          ES21
                                 Pain Physician: Opioid Special Issue July 2012; 15:E59-ES38


3.0 WHERE Do NON-THERAPEUTIC DRUGS                                      4.0 ESCALATING USE OF THERAPEUTIC
COME FROM?                                                              OPIOIDS

     Among persons aged 12 or older in 2009-2010 who                                            uensrfireimpeL
                                                                                                           -7iir5mF,7m
used pain relievers nonmedically in the past 12 months,                 cally in high doses over lor —ici-o-ds
55% obtained pain relievers from a friend or relative for               lifetime use of Ion -acti.ng drugs, and the combination
free (170). Among the remaining 45%, 11.4% bought                      =r
                                                                        of lor       1,short-actirlg
                                                                                      -                               to. have seri-
them from a friend or relative (which was significantly                 ous conseqpences for costs of heplth cpre and economi)
higher than the 8.9% from 2007-2008), and 4.8% es-                     rsfa I itZ
sentially stole them from a friend or relative (Fig. 9).                     The data overwhelmingly suggest that the in-
However, only one in 6 or 17.3% indicated that they                     creased supply of opioids, high medical users, doctor
received the drugs through a prescription from one                      shoppers, and patients with multiple comorbid factors
doctor, while only 4.4% received pain relievers from a                  contribute to the majority of fatalities. The quadrupled
drug dealer or other stranger, and 0.4% bought them                     sales of opioid analgesics between 1999 and 2010 are
on the Internet, with no significant changes from 2007                  a perfect example of the therapeutic opioid explosion.
to 2008.                                                               tTa on salesdistribution of opioids show an
     Even more striking is the fact that in 2009-2010,                 (increase froth-9-6'6g morphine equivalents_ per person)
413% of past year methamphetamine users reported                       1ff:the...United- States in1997_tc:7710. _mq_J3er person in
that they obtained the methamphetamine they used                       t>(:).U4;1 5n"=.  11 has been e.stiiijtëdto_ b_e_the equiv-
most recently for free from a friend or relative, with                   !Fit Tef'7 ikf 5id medicatioapr
an additional 30.7% buying it from a friend or relative                   re               pjy e v ry adult A                  —rd
                                                                                                                                r
(170).                                                                  of dqne every                     for 45 claMSales of hy-




         .rSource Where fiesgondent Obtained
                                salight oft
               .Drug Dealer/ Internet
                  Stranger  0.4%    Took fromt                            ,S 6 ltzt Vile ft Pridrigtsliititle. Obtained
                   4-4% Nou      ir".. 4.9%
                                                                                            Mort than One Doctor
                                                                                                                    Fitt fr9m
   One Dotter                                                                                                    Fiferid/RelatiVe
     I 7,3%

                                                                                                                    Bought/Took from
                                                                                                                     Friend/Relative
       Bought/1'901c                                                                                           alC7       2.3%
     hem Friend/Relative
           11.4%                                                                                                        brug Dealer/
                                                                                                                          &ranges
                                                                                                               Other
                         Note: Totals may not sum to 100% because of rounding or because
                         suppressed estimates are not shown.

                         One took them from a friend or relative without asking


 Fig. 9. Source where pain relievers were obtained for most recent nonmedical use among past year users age 12 or older: 2009-2010.
 Source: Substance Abuse and Mental Health Services Administration. Results from the 2010 National Survey on Drug Use and Health: Mental
 Health Findings. www.samhsa.gov/data/NSDUH/2k1OMH_Findings/2k1OMHResults.pdf (171) Access date 2/23/2012




E522                                                                                                       www. pa inphysicianjournal.com
                                                                 Opioid Epidemic in the United States




 drocodone have increased by 280% from 1997 to 2007,                                                oids exceeded 256 million in the United States in 2009,
 whereas methadone usage has increased 1,293% and                                                   with 234 million prescriptions for immediate-release
 oxycodone usage by 866%, as illustrated in Table 5 (32).                                           OR) opioids and 22.9 million for extended-release (ER)
 The estimated number of prescriptions filled for opi-                                              opioids with significant increases from 21.3 million for

Table .5. &rail sales of opioid medications (grams of medication) front 1997 to 2007.
                                                                                                                                                                                         %   of
                                                                                                                                                                                         Change
        Drug            1997          1998          1999           2000              2001         2002          2003          2004          2005           2006             2007
                                                                                                                                                                                          Crum
                                                                                                                                                                                          1997
                                       692,675      964,982        1,423,840'        1,892,691    2,649,559     3,683,881    4,730,157      5,362,815       6,621,687        7.228.219    1293%
 Methadone               518.737
                                        (34%)        (39%)             (48%)            (32%)        (40%)         (3996)       (2896)         (13%)           (23%)             (9%)

                                      6,579.719    9,717,600      15,305,913       19,927,236 22,376,892       26.655,152    29,177,530    30,628,973     37,034,220        42,977,043
 Oxyrodorte             4049,562                                                                                                                                                          136696
                                         (48%)        (48%)              (58%)         (30%)      (12%)            (19%)          (996)         (5%)          (21%)             (16%)

                          74,686        900518      107,141            146.612'       186,083      242.027       317.200       370,739        387,928        428,668          463,340      525%
 Fentanyl Base                           (22%)       (18%)               (37%)         (27%)        (30%)         (31%)         (17%)           (5%)          (1296)            (8%)

                                       266039       292.506            3-46.574'      400,642      473,362       579,372       655,395        781,287        901,663         1,011,028
Hydromorphone            241,078         (8%)        (12%)                (18%)        (16%)        (18%)         (22%)         (13%)          (19%)           (15%             (12%)      319%

                                     10,389.503   12401,621       14,118,637       15.594,692 18.822419        22,342,174   24,081,900     25,803.393      2995k 1       32.969,527
 Hydrocodone            8.669,311                                                                                                                                                          28096
                                         (20%)        (16%)           (17%)            (10%)      (21%)            (19%)          (8%)          (796)         (16%)          (10%)

                                      6,408.322    6.804.935        7807,511         8,810,700 10.264.264      12.303,936   14.319,243     15,054.846      17,507,148       19,051,426
 Morphine               5,922,872                                                                                                                                                          222%
                                          (896)        (6%)            (15%)            (13%)      (16%)           (20%)        (16%)           (5%)           (16%)             (9%)
                                     26,018.054   /3,917,088      23.474,865'      23,032441 22433.733         21,865,409   20,244,555     18.960438       18.762,919       18,840.329
 Codeine               25,071,410                                                                                                                                                          -2596
                                          (496)        (-8%)           (-296)           (-2%)    (-2%)              (-3%)        (-7%)         (-6%)            (-1%)           (0494)
 Meperidine                           5,834,294    5,539,592       5.444,898'        5,450204     5,412,389     5.239,932    4.856,644      4.272,520       4,160,033        3,936.179
                        5,765,954                                                                                                              (-12%)           (-3%)            (-5%)     -32%
(Pethidine)                               (1%)         (-5%)           (-1%)             (-1%)        (-1%)         (-3%)        (-796)

                                     56,273,194   59.445,465    35.962,089.84      75.294.939 32,874,845       92,987,676   98.456,163     101251,950     115.272,706   126,477.091
Ibial                  50.713,010        111%1         14941           114941          (1191.1    (n)%1            112%1         64941          1691            04941        WW1           14996

 Number in parenthesis is percentage of change from previous year.
 • For year 2000 data is not available, the average of 1999 and 2001 was taken.
 Source: www.deadiversion.usdoj.govfarcostretail_drug_summary/index.html Access date: 812512010
 Source for 2007 data - www.justice.govindic/pubs33/33775/dlinks.htm
 Adapted from: ivlanchikanti L. et al. Therapeutic use, abuse, and nonmedical use of opioids: A ten-year perspective. Pain Physician 2010; 13:401-435 (32).




                                                                          ID ER        Opioids IR Opioids

                          250 -                                                                                                                         233.8         234
                                                                                                                                          223.9
                                                                                                                            211.1
                                                                                                               199.9
                                                                                   179.9         188.6                      1111,

                   ▪ 200 -                              171.3      174.8
                                        164.8

                  •2 150         -
                   E
                          100

                   -        50                                                                           17.           19A          21.2          225.          22.
                                     9.3          11.           12.7          14.7           16

                             0
                                     2000 2001                   2002 2003                   2004 2005 2008 2007 2008 2009

                                                                                                   Year

        Fig, 10. 7'otal number of prescriptions dispensed for ER/LA and IR opioids from U. S. outpatient retail pharmacies, year 2000
        —2009 (173).
        Source: SDI, Vector One *: National (174).



 vvww.painphysicianjciurnal.com                                                                                                                                                      ES23
                                Pain Physician: Opioid Special Issue July 2012; 15:ES9-E538



 ER opioids and from 223.9 million for IR opioids from            of the global consumption of morphine, fentanyl, and
2007 as illustrated in Figure 10 (172-174). The data are          oxycodone registered in 2009 occurring in Australia,
even more compelling when compared from 2002 to                   Canada, New Zealand, the United States and several
2009 with an increase from 9.3 million for ER opioids to          European countries (60,85).
22.9 million, a 146% increase, and from 164.8 million                   Another World Health Organization (WHO) report
to 234 million for IR opioids, a 42% increase with an             (87) showed that based on the statistics from the In-
annual increase of 21% for ER opioids and 6% for IR               ternational Narcotics Control Board (INCB) in 2003,
opioids. Most prescriptions were for hydrocodone and              6 developed countries accounted for 79% of global
oxycodone-containing products (84.9%) and issued for              morphine consumption, whereas developing countries
short treatment courses, 19.1% for less than 2 weeks,             which represent 80% of the world population account-
65.4% for 2-3 weeks. Of these, however, approximately             ed for only about 6% of global morphine consumption.
12% of the prescriptions were issued to those aged 10             In addition, the most recent data showed that in 2007,
to 29 years. This may signal a potential problem for this         6 developed countries reported the highest level of
population, as this is also the population most likely to         morphine consumption and 132 of the 160 signatory
abuse drugs and develop addictions (172). In addition,            countries that require reporting of consumption were
the data also illustrates an 8-fold increase in stimulant         below the global mean as illustrated in Fig. 13. This sim-
prescriptions from 1991 to 2009 as illustrated in Fig. 11.        ply illustrates that millions of patients with moderate to
     Table 6 illustrates hydrocodone with acetamino-              severe pain caused by different diseases and conditions
phen being the number one prescription from 2006                  may not be getting treatment to alleviate their suffer-
through 2011 (175). However, narcotic analgesics con-             ing in some countries, while more of them are receiving
stitute number 4 in the proportion of patients treated            it in other countries such as the United States, which
in selected therapies with hypertension, topping at 42.4          uses 99% of the world's supply of hydrocodone and
million and narcotic analgesics at 15.6 million, consti-          83% of the world's oxycodone (176-178).
tuting number 10 in spending in leading therapy areas                  rE7r3r7for qrarn.pplt e n e.dTSites.co
with oncologicals constituting 23.2 billion and narcotic           ume more _narcotic medication than an other nation
analgesics constituting 8.3 billion in 2011 as illustrated       FirldwidF:,'The__International. Nar,cotic_ Control_ Elo-71,
in Tables 7 and 8 and Fig. 12 (175).                             6-
                                                                  J:7Mor 91.-‘,ttig Uoited.States,,,egir
                                                                                        --            Wglob     -7TilM    .ar-
     The United Nations Office on Drugs and Crime, in            maceutical companies.produce more than 75 tons a
an evaluation of the world supply of opioid, shows 90%           FF  -775--
                                                                          wthdone, compared



                                        StiMulant preseriptioria inertias° 8-fold


                  as
                          Total Market                                                                            39
                  40                                                                                         36
                          Methylphenidate
                a 35 1 womb Amphetamine                                                                 33
                                                                                              20 313
                E 30                                                                   27
                                                                         21 24 24
                 gd 25
                                                         16 17 g 20
                .43 20
                    15                           13 15
                                            10
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                12.   5

                           ,zip a    es,ce do if           do do 4f3          cik^     4:1'      cY)              ctl.
 *excludes modafinil and ammoxetine products

 Fig. 11. Projecfed number of prescriptions for stimularus• dispensed by U.S. retail pharmacies, 1991-2009.
 Source: SDI, Vector One: National (174).


ES24                                                                                                   www.painphysicianjournal.com
                                                  Opioid Epidemic in the United States


     Table 6. Top medicines by prescriptions.

       DISPENSED PRESCRIPTIONS MN                              2007           2008            2009             2010            2011

       Total US Market                                         3,825           3,866          3,949            3,993           4,024

       1       Hydrocodone/acetaminophen                        120.9          125.5          129.4            132.1           136.7

       2       Levothyroxine sodium                            97.4           98.9            100.2            103.2           104.7

       3       Simvastatin                                     49.0           68.0            84.1             944             96.8
       4       Lisinopril                                      71.5           77.2            83.0             87.6            88.8

       5       Amlodipine besylatc                             40.8           46.0            52.1             57.8            62.5
       6       Omeprazole (RX)                                 27.7            35.8           45.6             53.5            594
       7       Metformin HCL                                   49.2           51.6            53.8             57.0            59.1

       8       Azithromycin                                    47.1           51.9            54.7             536             56.2

       9       Amoxicillin                                     54.0           51.3            52.9             52.9            53.8

       10      Alprazolam                                      41.4           43.3            45.3             47.7            49.1

       11      Hydrochlorothiazide                             48.5           48.5            47.9             47.8            48.1
       12      Zolpidem tartrate                               34.5            39.1           42.7             43/             44.6

       13      Atorvastatin                                    65.8           58.5            51.7             45.3            43.3
       14      Fu rosemide                                     44.7           44.4            43.8             93.6            42.3

       15      Oxycodone/acetaminophen                         31.3            33.6           36.7             37.9            38.8

       16      Fluticasone                                     23.9            26.2           30.1             34.8            38.4

       17      Citalopram HBR                                   18.1           22.6           27.3             32.2            37.8

       18      Metoprolol tartrate                             43.5            38.4           41.1             38.9            37.8
       19      Scrtraline HCL                                  33.4           33.7            34.8             36.2            37.6

       20      Ivletoprolol succinate                          33.0           41.5            26.9             33.0            343

       21      Warfarin sodium                                 344             34.9           35.7             356             33.9
       22      Tramadol liGL                                   20.6            23.3           25.5             28.0            33.9

       23      Potassium                                       36.7            35.8           35.2             34/             33/
       24      Prednisone                                      25.9            27.1           27.8             28.7            33/
       2$      Atenolol                                        45.0           42.0            39.5             36.9            33A

     Source MS Health, National Prescription Audit, Dec. 2011 (175).
     Notes: Report reflects prescription-bound products including insulins and excluding other products such as OTC. Table shows lead-
     ing active-ingredients or ingredient fixed-combinations, and includes those produced by both branded and generic manufacturers.
     Includes all prescriptions dispensed through retail pharmacies. including independent and chain drug stores, food store pharmacies
     and mail order as well as long-term care facilities. Prescription counts are not adjusted for length of therapy. 90-day and 30-day pre-
     scriptions are both counted as one prescription.

     Updated February 17, 2012.




r--   W80775
 of which  r         consed the Uniteci                                      trates that from 1999 to 2002, 4.2% of U3. adults re-
(States.               ____                                                  ported the use of opioid analgesics for pain within the
pAt--      le(Dapd
      (a.7---    --for hyc7177"rriO'tcomfrioraly                             past month (179). In a report of opioid use in one of
  rMlireETiSid,js aborillion,wams annually                                   the states in the United States (Utah) (180), the data
=77T'iTT-TIrTivis
 compare c                  To7: -rVi 3717 7677 ra-n7)                       showed that 20.8% of adults had been prescribed an
rand Italy combined (0177;178),                                              opioid in the last year and that 29.1% of these prescrip-
    Caudill-Slosberg et al (165) in one of the earliest                      tions were for long-term pain. Sullivan et al (181) also
evaluations demonstrated that opioid use doubled                             showed over a 6 year period that the proportion of
from 8% in 1980 to 16% in 2000. The data also illus-                         enrollees receiving opioids with a diagnosis of chronic



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                                       Pain Physician: Opioid Special Issue July 2012; 15:E59-E538


                                                            ON-THERAPY PATIENTS MN
                                         Hypertension                                                               42.4
                                      Lipid Regulators J                      19.8
                                      Antidepressants J                     18.5
                                  Narcotic Analgesics                     15.6
                                  Anti-Ulcerants (PPI)                11.7
                                          Antidiabetes j             11.0
                                               Thyroid              10.5
                                        Anti-EpilepticS            9.2
                            Hormonal Contraceptives              7.4
                                   Respiratory Agents            7.4
                                             Insomnia          5.4
                          Antiplatelets/Anticoagulants MN 5.2
                                                 ADHD MS 5.1
                          Benign Prostate Hyperplasia        3.3
                                        AntipsyChotics       3.1
                                         Osteoporosis MI 2.4
                                   Overactive Bladder IN 1.5
                                            Parkinson,s II 1.3
                                         AntimIgraine I 1.1
                                           Alzheimers I 1.0
               Source: IMS Health, LifeLink, Dec 2011
Fig. 12. Treated patients in selected therapy


Table 7. Spending based on the therapeutic class.

       SPENDING SBN            2007       2008    2009     2010     2011           SPENDING SBN             2007     2008     2009     2010     2011

  Total US Market              280.5      285.7   300.7    308.6    319.9            Platelet
                                                                              12     Aggregation             5.0      5.7      6.5      7.1      7.8
  1      Oncologics             18.1       19.7    21.5    22.3     23.2             Inhibitors

 2       Respiratory Agents     15.1       16.0    18.1    19.3     21.0      13     Angiotensin II
                                                                                                             6.5      7.6      8.6      8.7      7.6
                                                                                     Inhibitors
 3       Lipid Regulators       19.9       18.1    18.6    18.8     20.1                                                       --
                                                                              14     Multiple Sclerosis      3.4      9.1      5.0      5.8      7.1
 4       Antidiabetics          12.2       13.6    15.8    17.7     19.6
                                                                              15     Vaccines (Pure,
                                                                                                             5.9      5.0      4.7      5,7      6.3
 5       Antipsychotics         12.8       19.3    19.7    16.2     18.2             Comb, Other)
             . ... _
         Autoimmune                                                           16     Anti-Epileptics        10.0      11.1     6.9      5.6      5.9
 6                               7.6       8.6     9.7     10.6     12.0
         Diseases
                                                                              17     Erythropoietins         4.1      4.5      4.7      4,8      5.2
 7       Antidepressant         11.7       11.7    11.5    11.6     11.0
                                                                              18     Immunostimulating
                                                                                                             8.4      6.9      6.3      6.1      5.1
 8       HIV Antivirals          6.2       7.1     8.2      9.3     10.3             Agents

 9       Anti-Ulcerants         19.6       19.2    19.1    11.9     10.1      19     Hormonal
                                                                                                             4.1      4.1      4.1      4.2      9.5
                                                                                     Contraceptives
         Narcotic
  10                             6.7       7.3     8.0      8.4      8.3             Antivirals, excl.
         Analgesics                                                           20                             3.6      3.9      4.8      3.2      3.7
                                                                                     Anti-HIV
 11      ADHD                    4.0       4.7     5.8      6.7      7.9

Source: IMS Health, National Prescription Aud't, Dec. 2011 (175).

Notes:
Therapy areas are based on proprietary IMS Health definitions. Report reflects prescription-bound products including insulins and excluding
other products such as OTC. Includes all prescriptions dispensed through retail pharmacies- including independent and chain drug stores, food
store pharmacies and mail order as well as long-term care facilities. Prescription counts are not adjusted for length of therapy. 90-day and 30-day
prescriptions are both counted atone prescription.

Updated February 17, 2012.


E526                                                                                                               www.painphysicianjournal.com
                                                Opioid Epidemic in the United States


    Table 8. Top therapeutic classes by prescriptions.


            DISPENSE!) PRESCRIPTIONS MN                             2007           2008           2009              2010        2011

      Total US Market                                               3,825          3,866          3,949             3,993       4,024

      1      Antidepressants                                         237            241            247              254          264
                                                                                                                _
      2      Lipid Regulators                                        233            242            254              260          260

      3      Narcotic Analgesics                                     231            239            241              244          238

      4      Antidiabetics                                           165            166            169              172          173

      5      Ace Inhibitors (Plain & Combo)                          159            163            166              168          164

      6      Beta Blockers (Plain & Combo)                           162            164            163              162          161

      7      Respiratory Agents                                      147            147            152              153          153

      8      Anti-Ulcerants                                          134            139            196              147          150

      9      Diuretics                                               137            135            132              131          128
      _.
      10     Anti-Epileptics                                         102            110            116              122          128

      11     Tranquillizers                                          98             101            104              108          111

      12     Thyroid Preparations                                    103            104            105              107          110

      13     Calcium Antagonists (Plain & Combo)                     87             90              93               96          98

      14     Antirheumatic Non-Steroid                               90             91              92               93          97

      15     Hormonal Contraceptives                                 94             94              93               91          90

      16     Angiotensin II Inhibitors                               83             86              85               84          86

      17     Broad Spectrum Penicillins                              77             74              77               76          77

      18     Macrolides & Similar Type Antibiotics                   63             66             69                67          69

      19     Hypnotics & Sedatives                                   58             60             63                63          63

      20     Vitamins 8t Minerals                                    60             59              58               58          60
    Source:1MS Health, National Prescription Audit, Dec. 2011 (175).
    Appendix notes:
    Therapy areas are based on proprietary IMS Health definitions. Report reflects prescription-bound products including insulins
    and excluding other products such as OTC. Includes all prescriptions dispensed through retail pharmacies - including indepen-
    dent and chain drug stores, food store pharmacies and mail order as well as long-term care facilities. Prescription counts are not
    adjusted for length of therapy. 90-day and 30-day prescriptions are both counted as one prescription.

    Updated February 17, 2012.



non-cancer pain and opioid prescriptions increase. Opi-                     management settings. Volkow et al (172) showed that
oids are also used commonly in combination with seda-                       only a small proportion of prescriptions were from
tive hypnotics. Vogt et al (182) in an evaluation of anal-                  pain clinics or specialists from anesthesiology in 2009.
gesic usage for low back pain and its impact on health                      Moreover, Deyo et al (31) illustrated that approxi-
care costs and service use showed that in 2001, a total                     mately 20% of patients in primary care settings were
of $1.4 million was spent on opioids, which constituted                     long-time opioid users with 61% receiving a course
68% of prescriptions for analgesics.                                        of opioids. In young veterans, Wu et al (189) showed
    Th_e_ data  ffi
                  froneports and j    wagementigt-                          that prevalence of chronic opioid use increased from
="
tin s is .disco.r     7:757iFTO-g of patier        i                        3% in 2003 to 4.5% in 2007. Patients on average were
opioic                      an.agement 32,169 172711                        exposed to 2 different opioids and had 3 different
(j)  Even more alarming, however, is the fact that                          opioid prescribers. Not surprisingly, 80% of the opioid
the majority of the prescriptions are from outside pain                     prescriptions during the study were prescribed by pri-



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                                   Pain Physician: Opioid Special Issue July 2012; 15:E59-E538



           160
                   4--Austria
           140

           120

           100
                   0/. United States of America
                           Canada
            80
                    V
                               Denmark
            60                 Portugal
                               Australia
            40

             20
                                                                                                Global mean: 55823 mokapita

                                                                    160 countries

  Fig. 13. Global morphine consumption in 2007 (rnecopitu).
  Source: International Narcotics Control Board, United Nations data. Graphic created by the Pain and Policy Study Group, University of Wiscon-
  sin/WHO Collaborating Center, 2009.




     IR Opioid Prescribers                                                         ER/LA Opioid Prescribers
                                                                                                HEM, 1.7%
                                                                                ORT1-1
                                                                              SURG. 1.9%
                                                                                   NEURO,
    PNI&R, 2,7%
                                                                                    5,8%
    ANES, 3.2                                                                      PA, 4.3%
          NP, 3.5%                                                                 UNSPEC,
            PA, 4.0%                                                                4.9%
       Unspec, 4.5%
                  EM. 4,7%
                                              Dentists, 7.7%
                  ORTI-10 SURG,
                      7.4%                                                                                         ANES,
                                                                                                                   13.8%

Fig. 14. Tonal number of prescriptions dispensed in the US. by top 10 prescribing specialtiesfor 1R and ER/ LA opioids, year
2009 (173). Source: SDI, Vector One •: National (174).



 mary care providers, and less than 1% was from pain                                              cTr
 specialists.                                             Ion 7 actOq opioids in            sthiilóists
                   illustrates that            among)g 03.8Ta-7.0 physical rnedictrie,aDd rehatAlitatiplasoliltitkrj
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Clease opicOs_were ger                lam4_me.diOne osteopaths, and internal medicine specialists still dominat
                                                on_s_ti) (frag _the field .w[th-27% and_16.8%, essence.exceedinq
                ktygcal                                   t1=77s—    criptZtithediateTerease


ES28                                                                                                           www.painphysiciarijournal.com
                                                     Opioid Epidemic in the United States


5.0 RELATIONSHIP OF ESCALATING OPIOID
USE AND ADVERSE CONSEQUENCES                                             combined (190-192). Thus, it has been concluded that
                                                                         opiold analgesics contributed to fatalities based on
     While numerous adverse effects have been re-                        opioid abuse and increasing doses, doctor shopping,
ported, ever increasing opioid related fatalities, in-                   and other aspects of drug abuse as illustrated in Fig.
cluding drug poisoning deaths, are crucial. In the                       16 (160).The- data from ernerggiLcy department.visa
United States, in 2008, one or more prescription drugs                  r--7011TAIF5Trfai":57M7I'esd.
                                                                         sa c                                        fio n-p re-
were involved in 20,044 of the 27,153 deaths with a                     fiTic=-
                                                                         scrif  1                                cen            prej-
specified drug. Opioid pain relievers were involved in                  rcilbed               fc7th-if-e-elirT:fthey cause, and that
14,800 drug overdose deaths, compared to 11,500 of                       this trendisqeac                      i170).
27,500 fatal unintended drug overdose deaths in 2007                          TUTZTi         Th
                                                                                      ters-for  —T67=Z7ntroi     id  ar -K7
- an increase of 3,300 in just one year (160). Alarm-                   ((CiRTC-31)'7)377k7— Dprted the perceopc
ingly, in 2007 there were more opioid analgesic over-                   (drug overdoses by risk group*th-d UriitEd St5iF.C.TtiK
dose deaths than overdoses involving heroin and co-                      portshowed that approxir                              ilOM
caine combined (Fig. 15). In addition, during the same                  OloTel (I eth-ln-- tOti      ialp
                                                                                                     rr     -hine eq.uiValentdose per
time frame, drug-related suicides also increased, with                  CrisTderec
                                                                         cia+       —Wii7cT(37.-by,         -  rr7-
                                                                                                                  1,517/7 i577s7,(7113
opioid analgesics being involved in roughly 3,000 of                    Vactitioner, accounting foran estimated 21 of allsiej
the 8,400 overdose deaths in the United States in 2007                   scri=olioTerc-1=FQ73        7_). In contrast, among the re-
that were suicide or of undetermined intent (190).                       maining 20% of patients, 10% of prescribed high doses
Complicating these grave statistics, for every uninten-                  (greater than 100 mg morphine equivalent dose per day)
tional overdose death related to an opioid analgesic,                    (193-195) per day of opioids by single prescribers account
9 are admitted for substance abuse treatment, 35 visit                   for an estimated 40% of the prescription opioid overdos-
emergency departments, 161 report drug abuse or de-                      es (131,195). The remaining 10% of patients seeing mul-
pendence, and 461 report non-medical uses of opioid                      tiple doctors and typically involved in drug diversion con-
analgesics (34). Not surprisingly, in 2007, non-suicidal                 tribute to 40% of overdoses (152). Furthermore, among
drug poisoning deaths exceeded both motor vehicle                        persons who died of opioid overdoses, a significant pro-
traffic and suicide deaths in 20 states, with data from                  portion did not have a prescription in their records for
Ohio illustrating that the number of deaths from un-                     the opioid that killed them; in West Virginia, Utah, and
intentional drug poisoning surpassed the numbers of                      Ohio, 25% to 66% of those who died of pharmaceutical
deaths from both suicide and motor vehicle crashes                       overdose used opioids originally prescribed to someone




                             14.000 -

                             12,000
                                                                                                                       analgesic
          Number of deaths




                             16;060

                              8.000
                                                                                        go.
                              0,000 -                                                            4      Cocaine
                              4.000 -

                              2.000                                                                     Heroin


                                        '99   '00   '01   '02   '03'   '04     'OS     '06      '07



   Fig. 15. Deaths from unintentional drug overdoses in the United States according 10 major type of drug, 1999-2007.
   Source: Centers for Disease Control and Prevention. Unintentional Drug Poisoning in the United States. July 2010. http://www.cdc.gov/Home-
   andRecreationalSafety/pdfipoison-issue-brief.pdf (190).



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                                        Pain Physician: Opioid Special Issue July 2012; 15:ES9-6538


       8
                                                                                else (152,192,196).
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       6-                                                                         t b I a rne-ji Prated 'predomirtly
                                                                               (c=t7—
                                                                                    rses (49,71116:119)) Consequently, it is coupled
                                                                                with a lack of evidence regarding long-term benefits
                                                                                and ample evidence that the increased prescription of
                                                                                opioids is fueling an epidemic of addiction and over-
                                                                                dose deaths. This crisis is rooted in a lack of education
                                                                                and misinformation, leading to overprescribing and a
       .3 -
                                                                                tendency to focus on ineffective strategies (49,71,197-
                                                                                199). IFfa.c    rajprity,ofWw"6M77=
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       Z-                                                                      (death occL.                     ioids
                                                                                sc led7OTTal:Those.misig,or abusing them (71).
                                                                               rWrw
                                                                               rn'
                                                                                Ever Inore
                                                                               Ctiats—cFlong-terriiiiii therapy are unlikely to stop
                                                                               COUri77771-q-077W-funcW=                   I safety -
              1999      7001     2003      2003"        2007   2009
                                                                               MIMEIZ13 Frequently, despite good relief and improve-
                                                                                ment in function with modalities other than opioids in-
                                         Year                                   cluding interventional techniques and surgery, patients
   Age-adjusted rates per 100,000 population for OPR deaths, crude              continue on opioids (200-215).
 rates per 10,000 population for OPR abuse treatment admissions,
 and crude rates per 10,000 population for kilograms of OPR sold.
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 Fig. 16. Rates of opioid pain reliever overdose death, opioid                 (better analgesia, and less risk for, abuse,thaa immediate,
 pain relief treatment admissions, and kilograms of opioid                     reTrale)rpr=cts 02,11,96100;103,107:1_1167-1192161
 pain relievers sold— United States, /999-2010.                                   UTF.of tir§her_doses, , h„ a c_p_rnbinatign_of short.)
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 Source: Centers for Disease Control and Prevention. Vital signs:
 Overdoses of prescription opioid pain relievers - United States,               acting andla
 1999-2008. MMWR. Morb. mortal Wkly. Rep. 60, 1487-1492                         Thus, it is believed that commencing long-acting opioid
 (2011) (160).                                                                  therapy is often the starting point for high dose opi-
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 Fig. 7. Percentage of patients and prescription drug overdoses, by rislc group — United States.
 Source: Centers for Disease Control and Prevention. CDC grand rounds: Prescription drug overdoses - a U.S. epidemic. MINWR. Morb. Mor-
 tal Wkly. Rep. 61. 10-13 (2012) (34).




E530                                                                                                            www.painphysicianjournal.com
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aid therapy, a practice that growing evidence suggests                     opioid abuse in chronic pain has been highly prevalent,
is harmful to patients and increases the black market                      along with illicit drug usage in addition to misuse or
availability of opioids through diversion (71,217-222).                    abuse of therapeutic opioids (32,143-152,183-188).
     Multiple studies in the literature (23,32,37,46
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49,223-236) have reported an association between opi
oid prescribing and overall health status, with increaeiji                      What emerges from the available data utilized
disability, medical costs, subsequent surg      -and coii-                rithiczOiewjsthe_conclusiWAtiate7iiiist 20)
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studies are less positive with regards to improvement                      use of opioids andc               otherapeutics as we as
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are prescribed liberally for chronic pain, it was dem-                    Milie,significant
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onstrated that in patients receiving opioids, pain was                    r--------
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suggested that when opioids are prescribed liberally,                     finigi:Dfu-g-daliri-aTe- nojpnger the prigiTasv Source)
even if some patients benefit, the overall population                      of illicit cir_i377011-77------                         3
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does not. Another study (33) also reported worse pain,                    rte,prescril                      1 alack
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higher health care utilization, and lower activity levels                 Oei-7411.7=Tr=          undertreatr
in opioid-treated patients compared to matched cohort
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of chronic pain patients not using opioids. Sjogren et al
(49) in a population-based cohort study on chronic pain                         The authors wish to thank Sekar Edem for assis-
and the role of opioids, showed that the odds of recov-                    tance in the search of the literature, Tom Prigge, MA,
ery from chronic pain were almost 4 times higher among                     and Alvaro GOrnez, MA, for manuscript review, and
individuals not using opioids compared with individuals                    Tonie M. Hatton and Diane E. Neihoff, transcription-
using opioids. In addition, they also showed that use of                   ists, for their assistance in preparation of this manu-
strong opioids was associated with poor health-related                     script. We would like to thank the editorial board of
quality of life, and higher risk of death. In addition,                    Pain Physician for review and criticism in improving the
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The Promotion and Marketing of
OxyContin: Commercial Triumph, Public
Health Tragedy
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Abstract
  focus on issues surrounding the promotion and marketing of controlled drugs and their regulatory
oversight. Compared with noncontrolled drugs, controlled drugs, with their potential for abuse and
diversion, pose different public health risks when they are oyerpromoted and highly prescribed. An in-
depth analysis of the promotion and marketing of OxyContin illustrates some of the associated issues.

Modifications of the promotion and marketing of controlled drugs by the pharmaceutical industry and an
enhanced capacity of the Food and Drug Administration to regulate and monitor such promotion can have a
positive impact on the public health.

CONTROLLED DRUGS, WITH their potential for abuse and diversion, can pose public health risks that
are different from—and more problematic than—those of uncontrolled drugs when they are overpromoted
and highly prescribed. An in-depth analysis of the promotion and marketing of OxyContin (Purdue Pharma,
Stamford, CT), a sustained-release oxycodone preparation, illustrates some of the key issues. When Purdue
Pharma introduced OxyContin in 1996, it was aggressively marketed and highly promoted. Sales grew
from $48 million in 1996 to almost $1.1 billion in 2000.1The high availability of OxyContin correlated
with increased abuse, diversion, and addiction, and by 2004 OxyContin had become a leading drug of
abuse in the United States.',1

Under current regulations, the Food and Drug Administration (FDA) is limited in its oversight of the
marketing and promotion of controlled drugs. However, fundamental changes in the promotion and
marketing of controlled drugs by the pharmaceutical industry, and an enhanced capacity of the FDA to
regulate and monitor such promotion, can positively affect public health.

OxyContin's commercial success did not depend on the merits of the drug compared with other available
opioid preparations. The Medical Letter on Drugs and Therapeutics concluded in 2001 that oxycodone
offered no advantage over appropriate doses of other potent opioids.1Randomized double-blind studies
comparing OxyContin given every 12 hours with immediate-release oxycodone given 4 times daily showed
comparable efficacy and safety for use with chronic back pains and cancer-related pain.212 Randomized
double-blind studies that compared OxyContin with controlled-release morphine for cancer-related pain
also found comparable efficacy and safety.1-2 The FDA's medical review officer, in evaluating the efficacy
of OxyContin in Purdue's 1995 new drug application, concluded that OxyContin had not been shown to
have a significant advantage over conventional, immediate-release oxycodone taken 4 times daily other
than a reduction in frequency of dosing.'g In a review of the medical literature, Chou et al. made similar
conclusions.0

The promotion and marketing of OxyContin occurred during a recent trend in the liberalization of the use
of opioids in the treatment of pain, particularly for chronic non-cancer-related pain. Purdue pursued an
"aggressive" campaign to promote the use of opioids in general and OxyContin in particular:Liz-II In 2001
alone, the company spent $200 million in an array of approaches to market and promote OxyContin.

Go to:


PROMOTION OF OXYCONTIN
From 1996 to 2001, Purdue conducted more than 40 national pain-management and speaker-training
conferences at resorts in Florida, Arizona, and California. More than 5000 physicians, pharmacists, and
nurses attended these all-expenses-paid symposia, where they were recruited and trained for Purdue's
national speaker bureau)2022) It is well documented that this type of pharmaceutical company symposium
influences physicians' prescribing, even though the physicians who attend such symposia believe that such
enticements do not alter their prescribing patterns.4

One of the cornerstones of Purdue's marketing plan was the use of sophisticated marketing data to influence
physicians' prescribing. Drug companies compile prescriber profiles on individual physicians—detailing
the prescribing patterns of physicians nationwide—in an effort to influence doctors' prescribing habits.
Through these profiles, a drug company can identify the highest and lowest prescribers of particular drugs
in a single zip code, county, state, or the entire country.21 One of the critical foundations of Purdue's
marketing plan for OxyContin was to target the physicians who were the highest prescribers for opioids
across the country.1,1a-U•21 The resulting database would help identify physicians with large numbers of
chronic-pain patients. Unfortunately, this same database would also identify which physicians were simply
the most frequent prescribers of opioids and, in some cases, the least discriminate prescribers.

A lucrative bonus system encouraged sales representatives to increase sales of OxyContin in their
territories, resulting in a large number of visits to physicians with high rates of opioid prescriptions, as well
as a multifaceted information campaign aimed at them. In 2001, in addition to the average sales
representative's annual salary of $55 000, annual bonuses averaged $71 500, with a range of $15 000 to
nearly $240 000. Purdue paid $40 million in sales incentive bonuses to its sales representatives that year.12

From 1996 to 2000, Purdue increased its internal sales force from 318 sales representatives to 671, and its
total physician call list from approximately 33 400 to 44 500 to approximately 70 500 to 94 000
physicians.2 Through the sales representatives, Purdue used a patient starter coupon program for
OxyContin that provided patients with a free limited-time prescription for a 7- to 30-day supply. By 2001,
when the program was ended, approximately 34 000 coupons had been redeemed national 1 y.12

The distribution to health care professionals of branded promotional items such as OxyContin fishing hats,
stuffed plush toys, and music compact discs ("Get in the Swing With OxyContin") was unprecedented for a
schedule II opioid, according to the Drug Enforcement Administration.12

Purdue promoted among primary care physicians a more liberal use of opioids, particularly sustained-
release opioids. Primary care physicians began to use more of the increasingly popular OxyContin; by
2003, nearly half of all physicians prescribing OxyContin were primary care physicians.12 Some experts
were concerned that primary care physicians were not sufficiently trained in pain management or addiction
issues.22 Primary care physicians, particularly in a managed care environment of time constraints, also had
the least amount of time for evaluation and follow-up of patients with complicated chronic pain.
Purdue "aggressively" promoted the use of opioids for use in the "non-malignant pain market."ISP187) A
much larger market than that for cancer-related pain, the non-cancer-related pain market constituted 86%
of the total opioid market in 1999)1Purdue's promotion of OxyContin for the treatment of non-cancer-
related pain contributed to a nearly tenfold increase in OxyContin prescriptions for this type of pain, from
about 670 000 in 1997 to about 6.2 million in 2002, whereas prescriptions for cancer-related pain increased
about fourfold during that same period.22 Although the science and consensus for the use of opioids in the
treatment of acute pain or pain associated with cancer are robust, there is still much controversy in
medicine about the use of opioids for chronic non-cancer-related pain, where their risks and benefits are
much less clear. Prospective, randomized, controlled trials lasting at least 4 weeks that evaluated the use of
opioids for chronic, non-cancer-related pain showed statistically significant but small to modest
improvement in pain relief, with no consistent improvement in physical functioning.         A recent review of
the use of opioids in chronic back pain concluded that opioids may be efficacious for short-term pain relief,
but longer-term efficacy ( > 16 weeks) is unclear.a

In the long-term use of opioids for chronic non-cancer-related pain, the proven analgesic efficacy must be
weighed against the following potential problems and risks: well-known opioid side effects, including
respiratory depression, sedation, constipation, and nausea; inconsistent improvement in functioning; opioid-
induced hyperalgesia; adverse hormonal and immune effects of long-term opioid treatment; a high
incidence of prescription opioid abuse behaviors; and an ill-defined and unclarified risk of iatrogenic
addiction.'n


MISREPRESENTING THE RISK OF ADDICTION
A consistent feature in the promotion and marketing of OxyContin was a systematic effort to minimize the
risk of addiction in the use of opioids for the treatment of chronic non-cancer-related pain. One of the most
critical issues regarding the use of opioids in the treatment of chronic non-cancer-related pain is the
potential of iatrogenic addiction. The lifetime prevalence of addictive disorders has been estimated at 3% to
16% of the general population.- However, we lack any large, methodically rigorous prospective study
addressing the issue of iatrogcnic addiction during long-term opioid use for chronic nonmalignant pain.a

In much of its promotional campaign—in literature and audiotapcs for physicians, brochures and
videotapes for patients, and its "Partners Against Pain" Web site—Purdue claimed that the risk of addiction
from OxyContin was extremely sma11.12-1-2

Purdue trained its sales representatives to carry the message that the risk of addiction was "less than one
percent."51099) The company cited studies by Porter and Jick,p- who found iatrogenic addiction in only 4 of
11 882 patients using opioids and by Perry and Heidrich,2- who found no addiction among 10 000 burn
patients treated with opioids. Both of these studies, although shedding some light on the risk of addiction
for acute pain, do not help establish the risk of iatrogenic addiction when opioids are used daily for a
prolonged time in treating chronic pain. There are a number of studies, however, that demonstrate that in
the treatment of chronic non-cancer-related pain with opioids, there is a high incidence of prescription drug
abuse. Prescription drug abuse in a substantial minority of chronic-pain patients has been demonstrated in
studies by Fishbain et al. (3%-18% of patients).a Hoffman et al. (23%),.'1Kouyanou et al. (12%),,12 Chabal
et al. (34%),51 Katz et al. (43%),12 Reid et al. (24%-31%),2 and Michna et al. (45%).2 A recent literature
review showed that the prevalence of addiction in patients with long-term opioid treatment for chronic
non-cancer-related pain varied from 0% to 50%, depending on the criteria used and the subpopulation
studied.0

Misrepresenting the risk of addiction proved costly for Purdue. On May 10, 2007, Purdue Frederick
Company Inc, an affiliate of Purdue Pharma, along with 3 company executives, pled guilty to criminal
charges of misbranding OxyContin by claiming that it was less addictive and less subject to abuse and
diversion than other opioids, and will pay $634 million in fines.§1
Although research demonstrated that OxyContin was comparable in efficacy and safety to other available
opioids,lial marketing catapulted OxyContin to blockbuster drug status. Sales escalated from $44 million
(316 000 prescriptions dispensed) in 1996 to a 2001 and 2002 combined sales of nearly $3 billion (over 14
million prescriptions),I2

The remarkable commercial success of OxyContin, however, was stained by increasing rates of abuse and
addiction. Drug abusers learned how to simply crush the controlled-release tablet and swallow, inhale, or
inject the high-potency opioid for an intense morphinelike high. There had been some precedence for the
diversion and abuse of controlled-release opioid preparations. Purdue's own MS Contin had been abused in
the late 1980s in a fashion similar to how OxyContin was later to be; by 1990, MS Contin had become the
most abused prescription opioid in one major metropolitan area.0 Purdue's own testing in 1995 had
demonstrated that 68% of the oxycodone could be extracted from an OxyContin tablet when crushed.

Opioid prescribing has had significant geographical variations. In some areas, such as Maine, West
Virginia, eastern Kentucky, southwestern Virginia, and Alabama, from 1998 through 2000, hydrocodone
and (non-OxyContin) oxycodone were being prescribed 2.5 to 5.0 times more than the national average. By
2000, these same areas had become high OxyContin-prescribing areas—up to 5 to 6 times higher than the
national average in some counties (Table 1).0 These areas, in which OxyContin was highly available, were
the first in the nation to witness increasing OxyContin abuse and diversion, which began surfacing in 1999
and 2000.2 From 1995 to 2001, the number of patients treated for opioid abuse in Maine increased 460%,
and from 1997 to 1999 the state had a 400% increase in the number of chronic hepatitis C cases reported.
In eastern Kentucky from 1995 to 2001, there was a 500% increase in the number of patients entering
methadone maintenance treatment programs, about 75% of whom were OxyContin dependent (Mac Bell,
administrator, Narcotics Treatment Programs, Kentucky Division of Substance Abuse, written
communication, March 2002). In West Virginia, the first methadone maintenance treatment program
opened in August 2000, largely in response to the increasing number of people with OxyContin
dependence. By October 2003, West Virginia had 7 methadone maintenance treatment clinics with 3040
patients in treatment (M. Moore, Office of Behavioral Health Services, Office of Alcoholism and Drug
Abuse, West Virginia, written communication, March 16,2004). In southwestern Virginia, the first
methadone maintenance treatment program opened in March 2000, and within 3 years it had 1400
admissions (E. Jennings, Life Center of Galax, Galax, Virginia, written communication, March 12, 2004).




TABLE 1
Distribution of OxyContin, Oxycodone (Excluding OxyContin), and Hydrocodone per 100 000
Population: Virginia, West Virginia, and Kentucky, 2000

With increasing diversion and abuse, opioid-related overdoses escalated. In southwest Virginia, the number
of deaths related to opioid prescriptions increased 830%, from 23 in 1997 to 215 in 2003 (William
Massello ill, MD, assistant chief medical examiner, Office of Chief Medical Examiner, Western District,
Virginia Department of Health, written communication, January 12, 2007). The high availability of
OxyContin in these 5 regions seemed to be a simple correlate of its abuse, diversion, and addiction.

With the growing availability of OxyContin prescriptions, the once-regional problem began to spread
nationally. By 2002, OxyContin accounted for 68% of oxycodone sales. 2 Lifetime nonmedical use of
OxyContin increased from 1.9 million to 3.1 million people between 2002 and 2004, and in 2004 there
were 615 000 new nonmedical users of OxyContin.'Q By 2004, OxyContin had become the most prevalent
prescription °plaid abused in the United States.2

The increasing OxyContin abuse problem was an integral part of the escalating national prescription opioid
abuse problem. Liberalization of the use of opioids, particularly for the treatment of chronic non—cancer-
related pain, increased the availability of all opioids as %veil as their abuse. Nationwide, from 1997 to 2002,
there was a 226%, 73%, and 402% increase in fentanyl, morphine, and oxycodone prescribing, respectively
(in grams per 100 000 population). During that same period, the Drug Abuse Warning Network reported
that hospital emergency department mentions for fentanyl, morphine, and oxycodone increased 641%,
113%, and 346%, respectively.21 Among new initiates to illicit drug use in 2005, a total of 2.1 million
reported prescription opioids as the first drug they had tried, more than for marijuana and almost equal to
the number of new cigarette smokers (2.3 million).11 Most abusers of prescription opioids get their diverted
drugs directly from a doctor's prescription or from the prescriptions of friends and family.11

In terms of illicit drug abuse, prescription opioids are now ahead of cocaine and heroin and second only to
marijuana./2 Mortality rates from drug overdose have climbed dramatically; by 2002, unintentional
overdose deaths from prescription opioids surpassed those from heroin and cocaine nationwide.Z1
Nationally, as well as regionally, the high availability of OxyContin and all prescription opioids was
correlated with high rates of abuse and diversion.


THE FOOD AND DRUG ADMINISTRATION
Under the Food, Drug, and Cosmetics Act and implementing regulations, the FDA regulates the advertising
and promotion of prescription drugs and is responsible for ensuring that prescription drug advertising and
promotion are truthful, balanced, and accurately communicated. There is no distinction in the act between
controlled and noncontrolled drugs regarding the oversight of promotional activities. Although regulations
require that all promotional materials for prescription drugs be submitted to the FDA for review when the
materials are initially disseminated or used, it is generally not required that these materials be approved by
the FDA prior to their use. The FDA has a limited number of staff for overseeing the enormous amount of
promotional materials. In 2002, for example, 39 FDA staff members were responsible for reviewing
roughly 34 000 pieces of promotional materials.12 This limited staffing significantly diminishes the FDA's
ability to ensure that the promotion is truthful, balanced, and accurately communicated.

In 1998, Purdue distributed 15 000 copies of an OxyContin video to physicians without submitting it to the
FDA for review, an oversight later acknowledged by Purdue. In 2001, Purdue submitted to the FDA a
second version of the video, which the FDA did not review until October 2002—after the General
Accounting Office inquired about its content. After its review, the FDA concluded that the video
minimized the risks from OxyContin and made unsubstantiated claims regarding its benefits to patients.12

When OxyContin entered the market in 1996, the FDA approved its original label, which stated that
iatrogenic addiction was "very rare" if opioids were legitimately used in the management of pain. In July
2001, to reflect the available scientific evidence, the label was modified to state that data were not available
for establishing the true incidence of addiction in chronic-pain patients. The 2001 labeling also deleted the
original statement that the delayed absorption of OxyContin was believed to reduce the abuse liability of
the drug.12 A more thorough review of the available scientific evidence prior to the original labeling might
have prevented some of the need for the 2001 label revision.


CONCLUSIONS
OxyContin appears to be as efficacious and safe as other available opioids and as oxycodone taken 4 times
daily)-1-41 Its commercial success, fueled by an unprecedented promotion and marketing campaign, was
stained by escalating OxyContin abuse and diversion that spread throughout the country.2dri The regions of
the country that had the earliest and highest availability of prescribed OxyContin had the greatest initial
abuse and diversion:22'e Nationally, the increasing availability of OxyContin was associated with higher
rates of abuse, and it became the most prevalent abused prescription opioid by 2004.2

Compared with noncontrolled drugs, controlled drugs, with their potential for abuse and diversion, pose
different public health risks when overpromoted and highly prescribed. Several marketing practices appear
to be especially questionable.
The extraordinary amount of money spent in promoting a sustained-release opioid was unprecedented.
During OxyContin's first 6 years on the market, Purdue spent approximately 6 to 12 times more on
promoting it than the company had spent on promoting MS Contin, or than Janssen Pharmaceutical
Products LP had spent on Duragesic, one of OxyContin's competitors.-2 Although OxyContin has not been
shown to be superior to other available potent opioid preparations,111by 2001 it had become the most
frequently prescribed brand-name opioid in the United States for treating moderate to severe pain.
Carefully crafted limits on the marketing and promotion of controlled drugs would help to realign their
actual use with the principles of evidence-based medicine.

Physicians' interactions with pharmaceutical sales representatives have been found to influence the
prescribing practices of residents and physicians in terms of decreased prescribing of generic drugs,
prescribing cost, nonrationat prescribing, and rapid prescribing of new drugs.a Carefully crafted limits on
the promotion of controlled drugs by the pharmaceutical sales force and enhanced FDA oversight of the
training and performance of sales representatives would also reduce over- and misprescribing.

Although there are no available data for evaluating the promotional effect of free starter coupons for
controlled drugs, it seems likely that the over- and misprescribing of a controlled drug are encouraged by
such promotional programs and the public health would be well served by eliminating them.

The use of prescriber profiling data to influence prescribing and improve sales is imbedded in
pharmaceutical detailing. Very little data are publicly available for understanding to what extent this
marketing practice boosts sales. One market research report indicated that profiling improved profit
margins by as much as 3 percentage points and the initial uptake of new drugs by 30%.22 The use of
prescriber profiling data to target high-opioid prescribers—coupled with very lucrative incentives for sales
representatives—would seem to fuel increased prescribing by some physicians—perhaps the most liberal
prescribers of opioids and, in some cases, the least discriminate. Regulations eliminating this marketing
tool might decrease some potential overprescribing of controlled drugs.

The public health would be better protected if the FDA reviewed all advertising and promotional materials
as well as associated educational materials—for their truthfulness, accuracy, balance, and scientific
validity—before dissemination. Such a change would require a considerable increase in FDA support,
staffing, and funding from what is currently available. Public monies spent on the front end of the problem
could prevent another such tragedy.

The pharmaceutical industry's role and influence in medical education is problematic. From 1996 through
July 2002, Purdue funded more than 20 000 pain-related educational programs through direct sponsorship
or financial grants,12 providing a venue that had enormous influence on physicians' prescribing throughout
the country. Particularly with controlled drugs, the potential for blurring marketing and education carries a
much higher public health risk than with uncontrolled drugs. At least in the area of controlled drugs, with
their high potential for abuse and diversion, public health would best be served by severing the
pharmaceutical industry's direct role and influence in medical education.

Marketing and promotion by the pharmaceutical industry have considerably amplified the prescription sales
and availability of opioids. A number of factors have contributed to the marked growth of opioid abuse in
the United States, but one factor is certainly the much increased availability of prescription opioids. The
public interest and public health would be better served by a redefinition of acceptable and allowable
marketing practices for opioids and other controlled drugs.


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EXHIBIT C
                                                                                                                                                    AJPH RESEARCH




Industry Payments to Physicians For Opioid
Products, 2013-2015
Sant E. Hadland, MD, MPH, MS, Maxwell S. Krieger, 135, and Brandon D. L. Marshall, PhD


   Objectives. To identify payments that involved opioid products from the pharma-                                  database implemented under the Physician
ceutical industry to physicians.                                                                                    Payments Sunshine Act.5'2 We used this
   Methods. We used the Open Payments program database from the Centers for                                         novel data set to characterize industry pay-
                                                                                                                    ments to physicians related to opioid
Medicare and Medicaid Services to identify payments involving an opioid to physicians
                                                                                                                    marketing.
between August 2013 and December 2015. We used medians, interquartile ranges, and
ranges as a result of heavily skewed distributions to examine payments according to
opioid product, abuse-deterrent formulation, nature of payment, state, and physician
specialty.
   Results. During the study, 375 266 nonresearch opioid-related payments were made                                 METHODS
                                                                                                                      We extracted all payments between Au-
to 68 177 physicians, totaling $96 158388. The top 1% of physicians received 82.5% of
                                                                                                                    gust 1, 2013 (when mandated reporting
total payments in dollars. Abuse-deterrent formulations constituted 20.3% of total
                                                                                                                    began), and December 31, 2015, that listed
payments, and buprenorphine marketed for addiction treatment constituted 9.9%. Most
                                                                                                                    a US Food and Drug Administration (Fl)A)—
payments were for speaking Fees or honoraria (63.2% of all dollars), whereas food and
                                                                                                                    approved opioid product. We included
beverage payments were the most frequent (93.9% of all payments). Physicians spe-                                   buprenorphine but examined buprenorphine
cializing in anesthesiology received the most in total annual payments (median = $50;                               and buprenorphine/naloxone marketed for
interquartile range = $16—$151).                                                                                    addiction treatment separately From the
   Conclusions. Approximately 1 in 12 US physicians received a payment involving an                                 buprenorphine transdermal patch marketed
opioid during the 29-month study. These findings should prompt an examination of                                    for pain control. We excluded remifentanil
industry influences on opioid prescribing. (Am .1 Public Health. 2017;107:1493-1495. doi:                           (which is marketed exclusively For anesthesia)
10.2105/AJPH.2017.303982)                                                                                           and 2 fentanyl products (1 marketed exclu-
                                                                                                                   sively for anesthesia, and 1 marketed exclu-
                                                                                                                   sively for in-hospital pain).
                                                                                                                     We also identified payments involving
                                                   when payments are of low monetary value
T    he nonmedical use of opioids and
     overdose mortality have reached un-
precedented levels in the United States.'
                                                   (e.g., industry-sponsored meals). To date,
                                                   industry payments to physicians involving
                                                                                                                   FDA-recognized abuse-deterrent opioid
                                                                                                                    fonnulations.8 For comparison with a non-
                                                                                                                    opioid class of pain medications, we quanti-
To respond to concerns about over-                 opioids have not been studied and de-
                                                                                                                    fied payments for all actively marketed
prescribing of opioids, the Centers for Disease    serve further examination because they
                                                                                                                    nonsteroidal anti-inflammatory drugs
Control and Prevention recently released           may impede national efforts to reduce                            (NSAIDs) in the database. We chose NSAIDs
chronic pain management guidelines that            overprescribing.                                                 for this comparison because unlike other
call on physicians to consider nonopioid             It is currently unclear which opioids are                      medication classes used for pain that have
pain medications as an alternative to opioids.2    most heavily marketed, to whom, and in                           additional indications (e.g., medications
Additionally, sonic physicians and pharma-         exchange for which physician activities. The                     marketed not only for pain but also for de-
ceutical industry representatives have suggested   extent to which abuse-deterrent fonnulations                     pression or neuralgia), NSA1Ds are almost
that abuse-deterrent formulations—newly            and nonopioid alternatives are marketed is                       exclusively used for pain control.
marketed brand-name opioids with pill prop-        also poorly understood. For the first time,                          We limited the current analysis to non-
erties that render misuse more difficult—offer     exhaustive data on payments are now avail-                       research payments to physicians; we excluded
a safer option for prescribers.3'4                 able through the Open Payments program                           research payments, which are made in
   Under the recently implemented Physi-
cian Payments Sunshine Act, drug companies
                                                   ABOUT THE AUTHORS
are now required to report all transfers of        Sour Hadland is with Boston Medical Center arid Boston University School of Aledirine, Boston, MA. Maxwell S. Krieger
value ("payments") to US physicians.5              and Brandon D. L. Marshall are with Brown University School of Public Health, Providence, RI.
                                                      Girrespanderwe should be sent to SCOU E. tlad!a,rd. MD, MPH, MS, 88 E Newton Si, Vice HA Room 322, Boston, MA
Research suggests that pharmaceutical com-
                                                   02118 (egnail: seondradland@lime.org). Reprints ran be ordered at Intp://wunv.ajph.org by clicking the "Reprints" link.
pany payments promote increased prescribing           This article was arerpted June 14, 2017.
for marketed brand-name medications, even             doi: 10.2105/AJPI 1.2017.303982




September 2017, Vol 107, No. 9   AJPH                                                                                  Hociknd   er al.   Peer Reviewed Research 1493
AJ PH RESEARCH




association with established research pro-
                                                  TABLE 1—Characteristics of Payments Involving Opioid Products to Physicians: Open
tocols, do not explicitly target prescribing      Payments Program Database, United States, August 1, 2013-December 31, 2015
behaviors, and may be provided to physicians
not actively practicing medicine. We sum-        Nature of Payment            Total Payment Amount, $ (%)     Median Payment, S (LQR)    No. of Payments (%)
marized payments in terms of total dollars
                                                 Speaking fees or honoraria         29 190 854 (63.2)            2 010 (1 000-3 750)          9 161 (2.4)
and number of payments made and identified
                                                 Food and beverages                  7 872 581 (17.1)                 14(11-18)             352 298 (93.9)
changes from 2014 to 2015 (the 2 years for
which all 12 months of data were available).     Consulting Fees                     5 886 461 (12,8)            1 000 (500-2 500)            2 145 (0.6)
We used medians, interquartile ranges            Travel and lodging                  2 904 940 (6.3)              537 (100-1 131)             4 048 (1.1)
(lQRs), and ranges as a result of heavily        Education                             222 869 (0.5)                  14(5-25)                  422 (2.0)
                                                   _                                                                                      _ 7
skewed distributions to examine payments
                                                 Other _                                80 683 (0.2)              100 (14-500)                  192 (0.1)
according to opioid product, abuse-deterrent
formulation, nature of payment (i.e., physi-     Note. IQR = interquartile ranges.
cian activity leading to the payment), state,    alncludes gilts, entertainment, and space rental Of facility fees.
and physician specialty. We also assessed
payments to physicians receiving the top 1%      with physicians receiving a median of 1 pay-           are. Additionally, despite Centers for Disease
of payments for opioids. We used Stata ver-      ment annually (1QP, = I-2: maximum = 157).             Control and Prevention recommendations to
sion 13.1 (StataCorp LP, College Station,        Payments were positively skewed, with the              consider use of nonopioid medications for
TX) for analyses.                                top 1% of physicians (n = 681) receiving               pain, NSA1Ds, a prominent family of non-
                                                 $2639 or more annually (Table A, available as          opioid pain medications, were not as heavily
                                                 a supplement to the online version of this             marketed as opioids were.2
                                                 article at http:/Avww.ajph.org). These phy-                Fentanyl was the inost common opioid
RESULTS                                          sicians collectively received $38 073 796              involved in payments to physicians. National
   Over the study period, 375 266 non-           (82.5% of total payments) during the study             data implicate fentanyl in a rapidly increasing
research payments involving a marketed           period.                                                number of overdose deaths, although most
opioid were made to 68 177 physicians, to-          Physicians specializing in anesthesiology           are caused by illicitly manufactured fen-
taling $46 158388. Total payments increased      received the most in total annual payments             tany1.19 Further studies should clarify the
from $18958 125 in 2014 to $20 996 858 in        (median =S50; !QR.= $16-$151; n = 4339),               extent to which industry payments contribute
2015, an increase of 10.7%. The number           followed by physical medicine and rehabili-            to prescribing patterns and overdose rates
of payments increased from 145 715 in 2014       tation (median =$48; IQR = 514-5145;                   across geographic regions, particularly given
to 184 237 in 2015, an increase of 26.4%.        n = 3502) and pain medicine (median = $43;             the heterogeneity we observed in payments
   The 5 opioid products constituting the        IQR = $12-$125; n = 3090). Physicians                  among states. Although payment amounts
greatest proportion ofpayrnents were fentinyl    specializing in family medicine received               in dollar terms were greatest to physicians
(521 240794; 46.0% of total dollars), hydro-     the largest total number of payments                   specializing in anesthesiology, physical
codone ($7 123 421; 15.4%), buprenorphine        (n = 20592).                                           medicine and rehabilitation, and pain
transdennal patch ($5 141 808; 11.1%), oxy-                                                             medicine—specialists with expertise in pain
codone ($4 487 978; 9.7%), and tapentadol                                                               management—family medicine physicians
($4 296 130; 9.3%). Overall, payments for                                                               received the largest number of payments,
FDA-approved abuse-deterrent formulations        DISCUSSION                                             indicating extensive marketing of opioid
totaled $9 352 959 (20,3%), and payments for        According to the Association of American            products to primary care physicians. Because
buprenorphine or buprenorphine/naloxone          Medical Colleges, there were 829 962 active            there were 108 917 active family physicians
marketed for addiction treatment totaled         physicians in the United States at the be-             in the United States in 2013,9 our data
$4 561 729 (9.9%), By comparison, payments       ginning ofthe study period in 20139; thus, our         highlight that nearly 1 in 5 received an
For NTSAIDs amounted to $13 758 385 (not         results suggest that 1 in 12 physicians received       opioid-related payment.
included in previous totals).                    an industry payment involving an opioid                    A limitation of this study was the absence
   Speaking fees or honoraria constituted the    during the 29-month study period. Although             of further details about industry-physician
largest proportion of payments in dollars,       half of all the annual payments were $15 or            interactions; some payments may have sup-
whereas payments involving food and bev-         less, even small payments (including meals)            ported education on appropriate prescribing
erage were the most common (Table        I).     are associated with increased prescribing of           behaviors.' One tenth of the payments in-
Payments varied widely according to              marketed products.° FDA-approved abuse-                volved buprenorphine marketed For addic-
US state (Figure A, available as a supple-       deterrent formulations, which have proper-             tion treatment, which may have resulted
ment to the online version of this article       ties expected to render misuse less likely,            in improved education on addiction care.
at http://www.ajph.org). The median              constituted only one fifth of the total pay-           Risk Evaluation and Mitigation Strategies
paid per physician annually was $15              ments, suggesting that such medications may            programs imposed by the FDA require
(IQR = 57-542; maximum = $1 539 471),            not be as heavily marketed as other opioids            education on extended-release/long-acting



1494 Research Peer Reviewed     Hadland et of.                                                                         AJPH September 2017, Vol 107, No. 9
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prompt an examination of industry influences
                                                              enforcement submissions and increases in synthetic opi-
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Further research should examine whether                       21/21/1FR Marl, :liana! 14,74 Rep. 2016:65(33):837-843.
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overdose, and policymakers might consider                     of medical knowledge: what the Sunshine Act will and
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CONTRIBUTORS
S. E. Hadland and 11.1). L. Marshall designed the study
and wrote the protocol. S. E. Hadland conducted she
literature review and wrote the first draft of the article.
M.S. Krieger undertook data management and statistical
analyses with additional input from S. E. Hadland and
13.0. L. Marshall. Al] authors contributed to and approved
the final article.


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HUMAN PARTICIPANT PROTECTION
The study was considered exempt by the Brown Uni-
versity institutional review board.


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September 2017, Vol 107, NO. 9 MPH                                                                                           Hadlatid et al.   Peer Reviewed Research 1495
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U.S.

A Pain-Drug Champion Has Second
Thoughts
       By Thomas Catan and Evan Perez
       Updated Dec.17, 2012 1136 a.m. ET

It has been his life's work. Now, Russell Portenoy appears to be having second
thoughts.

Two decades ago, the prominent New York pain-care specialist drove a movement to
help people with chronic pain. He campaigned to rehabilitate a group of painkillers
derived from the opium poppy that were long shunned by physicians because of their
addictiveness.

Dr. Portenoy's message was wildly successful. Today, drugs containing opioids like
Vicodin, OxyC ontin and Percocet are among the most widely prescribed
pharmaceuticals in America.

Opioids are also behind the country's deadliest drug epidemic. More than 16,500
people die of overdoses annually, more than all illegal drugs combined.

Now, Dr. Portenoy and other pain doctors who promoted the drugs say they erred by
overstating the drugs' benefits and glossing over risks. "Did I teach about pain
management, specifically about opioid therapy, in a way that reflects misinformation?
Well, against the standards of 2012,1 guess I did," Dr. Portenoy said in an interview
with The Wall Street Journal. "We didn't know then what we know now."

Recent research suggests a significantly higher risk of addiction than previously
thought, and questions whether opioids are effective against long-term chronic pain.

The change of heart among former champions of opioid use has happened quietly,
largely beyond the notice of many doctors. New York psychiatrist Joseph Carmody said
he was "shocked" after attending a recent lecture outlining the latest findings on
opioid risk.

"It goes in the face of everything you've learned," he said. "You saw other doctors come
around to it and saying, 'Oh my God, what are we doing?"
Because doctors feared they were dangerous and addictive, opioids were long reserved
mainly for cancer patients. But Dr. Portenoy argued that they could be also safely be
taken for months or years by people suffering from chronic pain. Among the assertions
he and his followers made in the 1990s: Less than 1% of opioid users became addicted,
the drugs were easy to discontinue and overdoses were extremely rare in pain patients.

Many of those experts now say those claims were weren't based on sound scientific
evidence. "I gave innumerable lectures in the late 1980s and '90s about addiction that
weren't true," Dr. Portenoy said in a 2010 videotaped interview with a fellow doctor.
The Journal reviewed the conversation, much of which is previously unpublished.

In it, Dr. Portenoy said it was "quite scary" to think how the growth in opioid
prescribing driven by people like him had contributed to soaring rates of addiction and
overdose deaths. "Clearly, if I had an inkling of what! know now then, I wouldn't have
spoken in the way that I spoke. It was clearly the wrong thing to do," Dr. Portenoy said
in the recording.

                                                               Speaking to the Journal
                                                               in September, Dr.
  On the Rise                                                  Portenoy tempered that
                                                               statement with cautions
  Kilograms of opioids sold,                                   about overturning what
  per 10,000 people                                            he sees as the positive
                                                               change he achieved. He
  8                                                            cited his 82-year-old
                                                               mother, who has taken
  7                                                            hydrocodone to control
                                                               arthritis for 15 years. "If
  6                                                            you insist on regulation,
                                                               then you're consigning
                                                               my mother and many
  4                                                            millions of people like
                                                               my mother to live in
  3                                                            chronic pain," he said.

  2                                                             Virtually no one wants
                                                                to return to a time when
                                                                doctors were reluctant
                                                                to use opioids even for
  0                                                             cancer  patients. All
                                                                sides also agree that
              2000                                 '10          there is a group of
    Source: National Vital Statistics.                          people who do well on
                                                                opioids long-term,
                                                                taming their pain while
avoiding addiction or excessive sedation, although there is no research on how large
this group is or how to identify them before they begin a treatment. There is also
widespread agreement that they can be used, with caution, for acute pain, such as after
an operation.

But some specialists now question whether the drugs should be prescribed so freely for
months or years to people with chronic pain that isn't related to cancer, as Dr. Portenoy
proposed 25 years ago. "People lost sight of the fact that these are dangerous drugs
that are highly addictive," said Jane Ballantyne, a pain specialist at the University of
Washington. She once agreed with Dr. Portenoy and proponents of broad opioid use but
now believes they need to be used more selectively.

Opium-derived painkillers have been around for thousands of years. Early in the 20th
century, heroin was sold as a cough suppressant. Heroin addiction in the U.S.
skyrocketed. Congress banned the drug in 1924 and doctors became deeply wary about
using opioids.

Dr. Portenoy set out to change that. As a young doctor at Memorial Sloan-Kettering
hospital in New York, he noticed that opioids were effective in cancer patients with
terrible pain.

In 1986, at the age of 31, he co-wrote a seminal paper arguing that opioids could also be
used in the much larger group of people without cancer who suffered chronic pain. The
paper was based on just 38 cases and included several caveats. Nevertheless, it opened
the door to much broader prescribing of the drugs for more common complaints such
as nerve or back pain.

Charming and articulate, he became a sought-after public speaker. He argued that
opioids are a "gift from nature" that were being forsaken because of "opiophobia"
among doctors. "We had to destigmatize these drugs," said Dr. Portenoy.

He rose to chairman of pain medicine and palliative care at Beth Israel Medical Center
in New York. His small office is studded with awards and evidence of his offbeat sense
of humor. He prominently displays a magazine mock-up that jokingly dubs him "The
King of Pain."

At medical conferences, his confident, knowing manner helped smooth the way for his
message. Before an audience of government regulators, he once joked that he might tell
a patient at low risk of abuse: "Here, [have] six months of drugs. See you later," he said,
according to a Food and Drug Administration transcript. Amid laughter, he added, "It's
just hyperbole. I don't actually do that."

Steven Passik, a psychologist who once worked closely with Dr. Portenoy and describes
him as his mentor, says their message wasn't based on scientific evidence so much as a
zeal to improve patients' lives. "It had all the makings of a religious movement at the
time," he says. "It had that kind of a spirit to it."

Drug companies took notice. In 1996, Purdue Pharma LP released OxyContin, a form of
oxycodone in a patented, time-release form, and rivals followed suit. Today, sales of
opioid painkillers total more than $9 billion a year, according to IMS Health, which
tracks sales for drug companies.

In 2007, Purdue Pharma and three executives pleaded guilty to "misbranding" of the
drug as less addictive and less subject to abuse than other pain medicines and paid
$635 million in fines.

Purdue Pharma says it has worked to discourage abuse of its drugs, adding that
OxyContin is safe and effective when used properly.
A Pain-Drug Champion Has Second Thoughts - WSJ                                        hups://www.wsj.com/articles/SB1000142412788732447830457817334...



       In the late 1990s, groups such as the American Pain Foundation, of which Dr. Portenoy
       was a director, urged tackling what they called an epidemic of untreated pain. The
       American Pain Society, of which he was president, campaigned to make pain what it
       called the "fifth vital sign" that doctors should monitor, alongside blood pressure,
       temperature, heartbeat and breathing.

       Dr. Portenoy helped write a landmark 1996 consensus statement by two professional
       pain societies that said there was little risk of addiction or overdose among pain
       patients. In lectures he cited the statistic that less than 1% of opioid users became
       addicted.

       Today, even proponents of opioid use say that figure was wrong. "It's obviously crazy to
       think that only 1% of the population is at risk for opioid addiction," said Lynn Webster,
       president-elect of the American Academy of Pain Medicine, one of the publishers of the
       1996 statement. "It's just not true."

       The figure came from a single-paragraph report in the New England Journal of
       Medicine in 1980 describing hospitalized patients briefly given opioids. Dr. Portenoy
       now says he shouldn't have used the information in lectures because it wasn't relevant
       for patients with chronic noncancer pain.

       For such a widely used therapy, there is relatively little scientific evidence that opioid
       drugs are safe and effective for long-term use. "Data about the effectiveness of opioids
       does not exist," Dr. Portenoy said in his recent Journal interview. To get a painkiller
       approved, companies must prove that it is better at reducing pain than a sugar pill
       during short trials often lasting less than 12 weeks.

         r                                                     "Do they work for five years, 10 years, 20
         '• The Optold Toll                                    years?" Dr. Portenoy said in the Journal
          op zickditidthati: •                 fo; tiestnait   interview. "We're at the level of anecdote."
                                 .     *cad aktknaa per
                                     10.000 maple              Even so, he says, the drugs can still benefit
               •
                                                               carefully selected patients.

           $
                                                          Dr. Portenoy's ideas about opioids reached
                                     4                    into mainstream medicine and attracted
           ;                    3  •
                                                        / outspoken advocates. In a 1998 talk in
                                2
                                                          Houston, Alan Spanos, a South Carolina
         $$                       01110
             ' 21:00        10      X00
                                                          pain specialist, said patients with chronic
          innitinslui noon              tunas tun i.non   noncancer pain could be trusted to decide
                                                          themselves how many painkillers to take
       without risk of overdose. According to a recording, Dr. Spanos said he understood that
       a patient would simply "go to sleep" before stopping breathing. While asleep, he said,
       the patient "can't take a dangerous dose. It sounds scary, but as far as I know, nobody
       anywhere is getting burned by doing it this way."

       Dr. Spanos declined to say whether he still agreed with his previous statements. He
       said opioids can be helpful and safe with proper use.

       One of Dr. Portenoy's chief complaints was that doctors were reluctant to prescribe
       opioids because they feared scrutiny by regulators or law enforcement. In the second
       half of the 1990s, he and his followers campaigned successfully for policies to change
       that.
In 1998, the Federation of State Medical Boards released a recommended policy
reassuring doctors that they wouldn't face regulatory action for prescribing even large
amounts of narcotics, as long as it was in the course of medical treatment. In 2004 the
group called on state medical boards to make tuidertreatment of pain punishable for
the first time.

That policy was drawn up with the help of several people with links to opioid makers,
including David Haddox, a senior Purdue Pharma executive then and now. The
federation said it received nearly $2 million from opioid makers since 1997. The
federation says it derives the majority of its funding from administering medical
licensing exams, credential verification, and data services.

A federation-published book outlining the opioid policy was funded by opioid makers
including Purdue Pharma, Endo Health Solutions Inc. and others, with proceeds
totaling $280,000 going to the federation. Endo declined to comment.

Purdue Pharma said, "Dr. Haddox was recruited by the FSMB, so he did not have undue
or inappropriate influence" on the federation's output. Purdue declined to make Dr.
Haddox available to comment.

The federation said it didn't believe its model policy contributed to increased
prescriptions and said drug makers didn't influence its guidelines.

In 2001, the Joint Commission, which accredits U.S. hospitals, issued new standards
telling hospitals to regularly ask patients about pain and to make treating it a priority.
The now-familiar pain scale was introduced in many hospitals, with patients being
asked to rate their pain from one to 10 and circle a smiling or frowning face.

The Joint Commission published a guide sponsored by Purdue Pharma. "Some
clinicians have inaccurate and exaggerated concerns" about addiction, tolerance and
risk of death, the guide said. "This attitude prevails despite the fact there is no
evidence that addiction is a significant issue when persons are given opioids for pain
control."

Purdue said the booklet emerged from a process that "represented the consensus of a
broad range of interested stakeholders." Drug makers regularly pay for educational
materials for physicians as an element of their marketing.

The Joint Commission said its standards didn't encourage physicians and hospitals to
increase prescriptions. "I think that's a very distorted and not helpful explanation of
what's going on," said Ana McKee, the Joint Commission's chief medical officer.

Over his career, Dr. Portenoy has disclosed relationships with more than a dozen
companies, most of which produce opioid painkillers. "My viewpoint is that I can have
those relationships, they would benefit my educational mission, they benefit in my
research mission, and to some extent, they can benefit my own pocketbook, without
producing in me any tendency to engage in undue influence or misinformation," he
said.

Dr. Portenoy and Beth Israel declined to provide details of their funding by drug
companies. A 2007 fundraising prospectus from Dr. Portenoy's program shows that his
program received millions of dollars over the preceding decade in funding from opioid
makers including Endo, Abbott Laboratories, Cephalon, Purdue Pharma and Johnson 8c
Johnson.

Endo, Abbott, Janssen and Purdue declined to comment. Cephalon's current owner,
Teva Pharmaceutical Industries Ltd. , didn't immediately have a comment.

In May of this year, the Senate Finance Committee opened an investigation into the
financial ties between the pharmaceutical makers and the doctors and groups that
advocated broader use of opioids. It asked opioid makers to disclose how much they
had paid Dr. Portenoy, his program and several organizations he was involved with.

After spending most of his professional life advocating greater use of the drugs, Dr.
Portenoy said there is still little research to show whether patients who embark on
long-term opioid therapy will ever be able to stop.

Earlier this year, he said, he asked his mother whether she would stop taldng her
hydrocodone as part of a scientific study. She said no.

"How difficult is it for her to get off these drugs?" Dr. Portenoy asked. "You have no idea
and neither do I, because no one knows."

—Devlin Barrett contributed to this article.

Write to Thomas Catan at thomas.catan@wsj.com and Evan Perez at
evan.perez@wsj.com

Corrections & Amplifications
In the United States in 2010, there were 5.4 opioid-related deaths per 100,000 people
and 5.4 admissions for treatment of opioid addiction per 10,000 people. An earlier
version of a graphic accompanying this article reversed the labels on the two charts.



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EXHIBIT E
              American Pain Foundation
              A United Voice of Hope and Power over Pain




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                A Reporter's Guide:
 Covering Pain and Its Management
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                              ._4‘.
                                                                      Introduction
Everyone has experienceui pain—whether it's a pounding headache at the end of a
long clay, a throbbing toothache warning of a cavity or infection, an open wound
or sprained ankle from a fall, or a stinging burn from touching a. hot pan.
There are hundreds of pain syndromes, and pain is often a chief symptom of most
chronic conditions, including cancel; diabetes, arthritis, fibromyalgia and a host of
neurological disorders. For millions of Americans, pain ,persists, Weltering with
everyday activities and enjoyment of life. People living with chronic pain will often
avoid certain movements or activities, fearful they will cause more injury or to
avoid the anxiety of anticipated pain.



              Pain is complex and frequently misunderstood by the public. The issue of pain is riddled
              with myths and misperceptions, which makes the task of informing and educating people
              about pain and its management that much more challenging.


               SOME COMMON MISCONCEPTIONS ABOUT PAIN

              • Pain is all in your head." Although this           physician or nurse might "guess" about
                  is partially true because we need our            someone's actual pain. The person with
                  bmin.s for the perception of pain, that          pain is the authority on the existence and
                  does not mean pain is imaginary when             severity of his/her pain. The self-report is
                  the source of pain is not well understood.       most reliable indicator.
                  Pain is all too real to the person who lives   • Seeking medical care for pain is a sign
                  with it day in and out.                          of weakness. Pain carries a stigma, and
              • Pain is just something one has to live              many people hesitate talking about their
                with—an inevitable part of a disease or             pain and how it affects their daily life;
                  condition. The fact is most pain can be           they also don't want to be considered a
                  relieved with proper pain management.             "bad" patient.
              • Pain is a natural part of growing older.         • Use of strong pain medication leads to
                  While pain is more common as we age              addiction. Many people living with pain
                  because conditions that cause pain (e.g.,         and even some healthcare providers falsely
                  arthritis, degenerative joint diseases,           believe opioids (strong pain medicines) are
                  cancer, shingles, osteoporosis) are more          universally addictive. Studies have shown
                  frequent in older adults, it should not be        that the risk of addiction is small when
                  something people have to struggle with.           these medicines are properly prescribed
              • The best judge of pain is the physician             and taken as directed. As with any
                or nurse. Studies have shown that there             medication, there are risks, but these risks
                   is little correlation between what   .a
                                                                    can be managed.




A Reporter's Guide: Covering Pain and Its Management
Key Reporting Challenges

                                                        • Stigma of pain management, especially among legal and
                                                          government regulatory bodies
    A limited and informal
        survey of reporters,                           • Hesitancy on the part of patients and providers to discuss
                                                         opioids for legitimate chronic pain management given
     editors and producers                               misperceptions about opioids and addiction
     revealed the following                            • Ability to find unbiased, credible information about pain
           challenges when                             • Limited number of randomized controlled trials
           researching and
                                                       • Finding pain patients who live with the type of pain and/or
    covering the pain/pain                               use the pain management approach being reported in the
        management stoly.                                news story
                                                       • Accurately characterizing the pain experience given that every
                                                         person experiences pain differently, even if they have a similar
                                                         injury or illness




         THE UBIQUITOUS NATURE OF PAIN

         Consider the following...
         •   Most Americans (80%) will suffer from back pain at some point in their lives.
         •   As we age, arthritis hinders the normally smooth sliding motion of our joints and connective
             tissues, resulting in stiffness and discomfort. Arthritis is the leading cause of disability in people
             over the age of 55.
         •   Pain associated with pediatric immunizations is a significant source of anxiety for children
             receiving the immunizations, and evidence suggests that the way children and parents cope
             can set the stage for future pain responses.
         •   Damage to or dysfunction of the central nervous system, clue to stroke, multiple sclerosis,
             epilepsy, brain or spinal cord injuries or Parkinson's disease, also stimulates pain pathways.
         •   An  estimated 30 to 50% of patients undergoing active treatment for cancer and 70% of those
             with advanced stages of the disease experience significant levels of pain and may be reluctant
             to discuss their pain with their doctors.

         Sources: The American Acaderny of Physical Medicine and Rehabilitation, Anhrids Foundation, Mayday Fund, National institute of
         Neurological Disorders and Stroke, Naiional Cancer Insiitute.




2                                                                                                                American Pain Foundation
                                                                      Purpose of This Guide

The American Pain Foundation (APT) has developed this Guide as a primer on
pain and pain management to help meet the informational needs of busy reporters,
editors and producers covering the pain stou We know it's a complex topic, and
hope you wi I find this to be a useful resource.


                      INSIDE YOU WILL FIND:
                                                                                                                Page
                       •    A basic overview of the burden of pain in America, consequences
                            of unmanaged pain, pain assessment tools and treatment options                           4
                      •     Pain Stats & Facts                                                                     10
                      •     Special Topic Briefs covering
                           — Special Considerations: Pain in Specific Populations                                  23
                           — Pain Management and Disparities                                                       23
                           — Chronic Pain and Opioid Therapy                                                       27
                            At a Glance: Differentiating addiction, physical dependence and tolerance
                           — Integrative Medicine: Non-Drug Treatment Options for Pain Management                  35
                      a Pain A to Z: Common Pain Terms and Syndromes                                               40
                      •     Online Pain Resource                                                                   43


                      Be sure to visit the Newsroom section of the American Pain Foundation's web site at
                      www.painfoundation.org to download additional copies and to check for posted updates and new
                      Topic Briefs as they are added. Here you will also find recent news releases, press statements and
                      background information on a wide variety of issues related to pain care.



ABOUT THE AMERICAN PAIN FOUNDATION                               providers and advocates, who are working hard to call
APF's mission is to improve the quality of life for              attention to the urgent need for positive changes in
people with pain by:                                             pain policy, practice and research investment.
• Raising public awareness;
                                                                 EXPERTS AVAILABLE FOR INTERVIEW
• Providing practical information, education and
                                                                 APF can connect reporters with a wide array of leading
  support;
                                                                 pain experts, as well as people living with pain
• Advocating to remove barriers and increase access
                                                                 and their caregivers. Whether you are working on
  to effective pain management; and,
                                                                 a national or local story, we can help coordinate
• Promoting research.                                            interviews about pain-specific conditions and
Since its founding in 1997, the American Pain                    other important issues related to pain (e.g., depression,
Foundation (APO has been at the forefront of                     coping skills, financial matters, disparities, treatment
advocating for people living with a wide variety of              options).
pain conditions and their caregivers.
                                                                 If you are interested in interviewing someone at
Our grassroots effort, Power Over Pain. Action Network,          API' or need additional resources, please contact
is now active in nearly 40 states and is comprised               Tina Regester, APF's communications manager, at
of people living with pain, caregivers, healthcare               (443) 690-4707 or tregesterepainfoundation.org.




A Reporter's Guide: Covering Pain and Its Management                                                                       3
A Primer on Pain and Its Management

BURDEN OF PAIN IN
AMERICA: AN EVOLVING
PUBLIC HEALTH CRISIS
Pain is a serious and costly
public health issue. It affects     PAIN IS WOEFULLY UNDERTREATED FOR A
more Americans than                 VARIETY OF REASONS, INCLUDING:
diabetes, heart disease and
                                    •   Misconceptions about opioid addiction
cancer combined, and is a
                                    a Lack of access to care
leading cause of disability in
                                    •   Cultural norms and the stigma associated with admitting
the United States. Even though          pain
path. is one of the most            •   Limited or no professional training in pain management,
common reasons patients                 which leaves healthcare providers ill-equipped to effectively
consult a healthcare pmvidel;           respond to 'patients' reports of pain

it is often inadequately            •   Concerns among physicians about prescribing pain
                                        medications for chronic pain, and fears of scnitiny by
assessed and treated, resulting         regulators or law enforcement
in. needless suffering and poor
                                    •   Inadequate funding for pain research (less than 2% of
patient outcomes.                       NIH research budget was dedicated to pain studies)



                                  Untreated or poorly managed pain can compromise every aspect of
                                  life, including a person's physical and mental health, social and
                                  intimate relations, ability to sleep and perform everyday tasks, work
                                  productivity and financial well being.

                                  Chronic pain is not only emotionally and physically debilitating For
                                  patients, it also places a tremendous burden on families and
                                  caregivers, and contributes to excessive healthcare costs. The
                                  economic toll of chronic pain exceeds $100 billion each year in the
                                  United States alone. As the 75 million Baby Boomers move toward
                                  retirement, the epidemic of untreated or undertreated pain is
                                  expected to continue.




More than one-quarter of Americans (26%) age 20 years and over-01; an
estimated 76.5 million people—report that they have had a problem with
pain. This number does not account for acute pain.
                                                                   Source: Nafional CA:nier for I tealili




4                                                                                          American Pain Foundation
PAIN BASICS
The International Association for the Study of Pain defines pain as: An unpleasant
sensory and emotional experience associated with actual or potential tissue
damage or described in terms of such damage.

                                                       At its best, pain is the body's natural alarm system, alerting us to
               COMMON PAIN CONDITIONS
                                                       injury (or further injury if already injured). It prompts us to stop a
                                                       harmful behavior or seek medical attention. For example, lifting
               • Headaches or migraine
                                                       too much weight might result in a piercing pain in a person's
               • Back pain and sciatica                back. Within moments of touching a hot surface, the fiery
               • Neck and shoulder pain                sensation of a burn warns us to quickly pull away. Worsening
               • Joint pain due to arthritis,          abdominal pain may be a sign of appendicitis or other serious
                 bursitis, fibromyalgia or             infection. Pain also triggers inflammation, which directs healing
                 degenerative joint disease            cells to the area of injury. The experience of pain also beckons
               • Muscle pain from overuse              the injured person to rest, promoting healing.
                 or strain, injury or
                 fibromyalgia                          At its worst, unrelenting pain robs people of their livelihood and
               • Post-surgical pain                    well being. When pain persists, it is often a sign that
                                                       the body's alert system has broken down. In other words, pain
                                                       signals remain active. Over time, this heightened response may:
               For definitions of these
               and other pain conditions,              • Harm the nerves, blood vessels and organs
               as leen as common pain                  • Suppress immune function
               terms, please refer to the              • Result in excessive inflammation
               Pain A to Z listing at the              • Delay healing
               back of this reSOUrCe.
                                                       Since the brain remembers pain, pain may be imprinted into the
                                                       nerve tissue and continue to send pain sensations even in the
                                                       absence of painful stimuli.


                                                       Chronic Pain-Brain Connection
                                                       New research is unraveling how chronic activation of the
                                                       biological pathways transmitting pain is associated with structural
                                                       and chemical changes in the brain. A recent study suggests that
                                                       constant pain signals can result in mental rewiring that affects the
                                                       frontal cortex, the area of the brain mainly associated with
                                                       emotion and attention. According to researchers, this provides
                                                       the first objective proof of brain disturbances in patients with
                                                       chronic pain that is unrelated to the sensation of physical pain.




A Reporter's Guide: Covering Pain and Its Management                                                                       5
ACUTE VS. CHRONIC PAIN

Tbere are two main types of pai;n: acute and cbronic.

                                                             ACUTE PAIN                                   CHRONIC PAIN

    Onset                                                    Usually sudden                               Sudden or gradual development

    Cause                                                    Typically linked to an event,                Contributing factors are less certain
                                                             such as an injury or disease
     aaan                1,,      AT" •nITYOn nErnTn•


    Duration                                                 Temporary (up to 3 months)                   Persistent (beyond usual healing time
                                                                                                          or longer than 3 months)

    Pain Identification                                      Painful areas are generally well             Painful areas are less easily
                                                             identified                                   differentiated

    Pattern                                                  Self-limiting or readily corrected           Continuous or intermittent; intensity
                                                                                                          may vary or remain constant

    Course                                                   Pain usually lessens over time               Pain usually increases over time
 a x.res:61-a. aan.r6.    n 6da                         •n6 6 n   n                                Oman


    Response                                                 Stress response may be present               Stress response often absent
                                                             (increased heart and/or breathing rate,
                                                             increase in blood pressure)
                         66.1.T6Tany


    Prognosis                                                Total relief typically possible              Total relief often impossible

Adapted from: McQuice K, Fluether SE, eds. Pathophysiology: the biologic basis for disc-Jse in adults and children. 5th ed. New York, NY: Elsevier,
2006:447-489,




Acute Pain occurs suddenly due to illness, inflammation, injury or surgery. It has a short
duration that subsides when the injured tissue heals. The cause of the pain can usually be
diagnosed and treated.

Chronic Pain is pain that lasts long enough (after normal healing or for at least three
months), or is intense enough, to affect a person's normal activities and well-being.
Failure to treat acute pain promptly and appropriately at the rime of injury, during initial
medical and surgical care or at the time of transition to community-based care,
contributes to the development of chronic pain syndromes.

With chronic pain, pain signals may remain active in the nervous system for weeks,
months or even years. Unlike acute pain, chronic pain has no value or benefit; it Ls a
disease in its own right. It can also be especially challenging to treat.




6                                                                                                                              American Pain Foundation
                                       PAIN ASSESSMENT
                                       Timely access to quality pain management is the best way to minimize the
                                       suffering and disability often associated with undertreated pain and to avoid
                                       additional problems clown the road. Science is revealing the role of unrelieved
                                       acute pain in the development of chronic, persistent pain.

                                       Most hospitals, nursing homes and other healthcare facilities are now required to
                                       assess and treat pain. To correctly diagnose pain, healthcare professional will:
                                       • Perform a thorough physical exam
                                       • Complete a pain assessment
                                       • Ask detailed questions about the patient's medical history and lifestyle
                                       • Order blood work, X-rays, electrical tests to detect nerve damage, or
                                         other diagnostic and laboratory tests

                                       Pain is a subjective experience, and it is critical for healthcare professionals to
                                       have a complete picture of the patient's pain history. He/she may ask about
                                       seven characteristics of pain to help LOCATE the pain and make the correct
                                       diagnosis.

                                       L the exact Location of the pain and whether it
                                          travels to other body parts
                                       0 Other associated symptoms such as nausea, numbness, or weakness
                                       C The Character of the pain, whether it's throbbing, sharp, chill or burning
                                       A Aggravating or Alleviating factors. What makes the pain better or worse?
                                       T the Timing of the pain, how long it lasts, is it constant or intermittent?
                                       E the Environment where the pain occurs, for example, while working or
                                          at home

                                       The type of pain someone is experiencing is often a clue to its cause; for
                                       example, chronic pain that is burning or tingling is often the result of nerve
                                       disease (neuropathy).


  EFFECTS OF UNRELIEVED CHRONIC PAIN ON PHYSICAL AND MENTAL HEALTH

  If untreated, pain can have serious physiological, psychological and social consequences. It can:

  • Limit the ability to work, sleep, exercise or                • Aggravate other health problems
    perform everyday tasks (for example, dressing,               • Lead to depression and/or anxiety, which often
    going to the grocery store)
                                                                   worsen pain sensations
  a Reduce mobility
                                                                 • Make it difficult to concentrate or reason
  • impair strength
                                                                  to Place added strain on relationships and interfere
  • Diminish appetite                                                with intimacy
  • Make it difficult to recover from an injury or fight         • Result in a loss of self-esteem and independence
    infection by weakening the immune system




A Reporter's Guide: Covering Pain and Its Management
Pain scales are additional tools available to help patients describe the intensity of their pain. These assessment
tools help healthcare professionals diagnose or measure a patient's level of pain. These include numeric, verbal or
visual scales.

With numerical scales, patients use numbers from 0-10 (0 being no pain and 10 being the worst pain ever) to
rate the intensity of the pain.

Verbal scales contain commonly used words such as "mild," "moderate" and "severe" to help patient's describe
the severity of the pain.

Visual scales use aids like pictures of facial expressions, colors or gaming objects, such as poker chips, to help
explain the severity of pain. One type, the Wong Baker Faces Pain Rating Scale, shows six different facial
expressions from happy (no hurt) to agony (hurts the worst) to help show healthcare professionals how much
pain a patient feels. Body diagrams may also be used to help pinpoint where the pain occurs.




                                 Prom Hock-nix-Try MI Wilson D, Winkelsein ML Wong's. 8sonlials of
                                 Pediatric Nursing, ed. 7, Si Louis, 2005, p. 1259. Used with permission.
                                 Copyright, Mosby.




Multidimensional pain assessment tools, such as the Mc-Gill Pain Questionnaire (MPQ) and the Brief Pain
Inventory (BPI), have been developed to quantify different aspects of pain, including location and quality of pain
and its effect on mood and function. However, these take longer to administer than the simpler scales and some
patients who are cognitively impaired or poorly educated may find them difficult to complete. They are generally
used in pain research, but can be adapted for clinical use if appropriate and valuable.




    Our processing of pain is complex. A basic explanation is that the pain signals of acute pain are initiated when receptors on the
    skin, within an organ, tissue or nerve are triggered by injury or disease, known or unknown.A series of events follow: an
    electrical impulse, or pain message, is generated that is then carried on nerve fibers to the spinal cord. The spinal cord transmits
    the pain signal to various levels of the brain for interpretation and response. At any time during the transport of pain messaging,
    these noxious signals can be blocked, enhanced or modified. Signaling associated with chronic pain is much more complicated
    than acute pain as science is beginning to show.




8                                                                                                                   American Pain Foundation
                                       TREATING PAIN
                                       Successful pain management aims to:
                                            1) lessen the pain
                                            2) improve functioning and
                                            3) enhance quality of life

                                       Pain treatment needs to be individualized and, in most cases, requires a team of
                                       providers, as well as social support from family and friends. Most often, an
                                       integrative approach is needed to provide pain relief, which includes a
                                       combination of treatment options; this also encourages patients to actively
                                       participate in self-care. Treatment options may include:
                                        • Medication (anti-inflammatory medicines, opioids or other classes of drugs)
                                        • Psychosocial interventions (cognitive-behavioral counseling, guided imagery)
                                        • Rehabilitative approaches (exercise, application of heatkokl, myolascial release,
                                          occupational therapy, if needed)
                                        • Complementary alternative medicine (massage, acupuncture, hypnosis)
                                        • Injection or infusion therapies
                                        • Implantable devices and surgical procedures

                                       Research shows that pain can affect patients' emotions and behavior and interfere
                                       with the ability to concentrate, manage everyday tasks and cope with stress.
                                       Likewise, stress and emotional pressures can make pain worse, provoking "flare
                                       ups" and contributing to alterations in the immune system response. These
                                       relationships are not always easily recognized or readily fixed by medical
                                       procedures or medications alone.

                                       New treatments under investigation are aimed at the physical, psychological and
                                       environmental components of chronic pain. Research is also examining the role
                                       of genetic predisposition and the immune system in mitigating pain signals.

                                       For a detailed description of the different treatment modalities for managing pain,
                                       please refer to the America Pain Foundation's Treatment Options: A Guide for
                                        People Living with Pain.

   MEDICATIONS & PAIN MANAGEMENT

 Medications play an important role in the treatment of pain. There are three major classes of medications for
 pain control:
      Non-opioids: non-steroidal anti-inflammatory drugs (NSAIDs) and acetaminophen
      Opioids: morphine, oxycodone, methadone, codeine and fentanyl are examples
      Adjuvant analgesics: a loose term referring to the many medications originally used to treat conditions
      other than pain, but now aLso used to help relieve specific pain problems; examples include some
      antidepressants and anticonvulsants. Some of these drugs have been shown to work well for specific types
      of pain.
      Drugs that have no direct pain-relieving properties may also be prescribed as part of a pain management
      plan. These include medications to treat insomnia, anxiety, depression and muscle spasms, and can help a
      great deal in the overall management of pain in some persons.



A Reporter's Guide: Covering Pain and Its Management                                                                     9
Pain Facts & Stats
PREVALENCE OF PAIN
Pain is a serious and costly public Width problem

•      A hallmark of many chronic conditions, pain affects more Americans than diabetes, heart disease and cancer
       combined.


                              ESTIMATED INCIDENCE•


         80
         70
         60
         SO

         10
                                                                        tsbn-rrm
         30                                                            Pain - 76.2 million pzople, N'ationalCeniers for 1 lealth Statistics
                                                                       Diabetm - 20.8 million I:C[131C (atgrI436C51 and estimated
         20                                                            iindtignosed), Arnent.ma INabetes Association
                                                                       Coronary Elvin I)isease, Encluding [wan anack and danain, and
         10                                                            Smite - 18.7          IVO*, American Ilean Associatim
                                                                       Cancer - 1.4 million p...opiu, Arrierion Can= Society




•      More than one-quarter of Americans (26%) age 20 years and over—or, an estimated 76.5 million Americans—
       reported that they have had a problem with pain of any sort that persisted for more than 24 hours in
       duration. This number does not account for acute pain.'
•      About one-third of people who report pain indicate that their pain is "disabling," defined as both severe
       and having a high impact on functions of daily life.'
•      More women (27.1%) than men (24.4%) report that they are in pain.'
•      Non-Hispanic white adults reported pain more often than adults of other races and ethnicities
       (27.8% vs. 22.1% Black only or 15.3% Mexican).'
•      Adults living in families with income less than twice the poverty level reported pain more often than higher
       income adult.'
•      When asked about four common types of
       pain, respondents of a National Institute of                                         FOUR COMMON TYPES OF PAIN
       Health Statistics survey indicated that low
       back pain was the most common (27%),                 Low Back Pain
       followed by severe headache or migraine
       pain (15%), neck pain (15%) and facial ache          Migraine Pain
       or pain (4%).'
                                                                                              cJzfa

                                                                Neck Pain


                                                               Facial Pain


                                                                         0           10            20           30           40           50




.1 0                                                                                                                   American Pain Foundation
DURATION OF PAIN                                                                         DURATION OF PAIN
• Adults 20 years of age and over who report pain said that it lasted:
    • Less than one month — 32%
    • One to three months — 12%
    • Three months to one year — Pl%
                                                                          > 1 year
    • Longer than one year — 42%




ECONOMIC AND WORKPLACE BURDEN OF PAIN

a The annual cost of chronic pain in the United States, including healthcare
   expenses, lost income, and lost productivity, is estimated to be $100                 MUCH WORK REMAINS
   billion. However, more recent studies have indicated that costs associated            • Currently, less than 2%
   with low back pain alone are an estimated $85.9 billion.' The total cost                of the Nil-I research
   of arthritis—the nation's leading cause of disability—is estimated at $128
                                                                                           budget is dedicated to
   billion.'
                                                                                           pain.
• Unclertreated pain drives up the cost of healthcare because it extends
                                                                                         • More than half of all
  lengths of stay in hospitals, increases emergency room visits and results in
  unplanned clinic visits.                                                                 hospitalized patients
                                                                                           experienced pain in the
• Pain is the second leading cause of medically related work absenteeism,                  last days of their lives
  resulting in more than 50 million lost workdays each year.6                              and although therapies
• Lost productive time due to headache, arthritis, back pain and other                     are present to alleviate
  musculoskeletal conditions is estimated to cost $61.2 billion per year!                  most pain for those
    • Headache was the most common (5.4%) pain condition resulting in                      dying of cancer, research
      lost productive lime. It was followed by back pain (3.2%), arthritis                 shows that 50-75% of
      pain (2.0%), and other musculoskeletal pain (2.0%).                                  patients die in moderate
    • Most (76%) of the pain-related lost productive time was in the form of               to severe pain.'
      reduced performance occurring while the employees were at work,
      rather than absenteeism.
    • Workers who experienced lost productive time from a pain condition
      lost an average of 4.6 hours per week.




    For more statistics and research findings, see our Topic Briefs on:      Be sure to visit the
   • Special Considerations: Pain in Specific Populations                    American Pain Foundation at
   • Disparities and Pain Management                                         www.painfoundation.org for
   • Integrative Medicine: Non-Drug Treatment Options for                    posted updates and additional
     Pain Management                                                         Topic Briefs.
   • Chronic Pain and Opioid Treatment




A Reporter's Guide: Covering Pain and Its Management                                                                 11
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                                             ,




      "The moral test of a society is how that society treats those
      who are in the dawn of life...the children; those who are in
      the twilight of life.. .the elderly; and those who are in the
      shadows of lfe...the sick, the needy and the handicapped"
                                                  —Hubert Humphrey

12                                                                                                             American Pain Foundation
                                                                                                 Topic Brief
  SPECIAL CONSIDERATIONS: PAIN IN SPECIFIC POPULATIONS
  Although pain is a significant problem among all Americans, certain populations are more susceptible to and at greater risk for
  undertreatment, including children, minorities and those with advanced, life-limiting medical illness. Studies conducted in
  emergency departments suggest that women receive less attention in response to reports of severe pain than men. As well,
  active duty military and veterans tend to experience pain differently and present greater challenges to achieving optimal pain
  relief.
  In order to provide the most effective pain care possible and minimize pain-related morbidity, characteristics of vulnerable
  populations must be taken into consideration when performing pain assessment and implementing treatment plans.
  Healthcare professionals must also become aware of their own biases and understand that, regardless of demographic or
  social position, every individual with pain requires evaluation and treatment tailored to his or her specific clinical
  circumstances.

                                                       Children and Pain

  Every child will experience pain at           • Recent evidence reveals reduced         Many things affect the way
  one time or another, whether it's               pain sensitivity is a common            a child experiences, communicates
  from everyday humps and bruises,                feature of children with autism         and responcLs to pain, including:
  or more chronic conditions such                 and Asperger's syndrome!                 • Their age
  as headaches, gastrointestinal                • Musculoskeletal pain can result          • Their beliefs and understanding
  problems or diabetes. In fact,
                                                  from "growing pains," a normal             of what is causing the pain
  research shows that as many as
                                                  occurrence in about 25 to 4031
                                                                               0           • Their ability to cope
  40% of children and adolescents
                                                  of children.'                            • Their activity and anxiety levels
  complain of pain that occurs at
  least once weekly, and chronic                COMMON CAUSES OF PAIN                      • Previous experiences with pain
  pain affects at least 15 to 20% of            IN CHILDREN                                  and how they learned to
  children.' And pediatric pain sterns                                                       respond
  from a wide range of chronic                  • Scrapes and bruises
                                                                                           • Support from parents and
  conditions:                                   • Needlestick pain from immunizations
                                                                                             siblings
  • Each year, 1.5 million children               (most children receive up to 24
                                                  immunizations by their 2nd birthday)       • Preliminary data suggest that
    have surgery, and many receive
                                                                                               a mother's anxiety may be
    inadequate pain relief. In 20%              • Sports injuries (e.g., sprains,
                                                                                               transmitted more strongly to
    of cases, the pain becomes                    concussion, fractures)
                                                                                               her daughters than her sons,
    chronic.'                                   • Chronic illnesses (e.g., sickle cell
                                                                                               resulting in increased anxiety
  • Of children aged 5 to 17 years,               disease, Type I diabetes)
                                                                                               and pain in girls, hut not
    20% suffer headaches.2                      • Headaches                                    13oys.''
  • More than one-third of children             • Abdominal pain (e.g., ulcerative        If pain is not addressed and
    complain of abdominal pain                    colitis)                                treated early on, it can greatly
    lasting two weeks or longer.3                                                         impact a child's quality of life by
                                                According to the American                 interfering with mood, sleep,
  • Juvenille arthritis, which causes           Medical Association, children and         appetite, school attendance,
    joint inflammation and aches,               infants are at increased risk of          academic performance, and
    affects nearly 250,000 people               inadequate pain management,               participation in sports and other
    under the age of 76 year.s.4                with age-related factors playing a        extracurricular activities. Further, if
  • By 2010, 1 in 1,000 U.S. children           major role. Physical and                  unrelieved, childhood pain can
    will he a survivor of childhood             psychological changes that occur          enhance a child's vulnerability to
    cancer and may have to deal                 during childhood development              pain later in life. It is essential that
    with late and long-term effects             can make understanding and                healthcare providers begin to
    of treatment (e.g., chronic                 managing pain in children                 approach pediatric pain so that
    fatigue and pain syndromes,                 significantly more complicated            appropriate strategies can be
                                                than treating pain in adults.             devised to target and reduce
    nerve damage).2




A Reporter's Guide: Covering Fain and Its Management                                                                             13
 children's distress and pain-related              MYTHS AND TRUTHS ABOUT PAIN IN CHILDREN
 disability.                             MYTH:     Children who are playing or sleeping must not be in pain.
 Unaddressed pain can also result        TRUTH:    Children cope with pain by distracting themselves, often
 in significant financial stress for               through play. Sleep may also be a coping mechanism,
 families who not only have to                     and/or because they are exhausted.
 cover healthcare expenses, but
 who may also have to piss work          MYTH:     Young infants do not feel pain because their nervous systems
 to care for a sick child.                         are immature and unable to perceive and experience pain
                                                   the way adults do.
 Inadequate prevention and relief
                                         TRUTH:    Decades ago it was believed that a newborn couldn't feel
 of pediatric pain are still
                                                   pain, and surgery was routinely performed on infants
 widespread. Many obstacles exist
                                                   without anesthetic. Today, we know that the central nervous
 to providing appropriate pain care
                                                   system of a 26-week-old fetus has the capability of
 to children and adolescents:
                                                   experiencing pain. There is strong evidence that children
 • Beliefs and attitudes about the                 experience increasing anxiety and perFption of pain with
   experience of pediatric pain.                   multiple procedures or painful stimuli.
 • General lack of understanding
                                         MYTH:     Children can easily become addicted to pain medications.
   about the best course of action
   for treating children in pain.        TRUTH:    Less than 1% of children treated with opioids become
                                                   addicted.
 • Belief that pain should be
   treated less aggressively in          MYTH:     Children cannot effectively communicate their pain; it is
   children than adults.                           difficult to know when they have pain.
 • Pediatric pain management             TRUTH:    Children don't communicate, respond to, or feel pain the
   research has not been effectively               same way adults do, so it's difficult for health professionals
   translated into routine clinical                and parents to understand what they are experiencing. But,
   practice.                                       it is very real and not something they easily forget about.
 • Pain in children with disabilities              There are many tools available to assess pain in children.
   or other special health care                    Adults need to recognize how children of different ages
   needs may be more difficult to                  express pain in both behaviors and words.
   assess.                               MYTH:     Children will tell adults when they are having pain.
                                         TRUTH:   Children may not have the words to express pain (e.g.,
                                                  hurt, "ouch") or know to point to where it hurts. They may
                                                  also be afraid of the consequences (e.g., extra visits to the
                                                  pediatrician, shots, medicine).



           Potential barriers to the effective treatment
                       of pain in children°

                                                                              WEB RESOURCES
 • The myth that children, especially infants, do not feel pain the
   way adults do;                                                             American Pain Society
                                                                              www.amininsoc.org
 • Lack of routine assessment for the presence of pain in children;
                                                                              National Children's Pain Center
 • The idea that treating pediatric pain takes too much time and              www.pediatricpain.orgincpc.pho
   effort;
                                                                              Pediatric Pain Sourrebook
 • Fears of adverse effects of analgesic medications, including               hup://painsourcebook.m/
   respiratory depression and addiction;                                      UCLA Pediatric Pain Program
 • Differing personal values and beliefs of healthcare professionals          wawmaitel.ucia.edu/pecispain/home.php
   about the meaning and value of pain in the development of the              American Academy of Pediatrics
   child (e.g., the belief that pain builds character).                       h1tnt/AvvfikaaP.O18




14                                                                                                 American Pain Foundation
                                                       SPECIAL CONSIDERATIONS: PAIN IN SPECIFIC POPULATIONS         Topic Brief

                                                       Gender and Pain
  Although it has long been thought             Female hormones are also likely       Potential Sources of Gender
  that women and men have similar               to play a role in pain perception.    Differences in Pain
  pain experiences, recent research             Some pain conditions like             Biological factors including:
  reveals significant differences in            migraine tend to vary with a
                                                                                        • sex hormones
  the way male and female brains                woman's menstrual cycle, and
  process pain,' as well as in                  many of the observed gender             • genetics
  women's expression of pain and                differences in pain appear to           • anatomical differences
  their responsiveness to analgesics            diminish following the                Psychasocial influences including:
  and pain stimulus.23                          reproductive years."                    • emotion (e.g., anxiety,
  Historically, women have been                 Hormones May Influence                    depression)
  categorized as being emotional                Pain Experience                         • coping strategies
  and overly sensitive; often
                                                • Estrogen administration in            • gender roles
  influencing the way physicians
  assessed and managed their pain.'               women and in men can increase         • cultural conditioning
  Even though research now shows                  the incidence of chronic pain         • health behaviors
  that chronic pain conditions are                conditions.'°
                                                                                        • use of healthcare services
  generally more prevalent among                • Variations in women's estrogen
  women, they continue to be                      levels, like those that occur       As advances in brain imaging
  treated less aggressively for their             during the menstrual cycle or       technology provide further insights
  pain than men.54 And while                      during pregnancy, may regulate      into gender variations in the
  women are more likely than men                  the brain's natural ability to      experience of pain, it is becoming
  to seek treatment for their pain,                                                   evident that different pain
                                                  suppress pain."
  they are less likely to receive it.7                                                experiences among men and
                                                • Some pain conditions such as        women will call for different
  Women report pain more often                    migraine and fibromyalgia tend      approaches to pain management.
  than men do and in more body                    to fluctuate with a woman's
  regions, and they also tend to                  menstrual cycle.                    Ongoing research is essential to
  have more severe, recurrent and                                                     achieve:
                                                • Observed gender differences in
  persistent pain, as well as a                                                       • A better understanding of the
                                                  pain appear to diminish
  reduced pain threshold when                                                           biological and psychosocial
                                                  following menopause.
  compared with rnen.3 However,                                                         factors that influence gender
  despite their increased pain                  Additionally, cultural conditioning     differences in pain
  burden, women reportedly cope                 may impact the expression of pain     • A greater appreciation of the
  with pain better than men,                    among women and men. As                 different health needs of men
  possibly due to the fact that they            children, girls are more likely to      and women
  experience pain more often                    be permitted to express pain and
  throughout the course of their                                                      • More effective and targeted pain
                                                show emotion than boys, and
  lives (e.g., menstruation,                                                            treatments for women
                                                attitudes about the social
  pregnancy and child birth, and                acceptability of gender and pain
  other health issues specific to               often carry into aclulthood.3
  women).3
                                                                                      WEB RESOURCES
  PAIN DISORDERS WITH HIGHER PREVALENCE IN WOMEN                                      International Association for the Study of
                                                                                      Pain: Real Women, Real Pain
   • Migraine                                 • Breast pain (mastalgia)               www.iasp-pain.org

   • Irritable bowel syndrome                 • Autoimmune disorders (e.g. Lupus      National institutes of Health: Gender & Pain
                                                                                      intp://nconsonium.nikgovigenderandpain/
   • Fibromyalgia                               and Chronic Fatigue Syndrome)         summarf.hum
   • Chronic pelvic pain                      • Rheumatoid arthritis                  National Women's Health Resource Center
   • Interstitial cystitis                    • Osteoarthritis                        www.healthywomen.orW
                                                                                      Society for Neuroscience: Gender & Pain
   • Temporomandibular joint disorder
                                                                                      VAVw.sin.orWinclex.cfm?pagename-brainBricting
     (TMl)                                                                            s_gender_and_pain




A Reporter's Guide: Covering Pain and Its Management                                                                                 15
                                                Older Adults and Pain
 As we age, pain becomes a more               for inadequate pain management.'           communicating their pain.' Use
 common problem clue to the high                                                         of certain medications in older
 prevalence of chronic and                    Diagnosing and treating pain in
                                              older adults can be challenging.           patients becomes problematic     5
 progressive pain-producing                                                              because of physiological changes.
 conditions associated with aging.            Those 65 and older often present
 It is estimated that up to 50% of            with multiple medical and
                                                                                         The most common cause of
 older persons living in the                  nutritional problems, take multiple
                                                                                         persistent pain in older adults is
 community have pain that                     medications and have many
                                                                                         musculoskeletal in nature, typically
 interferes with normal function,             potential sources of pain.
                                                                                         from osteoarthritis or other bone,
 and 59 to 80% of nursing home                Older persons with dementia or
                                                                                         joint and spine disorders.
 residents experience persistent              communication problems are at
                                                                                         According to the Arthritis
        1,2                                   even greater risk of undertreatment
 pain. Alarmingly, being older                                                           Foundation, arthritis affects up to
 than 70 is the leading risk factor           of pain clue to difficulties
                                                                                         80% of older adults, who report
                                                                                         being fearful of recurring pain and
                                                                                         disability. But the predilection for
 COMMON PAIN CONDITIONS IN OLDER ADULTS                                                  painful conditions does not mean
                                                                                         that older adults need to live with
 • Arthritis
                                                                                         uncontrolled pain. Quite the
 • Lower back and neck pain; vertebidl turnplession fractures from osteoporosis          opposite; older patients can be
 • Abdominal pain (e.g., gallstones, bowel obstruction, peptic ulcer disease,                      )r treated, and in so doing,
   abdominal aortic aneurysm)                                                            pain-related morbidity—and even
                                                                                         premature mortality—can and
 • ranrPr-related pain (symptom of disease or effect of nerve damage from
                                                                                         should be obviated.
   treatments)
 • Neuropathic pain due to diabetes, herpes zoster ("sliingles"), kidney disease or
   other medical problems
 • Muscle cramps, restless leg pain, itchy skin and sores due to circulatory
   problems or vitamin D deficiency
 • flbromyalgia
 • Complex Regional Pain Syndrome (CRPS), which develops after       dll 11111USS   ui
   injury and often affects the leg, arm, foot or hand
 • Injuries, especially from falls



                                                                                         WEB RESOURCES
                                                                                         Handbook of Pain Relief in Older Adults —
                                                                                         An Evidence-Based Approach
                                                                                         By C,loiIi 1[1, F. Michael
                                                                                         hup://ww,v.humanapmss.comu'Productrxisp?ta
                                                                                         Catalog-HumanaBooksamProduct1D-1-58829-
                                                                                         217-7
                                                                                         American Medical Association
                                                                                         Assessing and Treating Pain in Older Adults
                                                                                         hap://www.ama-cmeonline.cornt
                                                                                         Pa1n-m5rillimotlu1e05/indcx.1 u1

                                                                                         American Geriatrics Society Foundation
                                                                                         The Management of Persistent Pain:
                                                                                         Resources for Older Adults and Caregivers
                                                                                         luipilwww.healihinaging.org/public_eduaition/
                                                                                         pain




16                                                                                                             American Pain Foundation
                                                       SPECIAL CONSIDERATIONS: PAIN IN SPECIFIC POPULATIONS            Topic Brief


                                                   End-of-Life and Pain
  Pain control is one of the most               designed and aggressive
  challenging aspects of end-of-life            medication plans, as well as               Suicidal wishes in patients with
  care.' Terminal illness Ls often              counseling for patients and their        advanced disease are closely linked
  accompanied by severe pain, and               families can have a significant           to unrelieved pain and to mood
  a significant number of patients              impact on pain relief and side6          alterations such as depression and
  suffer needlessly at the end-of-life.         effects among dying patients.            anxiety, which like pain, frequently
  While the goal of end-of-life care
                                                                                           respond to clinician treatment
  should be making patients more                IN DYING PATIENTS, PAIN MAY BE
  comfortable, the health care
                                                                                            if the clinician identifies and
                                                EXACERBATED BY MANY OTHER
  system has been designed to take              SYMPTOMS INCLUDING:                               addresses them."
  a curative approach to disease,
                                                • Dry mouth
  rather than focusing on symptom
  relief.' Hospital research reveals            • Nausea
                                                                                         Essential Components of
  that healthcare providers continue            • Water retention and swelling           End-of-Life Came
  to inadequately treat pain, and               • Lack of appetite                       • Continual assessment and
  tend to under-medicate terminal
                                                • Shortness of breath                      management of pain and other
  pain.
                                                • Mental distress and anxiety caused       physical symptoms
  Patients at end-of-life may have                by fear or denial of impending death   • Assessment and management
  their pain undertreatecl for variety
                                                                                           of psychological and spiritual
  of reasons, including a lack of
                                                Effective pain management at the           needs
  knowledgeable and experienced
                                                end-of-life requires addressing the      • Helping patients identify
  physicians and myths about
                                                total pain experience, including           personal goals for pain
  addiction to pain medication,
                                                physical causes, as well as                treatment and end-of-life care
  leading unnecessarily to patient                                               3.4
                                                interpersonal and spiritual pain.
  and family suffering.3                                                                 • Assessment of the patient's
                                                Pain associated with terminal              support system
  Despite advances in research on
                                                illness often requires special
  end-of-life pain treatment,
                                                treatment that can be best
  physicians remain influenced by
                                                provided by hospice and palliative
  social and legal concerns, as well
                                                care programs available in many
  as misconceptions about
                                                medical facilities. Hospice focuses
  medications including addiction,
                                                on relieving symptoms and
  overdose, lasting side effects and
                                                supporting patients who are
  diminished physical capacity.
                                                nearing the end of their life, while
  Patients and their families may
                                                palliative care is designed to
  also hesitate to begin using pain
                                                provide comfort and pain relief at
  medications as they often associate
                                                any time during a person's illness.'     WEB RESOURCES
  such treatment with imminent
                                                The goal of both programs is to          American Academy of Family Physicians:
  death, thereby allowing patient
                                                alleviate suffering and ultimately       Challenges in Pain Management at the End
  suffering to worsen and continue.'                                                     of Life
                                                assist patients in achieving a pain-
  However, thorough and ongoing                                                          www.aafp.org/afp/20011001/1227.1itml
                                                free and dignified death.
  pain assessment, paired with well-                                                     American Pain Society: Treatment of Pain at
                                                                                         the End of Life
                                                                                         www.ampainsoc.mpladvocacyftsvannent.hun
  "1W                                                                                    Discovery Health Center: End of life Q&A
   U' hen someone is dying, lime is a bang and wail-and-see is not an option.            with Dr. Scott Fishman
    What matters most in the final days is that patients are free ofcrippling pain       hup://hL-alth.discovery.cornicenters/pain/
    and unbearable suffering so that they can finish their lives hi ways that bring      endoilife/endoilife.1gml
       comfort, peace, and completion. Concerns about lasting side effects or            National Hospice and Palliative Care
         diminished physical capacity from months of using a drug become 1,              Organization
      secondary to making a patient comfortable. No one has to die in pain.              www.nlipco.org/i4a/pagm,/
                                                                                         index.c1m?pageid3254
                                  — Dr Scott Fishman




A Reporter's Guide: Covering Pain and Its Management                                                                                  17
                                             MilitaryNeterans and Pain'
 Pain is a major issue among military personnel and veterans, who are at heightened risk for injury and
 combat wounds. Although today's body armor and rapid evacuation to media care is saving lives, there are
 more maimed and shattered limbs than ever before, with instances of amputation double previous rates.
 ElundrecLs of thousands of returning veterans will seek medical care and claim disability compensation for a
 wide variety of injuries and health problems they endured during their tours of duty. It is estimated that the
 U.S. will be paying the cost of related medical care and disability claims for the next 40 years.
 Veterans are more likely to experience psychological distress and other medical conditions, including post
 traumatic stress disorder, depression, amputations, traumatic brain injuries, substance abuse and other injuries,
 which further complicate effective pain management.



 COMMON PAIN CONDITIONS AMONG MILITARY MEMBERS

 Post traumatic stress disorder (PTSD)        Amputations have long been a tragic,         A traumatic brain injury (TB I) is a blow
 commonly affects soldiers returning from     unavoidable consequence of combat            or jolt to the head or a penetrating head
 war, and is triggered by exposure to a       injury—"one of the most visible and          injury that disrupts the function of the
 situation or event that is or could be       enduring reminders of the cost of war,"      brain and is a major cause of life long
 perceived as highly threatening to a         according to the Amputee Coalition of        disability and death. Managing pain in
 person's life or those around him/her.       America. While there have been major         veterans with TBIs may be complicated
 PTSD may not emerge for years after the      advances in medicine, prosthetics and        by memory lapses affecting medication
 initial trauma. Chronic pain symptoms        technologies that allow amputees to          management, difficulty organizing and
 and PTSD frequently co-occur and may         lead more independent lives, most of         following complicated and sometimes
 intensify an individual's experience of      these patients continue to need              even simple pain management regimens,
 both conditions. Together, they result in    specialized long-term or lifelong support.   and difficulty learning new coping skills.
 fear, avoidance behaviors, anxiety and       Managing wound, post-operative,              Rehabilitation should incorporate efforts
 feelings of isolation.                       phantom and stump pain is important to       to relieve associated pain.
                                              reduce suffering and improve quality
                                              of life.


 Veterans have significantly worse pain than the genIdl public, and while military medical care is among the best in the
 world, there are still long-term problems and thallenges with managing disability and chronic pain.




 Military culture may also present a significant barrier to appropriate patient care. The persisting stigma around pain
 and pain treatment is particularly pronounced in the military, and pain is often perceived as a sign of weakness
 leading many individuals to choose to suffer in silence. Seeking mental health care for PTSD and depression, which
 so often accompany pain is important; pain is best managed when depression and PTSD are treated simultaneously.
 A recent analysis found that the Veterans Health Administration (VI-IA) is already overwhelmed by the sheer number
 of returning veterans and the seriousness of their health care needs. Without increased staffing and funding for
 veterans medical care, it will not be able to provide quality care in a timely fashion.




18                                                                                                            American Pain Foundation
                                                        SPECIAL CONSIDERATIONS: PAIN IN SPECIFIC POPULATIONS                       Topic Brief

                                               MilitaryNeterans and Pain'

   Barriers to optimal pain management among veterans and military personnel may include
   fears about:
   •   No longer being physically capable of fulfilling their duties
   •   Being discharged and no longer having a sense of purpose
   •   Letting down or lasing the respect of their peers
   •   Becoming addicted to pain medications
   •   Experiencing personality changes or problems with sexual relations due to pain medications
   •   Losing their benefits/pension if they acknowledge a pain condition


       THE UNITED STATES CONGRESS HAS STATED THE FOLLOWING:
       (1) Acute and chronic pain are prevalent conditions among active duty and retired military personnel.
       (2) Characteristics of modern warfare, including the use of improvised explosive devices, produce substantial numbers of
           battlefield casualties with significant damage to both the central and peripheral nervous systems.
       (3) The successes of military health care both on and off the battlefield result in high survival rates of severely injured
           military personnel who will be afflicted with significant pain disorders on either an acute or chronic basis.
       (4) Failure to treat acute pain promptly and appropriately at the time of injury, during initial medical and surgical care, and
           at the time of transition to community-based care, contributes to the development of long-term chronic pain
           syndromes, in some cases accompanied by long-term mental health and substance abuse disorders.
       (5) Pain is a leading cause of short- and long-term disability among military personnel.
       (6) The military health care systems have implemented important pain care programs at some facilities and in some areas,
           but comprehensive pain care is not consistently provided on a uniform basis throughout the systems to all patients in
           need of such care.
       (7) Inconsistent and ineffective pain care leads to pain-related impairments, occupational disability, and medical and
           mental complications with long-term costs for the military health and disability systems, and for society at large.
       (8) Research, diagnosis, treatment, and management of acute and chronic pain in the active duty and retired military
           populations constitute health care priorities of the United States.
                                                                                                   lIX Ml   iiie 1L1ii wv Pain Can: 1..1 Or 29118




                                                                                               WEB RESOURCES
                                                                                               American Pain Foundation:
                                                                                               Military/Veterans and Pain
           The U.S. Veterans Health Administration is instructing                              www.painfoundation.orgf
                                                                                               page.asp?file•Veterans/lniroiltin
           physicians and nurses who treat veterans to regard pain as
                                                                                               Amputee Coalition of America
           a 'fifth vital sign," to be routinely assessed along with                           wwv.,.amputm-coaliiion.org
           blood pressure, pulse, temperature and respiration.                                 Defense and Veterans Brain injury Center
                                                                                               www.dvbic.or8
                                                                                               Disabled American Veterans (DAV)
                                                                                               wwwsLiv.org
                                                                                               Military Pain Care Act of 2008
                                                                                               littp://www.govtrack.usicongress/
                                                                                               bill.spcl?bill-hl 10-5465
                                                                                               U.S. Department of                  Affairs
                                                                                               WWW.Va.g0V




A Reporter's Guide: Covering Pain and Its Management                                                                                                19
     Children & Pain: HOT TOPICS
     • Maternal anxiety influencing daughters' experience of pain
     • Some neonatologists still do not treat pain in pre-term low birth weight
       babies because they "won't remember it"
     • Investigations into "chronic daily headaches" in children
     • Unraveling pediatric pain conditions and their impact into adulthood
       (e.g., whether Complex Regional Pain Syndrome in children leads to
       adult CRPS, whether irritable bowel syndrome in adolescents is this the
       same as IBS in adults)
     • Complementary and alternative medicine: how and what is safe to use
       in children with chronic pain?
     • Factors leading to pain-related disability in children (e.g., missing
       school, not sleeping, avoiding physical and social activities, not eating)




     Gender & Pain: HOT TOPICS
     • Prevalent pain conditions in women (e.g., fibromyalgia, chronic pelvic
       pain)
     • Interface of hormones and the pain experience
     • Brain imaging, uncovering routes of pain transmission and tolerance
     • Differential effects of medicines across genders
     • Impact of chronic pain on sexuality and self-image




20                                                           American Pain Foundation
                                                          SPECIAL CONSIDERATIONS: PAIN IN SPECIFIC POPULATIONS   Topic Brief




      Older Adults and End-of-Life Care & Pain: HOT TOPICS
      • False belief that pain is an inevitable part of aging
      • Vitamin deficiencies and musculoskeletal pain
      • Limited consumer awareness of the options that exist other than
        traditional "acute care" approaches (e.g., doctors office visits, ER visits,
        hospitalizations)
      • Insufficient numbers of adequately trained and skilled healthcare
        professionals to manage the myriad issues confronting patients/families
        with advanced medical illness; limited number of providers with
        specialty in geriatrics
      • Variability in delivery of hospice and palliative care services across the
        country
      • Lack of clinical research data on pain care among elders




      MilitaryNeterans & Pain: HOT TOPICS
      • President Bush recently signing the Military and Veterans Pain Care Acts
        into law
      • Emerging Options: Interdisciplinary approaches to pain care
      • Acupuncture now being incorporated into treatment plans at Walter
        Reed Army Medical Center
      • Competitive athletics as a form of therapy
      • New Veteran centers open for drop-in counseling




•A Reporter's Guide: Covering Pain and Its Management                                                                    21
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                                                                            Pair %20Management%20web9420version.rxlf
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22                                                                                                                        American Pain Foundation
                                                                                               Topic Brief
  PAIN MANAGEMENT & DISPARITIES
  The underireatment of pain in America is a growing public health crisis,
  especially among underserved populations, including ethnic minorities, women,
  the elderly and those who are socioeconomically disadvantaged. Despite an
  overall improvement in health for most Americans, certain segments of the           "Oj all the forms of
  population continue to experience poor health status.' There is compelling          inequality, injustice in
  evidence that minorities are less likely to have access to routine, coordinated
  medical care or health insurance than whites. They are also more likely to          health is the most shocking
  receive inappropriate or insufficient care, resulting in poorer health outcomes.
                                                                                      and the most inhumane."
  As the U.S. population becomes increasingly diverse, there is an urgent need to
  eliminate health disparities. Patients have a right to appropriate assessment and
                                                                                         —Martin Luther King, Jr.
  treatment of their pain without regard to race, ethnicity or other factors.




  Health Disparities Defined
                                                                                      Snapshot of U.S. Population,
  According to the National Institutes of Health, health disparities are
                                                                                      An Older and More Diverse
  defined as "differences in the incidence, prevalence, mortality, and                Nation
  burden of diseases and other adverse health conditions that exist
  among specific population groups in the United States."
                                                                                      According to projections by the U.S.
                                                                                      Census Bureau:
  DLsparities in health care are complex and multifaceted resulting                   • Minorities now comprise roughly
  from:                                                                                 one-third of the U.S. population.
  • Patient/personal factors (e.g., low socioeconomic status,                         • By 2023, more than hid of all
    communication barriers)                                                             children will be from minority
  • Healthcare provider factors (e.g., bias, cultural insensitivity)                    groups.
  • Systematic./health system factors (e.g., health insurance status,                 • Minorities are expected to become
    access to care)                                                                     the majority in 2042.
                                                                                      • In 2050, the nation is projected to
                                                                                        be 54% minority.
                                                                                      • The Latino population, already the
                                                                                        nation's largest minority group,
                                                                                        will triple in size between 2005
                                                                                        and 2050.
                                                                                      • The nation's elderly population
                           4144t4
                                :
                                4:                                                      will more than double in size
                                                                                        from 2005 through 2050 as the
                                                                                        baby boom generation enters
                                                                                        traditional retirement years.


                                                                                      S011ite: U.S. Census Bureau, 2008,
                                                                                      Imp://www,census.gor/Pre.,slielatse/www/
                                                                                      releasesiarchiv&population/012496.1tuni;
                                                                                      Pew Hispanic Center.




A Reporter's Guide: Covering Pain and Its Management                                                                             23
 Disparities in Pain Care                  RESEARCH ON DISPARITIES IN PAIN CARE HAVE SHOWN:
 Pain is widely recognized as an           • Blacks were less likely than whites to receive pain medication and had a 66%
 undenreatecl health problem in the          greater risk of receiving no pain medication at air"'
 general population.' However, a
                                           • Hispanics were twice as likely as non-Hispanic whites to receive no pain
 growing body of research reveals
                                             medication in the emergency department (55% of Hispanics received no pain
 even more extensive gaps in pain
                                             medication vs. 26% of non-Hispanic whites)!'"
 assessment and treatment among
 racial and ethnic populations, with       • Minority patients were less likely to have pain recorded relative to whites, which
 minorities receiving less care for          is critical to providing quality patient care."
 pain than non-Hispanic whites.3•4.36'     • Only 25% of pharmacies in predominantly nonwhite neighborhoods had opioid
 Differences in pain care occur              supplies that were sufficient to treat patients in severe pain, as compared with
 across all types of pain (e.g., acute,      72% of pharmacies in white neighborhoods."
 chronic, cancer-related) and              • In a study of minority outpatients with recurrent or metastatic cancer, 65% did
 medical settings (e.g., emergency           not receive guideline-recommended analgesic prescriptions compared with 50%
 departments and primary care).3m 7          of nonminority patients (P < 0.001). Hispanic patients in particular reported less
 Even when income, insurance                 pain relief and had less adequate analgesia."
 status and access to health care are
 accounted for, minorities are still
 less likely than whites to receive       treatment of pain. Most chronic             Organization ha-s declared that
 necessary pain treatrnents.34            pain conditions are more prevalent          pain relief is a human right.
                                          among women; however, women's
 Minorities are less likely to:                                                       Patient and provider factors
                                          pain complaints tend to be poorly
                                                                                      drive pain disparities
 • Have access to pain                    assessed and unclertreatec1.3
   management services and                                                            Multiple factors contribute to racial
                                          Additionally, gender differences
   treatments                                                                         and ethnic disparities in pain cure,
                                          have been identified in patient
                                                                                      including beliefs about pain,
 • Have their pain documented by          responsiveness to analgesics and
                                                                                      preconceived bias and cultural
   healthcare providers                   pain stimuli. While estrogen and
                                                                                      insensitivity and poor patient-
 • Receive pain medications               progesterone play a role in how
                                                                                      provider communication.
                                          pain signals are received in men
And more likely to:                                                                   Positive physician-patient
                                          and women, psychology and
 • Use the emergency department           culture may aLso account for some           interaction and communication is
   for pain care, but less likely to      of the difference. For example,             critical in accurate pain
   receive adequate care                  children may learn how to                   assessment.' Some research has
 • Experience greater severity of         respond to pain later in life               shown that patients Lake a more
     pain                                 depending on how their pain                 active role in their own pain
                                          complaints were treated in their            treatment when their healthcare
 • Experience and report physical
                                          formative years (e.g., receiving            providers are of similar ethnic
   disability
                                          comfort and validation versus               backgrounds.34
 • Experience poorer health and           being encouraged to tough it out
   quality of life related to pain        or dismiss the pain)." For more
                                          information, see the Special                  n
 There are clear variations in the        Considerations: Pain in Specific             Fain is a complex, subjective
 way pain is assessed and managed         Populations Topic Brief.                   response with several quantifiable
 among all minority populations.
 Significant gaps exist in the
                                          In response to the overwhelming            features, including intensity,
                                          discrepancies in pain treatment            time course, qualitA impact,
 provision of effective quality pain
                                          among minority groups, the Joint
 care due to the lack of research                                                    and personal meaning. The
                                          Commission issued a statement
 and medical training focused on                                                     reporting ofpain is a social
                                          recognizing the rights of all
 pain care disparities.3"                 patients to receive appropriate            transaction between caregiver
 Research also shows gender               assessment and management of               and patient."'
 differences in the experience and        pain, and the World Health




24                                                                                                        American Pain Foundation
                                                                                  PAIN MANAGEMENT & DISPARITIES                     Topic Brief


  Patient sources of racial and ethnic          Minorities lack access to                         Americans, including 9 million
  disparities.3                                 effective pain care                               children, are living without health
  • Low socioeconomic status                                                                      care coverage. More than eight out
                                                Limited access to pain care services
                                                                                                  of 10 are from working families.
  • Patients' attitudes or beliefs              is a key contributor to poorer pain
    regarding pain and patient-level            treaunent among minorities.                       The consequences of being
    decision making and preferences                                                               uninsured are widely recognized
                                                • Overall, minorities tend to be                  and include: lack of access to
    — Stoicism and the belief that                financially poorer than non-                    health care, poor quality care, lost
      pain is an inevitable part of               Hispanic whites.                                economic productivity, as well as
      disease
                                                • Socioeconomic factors can                       financial burdens on individuals
  • Minority patients more likely to:
                                                  impede access to health                         and society overall. As the minority
    —Refuse recommended pain                      insurance and primary health                    population in the U.S. continues to
      therapies                                   care services, and minorities are               grow, it becomes increasingly
    — Poorly adhere to treatment
                                                  less likely to have access to pain              important to address the numbers
     regimens
                                                  treatment services than the                     of uninsured and underinsured
    —Delay seeking media care                     general population.w30'                         among racial and ethnic groups.
  • Mistrust of physicians or                   • Racial and ethnic minorities are                Barriers also exist in patient access
    previous negative experiences                 at increased risk of having their               to pain medications. Research
    with health care system                       pain complaints ignored by                      shows that physicians may be less
  • Limited health literacy                       healthcare providers, thereby                   likely to prescribe pain
  • Language barriers that hinder                 limiting their options for                      medications for minority
    communication with providers                  accessing appropriate pain                      populations 6.7.1" and pharmacies
                                                  treauttent.3'4A7                                in neighborhoods with large
  Physician sources of racial and
                                                According to the Robert Wood                      minority populations often do not
  ethnic disparities:3
                                                Johnson Foundation, 46 million                    carry opioid medications.'
  • Perceptions of race and ethnicity
  • Racism or bias
                                                        PERCENTAGE UNINSURED AMONG THE NONELDERLY POPULATION
  • Poor cross cultural                                                  BY RACE AND ETHNIC ORIGIN, 2006
    communication skills/cultural
    insensitivity
  • Underrepresentation of
    physicians from
    racially/ethnically diverse
    backgrounds/lack of cultural
    sensitivity




  Disparities & Pain: HOT TOPICS
  • Aging and increasingly diverse U.S.
                                                               White               Black              Hispanic              Other
    population could lead to greater
    disease burden if pain remains                     Souncee Employee Ben& Research Institute L5filltd125 from the March Caimrni
                                                       Population Survey, :1007 Supplement. Cover the Uninsured, www.covertiteuninsurcdogr.
    untreated
  • Undertreatment of minorities in
    emergency departments
                                                  "Inequities in access can contribute to and exacerbate
  • Minority pain complaints receive less
    attention than others                         existing disparities in health and quality of life, creating
  • Impact of pain on productivity and            barriers to a strong and productive life."
    quality of life among minority patients
                                                                                                       —The Commonwealth Fund
  • Pain relief as a human right




A Reporter's Guide: Covering Pain and Its Management                                                                                          25
 More extensive research needed                    Additional studies and a
 to dose disparities gap                           comprehensive pain research
                                                   agenda are needed to:
 While national attention has
 become increasingly focused on                    • Understand the role of
                                                                                                      WEB RESOURCES
 health disparities, less attention has              stereotypes and bias in doctor-
                                                                                                      CDC Office of Minority health and health
 been given specifically to                          patient interactions                             Disparities
 inequities in pain care.19•2°                     • Improve training for healthcare                  hup://www.cdc.gov/omlidi
 However, the growing interest in                    providers                                        Cover the Uninsured: a Project of the Robert
 health disparities in general                                                                        WoodJohnson Foundation
                                                   • Plan educational interventions
                                                                                                      hap://covertheuninsuredorg/
 provides pain treatment providers,                  for patients
 researchers and advocates with an                                                                    American Pain Society: Racial and Ethnic
                                                   • Understand the differences in                    identifiers in Pain Management: The
 opportunity to raise awareness                                                                       importance to Research, Clinical Practice,
                                                     patient behaviors that may
 about disparities in pain                                                                            and Public Health Policy
                                                     contribute to pain care disparities              hap://wwwampainsec.org/advocacy/
 management and the need for
                                                   • Develop culturally sensitive pain                ethnoracialhan
 additional pain disparities research.
 Currently, the social impact of pain                assessment tools                                 Agency for Healthcare Research and Quality:
                                                                                                      Addressing Racial and Ethnic Disparities in
 on patients, their families and                   • Raise consciousness about                        Health Care
 communities Ls largely absent in                    disparities in pain management                   Itup:/Avwwahrq.govirrelticlisixtritium
 most federal research plans."                       and barriers to effective                        hap://www.ahrq.gov/quaVnhdr03/
                                                                                                      nhdrann03.htm
                                                     healthcare overall




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26                                                                                                                          American Pain Foundation
                                                                                               Topic Brief
CHRONIC PAIN AND OPIOID TREATMENT
Effective management of chronic pain often requires a step-wise trial of different treatment options, a team of healthcare
providers and social support from family and friends. Healthcare providers may start with behavioral and non-pharmacological
interventions (e.g., hot/cold therapy, physical therapy, relaxation techniques) when devising pain treatment plans. However, pain
relievers, including prescription pain medicines (opioid analgesics), are often prescribed to help alleviate pain and improve
function.


                                                          Key Issues
• More than 76.5 million Americans suffer with pain: The consequences of unmanaged chronic pain are devastating for
  patients. It is not uncommon for patients with intractable, debilitating pain—many of whom are often made to feel that the
  pain is "just in their heads"—to want to give up rather than living one more day in excruciating pain.

• For many patients, opioids are an integral part of a comprehensive pain management plan to help relieve pain, restore
  functioning and improve quality of life."

• Unfortunately, patient access to these medications may be hindered by unbalanced state policies, persisting social stigma
  surrounding their use, as well as therapeutic switching and/or step therapies imposed by insurance companies.

• Unless a patient has a past or current personal or family history of substance abuse, the likelihood of addiction is low when
  opioids are taken as prescribed and under the guidance of a physician; however, they have the potential for misuse, abuse
  and diversion.

• Rising rates of prescription drug abuse and emergency room admissions related to prescription drug abuse, as well as an
  increase in the theft and illegal resale of prescription drugs, indicate that drug diversion is a growing problem nationwide.'
  The main source of drug diversion is unlikely the prescriber as was once assumed, but rather from theft by family, friends and
  workers in the home or from the sharing and selling of medications though often with good intentions.'

• Diverse players (e.g., lawmakers, educators, healthcare providers, the pharmaceutical industry caregivers) must come
  together to address the dual public health crises of the undertreatment of pain and rising prescription drug abuse.'

• Alleviating pain remains a medical imperative—one that must be balanced with measures to address rising non-medical
  use of prescription drugs and to protect the public health.'



Opioids 101
Opioicls include morphine, oxycodone, oxymorphone, hydrcx:ocione, hydromorphone, methadone, codeine
and fentanyl. Opioids are classified in several ways, most commonly based on their origin and duration of
effects.'


Common classifications for opioidsi

 SOURCE                            Natural or semisynthetic:                           Synthetic: Synthesized in the laboratory
                                   Contained in or slightly modified
                                   (semisynthetic) from chemicals found
                                   in poppy resin


  DURATION OF RESPONSE             Short-acting: Provide quick-acting                  Long-acting: Provide longer duration
                                   pain relief and are used primarily as               of pain relief and are most often
                                   "rescue medication,"as in acute pain                used for stable, chronic pain




       A Reporter's Guide: Covering Pain and Its Management                                                                         27
 One of the advantages of opioids        use, the clinical profile of opioids   nausea and vomiting, and other
 is that they can be given in so         has been very well characterized.      gastrointestinal effects. Tolerance to
 many different ways. For example,       Multiple clinical studies have         nausea and vomiting usually
 they can be administered by             shown that long-acting opioids, in     develops within the first few days
 mouth, rectal suppository,              particular, are effective in           or weeks of therapy, hut some
 intravenous injection (IV),             improving:                             patients are intolerant to opioids
 subcutaneously (under the skin),        • Daily function                       and experience severe adverse
 transdermally (in the form of a                                                side effects.fi Other side effects
 patch) or into a region around the      • Psychological health                 include drowsiness, mental
 spinal cord. Patches, IV injections     • Overall health-related quality of    clouding and, in some people,
 and infusions are very important          life for patients with chronic       euphoria.' Recent research shows
 for patients who cannot swallow,          pain K.                              that genetic variations may
 or whose GI tracts are not working                                             influence opioicl metabolism.
                                         However, some types of pain, such
 normally?                                                                      Depending on the amount taken,
                                         as pain caused by nerve
 Opioicis are believed to work by        compression or destruction, do not     opioids can depress breathing. The
 binding to specific proteins (opioicl   appear to be relieved by opioids.8     risk of sedation and respiratory
 receptors), which are found in                                                 depression is heightened when
 specialized pain-controlling regions                                           opioids are taken with other
 of the brain and spinal cord. When      Adverse Effects                        sedating medications (e.g.,
 these compounds attach to certain       Side effects of opioids result         antihistamines, benzocliazepines),
 opioid receptors, the electrical and    primarily from activation of opioicl   reinforcing the need to carefully
 chemical signals in these regions       receptors outside and within the       monitor patients. However, this
 are altered, ultimately reducing        nervous system. Activation of          effect is usually is not present after
 pain?                                   opioicl receptors in the gut, for      a patient has taken opioids
 Because of their long history of        example, may cause constipation,       regularly.




 Careful Monitoring of and Open Communication with Patients
 Patients taking opioids must be carefully selected and monitored, and should speak openly with their
 healthcare provider about noticeable improvements in functioning, as well as side effects and other concerns
 (e.g., constipation, fears of addiction).

                   Analgesia - Is the pain relief clinically significant? Is there a reduction in the pain
                   scow (0-1(J)?
                   Activity levels - What is the patient's level of physical and psychosocial functioning?
     The           I las treatment made an improvement?
                   Adverse effects - Is the patient experiencing side effects from pain relievers? II' so,
     Four          are they tolerable?
                   Aberrant behaviors - Are there law behaviors of concern such as early refills or lost
                   medication? Does the patient show signs of misuse, abuse or addiction? What is the plan
                   of action?
                   Nmircr      & Vvinrok 19)11 Pas.sik & l'uncrirvy. 1998



 The American Pain Foundation's Target Chronic Pain materials help facilitate open dialogue between patients
 and their healthcare team, and give prescribers tools for selecting, monitoring and following patients. To access
 these resources, visit vvww.painfoundation.org and click on the Publications tab.




28                                                                                                American Pain Foundation
                                                                          CHRONIC PAIN AND OPIOID TREATMENT            Topic Brief

                 ---——
  Dual Public Health Crises:                     Picture of Prescription Drug Abuse in America
  Balancing Medical Imperative to
  Relieve Suffering and Protect                  • An estimated 2.2 million Americans abused pain medications for the first time in
  Public Safety                                    2006." The rate of new abuse of opioids has risen most dramatically among
                                                   teenagers.
  Pain affects more Americans than
  diabetes, heart disease and cancer             • Between 1992 and 2002, reported abuse by teenagers increased by 542%."
  combined, and it is one of the                 • From 1999 to 2004, unintentional poisoning deaths associated with opioids and
  leading causes of disability in the              hallucinogens rose by 55%, and the increase has been attributable primarily to
  United States. Recognition of pain               prescription pain relievers."
  as a growing public health crisis
                                                 • According to 2005 and 2006 National Surveys on Drug Use and Health, an annual
  has led to the establishment of
                                                   national average of 6.2% of persons aged 12 or older had used a prescription
  specialized pain clinics, treatment
                                                   psychotherapeutic drug non-medically in the 12 months leading up to the survey;
  guidelines for certain types of pain,
                                                   an average of 9.1% of youths aged 12 toll were past year non-medical users of
  as well as greater use of treatment
                                                   any prescription psychotherapeutic drug.'
  strategies to effectively alleviate
  pain and improve functioning,                  • Nearly 600,000 emergency department visits involved non-medical use of
  including prescription pain                      prescription or over-the-counter (OTC) pharmaceuticals or dietary supplements.
  medicines.                                       Opiates/opioid analgesics accounted for 33% of the non-medical visits. Anti-
                                                   anxiety agents (sedatives and hypnotics) accounted for 34% of the non-medical
  As the therapeutic use of opioids
                                                   visits.'
  has increased to appropriately
  address pain, there has been a
  simultaneous and dramatic rise in
                                                The growing prevalence of                   sometimes false--picture of chronic
  non-medical use of prescription
                                                prescription drug abuse not only            pain management.' Over time,
  drugs." When abused—that is,
                                                threatens the lives of abusers;             these reports overshadow untold
  taken by someone other than the
                                                concerns about misuse, abuse and            stories of people with pain—those
  patient for whom the medication
                                                diversion may also jeopardize               whose lives have been shattered by
  was prescribed, or taken in a
                                                effective pain management by                unrelenting pain—who get needed
  manner or dosage other than what
                                                impeding patient access to opioids.         pain relief from these medications.
  was prescribed—prescription
                                                Fear of scrutiny by regulators or           Understanding the difference
  medications can produce serious
                                                law enforcement, and specific               between tolerance, physical
  adverse health effects and can
                                                action by some agencies, has had a          dependence, abuse and addiction
  lead to addiction, overdose and
                                                "chilling effect" on die willingness        is also critical to telling the story
  even death.
                                                of sonic doctors, nurse practitioners       (See page 31-32 for definitions).
  People who abuse opioick typically            and physician assistants to                 According to medical experts, use
  do so for the euphoric effects (e.g.,         prescribe opioids.'5                        of the term "narcotic" in news
  the "high"); however, most abusers                                                        reports may further reinforce the
                                                Moreover, high profile reports of
  are not patients who take opioids                                                         myths and misconceptions of this
                                                drug abuse, diversion and
  to manage pain."ILather, they are                                                         class of drugs, given the negative
                                                addiction, or of legal actions taken
  often people within the social                                                            connotation.'
                                                against prescribers have helped
  network of the patient. In fact, 71%
                                                perpetuate a negative—and
  of people abusing prescription pain
  relievers received them from a
  friend or family member without a              re
  prescription.' Prescription pain                 ... PI he attitude toward opioids has ranged from complete avoidance
  relievers are usually stolen from             to widespread therapeutic use with minimal caution. These extremes
  medicine cabinets, purchased or
                                                have been driven by insufficient appreciation of risks by those at one
  shared in schools, or simply given
                                                end of the spectrum, and excessive fear of punitive regulatory scrutiny
  away.
                                                or exaggerated perceptions of addictive risk by those at the other.
                                                When opioids are prescribed for pain control in adequately evaluated,
                                                selected, and monitored patients, addiction is rare."
                                                                                      — Perry Fine, Topics in Pain Management




A Reporter's Guide: Covering Pain and Its Management                                                                                  29
 Strategies to Address Twin Public Health Crises
 Systematic and targeted approaches are essential to address the growing prevalence and complexity of
 prescription drug abuse, while simultaneously ensuring that people with legitimate medical needs receive
 effective treatment.

 These approaches can generally he         plan (e.g., treatment agreements,                For additional recommendations,
 categorized as follows:                   urine testing and monitoring,                    see the American Pain
 • Legislative strategies to create        transition planning, collaborative               Foundation's report outlining
   balanced and consistent                 practice with addiction medicine                 critical barriers to appropriate
   regulation and improve state-           and behavioral health                            opioid prescribing for pain
   based prescription drug                 specialists).                                    management, Provider Prescribing
   monitoring programs.                  • Pharmaceutical industry                          Patterns and Perceptions:
 • Educational efforts to raise            strategies to help prevent misuse,               Identifying Solutions to Build
   awareness about prescription            abuse and diversion by                           Consensus on Opioid Use in Pain
   drug abuse and its dangers              developing new tamper resistant                  Management. This 16-page report
   among schools, families,                packaging and/or formulations                    calls for a more balanced
   healthcare providers, patients          (e.g., tamper-resistant bottles,                 perspective of the risks and
   and potential abusers.                  electromagnetic chips to track                   benefits of these medications in
                                           medication, new formulations                     practice and policy and
 • Medical strategies to help
                                           that could resist or deter                       summarizes key challenges and
   identify and monitor patients
                                           common methods of opiokl                         actionable solutions discussed by
   who require opioid                                                                       leading pain experts at a
   management, to include the              abuse).
                                                                                            roundtable meeting hosted by APF.
   incorporation of risk
   management into the treatment


                                                                           State Grades for 2008
 Making the Grade: Evaluation             State                    2008 Grade            State                 2008 Grade
 of State Policies                        Alabama                  8+                    Montana               C+
                                          Alaska                   C+                    Nebraska
 The Pain & Policy Studies Group
                                          Arizona                  B+                    Nevada
 (PPSG) report "Achieving Balance         Arkansas                                       New Hampshire
 in State Pain Policy: A Progress         California                                     New Jersey            C+
 Report" graded states on quality of      Colorado                                       New Mexico            B+
 its policies affecting pain treatment    Connecticut              8                     New York
                                          Delaware                 C+                    North Carolina
 and centered on the balance
                                          District of Columbia     C+                    North Dakota
 between preventing abuse,                Honda                                          Ohio
 trafficking and diversion of             Georgia                  a                     Oklahoma              C+
 controlled substances and                Hawaii                                         Oregon                A
 simultaneously ensuring the              Idaho                                          Pennsylvania          C+
                                          Illinois                                       Rhode Island          8+
 availability of these medications for
                                          Indiana                  C+                    South Carolina        C+
 legitimate medical purposes. PPSG        Iowa                                           South Dakota          13
 researchers evaluated whether            Kansas                   A                     Tennessee
 state pain policies and regulations      Kentucky                                       Texas
 enhance or impede pain                   Louisiana                                      Utah                  13+
                                          Maine                     B+                   Vermont               8+
 management and assigned each
                                          Maryland                                       Virginia              A
 state a grade from 'A' to                Massachusetts            B+                    Washington            8+
                                          Michigan                 A                     West Virginia         8
                                          Minnesota                B+                    Wisconsin             A
                                          Mississippi              C+                    Wyoming               C+
                                          Missouri                 C+
                                         Sowre The Pain & Policy udies Group,
                                         hup://wwwpainpolicy.wisc.eclu/Achieving_lialance/PRC2008.pdf.




30                                                                                                          American Pain Foundation
                                                                          CHRONIC PAIN AND OPIOID TREATMENT             Topic Brief



       At a Glance: Differentiating physical dependence, tolerance, abuse and addiction

                              Unfortunately, confusion between normal physiological responses to opioids (physical
                              dependence and tolerance) and pathological phenomena such as addiction or abuse persist. Such
                              misunderstandings not only reinforce the stigma surrounding legitimate medical use of these
                              medicines, they also fuel fears of addiction and, in turn, may impinge on patient access to these
                              medications. Although the use of opioids carries some risk of addiction, clinical studies have
                              shown that the potential for addiction is low for the vast majority of patients using opioids for
                              the long-term management of chronic pain." As with any medication, there are risks, but these
                              risks can be managed.




                                                Physical dependence is                      Addiction is a disease
                                                characterized by biological changes         characterized by preoccupation
                                                that lead to withdrawal symptoms            with and compulsive use of a
                                                (e.g., sweating, rapid heart rate,          substance, despite physical or
                                                nausea, diarrhea, goosebumps,               psychological harm to the person
                                                anxiety) when a medication is               or others.3 Behaviors suggestive of
                                                discontinued, and is not related to         addiction may include: taking
                                                addiction. Physical dependence              multiple doses together, frequent
                                                differs from psychological                  reports of lost or stolen
                                                dependence, or the cravings                 prescriptions, and/or altering oral
                                                for the euphoria caused by                  formulations of opioids.
                                                opioid abuse. Symptoms of                   Abuse is the intentional self-
                                                physical dependence can often               administration of a medication for
                                                be ameliorated by gradually                 a non-medical purpose, such as to
                                                decreasing the dose of                      obtain a high.3 Both the intended
                                                medication during                           patient and others have the
        "Universal agreement                    discontinuation.'                           potential to abuse prescription
             on definitions of                  Tolerance is a biological process           drugs; in fact, the majority of
                                                in which a patient requires                 people who abuse opioids do not
           addiction, physical                                                              suffer from chronic pain."
                                                increasing amounts of a
             dependence and                     medication to achieve the same              Pseudo-addiction describes
       tolerance is critical to                 amount of pain relief. Dose                 patient behaviors that may occur
                                                escalations of opioid therapies are         when pain is undenreatecl. Patients
          the optimization of                   sometimes necessary and reflect a           with unrelieved pain may become
      pain treatment and the                    biological adaptation to the                focused on obtaining medications
              management of                     medication. Although the =RI                and may otherwise seem
                                                mechanisms are unclear, current             inappropriately "drug seeking,"
         addictive disorders."                  research indicates that tolerance to        which may be misidentified as
       — Consensus document from                opioid therapy develops from                addiction by the patient's
       the American Academy of Pain             changes in opioid receptors on the          physician. Pseudo-addiction atri be
         Medicine, the American Pain            surface of cells.' Thus, the need for       distinguished from true adduction
     Society and the American Society           higher doses of medication is not           in that this behavior ceases when
                of Addiction Medicine           necessarily indicative of addiction.3       pain is effectively treated3




A Reporter's Guide: Covering Pain and 115 Management                                                                              31
 MISUSE VS. ABUSE?
 • Medical Misuse: Legitimate use of a valid personal prescription but using differently from provider's instruction, such as
   taking more frequently or higher than the recommended doses. Use may be unintentional and considered an educational
   issue.
 • Medical Abuse: Valid personal prescription by using for reasons other than its intent, such as to alleviate emotional
   stress, sleep restoration/prevention, performance improvement, etc. Use may be unintentional and considered an
   educational issue.
 • Prescription Drug Misuse: Intentional use of someone else's prescription medication for the purpose of alleviating
   symptoms that may be related to a health problem. The use may be appropriate to treat the problem but access to obtain
   this drug may be difficult/untimely or may have been provided from a well-intentioned family member or friend.
 • Prescription Drug Abuse: Intentional use of a scheduled prescription medication to experiment, to get high or to create
   an altered state. Access to the source may be diversion from family, friends or obtained on the street. Inappropriate or
   alteration of drug delivery system, used in combination of other drugs or used to prevent withdrawal from other
   substances that are being abused are included in this definition.
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 Risk factors for opioid misuse include, but are not limited tog3.'9
 • Personal or family history of prescription drug or alcohol abuse
 • Cigarette smoking
 • History of motor vehicle accidents
 • Substance use disorder
 • Major psychiatric disorder (e.g., bipolar disorder, major depression,
   personality disorder)
 • Poor family support
 • History of preadolescent sexual abuse


 NOTE Unless a patient has a past or current history of substance
 abuse, the potential for addiction is low when opioid medications
 are prescribed by a doctor and taken as directed. Those patients
 who suffer with chronic pain and addictive disease deserve the
 same quality of pain treatment as others, but may require greater
 resources in their care.                                                                            WEB RESOURCES
                                                                                                     Opioid RX
                                                                                                     tittp://[xtin-topia;.org/
                                                                                                     opioid_rx/;fritiskManage
                                                                                                     Tufts Health Care Institute Program on
                                                                                                     Opioid Risk Management
                                                                                                     http://www.thci.org/opioki/
                                                                                                     Opioid Risk Management PainEDU
                                                                                                     httpl/www.painedu.ory/soap.asp
                                                                                                     Emerging Solutions
                                                                                                     http://www.ernergingsolutionsinpain.conili
                                                                                                     ndex.php?option-com_Frontrxige&Iternid-1




32                                                                                                                            American Pain Foundation
                                                                                    CHRONIC PAIN AND OPIOID TREATMENT                   Topic Brief

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A Reporter's Guide: Covering Pain and its Management                                                                                                   33
     "The purpose of lfe.. . is to be useful, to be
     honorable, to be compassionate, to make some
     difference..."
                                —Ralph Waldo Emerson

34                                             American Pain Foundation
                                                                                                  Topic Brief
   INTEGRATIVE MEDICINE: NON-DRUG TREATMENT OPTIONS
   FOR PAIN MANAGEMENT
                   Pain management continues to challenge                   when the origin of the pain signals fails to
                   healthcare providers and places added strain             shut off clue to damage of the pain alarm
                   on an already fragmented health care system.             system, leaving the person with persisting
                   The U.S. health system was built around                  pain.
                   acute illness; however, because of advances               Whatever the (muse, chronic pain transcends
                   in modern medicine and increased longevity,               the physical hurting. Persistent pain interferes
                   many Americans are living longer and with                 with daily life and relationships, and takes a
                   one or more chronic conditions (for example,              tremendous toll on a person's mind, body
                   cancer, diabetes, heart disease and arthritis),           and spirit. It's no surprise that pain and
                   which require careful coordination of care                associated problems (e.g., medication side
                   and symptom management.                                   effects, depression and anxiety, limited
                   While pain is a symptom of many chronic                   mobility) are best managed using a
                   diseases and is expected after many surgical              combination of treatments tailored to each
                   procedures, persistent pain should not be                 patient. This is referred to as a "multi-modal"
                   viewed simply as a symptom. According to                  or integrative approach.
                   experts, the pain itself becomes a disease


                               Multi-modal Therapeutic Strategies for Managing Pain and Related Disability




                                                               Pharmacotherapy
                                                                (N5P,113s, opioids,
                                                               adjuvant analgesics)
                                        Interventional                                Physical Medicine and
                                         Approaches                                       Rehabilitation
                                           (injections,                                  (assistive devices,
                                       neurostimulation)                                   conditioning)
                                                                  EFFECTIVE
                                                              MANAGEMENT FOR
                                                               PERSISTENT PAIN
                                     Complementary and                                  Lifestyle Changes
                                     Alternative Medicine                              (weight loss, exercise,
                                     (massage, acupuncture)                                  nutrition)
                                                              Psychosocial Support
                                                                   (counseling,
                                                                 support groups)




                   Integrative medicine combines conventional medicine with complementary healing
                   techniques, such as massage, yoga and acupuncture, to address the specific needs. Because an
                   interdisciplinary approach to pain management is patient-centered, patients learn how to
                   manage and cope with pain by playing an active role in their treatment plan.


                   Integrative medicine combines treatments from conventional medicine and complementary and alternative
                   therapies for which there is some high-quality evidence of safety and effectiveness.' Being able to deliver
                   integrated medicine, which incorporates proven CAM therapies into "mainstream" care, is increasingly
                   important to consumers and healthcare providers.'




A Reporter's Guide: Covering Pain and Its Management                                                                             35
 Benefits of Combined Treatment         Patients Seek Complementary
                                                                                                  COMMON NON-DRUG OPTIONS
 Modalities                             Treatments
                                                                                                  FOR PAIN RELIEF
 While medications remain an            In their quest for better pain relief,
 integral part of pain management       patients are increasingly turning to                      • Stress management techniques
 plans, non-drug therapies may be       non-drug approaches to help ease                            (e.g., meditation, deep breathing
 used to supplement and enhance         their discomfort and give them a                            and relaxation exercises)
 the effectiveness of current pain      sense of empowerment and                                  • Massage
 medications. These strategies also     control. There are a wide variety of                      • Application of heat or cold,
 offer additional options for those     non-drug therapies available to                             including heating pads or
 patients at greater risk for, or who   treat pain and related disability                           ice packs
 are intolerant of, medication side     including:                                                • Acupuncture
 effects.                               • Psychosocial interventions —                            • Visualization
 Moreover, a growing body of              cognitive behavioral therapy,                           • Physical therapy, including
 research reinforces the benefits of      stress management                                         stretching or exercise
 interventions that address the         • Rehabilitation techniques —                             • Hypnotherapy
 psythosocial aspects of pain,            exercise, heat or cold therapy,
                                                                                                  • Psychological and spiritual
 especially given recent evidence         physical therapy
                                                                                                    counseling
 of a biological link between the       • Complementary and alternative
 regions of the brain involved with                                                               • Biofeedback
                                          medicine — meditation,
 depression and pain regulation.                                                                  • Transcutaneous electrical nerve
                                          acupuncture, hypnotherapy,
 People with pain often suffer from                                                                 stimulation, also known as TENS
                                          yoga, aromatherapy, massage,
 depression, which can affect a
                                          touch therapy
 patient's thinking, concentration
                                        Not surprisingly, pain conditioas
 and behavior, and increase pain
                                        are among those most likely to
 sensitivity and severity.
                                        prompt patients to turn to
 Effective pain management may          complementary and alternative
 also require lifestyle changes that    medicine (CAM) therapies. These
 are supportive of patient mobility     practices also give patients a
 and independence.' For example,        greater sense of control, so they no
 to improve daily functioning,          longer feel that they are solely
 specific therapies may be              dependent on a single pill or
 suggested to increase muscle           procedure.
 strength and flexibility, enhance
 sleep and reduce fatigue, and assist
 patients in performing usual                     Diseases/Conditions for Which CAM is Used Most Often
 activities and work-related tasks.
                                          16.8%
 As with the management of other
 chronic illnesses, patients with
 chronic pain need to play an active
 role in their care and incorporate
 non-drug options and other                        93%
 lifestyle changes (e.g., exercise,
 proper nutrition) over the long-
 term.
                                                                                     45%
                                                                                                         3.1%
                                                                                                                2.4%
                                                                                                                           2.2%



                                          Back                                                                  Flecunng
                                                                                     depiession                 Pak'



                                        SOLITCe: NCCAM,   The Uses of CAM in the Urinal Slates.




36                                                                                                                  American Pain Foundation
                           INTEGRATIVE MEDICINE: NON-DRUG TREATMENT OPTIONS FOR PAIN MANAGEMENT                                  Topic Brief


  What is CAM?

  CAM includes a diverse group of healing systems, practices and products that are not part of conventional
  medicine. Examples of CAM therapies include acupuncture, massage, meditation, hypnosis, yoga and herbal
  therapies. These approaches are increasingly used to help manage pain and related issues (e.g., depression,
  anxiety, fatigue) and enhance patients' quality of life. NCCAM, one of 27 institutes and centers designated by
  the National Institutes of Health, is the lead agency for scientific research on CAM and groups these therapies
  into four areas.


    CAM DOMAINS DEFINED
    Mind-body medicine              Uses a variety of techniques designed to enhance the mind's ability to affect the
                                    body's function and symptoms. Examples include meditation, hypnosis, guided
                                    imagery, prayer, as well as art or music therapy.

    Biologically based practices    Use substances found in nature, such as herbs, special diets or vitamins. Some
                                    examples include dietary supplements or herbal products (e.g., garlic, ginger, Kava Kava).

    Manipulative and                Based on manipulation or movement of one or more parts of the body.
    body-based practices            Examples include massage and chiropractic or osteopathic manipulation.

    Energy medicine                 Involves the use of energy fields, such as magnetic fields or biofields (energy that some
                                    believe surround and run through the body). Examples indude qi gong, Reid and
                                    therapeutic touch.




  Many CAM practices    are gentle methods that tend to have fewer side effects, which is part of their appeal to
  patients. Patients also use these therapies to help alleviate the associated stress, depression and insomnia that
  can accompany and worsen pain sensations,
  Some CAM practices, such as acupuncture, massage and chiropractic care require the practitioner to be
  licensed. Its important for patients to research and find a CAM practitioner who is certified, willing and
  equipped to coordinate with other members of the patient's health team, and has experience working with
  patients with chronic pain.



  When tailored to the individual patient, non-drug approaches to
  pain ,nanagement can help:
  • Allow patients to take an active role in managing their pain,
    thereby, improving patient satisfaction
  • Address the physical, emotional and spiritual needs of patients
  • Reduce pain and manage related symptoms (e.g., pain and
    anxiety, depression, insomnia, fatigue)
  • Enhance the effectiveness and minimize adverse effects of
    medications
  • Reduce health care costs by reducing doctor visits and reliance
    on medications
  • Improve functioning and the ability to perform activities of
    daily living
  • Enhance wellness and quality of life




A Reporter's Guide: Covering Pain and Its Management                                                                                    37
 More and more American are turning to CAM to hclp manage and neat ‘sarious health problems,
 including pain and distress.

 • An estimated 36% of American adults use some form of CAM, and this percentage jumps to 62% if prayer
   for health reasons and megavitamin therapy are included.)
 • Americans spend at least $34-47 billion on CAM therapies, exceeding out of pocket expenses for all U.S.
   hospitalizations. CAM is expected to grow by 15% each year.3
 • People report using CAM because these methods mirror their personal beliefs, values and philosophical
   orientations toward life.'
 • Many people use CAM to help relieve hack pain, joint pain, severe headache and pain associated with
   migraines, dental and jaw pain and for a variety of other reasons.'




 Barriers to Fully Integrating
 CAM                                                                   MOST COMMON CAM THERAPIES

 Despite CAM's growing popularity,
                                                        43.0
 there are barriers to its widespread
 use. According to CAM experts,                40
 these include:
 • Limited scientific evidence about
   the safety and effectiveness of             313
   certain therapies. Studies are
   underway to research specific
                                               20
   CAM practices for pain


                                                                                    1                          11
   management.
                                                                                                                               Is
 • Lick of professional training in            10
                                                                                               11
   CAM and integrative medicine                        hayW    nnw                    Ayer     modutbn ChKatalk Vtgl   Mrnoje OW.
   and limited resources to                            WI      odws

   coordinate services.                         0
                                                     Source Barnes P, Powell-Griner E, McFann K, Nallin 14, CIX Advance Dam Repon
 • Restricted health insurance                       •313, Camptemenaly and Alternatitv Medicine Use Anions ildtikg United Slams,
                                                     2002. May 27, 2004.
   coverage. Many CAM therapies
   are not yet covered by health
   insurance carriers and are,
   therefore, only available to
   patients on an outpatient fee-for-   • Lack of education (on the part                     • Misperceptions about CAM
   service basis. Insurers tend to        of consumers and providers)                          therapies as "elusive,
   restrict reimbursement to              about the appropriate use of                         nonsensical options."
   "medically necessary" therapies        CAM therapies and how best to                  Source: American Pain Foundation, Pain
   and without the data to back up        integrate them with standard                   Community Neils, Spring 2008.
   their effectiveness, these             pain treatments.
   practices are not covered.




38                                                                                                                 American Pain Foundation
                            INTEGRATIVE MEDICINE: NON-DRUG TREATMENT OPTIONS FOR PAIN MANAGEMENT                               Topic Brief


  Paying for non-drug therapies                                             have access to low cost, at-home therapies that
  The majority of CAM treatments are not currently                          provide effective pain relief. These may include heat
                                                                            and cold therapies, relaxation techniques and
  covered by traditional insurance plans, largely due to
  the absence of scientific evidence proving the                            exercise.
  effectiveness of some CAM therapies. When coverage                        People living with chronic pain are increasingly
  for CAM is offered, it is generally limited to more                       turning to CAM to help alleviate their suffering and
  common therapies such as acupuncture and                                  improve their quality of life. The addition of these
  massage. Most people must pay for CAM services                            therapies often results in better pain relief and fewer
  out-of-pocket; however, consumer interest has                             side effects. However, more research is needed to
  prompted more insurance companies to consider                             prove the effectiveness of certain therapies and
  CAM coverage.                                                             increase the likelihood that they will be covered by
  A study in Washington State, where private health                         conventional insurance providers and offered as an
                                                                            option to all patients living with pain.
  insurers are legally required to cover licensed CAM
  providers, found that a significant number of people                      With nearly half of all consumers concerned about
  were utilizing OW insurance benefits with only a                          the safety of their health care,6 the use of CAM and
  modest effect on insurance expenditures.'                                 other non-drug treatments for pain management is
                                                                            expected to grow as non-drug therapies are proven
  Given the high cost and low insurance coverage of
                                                                            safe and effective and adopted into routine health
  many CAM therapies, it is important that patients,
                                                                            care.'
  especially those that are no longer able to work,




                                 For a snapshot of recent research on select CAM therapies,
                       see the Spring 2008 issue of Pain Community News at www.painfoundation.org.




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A Reporter's Guide: Covering Pain and Its Management                                                                                  39
Pain A to Z
                                       Common Pain Terms and Syndromes
Hundreds of pain syndromes or disorders make up the spectrum of pain.Thete we the most
benign, fleeting sensations ofpain, such as a pin prick.Tbere is the pain ofchildbirtb, the pain of
a heart attack, and the pain that sometimes follows amputation of a limb. There is also pain
accompanying cancer and the pain that follows severe trauma, such as that associated 1411.11.1 bead
and spinal cord inpries.A sampling of common pain terms and syndromes follows, listed
alphabetically

Acute Pain occurs suddenly due to illness, injury or surgery. It      Breakthrough Pain is intermittent worsening of pain that occurs
has a short duration that subsides when the injured tissue heals.     spontaneously or in relation to a specific activity. The pain
                                                                      increases above the level of pain being treated with ongoing
Arachnoiditis is a condition in which one of the three                analgesics (pain medications).
membranes covering the brain and spinal cord, called the
arachnoid membrane, becomes inflamed. A number of causes,             Burn pain can be profound and poses an extreme challenge to
including infection or trauma, can result in inflammation of this     the medical community. First-degree bums are the least severe;
membrane. Arachnoiditis can produce disabling, progressive, and       with third-degree bums, the skin is lost. Depending on the injury,
even permanent pain.                                                  pain accompanying burns can be excruciating, and even after the
                                                                      wound has healed patients may have chronic pain at the burn
Arthritis is the most prevalent cause of chronic disability in the    site.
United States. Millions or Americans stiffer from arthritic
conditions such as osteoarthritis, rheumatoid arthritis, ankylosing   Cancer pain can accompany the growth of a tumor, the
spondylitis, and gout. These disorders are characterized by joint     treatment of cancer, or chronic problems related to cancer's
pain in the extremities. Many other inflammatory diseases affect      permanent effects on the body. Fortunately, most cancer pain can
the body's soft tissues, including tendonitis and bursitis.           be treated to help minimize discomfort and stress to the patient.

Back pain has become the high price paid by our modem                 Central pain syndrome — see Traumatic Pain below.
lifestyle and is a startlingly common cause of disability for many
Americans, including both active and inactive people. Common          Chronic Pain is pain that persists for long periods of time
types of back pain include:                                           (usually >3 months). Failure to treat acute pain promptly and
                                                                      appropriately at the time of injury, during initial medical and
  • Sciatica — back pain that spreads to the leg (see below).         surgical care, and at the time of transition to community-based
                                                                      care, contributes to the development of chronic pain syndromes.
  • Degenerative or ruptured disc — type of back pain
                                                                      In chronic pain, pain signals may remain active in the nervous
     associated with the discs of the spine, the soft, spongy
                                                                      system for weeks, months or even years. Chronic pain has no
     padding between the vertebrae (bones) that form the spine.
                                                                      value or benefit; it is a disease of the nervous system.
     Discs protect the spine by absorbing shock, but they tend to
     degenerate over time and may sometimes rupture.                       Types of Cltronic Pairr
  • Spondylolisthesis — back condition that occurs when one             • Intermittent Pain - episodic and may occur in waves or
     vertebra extends over another, causing pressure on nerves             pattems.
     and therefore pain.
                                                                        • Persistent Pain - lasts 12 or more hours every day for more
  • Radiculopathy — damage to nerve roots is a serious                     than three months.
     condition that can be extremely painful.                         Complex Regional Pain Syndrome, or CRPS, is a chronic pain
   Treatment for a damaged disc includes drugs such as                condition that typically affects one or more limbs. It is
   painkillers, muscle relaxants, and steroids; exercise or rest,     accompanied by burning pain and hypersensitivity to
   depending on the patient's condition; adequate support, such       temperature. Often triggered by trauma or nerve damage. CRPS
   as a brace or better mattress and physical therapy. In some        causes the skin of the affected area to become characteristically
   cases, surgery may be required to remove the damaged               shiny.
   portion of the disc and return it to its previous condition,            There are two types of CRPS:
   especially when it is pressing a nerve root. Surgical procedures
                                                                        • CRPS I (formerly known as Reflex Sympathetic Dystrophy
   include discectomy, larninectomy, or spinal fusion. Minimally
                                                                           Syndrome, or RSDS) is frequently triggered by tissue injury,
   invasive procedures (venebroplasty), certain complementary
                                                                           but with no underlying or identifiable nerve injury.
   and alternative therapies and implantable devices may also
   help certain patients.




40                                                                                                              American Pain Foundation
  • CRPS U (formerly known as Causalgia) is characterized            individual. It can result from diseases that affect nerves (such as
    by the same symptoms, but these cases are clearly associated     diabetes) or from trauma, or, because chemotherapy drugs can
    with a specific nerve injury.                                    affect nerves, it can be a consequence of cancer treatment.
                                                                     Among the many neuropathic pain conditions are:_
   The cause of CRPS is not well understood, but experts believe
   it is due to a malfunction of the autonomic nervous system          • Diabetic neuropathy, which results from nerve damage
   following blunt trauma to an arm or leg, after surgical                secondary to vascular problems that occur with diabetes;
   procedures or even from minor injuries such as a sprain or          • Reflex sympathetic dystrophy syndrome (see below),
   fracture. Nerves begin to misfire, repeatedly sending pain
                                                                          which can follow injury;
   impulses to the brain. The resulting pain stems out of
   proportion to the severity of the injury.                           • Phantom limb and post-amputation pain, which can
                                                                          result from the surgical removal of a limb;
Deafferentation Pain: pain due to alteration or damage to the
                                                                       • Postherpetic neuralgia, which can occur after an outbreak
central nervous system (central pain or neuropathic pain) or may
                                                                          of shingles; and
be alteration of nervous system within larger nerves or nerve
roots before entry into central nervous system.                        • Central pain syndrome, which can result from trauma to
                                                                          the brain or spinal cord.
Ffibromyalgia is a chronic pain disorder characterized by
widespread musculoskeletal pain that has lasted for at least three   Nociceptive pain - caused by an injury that stimulates pain
months. People with fibromyalgia report general tenderness and       receptors. Pain receptors, located on the tips of nerve cells,
soreness, muscle stiffness, especially in the morning, as well as    recognize and react to an unpleasant stimulus (pressure, extreme
fatigue. Stress or lack of sleep can make the symptoms of            temperatures (hot or cold), substances released by other cells) and
fibromyalgia worse. An estimated 6 million Americans have            send pain signals through the nervous system for recognition and
fibromyalgia, most of them women.                                    response. This type of pain may be accompanied by
                                                                     inflammation. Infections, burns, cuts, a severe lack of oxygen in
Headaches affect millions of Americans. The three most common        the blood, and stretching of or pressure within an organ, can
types of chronic headache are migraines, cluster headaches, and      injure tissues and cause nociceptive [min.
tension headaches. Each comes with its own telltale brand of
pain.                                                                     Types   of Noacepilve Pain:
                                                                       • Somatic Pain - caused by injury to skin, muscles, bone,
  • Migraines are characterized by throbbing pain and
     sometimes by other symptoms, such as nausea and visual               joint, and connective tissues. Deep somatic pain is usually
     disturbances. Migraines are more frequent in women than              described as dull or aching, and localized in one area.
     men. Stress can trigger a migraine headache, and migraines           Somatic pain from injury to the skin or the tissues just below
     can also put the sufferer at risk for stroke.                        it often is sharper and may have a burning or pricking
                                                                          quality.
  • Cluster headaches are characterized by excruciating,
                                                                       • Visceral Pain - originates from ongoing injury to the internal
     piercing pain on one side of the head; they occur more
     frequently in men than women.                                        organs or the tissues that support them. When the injured
                                                                          tissue is a hollow structure, like the intestine or the gall
  • Tension hr-vd-whes are often described as a tight band                bladder, the pain often is poorly localized and feels like
     around the head.                                                     cramping. When the injured structure is not a hollow organ,
                                                                          the pain may be pressure-like, deep, and stabbing.
Head and facial pain can be agonizing, whether it results from
dental problems or from disorders such as cranial neuralgia, in      Pain flares. Pain that suddenly erupts or emerges with or
which one of the nerves in the face, head, or neck is inflamed.      without an aggravating event or activity.
Another condition, trigeminal neuralgia (also called tic
douloureux), affects the largest of the cranial nerves and is        Peripheral Neuropathic Pain due to vascular disease or injury-
characterized by a stabbing, shooting pain.                          such as vasculitis or inflammation of blood vessels, coronary
                                                                     artery disease, and circulatory problems-all have the potential to
Muscle pain can range from an aching muscle, spasm, or strain,       cause pain. Vascular pain affects millions of Americans and occurs
to the severe spasticity that accompanies paralysis. Another         when communication between blood vessels and nerves is
disabling syndrome is fibrornyalgia, a disorder characterized by     interrupted. Ruptures, spasms, constriction, or obstruction of
fatigue, stiffness, joint tenderness, and widespread muscle pain.    blood vessels, as well as a condition called ischemia in which
Polymyositis, dermatomyositis, and inclusion body myositis           blood supply to organs, tissues, or limbs is cut off, can also result
are painful disorders characterized by muscle inflammation. They     in pain.
may be caused by infection or autoinunune dysfunction and are
sometimes associated with connective tissue disorders, such as       Reflex sympathetic dystrophy syndrome — see Complex
lupus and rheumatoid arthritis.                                      Regional Pain Syndrome.

Myofnscial pain syndromes affect sensitive areas known as            Repetitive stress injuries are muscular conditions that result
trigger points, located within the body's muscles. Myofascial pain   from repeated motions performed in the course of normal work
syndromes are sometimes misdiagnosed and can be debilitating.        or other daily activities. They include:

Neuropathic Pain - is a type of pain that results from damage to
                                                                       • writer's cramp, which affects musicians and writers and
or dysfunction of the nerves in either the peripheral or central         others,
nervous system, rather than stimulation of pain receptors (as is       • compression or entrapment neuropathies, including carpal
the case of somatic and visceral pain). Neuropathic pain can             tunnel syndrome, mused by chronic overextension of the
occur in any part of the body and is frequently described as a           wrist and
hot, burning sensation, which can be devastating to the affected
                                                                       • tenclonitis or tenosynovitis, affecting one or more tendons.



A Reporter's Guide: Covering Pain and Its Management                                                                                  41
Sciatica is a painful condition caused by pressure on the sciatic      Surgical pain may require regional or general anesthesia during
nerve, the main nerve that branches off the spinal cord and            the procedure and medications to control discomfort following
continues down into the thighs, legs, ankles, and feet. Sciatica is    the operation. Control of pain associated with surgery includes
characterized by pain in the buttocks and can be caused by a           presurgical preparation and careful monitoring of the patient
number of factors. Exertion, obesity, and poor posture can all anise   during and after the procedure.
pressure on the sciatic nerve. One common cause of sciatica is a
herniated disc.                                                        Temporomandibular disorders are conditions in which the
                                                                       temporomandibuLar joint (the jaw) is damaged and/or the muscles
Shingles and other painful disorders affect the skin. Pain is a        used for chewing and talking become stressed, causing pain. The
common symptom of many skin disorders, even the most                   condition may be the result of a number of factors, such as an
common rashes. One of the most vexing neurological disorders is        injury to the jaw or joint misalignment, and may give rise to a
shingles or herpes zoster, an infection that often causes agonizing    variety of symptoms, most commonly pain in the jaw, face,
pain resistant to treatment. Prompt treatment with antiviral agents    and/or neck muscles. Physicians reach a diagnosis by listening to
is important to arrest the infection, which if prolonged can result    the patient's description of the symptoms and by performing a
in an associated condition known as postherpetic neuralgia.            simple examination of the facial muscles and the
Other painful disorders affecting the skin include:                    ternporomandibular joint.
  • Vasculitis, or inflammation of blood vessels;                      Traumatic pain can occur after injuries in the home, at the
                                                                       workplace, during sports activities, or on the road. Any of these
  • Other infections, including herpes simplex;
                                                                       injuries can result in severe disability and pain. Some patients
  • Skin tumors and cysts, and                                         who have had an injury to the spinal cord experience intense
Tumors associated with neurolibromatosis, a neurogenetic               pain ranging from tingling to burning and, commonly, both. Such
disorder.                                                              patients are sensitive to hot and cold temperatures and touch. For
                                                                       these individuals, a touch can be perceived as intense burning,
Somatic pain—see Nociceptive Pain.                                     indicating abnormal signals relayed to and from the brain. This
                                                                       condition is called central pain syndrome or, if the damage is
Sports inhuies are common. Sprains, strains, bruises,                  in the thalamus (the brain's center for processing bodily
dislocations, and fractures are all well-known words in the            sensations), thalamic pain syndrome. It affects as many as
language of sports. Pain is another. In extreme Cases, sports          100,000 Americans with multiple sclerosis, Parkinson's disease,
injuries can take the form of costly and painful spinal cord and       amputated limbs, spinal cord injuries, and stroke. Their pain is
head injuries, which cause severe suffering and disability.            severe and is extremely difficult to treat effectively. A variety
Spinal stenosis refers to a narrowing of the canal surrounding         of medications, including analgesics, antidepressants,
the spinal cord. The condition occurs naturally with aging. Spinal     anticonvulsants, and electrical stimulation, are options available
stenosis causes weakness in the legs and leg pain usually left         to central pain patients.
while the person is standing up and often relieved by sifting          Visceral pain —see Nociceptive Pain.
down,




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                                                                       American Pain Foundation. 'freanneni Options- A Guide for People
                                                                       Living with Pain. Available al ww‘v.painfoundalion.org.

                                                                       "Pain: Dope Through Research," National Institutes of Neurological
                                                                       Disorders and Stroke. Publication date December 2001. NW
                                                                       Publication No. 01-2406 . Last updated July 31, 2008.




42                                                                                                                American Pain Foundation
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 i




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Key Publications                                                    Special Projects/Initiatives
• Pain Community News, APF's quarterly newsletter                   • APF's grassroots Power Over Pain Action Network
• Pain Monitor, APF's monthly e-news update                           (POPAN) has 72 POPAN leaders in 36 states tirelessly
• Treatment Options: A Guide for People Living with                   working to help improve pain me, legislation
  Pain                                                                related to pain care, healthcare access and medical
                                                                      practices.
• Pain Resource Guide: Getting the Help You Need
                                                                    • Military and Veterans Pain Initiative
• Targeting Chronic Pain Notebook and companion
  provider resources                                                • Spotlight Series on cancer pain, fibrornyalgia and
                                                                      shingles
• APF Report, Provider Prescribing Patterns and
  Perceptions: Identifying Solutions to Build Consensus             • Pain & Creativity
  on Opioid Use in Pain Management                                  • Yoga for Chronic Pain
• Fact sheets on cancer pain, shingles/PHN,                         • Let's Talk Pain Coalition, WWW. letstalkpain.org,

  fibromyalgia, military/veterans and pain, among                     launched in partnership with the American Academy
  others                                                              of Pain Management and the American Society for
                                                                      Pain Management Nursing
• Top 10 Tips Series, including:
      • Finding Quality Health Information Online
      • Exercising for Pain Relief
        *Making the Most of Your Medical Visits
                                                                      For more information about APF's programs and services,
        • Easing Pain Around the Holidays
                                                                                   see the 2007 Annual Report at
        • Pain-free Tips for Travelers                              http://www.painfoundation.org/About/2007AnnualReport.pdf
        • Helpful Hints on the Road to Pain Relief
• Pain Care Bill of Rights




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A Reporter's Guide: Covefing Pain and Its Management                                                                      43
Other Consumer Pain Associations                                 Other organizations
American Chronic Pain Association                                Pain Policy Studies
800-533-3231
wvAv.theacpa.org                                                     Pain and Policy Studies Group (PPSG)
                                                                     608-263-7662
National Pain Foundation .
                                                                     www.painpolicy.wisc.edu
303-783-8899
www.nationalpainfoundation.org
                                                                 Pain 12W Studies

                                                                     Pain and the Law
Condition-Specific Pain Organizations                                617-262-4990
The American Pain Foundation keeps an updated and                    w‘vw.painandthelaw.org
searchable listing of conclition-specific patient advocacy and
professional organizations at www.painfoundation.org. These          The Legal Side of Pain
include such groups as the Amputee Coalition of America,             865-560-1945
Arthritis Foundation, the National Volvoctynia Association,          wwwlegalsideofpain.com
National Fibromyalgia Association and the American Diabetes
Association, among others.                                           National Association of Attorneys General
                                                                     www.naag.org

Professional Pain Associations                                   Drug Abuse/Addiction Groups

Alliance of State Pain Initiatives                                   National Institute on Drug Abuse
608-262-0978                                                         301-443-1124
E-mail: aspiemailplus.wisc.eclu

American Academy Hospice and Palliative Medicine                     Drug Enforcement Administration
847-375-4712                                                         Office of Diversion Control
wvnv.aahpin.org                                                      800-882-9539
                                                                     www.cleacliversion.usdoj.gov
American Academy of Pain Management
209-533-9744                                                         Partnership for a Drug-Free America
www.aapainmanage.org                                                 212-922-1560
                                                                     http://clrugfreeamerica.com
American Academy of Pain Medicine
847-375-4731                                                         Substance Abuse and Mental Health Services
www.paininecl.org                                                    Administration (SAMHSA)
                                                                     877-726-4727
American Pain Society                                                www.samhsa.gov
847-375-4715
www.ampainsoc.org                                                    White Houce Office of National
                                                                     Drug Control Policy
American Society of Addiction Medicine                               800-666-3332
301-656-3920                                                         www.whitehouseclrugpolicy.gov
www.asantorg
                                                                 Others
American Society for Pain Management Nursing
913-895-4606                                                         Center for Practical Bioethics
www.aspmn.org                                                        800-344-3829
                                                                     www.practicalbicethics.org
National Hospice & Palliative Care Organization
703-837-1500                                                         Federation of State Medical Boards (FSMB)
www.nhpco.org                                                        817-868-4000
                                                                     www.fsmKorg

                                                                     National Family Caregivers Association
                                                                     301-942-6430
                                                                     m.,ww.nfcacares.org




44                                                                                                      American Pain Foundation
"Pain is inevitable. Suffering is optional"
                                   —Anonymous
                                                    American Pain Foundation
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                                       i




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                                 info@painfoundation.org • www.painfoundation.org




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                                                                                                                           Publication date: October 2008
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                  Pain Medicine 2014; 15: 1911-1929
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                  Risk Factors for Serious Prescription
                  Opioid-Related Toxicity or Overdose among
                  Veterans Health Administration Patients




                  Barbara Zedler, MD,* Lin Xie, MS,/ Li Wang, PhD,/                Design. Retrospective, nested, case-control ana-
                  Andrew Joyce, PhD,* Catherine Vick, MS,*                         lysis of Veterans Health Administration (VHA)
                  Furaha Kariburyo, MPH,/ Pradeep Rajan, ScD,*                     medical, pharmacy, and health care resource utiliza-
                  Onur Baser, PhD,/ and Lenn Murree, PhD, MSPH*                    tion administrative data.

                  'Venebio Group, Richmond, Virginia; tSTATinMED                   Subjects. Patients dispensed an opioid by VHA
                  Research, Dallas, Texas, USA                                     between October 1, 2010 and September 30, 2012
                                                                                   (N = 8,987).
                  Reprint requests to: Barbara K. Zedler, MD, Venebio
                  Group, LLC, 7400 Beaufont Springs Drive,                         Methods. Cases      (N = 817) experienced      life-
                  Suite 300, Richmond, VA 23225, USA.                              threatening opioid-related respiratory/CNS depres-
                  Tel: 877-344-4347, ext. 507; Fax: 804-272-3497;                  sion or overdose. Ten controls were randomly
                  E-mail: barb.zedlerOvenebio.com.                                 assigned to each case (N = 8,170). Logistic regres-
                                                                                   sion was used to examine associations with the
                  Disclosure: This research was funded by kalao, Inc.              outcome.
                  The study was conceived, designed, executed, and
                  reported by the authors who had sole control over the            Results. The strongest associations were maxi-
                  data and the decision to publish. Kal6o, Inc. reviewed           mum prescribed daily morphine equivalent dose
                  and commented on the methods developed by the                    (MED) 100 mg (odds ratio [OR] = 4.1, 95% con-
                  authors and reviewed the final manuscript for                    fidence interval [CI], 2.6-6.5), history of opioid
                  proprietary information. Drs. Murrelle, Zedler, Joyce,           dependence (OR = 3.9, 95% CI, 2.6-5.8), and hospi-
                  and Rajan are Principals of Venebio Group, LLC,                  talization during the 6 months before the serious
                  which has research and consulting agreements with                toxicity or overdose event (OR = 2.9, 95% Cl,
                  kal6o, Inc. and Reckitt-Benckiser Pharmaceuticals,               2.3-3.6). Liver disease, extended-release or long-
                  Inc. and reports no additional conflicts of interest.            acting opioids, and daily MED of 20 mg or more were
                  The other coauthors report no conflicts of                       also significantly associated.
                  interest.
                                                                                   Conclusions. Substantial risk for serious opioid-
                                                                                   related toxicity and overdose exists at even relatively
                                                                                   low maximum prescribed daily MED, especially in
                  Abstract                                                         patients already vulnerable due to underlying demo-
                                                                                   graphic factors, comorbid conditions, and concomi-
                  Objective. Prescription opioid use and deaths                    tant use of CNS depressant medications or
                  related to serious toxicity, including overdose, have            substances. Screening patients for risk, providing
                  increased dramatically in the United States since                education, and coprescribing naloxone for those at
                  1999. However, factors associated with serious                   elevated risk may be effective at reducing serious
                  opioid-related respiratory or central nervous system             opioid-related respiratory/CNS depression and over-
                  (CNS) depression or overdose in medical users are                dose in medical users of prescription °plaids.
                  not well characterized. The objective of this study
                  was to examine the factors associated with serious               Key   Words. Prescription;              Opioid;                 Toxicity;
                  toxicity in medical users of prescription opioids.               Overdose; Risk; Predictors


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                Introduction                                                        of substance abuse, previous overdose, mental illness,
                                                                                    and respiratory disease are significantly more likely to die
                Serious toxicity, including overdose, related to prescription       of an opioid-related overdose [7,16,20,21,25,261. Pre-
                opioid analgesics has increased dramatically in the United          scription drug-related factors significantly associated with
                States since 1999 (1,2). Opioids are central nervous                fatal opioid-related overdose or serious toxicity include
                system (CNS) depressants. Life-threatening opioid toxicity          use of oxycodone, methadone, and extended-release for-
                includes profound sedation/coma and severe respiratory              mulations [7,12,16,18,27-29); maximum prescribed daily
                depression that can result in death from respiratory arrest         MED exceeding 50 mg [21,25]; and concurrent use of
                [3-51. Prescription drug 'overdose" is a type of serious            other psychoactive CNS depressants (e.g., sedative-
                toxicity in which the drug is used in amounts that exceed           hypnotic,s, anxiolytic,s, alcohol) [4,20,26,30].
                the individual's ability to tolerate the exposure, result-
                ing in serious adverse effects. Serious opioid-related             To date, most research on predictors of serious opioid-
                respiratory/CNS depression can occur unintentionally in            related toxicity or overdose has focused on fatal events.
                patients using them for approved therapeutic indications           illicit opioids, nonmedical users of prescription opioids, or
                ("medical users") and even at dosages in the recom-                limited samples of medical users and used relatively small,
                mended prescribing range. Medical users taking opioids             geographically limited convenience samples. The objec-
                as prescribed may experience circumstances that predis-            tive of this study was to identify the factors independently
                pose them to opioid accumulation, prolonged duration of            most associated with overdose or life-threatening
                action or enhanced CNS, and consequent respiratory                 respiratory/CNS depression, including nonfatal events,
                depression. Examples include certain comorbid condi-               among medical users of prescription opioids in a large,
                tions (e.g., impaired renai, hepatic, or respiratory function)     national, administrative health care database.
                and concomitant medications or substances (e.g., seda-
                tives, alcohol). Opioid pain relievers were involved in nearly      Methods
                17,000 deaths in 2010, representing a threefold increase
                since 1999 and three-fourths of all prescription drug              Study Design
                poisoning deaths [1,21 The alarming upward trajectory of
                fatal unintentional overdoses parallels increases of               A nested case-control design was used to examine
                29-80% in the use of prescription opioids for long-term            factors associated with a diagnosis of serious opioid-
                management of chronic noncancer pain (2000-2005) in                related respiratory/CNS depression or overdose among
                an estimated 9 million US adults per year currently (6-11).        Veterans Health Administration (VHA) patients who were
                Approximately 60% of overdoses occur in medical users              dispensed an opioid by VHA. The study was exempt from
                of maximum prescribed daily morphine equivalent doses              Institutional Review Board review.
                (MED) of 100 mg or more' or those who misuse opioid
                analgesics, typically prescribed by a single physician, to
                manage chronic pain [71. The remaining 40% of overdoses            Study Setting and Data Source
                occur in nonmedical users who abuse prescription opioids
                for recreational purposes, tend to receive prescriptions           A retrospective analysis of deidentified national adminis-
                from multiple prescribers, and engage in diversion of pre-         trative health care data was conducted using VHA Medical
                scription opioids to and from others [7,12,13].                    SAS datasets from October 1, 2010 through September
                                                                                   30, 2012. These datasets contain data for VHA-provided
                The factors associated with fatal opioid-related overdose          health care that is utilized primarily by US military veterans
                have been well characterized [2,7,12,14-21). Patient-              and a small number of nonveterans (e.g., employees,
                related factors include certain demographic charac-                eligible family members, research participants) and include
                teristics and clinical comorbidities. Men have a higher            inpatient, outpatient, laboratory, radiology, pharmacy, vital
                opioid-related overdose death rate [12], but the percent-          signs, vital status, and enrollment information.
                age rise in deaths since 1999 is greater in women (15]. For
                prescription opioids, overdose death rates are highest in          Study Sample
                persons aged 45-54 years; non-Hispanic whites, Ameri-
                can Indians and Alaskan Natives; rural and impoverished            Study 'cases" were defined as patients who satisfied the
                areas; and in the West and Southwest United States and             following criteria at any time between October 1, 2010
                the Appalachian states of Kentucky and West Virginia               and September 30, 2012 (the "study period"): 1) were
                where the opioid analgesic prescribing rates are highest           dispensed at least one opioid prescription by VHA (see
                [2,8,12,18,19,22,23). Geographic variations in overdose            Appendix l), identified by national drug code; and 2) had a
                deaths reflect, in part, variations in opioid analgesic pre-       claim for a serious opioid-related toxicity or overdose
                scribing patterns, the number of physicians available, and         event based on International Classification of Disease, 9th
                state-regulated pain management policies rather than               Revision, Clinical Modification (ICD-9-CM) codes and
                inherent patient differences [2,24]. Persons with a history        Current Procedure Terminology (CPT) codes (Table 1)
                                                                                   17,21,31). A serious opioid-related toxicity or overdose
                                                                                   event was defined as follows: 1) a listed CNS or respira-
                 Maximum prescribed daily morphine equivalent doses                tory adverse effect code in addition to a listed poisoning
                exceeding 200 mg are considered 'high-dose.' 1551                  event or external cause code occurring within ±1 day of


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                                                                                      Risk Factors Prescription Opioid Toxicity Overdose

                   Table 1     Diagnostic codes for serious opioid-related toxicity including overdose

                   ICD-9-CM Diagnosis
                   Codes                   Description

                   Poisoning codes
                     965.00             Poisoning by opium (alkaloids), unspecified
                     965.01             Poisoning by heroin
                     965.02             Poisoning by methadone
                     965.09             Poisoning by other opiates and related narcotic
                   Adverse effect codes
                     518.81             Acute respiratory failure
                     518.82             Other pulmonary insufficiency, not elsewhere classified
                     780.0              Alteration of consciousness
                     786.03             Apnea
                     799.0              Asphyxia and hypoxemia
                   CPT codes for mechanical ventilation or critical care
                     31500              Intobation, endotracheal, emergency procedure
                     94002              Ventilation assist and management, initiation of pressure, or volume preset ventilators for assisted
                                           or controlled breathing; hospital inpatient/observation, each subsequent day
                     94660              CPAP ventilation; initiation and management
                     94662              CNAP ventilation; initiation and management
                     99291              Critical care, evaluation, and management of the critically ill or critically injured patient, first 30-74
                                           minutes
                   External cause codes
                     E850.0             Accidental poisoning by heroin
                     E850.1             Accidental poisoning by methadone
                     E850.2             Accidental poisoning by other opiates and related narcotics
                     E935.0             Adverse effects of heroin
                     E935.1             Adverse effects of methadone
                     E935.2             Adverse effects of other opioids and related narcotics

                   CNAP = continuous negative airway pressure: CPAP = continuous positive airway pressure; ICD-9-CM, International Classification
                   of Disease, 9th Revision, Clinical Modification.


                   the adverse effect; or 2) use of mechanical ventilation or        Baseline Variables
                   critical care in addition to a listed poisoning event or
                   external cause code occurring within +1 day of the critical       Baseline demographic variables included age group (18-
                   respiratory support. The first identified occurrence              34, 35-44, 45-54, 55-64, 65+ years), sex, race, marital
                   of opioid-related overdose or life-threatening respiratory/       status, body mass index, and the US Census region of the
                   CNS depression (Index event") during the study period             patient's VHA treatment center (Northeast, North Central,
                   served as the Index date" for cases. All patients were            South, West, other). Baseline comorbidity measures
                   required to have nonmissing age, sex, and race values in          included the Char!son Comorbidity Index score, calcu-
                   addition to continuous medical and pharmacy benefits in           lated as the sum of assigned comorbidity category
                   the 6 months before the index date (the "baseline period").       weights 132).
                   For cases, the follow-up period was calculated as the
                   number of days after the end of the event until death,            Other selected baseline comorbidities were stratified as
                   disenrollment, or the end of the study period.                    pain-related and nonpain-related (33-36]. Pain-related
                                                                                     comorbid conditions included low back disorders, other
                   For each case, 10 control patients were randomly                  back/neck disorders, neuropathic disorders, fibromyalgia,
                   selected and assigned from those who 1) were dis-                 headache/migraine, burns, traumatic injury, and motor
                   pensed an opioid by VHA during the study period; 2) did           vehicle accidents. Nonpain-related comorbidities included
                   not experience serious opioid-related toxicity or over-           psychoactive substance use disorders including sub-
                   dose as defined in the study; and 3) had complete data            stance abuse and nonopioid substance dependence,
                   for age, sex, and race. The case index date was                   tobacco use disorder, post-traumatic stress disorder,
                   assigned to each of the 10 control patients, and the              bipolar disorder, attention deficit hyperactivity disorder,
                   follow-up period for these controls was the number of             schizophrenia, anxiety disorder, obsessive-compulsive—
                   days thereafter until death, disenrollment, or the end of         disorder, cardiovascular disease, endocarditis, viral and
                   the study period.                                                 alcoholic hepatitis), pancreatitis, sexually transmitted


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               disease, herpes simplex infection, skin infections/                Table 2    Prescription opioids and morphine
               abscesses, sleep apnea, and obesity.                               equivalent conversion factors
               Additional baseline variables included the number of
                                                                                                                                Morphine
               opioid prescriptions dispensed by VHA, opioid used
                                                                                                                                Equivalent
               (categorized by active ingredient, formulation [extended-
                                                                                                                                Conversion
               release/long-acting vs short-acting], and route [oral, par-
                                                                                                                                Factort,(per
               enteral, transdermal, other]), and the maximum prescribed
                                                                                  Opioid*                                       mg of Opioid)
               daily MED. For each opioid prescription dispensed during
               the baseline period, the product of the number of units            Short acting
               dispensed and the opioid strength per unit (milligrams)              Meperidine hydrochloride                    0.1
               was divided by the number of days supplied. The resulting            Codeine                                     0.15
               opioid daily dose dispensed (milligrams per day) was then            Tramadoi                                    0.2
               multiplied by a conversion factor derived from published             Hydrocodone                                 1.0
               sources to estimate the daily dose in morphine equivalents           Morphine sulfate                            1.0
               (MED) (see Table 2) [37-42]. The maximum prescribed                  Oxycodone                                   1.5
               daily MED during the baseline period was calculated for              Oxymorphone                                 3.0
               each patient by summing the daily MED for all opioid                 Hydromorphone                               4.0
               prescriptions dispensed to the patient during those 6                Fentanyl citrate (transmucosal)             0.13§
               months. It reflects the maximum prescribed daily dose              Extended release/long-acting
               and not necessarily the actual amount consumed.                      Morphine sulfate extended-release           1.0
               Nonopioid medications also dispensed by VHA which can                Oxycodone hydrochloride                     1.5
               potentiate opioid-associated serious adverse effects,                  controlled-release
               such as psychoactive drugs and nonopioid analgesics,                 Methadone                                   3.0
               were included as baseline variables [1,28]. Baseline health          Fentanyl (transdermal)                      2.411 **
               care utilization measures included the number of inpatient
               admissions and outpatient emergency department (ED),              • Some drug products contained an opioid in combination with
               office, and pharmacy visits (Table 6).                            a nonopioid (e.g., acetaminophen, aspirin) (Appendix II). No
                                                                                 MED was calculated for the two controls who used sublingual
               Outcome Variable                                                  buprenorphine.
                                                                                   Sources of morphine equivalent conversion factors: Von Korff
               The occurrence of serious opioid-related toxicity or over-        [37] and Leppert and Luczak [69].
               dose as defined by listed ICD-9-CM and CPT codes was                For each opioid dispensed, the daily MED (mg per day) was
               the primary outcome variable (Table 1). All analyses were         calculated as follows (see text): (number of units dis-
               conducted at the patient level. For patients who experi-          pensed x strength of unit [mg] x MED conversion factory
               enced more than one episode of serious opioid-related             number of days supply.
               respiratory/CNS depression or overdose during the study           5 Converting transmucosal fentanyl to morphine equivalents
                                                                                 assumes 50% bioavallability of transmucosal fentanyl and that
               period, only the index event was evaluated.                       100 pg of transmucosal fentanyl is equivalent to 12.5-15 mg of
                                                                                 morphine.
               Statistical Analysis                                              g Converting transdermal fentanyl to morphine equivalents
                                                                                 assumes that each patch has a conversion factor of 2.4 and
               Baseline covariates and the outcome measure were sum-             remains in place for 3 days. The daily MED (mg per day) was
               marized descriptively. Tests for normality were conducted,        calculated as follows:
               and medians and interquartile ranges (IQRs) were calcu-           (number of patches dispensed x 3 days per patch x strength of
               lated for continuous variables that were not normally dis-        patch [jiei] x MED conversion factor)inumber of days supply.
               tributed. Frequencies and percentages were calculated              — Prescription Drug Monitoring Program Training and Techni-
               for categorical variables. Student's (-tests or Wilcoxon          cal Assistance Center (no specific author) [411.
               Rank Sum tests were used, as appropriate, to examine              MED = morphine equivalent dose.
               differences in continuous variables of interest between
               cases and controls. Chi-squared tests of proportion were           care resource utilization. Odds ratios (ORs) and corre-
               used to examine bivariate associations for categorical             sponding 95% confidence intervals (Cis) and P values
               variables.                                                         were calculated. P values less than 0.05 were considered
                                                                                  statistically significant. One full, main effects, logistic
               Multivariable analysis was performed using conditional             regression model was run. Model discrimination was
               logistic regression to examine factors potentially associ-         evaluated by the c-statistic which reflects the area under
               ated with the index event of serious opioid-related toxicity       the receiver operating characteristic curve and ranges
               or overdose. The covariates included in the regression             from 0.5 (no discrimination between cases and controls)
               model were age, sex, race/ethnicity, marital status, US            to 1.0 (perfect discrimination) [41]. [43] Only the first
               Census region, comorbidities, prescription opioid charac-          (index) event of serious opioid-related toxicity or overdose
               teristics, the maximum prescribed daily MED, selected              was modeled for case patients who experienced more
               nonopioid prescription medications, and baseline health            than one episode during the study period.


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                   All analyses were conducted using SAS version 9.3                     asthma, pneumoconiosis, asbestosis); depression; skin
                   [44].                                                                 ulcers; hypertension; malignancy; opioid dependence,
                                                                                         substance abuse, nonopioid substance dependence, and
                                                                                         tobacco use disorder; viral hepatitis; mental health disor-
                   Results
                                                                                         ders including anxiety, post traumatic stress, and bipolar
                                                                                         disorders; cardiovascular disease; sleep apnea; back and
                   Sixteen patients were excluded from the analysis due to
                                                                                         neck disorders; neuropathic disorders; and traumatic injury
                   missing age, sex, or race data. We identified 921 patients
                                                                                         (e.g., fracture, dislocation, contusion, laceration, wound).
                   with a claim of life-threatening opioid-related respiratory/
                   CNS depression or overdose and at least 6 months of
                                                                                         VHA prescription drug dispensing data during the
                   continuous medical and pharmacy benefits before the
                                                                                         6-month baseline period indicated that, overall, cases
                   event, 817 of whom were also dispensed an opioid by
                                                                                         were prescribed opioids significantly more often than
                   VHA. Among these 817 cases, 16 experienced more than
                                                                                         controls, in larger variety, with a higher proportion of
                   one episode during the study period. Among those who
                                                                                         extended-release or long-acting (ER/LA) formulations
                   received an opioid prescription from VHA during the study
                                                                                         arid with a higher mean maximum prescribed daily MED
                   period, 8.170 control patients without overdose were
                                                                                         (Table 5). The mean number of opioid prescriptions dis-
                   identified who met selection criteria (Figure 1).
                                                                                         pensed in the baseline period was 6.8 among cases,
                                                                                         compared with 2.5 among controls (P < 0.0001). Pre-
                  Descriptive Analysis
                                                                                         scription opioid active ingredients varied significantly
                                                                                         between cases and controls, with more hydroco-
                   The median age was 62 years for both cases and controls
                   (10R, 10 and 16. respectively). As shown in Table 3, cases            done, methadone, oxycodone, and morphine, but less
                                                                                         tramadol, dispensed to cases than controls. Both ER/LA
                   were more likely than controls to be non-Hispanic white,
                                                                                         and short-acting formulations as well as oral opioids
                   divorced. separated or widowed, and to reside in the
                                                                                         were prescribed to cases more often than to controls.
                   western US Census region.
                                                                                         The mean maximum prescribed MED was 122 mg per
                                                                                         day in cases and 48 mg per day in controls, with sig-
                   Compared with controls, patients with serious opioid-
                                                                                         nificantly more cases receiving prescriptions for MED
                   related toxicity or overdose were more likely to be diag-
                                                                                              mg per day and 100 mg per day. All selected
                   nosed with other diseases and health conditions. The
                                                                                         nonopioid drugs were also prescribed to cases signifi-
                   mean CCI score, which reflects general health status, was
                                                                                         cantly more often than to controls (Table 5).
                   higher for cases than for controls (3.9 vs 1.7, P < 0.0001),
                   indicating poorer overall health in the cases. As shown in
                                                                                         As shown in Table 6, cases had significantly greater health
                   Table 4, cases reported particularly significantly higher fre-
                                                                                         care resource utilization than controls during the baseline
                   quency during the 6-month baseline period of chronic
                                                                                         period, including outpatient office and ED visits, hospital-
                   pulmonary disease (e.g., emphysema, chronic bronchitis,



                                                             Total patients, October 1, 2010 to September 30, 2012
                                                                                (N=10,131,467)




                                                             Patients with at least one opioid VHA Pharmacy claim
                                                             October 1,2010 to September 30, 2012 01.1,877,841)


                             No Opiold-Related Serious Toxicity or Overdose (Controls)         Opioid-Related Serious Toxicity or Overdose (Cases)


                                                       Jr

                               Patients not diagnosed with opioid-related serious               Patients diagnosed with oploid-reiated serious
                                               toxicity or overdose                                          toxicity or overdose
                                    October 1, 2010 to September 30, 2012                           October 1, 2010 to September 30, 2012
                                                  (N=1,876,765)                                                   (N=1,076)




                              1} Patients with continuous medical and pharmacy                 Patients with continuous medical and pharmacy
                              benefits for at least 6 months before the index date            benefits for at least 6 months before the index date
                                 (N=16,062} from whom 2) 10 were randomly                                             (N =817)
                                        assigned to each case (N=8170)


                                                                Figure 1 Sample selection flowchart.


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                Table 3     Baseline demographic characteristics

                                                       Cases (N = 817)                        Controls (N = 8,170)

               Characteristics                         N                  SD, %                                      SD, %

               Age (years), median (IQR)                62.0              10.0                   62.0                16.0                <0.001
               Age group (years)
                 18-34                                  27                 3.3                  565                   6.9                <0.001
                 35-44                                  31                 3.8                  619                   7.6                <0.001
                 45-54                                 115                14.1                 ,240                  15.2                 0.402
                 55-64                                 377                46.1                2,672                  32.7                <0.001
                 65+                                   267                32.7                3,074                  37.6                 0.005
               Male                                    753                92.2                7,528                  92.1                 0.980
               Race/ethnicity
                Non-Hispanic white                     555                67.9                4,546                  55.6                <0.001
                Non-Hispanic black                      83                10.2                1,300                  15.9                <0.001
                Hispanic                                32                 3.9                  431                   5.3                 0.094
                 Other                                 147                18.0                1,893                  23.2                 0.001
               Marital status
                Never married                          102                12.5                1,227                  15.0                 0.052
                Married                                351                43.0                4,246                  52.0                <0.001
                 Separated                              20                 2.5                   41                   0.5                <0.001
                Divorced                               285                34.9                2,268                  27.8                <0.001
                 Widowed                                59                 7.2                  388                   4.8                 0.002
               BM! (kg/m2)
                Underweight (<18.5)                     29                 3.6                   72.0                 0.9                <0.001
                Normal (18.5-24.9)                     193                23.6                1,197                  14.7                <0.001
                Overweight (25.0-29.9)                 224                27.4                2,070                  25.3                 0.193
                Obese (30.0)                           306                37.5                2,667                  32.6                 0.005
                Missing                                 65                 8.0                2,164                  26.5                <0.001
               US Census region
                Northeast                               75                 9.2                  824                  10.1                 0.411
                North Central                          190                23.3                1,745                  21.4                 0.208
                South                                  270                33.1                3,258                  39.9                <0.001
                West                                   257                31.5                1,842                  22.6                <0.001
                Other                                   25                 3.1                  501                   6.1                <0.001

               BMI = body mass index; IQR = interouartile range; SD = standard deviation.


               izations, and pharmacy visits. An ED visit occurred during         were combined into one category. Endocarditis was not
               the baseline period in 65% of cases compared with 21%              included in the final logistic regression as it was reported in
               of controls. Nearly half of the cases were hospitalized            only one case patient. The final model yielded a c-statistic
               during the baseline period at least once compared with             of 0.89. As displayed in Figure 2, significant independent
               9% of controls.                                                    demographic predictors of serious °plaid toxicity included
                                                                                  ages 55-64 years and 65 and above, non-Hispanic white
               During the 2-year study period, 159/817 case patients              race, never married, widowed, and those receiving care in
               died (19.5%) compared with 282/8,170 controls (3.5%).              the western region of the United States.
               Twenty of the deaths in the case patients occurred during
               a VHA-treated episode of serious toxicity or overdose for          Concomitant health conditions that were most strongly
               an index event fatality rate of 2.4% (20/817).                     associated with the occurrence of serious opioid-related
                                                                                  toxicity or overdose were opioid dependence, moderate
               Multivanable Analysis                                              or severe liver disease, skin ulcers, metastatic solid tumor,
                                                                                  and pancreatitis. Other comorbidities significantly associ-
               The logistic regression model for the dichotomous                  ated with the outcome included renal disease, bipolar
               outcome of serious opioid-related respiratory/CNS                  disorder, traumatic injury chronic pulmonary disease, war-
               depression or overdose resulted in multiple, independent,          farin use, substance abuse, and sleep apnea (Figure 3).
               statistically significant associations. To improve the esti-
               mate stability, the marital status categories "separated"          Prescription opioids containing hydromorphone or
               (N = 20/817 cases) and "divorced' (N = 285/817 cases)              oxycodone and those with ER/LA formulations were


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                   Table 4     Baseline clinical characteristics

                                                                                   Cases (N = 817)            Controls (N = 8,170)

                   Comorbidities                                                                SD, %         N               SD,%

                   CO score. mean (SD)                                                3.9         3.3             1.7          2.0           <0.001
                   Individual CCI comorbidities
                     Myocardial infarction                                          28           3.4            105            1.3           <0.001
                     Congestive heart failure                                       93          11.4            308            3.8           <0.001
                     Peripheral vascular disease                                    71           8.7            353            4.3           <0.001
                     Cerebrovascular disease                                        57           7.0            343            4.2           <0.001
                     Dementia                                                        5           0.6             32            0.4            0.348
                     Chronic pulmonary disease                                     291          35.6          1,047           12.8           <0.001
                     Rheumatologic disease                                           6           0.7             96            1.2            0.257
                     Peptic ulcer disease                                            9           1.1             63            0.8            0.312
                     Mild liver disease                                             43           5.3             64            0.8           <0.001
                     Diabetes                                                      263          32.2          1,850           22.6           <0.001
                     Hypertension                                                  495          60.6          3,670           44.9           <0.001
                     Depression                                                    357          43.7          1,562           19.1           <0.001
                     Use of warfarin                                                78           9.6            387            4.7           <0.001
                     Hemiplegia or paraplegia                                       13           1.6             34            0.4           <0.001
                     Renal disease                                                 112          13.7            428            5.2           <0.001
                     Any malignancy, including leukemia and lymphoma               147          18.0            646            8.0           <0.001
                     Diabetes with chronic complications                            92          11.3            432            5.3           <0.001
                     Skin ulcers                                                   122          14.9            302            3.7           <0.001
                     Moderate or severe liver disease                               28           3.4             19            0.2           <0.001
                     Metastatic solid tumor                                         46           5.6             59            0.7           <0.001
                     HIV/AIDS                                                       11           1.4             42            0.5            0.003
                   Other selected comorbidities
                   Nonpain related
                     Substance abuse and nonopioid substance dependence            215          26.3            764            9.4           <0.001
                     Opioid dependence                                             105          12.9             97            1.2           <0.001
                     Endocarditis                                                    1           0.1              9            0.1            0.920
                     Viral hepatitis                                               106          13.0            249            3.0           <0.001
                     Alcoholic hepatitis                                             3           0.4              5            0.1            0.005
                     Pancreatitis                                                   24           2.9             49            0.6           <0.001
                     Sexually transmitted disease                                   12           1.5             69            0.8            0.072
                     Herpes simplex infection                                        7           0.9             45            0.6            0.272
                     Skin infections/abscesses                                      85          10.4            286            3.5           <0.001
                     Sleep apnea                                                   147          18.0            652            8.0           <0.001
                     Tobacco use disorder                                          301          36.8          1,266           15.5           <0.001
                     PTSD                                                          221          27.1          1,119           13.7           <0.001
                     Bipolar disorder                                               86          10.5            239            2.9           <0.001
                     ADHD                                                            7           0.9             58            0.7            0.637
                     Schizophrenia                                                  36           4.4            114            1.4           <0.001
                     Anxiety disorder                                              180          22.0            681            8.3           <0.001
                     OCD                                                             5           0.6             19            0.2            0.045
                     Cardiovascular disease                                        172          21.1            764            9.4           <0.001
                     Obesity                                                       150          18.4          1,072           13.1           <0.001
                   Pain related
                     Low back disorders                                            380          46.5          2,099           25.7           <0.001
                     Other back/neck disorders                                     214          26.2          1,048           12.8           <0.001
                     Neuropathic disorders                                         170          20.8            717            8.8           <0.001
                     Fibromyalgia                                                   34           4.2            157            1.9           <0.001
                     Headache/migraine                                              88          10.8            427            5.2           <0.001
                     Bums                                                            4           0.5             16            0.2            0.089
                     Traumatic injury                                              212          26.0            869           10.6           <0.001
                     Motor vehicle accidents                                         7           0.9             14            0.2           <0.001

                   ADHD = attention deficit hyperactivity disorder, AIDS = acquired immunodeficiency syndrome; CCI = Chanson Comorbidity Index, 2008
                   updated (score); CCI) = obsessive-compulsive disorder; PTSD = post-traumatic stress disorder; SD = standard deviation.




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               Table 5 Baseline prescription drugs dispensed by VHA

                                                                              Cases (N = 817)           Controls (N = 8,170)

               Prescription Drug Use                                                        SD, %       N               SD, %

               Opioid use                                                     693            84.8       4,936           60.4          <0.001
               By active ingredient
                 Hydrocodone                                                  314            38.4       2,633           32.2          <0.001
                 Oxycodone                                                    305            37.3         876           10.7          <0.001
                 Buprenorphine                                                  0             0.0           2            0.0           0.655
                 Tramadol                                                     114            14         1,428           17.5           0.011
                 Codeine                                                       63             7.7         561            6.9           0.365
                 Fentanyl                                                      49             6.0          44            0.5          <0.001
                 Morphine                                                     251            30.7         334            4.1          <0.001
                 Hydromorphone                                                 38             4.7          28            0.3          <0.001
                 Methadone                                                    107            13.1         139            1.7          <0.001
                 Oxymorphone                                                                  0.1           1            0.0           0.044
                 Other*                                                          2            0.2           4            0.1           0.039
               By formulation
                 ER/LAI                                                       369           45.2          499            6.1          <0.001
                 Short acting,                                                633           77.5        4,807           58.9          <0.001
                 Proportion of opioids = ER/LAt                                 0.25         0.3           <0.1          0.2          <0.001
               By route
                 Oral                                                         692            84.7       4,923           60.3          <0.001
                 Parenteral                                                     6             0.7           6            0.1          <0.001
                 Transdermal                                                   48             5.9          44            0.5          <0.001
               Number of opioid prescriptions dispensed, mean (SD)              6.8           5.9           2.5          3.4          <0.001
               Number of unique opioid NDCs, mean (SD)                          2.4           1.9           0.9          1.1          <0.001
               Maximum prescribed daily MED (mg), mean (SD)                    98.7         122.1          24.2         48.4          <0.001
                 1-<20                                                         35             4.3       1,331           16.3          <0.001
                 20-<50                                                       227            27.8       2,614           32.0           0.014
                 50-<100                                                      163            20.0         718            8.8          <0.001
                  100                                                         268            32.8         273            3.3          <0.001
               Selected nonopioid drugs                                       747           91.4        5,905           72.3          <0.001
                 Benzodiazepines                                              336           41.1        1,242           15.2          <0.001
                 Antidepressants                                              565           69.2        2,886           35.3          <0.001
                 Nonopioid analgesics                                         556           68.1        4,598           56.3          <0.001
                 Muscle relaxants                                             226           27.7        1,288           15.8          <0.001
                 Other sedatives                                              125           15.3          609            7.5          <0.001
                 Antipsychotics                                               239           29.3          772            9.5          <0.001
                 Stimulants                                                    14            1.7           51            0.6          <0.001

               • Other opioids include meperidine and pentazocineinaloxone.
               t Proportion of opioid prescriptions dispensed to a patient during baseline that contained an ER/LA formulation. Methadone is a
               long-acting opioid.
                 Percentages exceed 100% due to prescription of both ER/LA and short-acting formulations in some patients.
               ER/LA = extended release/long acting; MED = morphine equivalent dose; NDC = National drug code; SD = standard deviation;
               VFIA = Veterans Health Administration.

               significantly associated with increased risk of serious            MED were 1.5 times as likely to experience life-threatening
               opioid-related toxicity or overdose. The likelihood of expe-       opioid-related respiratory/CNS depression or overdose
               riencing the outcome was related monotonically to increas-         (Figure 4). Coprescription of benzodiazepines, antidepres-
               ing maximum prescribed daily MED of 20 mg or higher.               sants, and antipsychotics in opioid users was significantly
               Patients prescribed a maximum daily MED GO mg during               associated with experiencing serious toxicity or overdose.
               the baseline period were more than four times as likely to
               experience serious opioid-related toxicity or overdose             Patients hospitalized for one or more days for any reason
               compared with those prescribed MED of 1-<20 mg/day,                during the baseline period were nearly three times as likely
               whereas patients prescribed 50-000 mg/day MED were                 to experience serious opioid-related toxicity compared
               2.2 times as likely, and those prescribed 20-49 mg/day             with those who were not hospitalized.


               1918

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                   Table 6 Baseline health care utilization

                                                                               Cases (N     817)           Controls (N = 8,170)
                   All-Cause Health Care
                   Utilization                                                               SD, %                             SD, %

                   Days of hospitalization, mean (SD)                            9.6         22.9              1.1          8.0            <0.001
                   Patients with     outpatient ED visit                       534           65.4          1,740           21.3            <0.001
                   Patients with     outpatient office visit                   792           96.9          7,333           89.8            <0.001
                   Patients with     inpatient hospitalization                 396           48.5            739            9.1            <0.001
                   Patients with     prescription fill                         800           97.9          7,561           92.6            <0.001
                   Outpatient ED visits per patient, mean (SD)                   2            2.6              0.4          1              <0.001
                   Outpatient office visits per patient, mean (SD)              23           18.6              9.8         11.3            <0.001
                   Inpatient hospitalizations per patient, mean (SO)             1            1.5              0.1          0.5            <0.001
                   Pharmacy visits per patient, mean (S0)                       24.6         15.0             12.9         10.4            <0.001

                   ED = emergency department; SD = standard deviation.


                   Full regression results, including factors that were not            dominantly US veterans. Consistent with published find-
                   statistically significantly related to the outcome in the logis-    ings on prescription °odd overdose deaths, we found
                   tic model are provided in Appendix II.                              that certain demographic characteristics, comorbid con-
                                                                                       ditions, and medication-related factors were associated
                   Discussion                                                          with non-fatal prescription opioid-related serious toxicity
                                                                                       or overdose as well [16,21,45). Demographic variables
                   Our study produced a robust multivariable model that                previously identified as risk factors, and confirmed in the
                   characterized the risk of life-threatening opioid-related           present study, included non-Hispanic white race, never
                   respiratory/CNS depression or overdose in medical users             married and widowed marital status, and residence in the
                   of prescription opioids. Higher maximum prescribed daily            Western United States [2,12,16,21,24,45,461. These
                   MED, a history of opioid dependence, and hospitalization            factors are likely to be proxies for underlying patient-
                   during the 6 months before the overdose or serious tox-             related constructs, including genetic influences on drug
                   icity event were the factors most strongly associated with          metabolism; the social environment, such as isolation; the
                   this outcome among an opioid-exposed cohort of pre-                 prescriber, including opioid-prescribing patterns; and the



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                                    18-34 years (reference)              •
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                                           years                         i
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                                  ••        <P<9.01
                                                                               Odds Ratio (95% Couiicience Interval)
                                  "*P<0.001

                                          Figure 2 Logistic regression results: significant demographic factors.


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                             Individual CCI Comorbidities
                                Chronic Pulmonary Disease*"
                                Rheumatologic Disease*
                                Use of Warfarin'
                                Renal Disease***
                                Skin Ulcers"'
                                Moderate or Severe Liver Disease"
                                Metastatic Solid Tumor"
                             Other Non-pain-related ComorbkEties
                                                                         1
                                Substance Abuse'
                                                                        1
                                Opioid Dependence*"                     7
                                                                         1
                                Pancreatitis*
                                Skin Infections/Abscesses'
                                Sleep Apnea*
                                Bipolar disorder"
                                ADHD*
                             Other Pain-related Comorbidiiies
                                Traumatic Injurym
                             Baseline All-cause Health Care Utilization
                                Hospitalizations I day*"
                              * 0.01 5 p < 0.05
                                                                           0   I     2     3     4     5      6
                              ** 0.001 .Sji < 0.01                           Odds Ratio (95% Confidence Interval)
                              "as

                  Figure 3 Logistic regression results: significant comorbid conditions and health care utilization factors.



               health care system, such as access to emergency care               population or chronic pain patients not treated with
               and other medical services 124,47-54                               opioids [11,33,56). We observed that polypharmacy with
                                                                                  psychoactive drugs commonly prescribed for mental
               Some of our findings differed from those of studies of fatal       health disorders, such as benzodiazepines, antidepres-
               opioid overdose. In contrast to the typical occurrence of          sants, and antipsychotics, as well as mental illness itself,
               opioid overdose death in middle age (peaking at 45-54              was involved in approximately one-half of overdose events
               years), most case patients in our study were aged 55               [1,13,56,57]. The association between serious toxicity
               years or older [8,12]. This discrepancy likely reflects the        events among opioid users in this study and pharmaco-
               older VHA population. The older age predominance also              therapy for mental health disorders such as depression
               affected the pattern of comorbidity in our study popula-           and anxiety may be partially mediated by the substantially
               tion, with chronic diseases and cancer being prevalent.            higher prevalence of substance use disorders [56].
               Physiologically older individuals have age-related impair-
               ment in the hepatic and renal ability to metabolize and            We found certain opioid characteristics to be highly asso-
               excrete certain drugs and other substances and have a              ciated with the likelihood of experiencing opioid-related
               greater burden of disease and associated potentially inter-        toxicity or overdose. Use of extended-release formulations
               acting concomitant medications. Such individuals are bio-          and long-acting opioids was strongly associated with an
               logically vulnerable to opioid accumulation and to                 increased likelihood of overdose events, as reported pre-
               experiencing toxicity even when using an opioid well within        viously [27,30,58]. Methadone, a long-acting opioid, was
               its recommended dosing range. The safe use of opioids              also examined as an independent determinant due to its
               long-term to manage chronic pain in elderly patients is            long half-life, variable pharmacokinetics, and dispropor-
               particularly challenging [39,53-55].                               tionate involvement in 30-40% of all opioid-related deaths
                                                                                  despite accounting for only 5-19% of US opioids pre-
               Another reported treatment challenge observed in our               scribed [7,12,18,27,59]. In contrast to other studies
               study population was the strong association of serious             that focused exclusively on fatal overdose, methadone
               respiratory/CNS depression or overdose with substance              alone was not independently associated with serious
               use disorders (dependence and abuse) and mental health             respiratory/CNS depression or overdose events treated at
               disorders (bipolar disorder). Abuse of alcohol, illicit            VHA facilities, falling just short of the statistical significance
               opioids, and other substances is more frequent among               threshold (P = 0.08). It is unclear whether this difference is
               medical users of prescription opioids than in the general          due to the study sample's relatively low prevalence of


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                                  Opkiii.1 Use                                i
                                    By Active Ingredient
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                                       Tramarled+
                                                                              :
                                       Hydromorphune"
                                    By Formulation
                                      Shorr-aciing (reference)                I

                                                                              I
                                      ElifLA•                                 I
                                    Maximum Prescribed Morphine
                                    Equivalent Daily Dose, MEDD
                                      MEDD I - <20 mg (reference)             I
                                                                              I
                                       MEDI) 20- <50 mg*
                                      MEDD 50- <100 mg"•                      I    --0—.

                                       MIMI/ >IOU mr"                         I
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                                  Selected Nuti-upipid Drugs
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                                    A Midepressants•••
                                                                              I
                                     Antipsycholics•                          4-4.--
                                  * 0.01 <P< 0.05
                                                                                    2       3     4      5        6
                                  '+ 0.001 <P<0.0.I
                                  ***p<0,001                                   Odds Ratio (95% Confidence interval)


                                  Figure 4 Logistic regression results: significant prescription drug-related factors.


                   methadone dispensed and fatal outcomes or to                        organ impairment (liver, kidney, adrenal), potential interac-
                   other characteristic(s) of the study sample or model                tions with concomitant nonopioid medications and sub-
                   specification.                                                      stances (e.g., benzodiazepines, alcohol), the direction of
                                                                                       the opioid switch, and incomplete cross tolerance
                   Our study confirmed the known dose-related toxicity of              between opioids, as well as differences in the likelihood of
                   opioids. Importantly, maximum prescribed daily MED of as            °plod-induced hyperalgesia and physical dependence.
                   little as 20 mg was associated with serious fatal and non-          Some differences may be due to significant genetic vari-
                   fatal overdose and toxicity in (Odd consumers overall.              ants in opioid receptors, metabolism, and transport in the
                   Previous research identified a significant risk of overdose         nervous system [65,66]. The current guidelines are based
                   death for daily MED of ?.20 or 50 mg in patients with               on expert opinion and have not been validated for safety
                   chronic noncancer pain [21,25,60]. An increasing body of            or efficacy [55,61,64,67].
                   scientific evidence suggests that prescriber overreliance
                   on, and inadequate proficiency using, opioid dose con-              Of note, medical use of tramadol in our study appeared to
                   version factors or ratios in published equianalgesic dose           be protective against serious opioid-related overdose (OR
                   tables to calculate MED is an important contributor in fatal        0.7, 95% Cl, 0.5-1.0). Tramadol, a novel synthetic opioid
                   or near-fatal opioid-related CNS/respiratory depression             analgesic with monamine reuptake inhibition contributing
                   [27,38,61-64]. The numerous published equianalgesic                 to its analgesic effect, has low mu opioid receptor binding
                   tables that are widely available contain inconsistent and           affinity and is not currently regulated as a controlled sub-
                   variable conversion ratios. To reduce the risk of uninten-          stance at the federal level in the United States [68-71].
                   tional serious toxicity when rotating or switching opioids,         However, its US prescribing information contains warnings
                   updated guidelines for the safe use of equianalgesic dose           similar to all prescription opioids regarding the risk of CNS
                   tables emphasize the need to consider the opioid conver-            and respiratory depression, overdose, and death. This
                   sion ratio or calculated equianalgesic dose in morphine             interesting study finding warrants further investigation.
                   equivalents as only an approximate starting point. The
                   calculated MED must then be adjusted for each individual            Pain is a complex, multidimensional condition with a mul-
                   patient and clinical scenario by accounting for                     tiplicity of interacting and contributing influences [72].
                   interindividual sources of variation that can alter opioid          Factors involved in the likelihood of serious opioid-related
                   potency. Such sources of individual variation include               toxicity or overdose in individuals treated for painful con-
                   demographic differences (age, sex, race, ethnicity), major          ditions relate to the patient and their social environment,


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               prescriber or other source of opioids, health care system,         stances from unreported non-VHA sources, particularly in
               and the specific opioid and other exposures. Although              the case cohort which had a significantly higher preva-
               pain is the most common reason a patient seeks medical             lence of substance use disorders. In addition, the serious
               care, current US data on the incidence, prevalence, and            respiratory/CNS depression and overdose rate in this
               treatment of pain are not complete or consistent, parity           sample is likely an underestimate as we evaluated only
               because it is considered a symptom. Recent evidence                cases that fulfilled a stringent case definition and came to
               indicates that approximately 80% of episodes of pain               medical attention within VHA.
               treated with opioids are short term [37]. However, an
               estimated 100-116 million US adults suffer chronic pain            Implications for Future Research
               [53,72], and 3-4% of the adult population (9 million)
               are prescribed opioids each year to manage chronic                 Future studies should assess the generalizability of these
               noncancer pain [6-9,111. Thus, the total population at risk        findings to populations more representative of US medical
               of life-threatening opioid-related respiratory/CNS depres-         users of prescription opioids, including wider age ranges
               sion or overdose is substantial.                                   and more women. With a larger dataset, selected interac-
                                                                                  tions among risk factors should be evaluated, as well as
               Our study confirms and extends findings from prior                 the predictive utility of behavioral and other factors not
               research that focused on fatal overdoses but did not dif-          routinely captured in administrative health care data (e.g.,
               ferentiate between medical and nonmedical opioid users             use of alcohol and other substances, other sources of
               [13,16-18,21,60]. The relatively low frequency of fatal out-       opioids, therapeutic indication, social conditions, setting
               comes of serious opioid-related events in our VHA-treated          of the overdose or serious toxicity event, family history).
               cohort (2.4% over 2 years) suggests that the majority of           Potential differences in risk factor profiles for overdose or
               such events in medical users is not fatal. However, non-           life-threatening respiratory/CNS depression among those
               fatal events do place a substantial burden on the health           treated with opioids for acute vs chronic conditions,
               care system and patients [73,74].                                  chronic noncancer pain vs chronic cancer pain, and short
                                                                                  term vs long term should also be explored.
               Strengths and Limitations
                                                                                   Conclusions
               Major strengths of this study include the large, national
               patient population as well as the rich detail of VHA admin-        The risk of life-threatening toxicity, including overdose, in
               istrative data. The robust statistical model included vari-        medical users of prescription opioids is an alarming, esca-
               ables that are readily available from medical and pharmacy         lating public health problem. Substantial risk exists when
               claims data. In contrast to most previous research, we             even relatively low daily MED of opioids is used in patients
               examined in a comprehensive and systematic fashion the             who are vulnerable due to sociodemographic factors,
               determinants associated with nonfatal as well as fatal             concomitant medical and psychiatric conditions, and
               serious toxicity and overdose related to the medical use of        simultaneous use of other medications or substances.
               prescription opioids. However, the study sample included           Expert guidelines recommend screening all patients
               all opioid-exposed patients and was stratified by neither          before initiating opioids for pain management to identify
               therapeutic indication or acuity (e.g., acute vs chronic pain      those at elevated risk for serious adverse outcomes
               conditions; chronic pain related to cancer vs noncancer)           [26,55,75]. An extensive literature review revealed several
               nor by the duration of opioid treatment (short term vs long        available instruments to screen for aberrant drug-related
               term), partly to avoid potential statistical challenges with       behaviors (abuse, addiction, diversion) [55,76], but no
               the limited number of cases available. Our study was               instruments that provide useful, real-time, evidence-based
               subject to many of the limitations commonly associated             information to the prescriber regarding the risk of over-
               with observational studies using administrative data               dose or serious respiratory/CNS depression currently exist
               (e.g., limited ability to infer causality and limited access to    [55]. A public health imperative is the identification of
               information regarding actual medication consumption/               medical users of prescription opioids who are at highest
               adherence, other behavioraVsocial elements, and thera-             risk of life-threatening toxicity for whom additional precau-
               peutic indication, with the potential for residual                 tions should be considered. These precautions include
               confounding). In addition, while VHA provides a large,             education of the patient and caregivers, increased caution
               national population from which to sample, generalizability         in opioid selection and dose escalation, consultation with
               is limited as the population comprises primarily older,            pain management specialists, and close monitoring for the
               white men who receive most of their health care within a           emergence of opioid-related toxicity or known risk factors
               single, closed system.                                             for this outcome [28,55,75]. Additional measures to
                                                                                  reduce opioid-related morbidity and mortality may include
               Limitations in accuracy and completeness are inherent in           enhanced training and compliance of health care provid-
               administrative data and include missing data, coding               ers with evidence-based best practices for prescribing
               errors, misclassification, and undiagnosed or undocu-              opioids, such as considering coprescribing naloxone, par-
               mented comorbidities such as substance use disorders.               ticularly if delivery systems can be developed that are safe
               While prescriptions dispensed within the VHA system are            and more user friendly for nonmedical first responders
               well documented, it is possible that patients in the study          than the current syringe or nasal atomizer-based systems.
               also consumed opioids and other medications or sub-                Naloxone is a rescue medication with more than three


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                   decades of proven effectiveness and safety in reversing            8 Manchikanti L, Fellows B, Ailinani H, Pampati V.
                   life-threatening opioid-related respiratory/CNS depression           Therapeutic use, abuse, and nonmedical use of
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               Appendices

               Appendix I

                  Prescription opioid drug products

               Active Ingredient(s) by Generic Name

               Alfentanil hydrochloride
               Buprenorphine
               Butorphanol tartrate
               Codeine, acetaminophen
               Codeine base
               Codeine phosphate
               Codeine phosphate, triprolidine, pseudoephedrine hydrochloride
               Codeine phosphate, chlorpheniramine maleate
               Codeine phosphate, guaifenesin, pseudophedrine
               Codeine phosphate, pyrilamine maleate
               Codeine phosphate, acetaminophen, gamma-aminobutyric acid
               Codeine phosphate, brompheniramine maleate, pseudoephedrine hydrochloride
               Codeine phosphate, brompheniramine maleate, phenylephrine hydrochloride
               Codeine phosphate, butalbital, acetaminophen, caffeine
               Codeine phosphate, butalbital, aspirin, caffeine
               Codeine phosphate, carisoprodol, aspirin




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                                                                                      Risk Factors Prescription Opioid Toxicity Overdose


                   Appendix I Continued

                   Active Ingredient(s) by Generic Name

                   Codeine phosphate, chlorcyclizine hydrochloride
                   Codeine phosphate, dexbrompheniramine maleate, pseudoephedrine hydrochloride
                   Codeine phosphate, guaifenesin, pseudoephedrine hydrochloride
                   Codeine phosphate, phenylephrine hydrochloride
                   Codeine phosphate, phenylephrine hydrochloride, diphenhydramine hydrochloride
                   Codeine phosphate, phenylephrine hydrochloride, chlorcyclizine hydrochloride
                   Codeine phosphate, phenylephrine hydrochloride, chlorpheniramine maleate
                   Codeine phosphate, phenylephrine hydrochloride, pyrilamine maleate
                   Codeine phosphate, promethazine hydrochloride
                   Codeine phosphate, promethazine hydrochloride, phenylephrine hydrochloride
                   Codeine phosphate, pseudoephedrine hydrochloride, chlorcyclizine I-ICI
                   Codeine phosphate, pseudoephedrine hydrochloride, chlorpheniramine maleate
                   Codeine phosphate, pseudoephedrine hydrochloride
                   Codeine phosphate, pseudoephedrine hydrochloride, pyrilamine maleate
                   Codeine sulfate
                   Dihydrocodeine bitartrate, acetaminophen, caffeine
                   Dihydrocodeine bitartrate, brompheniramine maleate, phenylephrine hydrochloride
                   Dihydrocodeine bitartrate, brompheniramine maleate, pseudoephedrine hydrochloride
                   Dihydrocodeine bitartrate, guaifenesin
                   Dihydrocodeine bitartrate, phenylephrine hydrochloride, guaifenesin
                   Dihydrocodeine bitartrate, phenylephrine hydrochloride, pyrilamine maleate
                   Fentanyl
                   Fentanyl citrate, bupivacaine HCI
                   Hydrocodone bitartrate, acetaminophen
                   Hydrocodone bitartrate, homatropine methylbromide
                   Hydrocodone bitartrate, ibuprofen
                   Hydrocodone bitartrate, chlorpheniramine maleate, pseudoephedrine hydrochloride
                   Hydrocodone bitartrate, pseudoephedrine hydrochloride
                   Hydrocodone polistirex, chlorpheniramine polistirex
                   Hydrocodone, acetaminophen, gamma-aminobutyric acid
                   Hydromorphone hydrochloride
                   Levorphanol tartrate
                   Meperidine hydrochloride
                   Methadone hydrochloride
                   Morphine
                   Nalbuphine hydrochloride
                   Naloxone, buprenorphine
                   Oxycodone, acetaminophen
                   Oxycodone, aspirin
                   Oxycodone hydrochloride
                   Oxycodone hydrochloride, ibuprofen
                   Oxymorphone hydrochloride
                   Pentazocine hydrochloride, acetaminophen
                   Pentazocine hydrochloride, naloxone hydrochloride
                   Pentazocine lactate
                   Propoxyphene hydrochloride
                   Propoxyphene hydrochloride, acetaminophen
                   Propoxyphene napsylate
                   Propoxyphene napsylate, acetaminophen
                   Sufentanil citrate
                   Tapentadol
                   Tramadol hydrochloride
                   Tramadol hydrochloride, acetaminophen
                   Tramadol hydrochloride, gamma-aminobutyric acid
                   Tramadol hydrochloride, acetaminophen




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               Appendix!!

                  Logistic regression results: serious opioid-related toxicity or overdose

               Covarlatet                                                       Odds Ratio         95% CI

               Age group (years)
                 18-34                                                          Reference
                 35-14                                                          0.9          0.5            1.8     0.826
                 -45-54                                                         1.4          0.8            2.4     0.224
                 55-64                                                          1.9          1.1            3.3     0.014
                 654                                                            1.8          1.1            3.2     0.028
               Male                                                             0.9          0.6            1.3     0.553
               Race
                Non-Hispanic black                                              Reference
                Non-Hispanic white                                              1.8          1.3            2.4    <0.001
                Hispanic                                                        1.4          0.8            2.4     0.248
                 Other                                                          1.6          1.1            2.2     0.013
               Marital status
                Married (reference)                                             Reference
                Separated/divorced                                              1.1          0.9            1.4     0.404
                Never married                                                   1.4          1.0            1.8     0.044
                Widowed                                                         2.0          1.4            3.0    <0.001
               Geographic region
                Northeast (reference)                                           Reference
                North central                                                   1.3          0.9            1.8    0.184
                South                                                           1.2          0.9            1.7    0.316
                West                                                            1.8          1.3            2.5    0.001
                Other                                                           0.7          0.4            1.2    0.154
               Comorbidity
               Individual COI comorbidities
                 Myocardial infarction                                          0.8          0.4             1.4    0.345
                 Congestive heart failure                                       1.1          0.7             1.8    0.674
                 Peripheral vascular disease                                    1.1          0.8             1,7    0.502
                 Cerebrovascular disease                                        0.7          0.4             1.1    0.132
                 Dementia                                                       1.0          0.3             3.1    0.977
                 Chronic pulmonary disease                                      1.5          1.2             1.9   <0.001
                 Rheumatologic disease                                          0.3          0.1             0.9    0.027
                 Peptic ulcer disease                                           0.5          0.2             1.2    0.123
                 Mild liver disease                                             1.6          0.9             3.2    0.137
                 Diabetes                                                       1.1          0.9             1,4    0.418
                 Hypertension                                                   1.0          0.8             1.3    0.791
                 Depression                                                     1.2          1.0             1.5    0.105
                 Use of warfarin                                                1.4          1,0             2.0    0.040
                 Hemiplegia or paraplegia                                       0.9          0.4             2.3    0.867
                 Renal disease                                                  1.7          1.3             2.4    0.001
                 Any malignancy, including leukemia and lymphoma                1.3          1.0             1.7    0.086
                 Diabetes with chronic complications                            1.0          0.7             1.4    0.769
                 Skin ulcers                                                    2.4          1.5             3.8   <0.001
                 Moderate or severe liver disease                               2.7          1.1             6.7    0.036
                 Metastatic solid tumor                                         2.3          1.3             4.0    0.007
                 HIV/AIDS                                                       2.0          0.8             4.8    0.120
               Other Selected comorbidities
               Nonpain related
                 Substance abuse and nonopioid substance dependence             1.4          1.0             1.8    0.031
                 OpioId dependence                                              3.9          2.6             5.8   <0.001
                 Viral hepatitis                                                1.4          0.9             2.0    0.098
                 Alcoholic hepatitis                                            0.7          0.1            10.9    0.823
                 Pancreatitis                                                   2.2          1.1             4.5    0.032
                 Sexually transmitted disease                                   1.4          0.6             3,1    0.458
                 Herpes simplex infection                                       0.8          0.3             2.2    0.639
                 Skin infectIons/abscesses                                      0.5          0.3             0.9    0.010
                 Sleep apnea                                                    1.3          1.0             1.8    0.040
                 Tobacco use disorder                                           1.2          1.0             1.5    0.066
                 PTSD                                                           1.0          0.8             1.3    0.985
                 Bipolar disorder                                               1.7          1.2             2.4    0.005




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                                                                                      Risk Factors Prescription Opioid Toxicity Overdose


                   Appendix II Continued

                  Covariatef                                                        Odds Ratio                95% Cl

                    ADHD                                                            0.3                0.1               1.0              0.048
                    Schizophrenia                                                   1.6                0.9               2.8              0.105
                    Anxiety disorder                                                1.1                0.9               1.5              0.384
                    OCD                                                             0.6                0.1               2.8              0.552
                    Cardiovascular disease                                          1.3                0.8               2.0              0.243
                    Obesity                                                         1.1                0.8               1.4              0A98
                  Pain related
                    Low back disorders                                              1.1                0.9               1.4              0.245
                    Other back/neck disorders                                       1.1                0.9               1,4              0.309
                    Neuropathic disorders                                           1.0                0.8               1.3              0.815
                    Fibromyalgia                                                    1.2                0.7               2.0              0.574
                    Headache/migraine                                               1.2                0.8               1.7              0.322
                    Bums                                                            0.8                0.2               3.8              0.758
                    Traumatic injury                                                1.6                1.3               2,0             <0.001
                    Motor vehicle accidents                                         2.4                0.7               7.6              0.145
                  Prescription drug use
                  Opioids
                  By active ingredient
                    Hydrocodone                                                     1.0                0.8               1.4              0.779
                    Oxycodone                                                       1.4                1.1               1.9              0.017
                    Tramadol                                                        0.7                0.5               1.0              0.043
                    Codeine                                                         1.3                0.9               1.9              0.146
                    Feritanyl                                                       0.8                0.1               6.9              0.813
                    Morphine                                                        1.6                1.0               2.5              0.079
                    Hydromerphone                                                   2.4                1.2               4.7              0.012
                    Methadone                                                       1.6                1.0               2.7              0.079
                    Oxymorphone                                                     0.3                0.0               5.4              0.377
                    Other                                                           1.7                0.1              52.5              0.775
                  By formulation
                    Short acting                                                    Reference
                    ER/LA                                                           1.9                1.1               3.2              0.018
                  By route
                    Oral                                                            Reference
                    Parenteral or transdermal                                       2.3                0.3              18.7              0.433
                  Number of opioid prescriptions dispensed, mean (SD)               1.0                1.0               1.0              0.852
                  Number of unique opioid NDCs, mean (SD)                           1.0                0.9               1.1              0.488
                  Maximum prescribed daily morphine equivalent dose (MED. mg/day)
                   120 (reference)                                                  Reference
                   2050                                                             1.5                1.1               1.9              0.011
                   50-000                                                           2.2                1.5               3.2               ..0011
                                                                                                                                         <100
                   2100                                                             4.1                2.6               6.5
                  Nonopiold drugs of Interest
                   Benzodiazepines                                                  1.4                1.1               1.7              0.004
                   Antidepressants                                                  1.6                1.3               2.0             <0.001
                   Nonopioid analgesics                                             0.9                0.7               1.2              0.557
                   Muscle relaxants                                                 1.1                0.9               1.4              0.293
                    Other sedatives                                                 1.1                0.8               1.5              0.521
                   Antipsychotics                                                   1.3                1.0               1.7              0.045
                    Stimulants                                                      1.9                0.8               4.6              0.179
                  All-cause health care utilization during the preceding 6 months
                  Days of hospitalization
                    0                                                               Reference
                    21                                                              2.9                 2.3              3.6             <0.001

                  • Other opioids included meperidine and pentazocinetnaloxone. Methadone is a long-acting opioid.
                  ADHD = attention deficit hyperactivity disorder; CCI = Char!son Comorbidity Index; CI = confidence interval; ER/LA = extended
                  release or long acting; MED = morphine equivalent dose; NDC = National drug code; OCD = obsessive-compulsive disorder;
                  PTS0 = post-traumatic stress disorder; SD = standard deviation.
                  tCovariates with frequencies less than 10 or which prevented model convergence were not included in the full model.




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EXHIBIT G
STATE OF TEXAS

COUNTY OF NEWTON



 Consider and take action to approve Resolution for approval of bringing suit on behalf of
Newton County, Texas, vs. various drug manufacturers, developers, suppliers and others of
 a class of pharmaceutical class of drugs commonly referred to as opioids and approval of
                  Professional Services Agreement for Special Counsel.


WHEREAS, it reasonably appears from public information that there exists in Newton County an
epidemic of opioid drug abuse created and/or fueled by misconduct of opioid manufacturers and
distributors in their improper promotion and over-supply of those drugs, thus creating a public
nuisance within Newton County; and

WHEREAS, Newton County is empowered by law to seek recompense for its expenditures to
combat public nuisance; and

WHEREAS, enforcement of the law regarding public nuisance requires Newton County to institute
civil legal proceedings requiring legal services, and the Newton County Commissioners Court
finds as follows:

       (1) there is a substantial need for the legal services;

       (2) the legal services cannot be adequately performed by the attorneys and
       supporting personnel of Newton County or by the attorneys and supporting
       personnel of another governmental entity; and

       (3) the legal services cannot reasonably be obtained from attorneys in private
       practice under a contract providing only for the payment of hourly fees, without
       regard to the outcome of the matter, because of the nature of the matter for which
       the services will be obtained and because Newton County does not have
       appropriated funds available to pay the estimated amounts required under a contract
       providing only for the payment of hourly fees; and

WHEREAS, Newton County is empowered to employ Special Counsel to prosecute lawful
reimbursement of monies spent by Newton County to combat the opioid epidemic in Newton
County and has selected the legal team of Simon Greenstone Panatier Bartlett, P.C. and Paul
D. Henderson, P.C. and Dies & Parkhurst, L.L.P. to serve as Special Counsel.

THEREFORE, BE IT HEREBY RESOLVED that:

I. The Commissioner's Court approves Resolution to bring suit on behalf of Newton County,
Texas, versus various drug manufacturers, developers, suppliers and others of a class of
pharmaceutical class of drugs commonly referred to as opioids and approval of Professional
Services Agreement for Special Counsel.

2, The Commissioners Court selects the legal team of Simon Greenstone Panatier Bartlett, P.C.
and Paul D. Henderson, P.C. and Dies & Parkhurst, L.L.P. to serve as Special Counsel and
approves and adopts the terms and conditions of employment of such counsel as set out in the
attached Professional Services Agreement. Special Counsel will work under the oversight and
approval of the Newton County District Attorney or her designee.

3. The Commissioners Court authorizes the District Attorney or her designee and Special Counsel
to file such claims and litigation as Special Counsel deems necessary against various drug
manufactures, developers, suppliers and others of a class of pharmaceutical class of drugs
commonly referred to as opioids

4. The Newton County Judge or his designee is authorized to execute on behalf ofN ewton County
an agreement with Special Counsel (hereinafter the "Agreement") containing terms and provisions
substantially similar to those contained in the attached agreement because the Court finds that there
is a substantial need for the legal services of Special Counsel which cannot adequately be
performed by attorneys and supporting personnel of Newton County or another public agency, nor
can the legal services reasonably be obtained from attorneys in private practice under a contract
providing only for payment of hourly fees without regard to the outcome of the matter because of
the nature of the representation.

5. All fees to be paid to Special Counsel are contingent upon the recovery of the penalties,
attorneys' fees and costs as provided for in the Agreement and shall be paid only from such
recovery and no money shall be due or paid from the General Fund or any special fund under the
Agreement.

6. All Newton County officials and employees are authorized to do any and all things necessary
or convenient to accomplish the purposes of this order.

     THIS RESOLUTION WAS ADOPTED thisQ day of                                             , 2018, by
Commission s' Court of Newton County, Texas.




Attestc
EXHIBIT H
                                   RETENTION AGREEMENT

        WHEREAS, Newton. County has determined that claims should be made against Purdue
 Phanna, L.P., Purdue Pharma, Inc., The Purdue Frederick Company, Inc., Teva Pharmaceutical
Industries USA, Ltd., Cephalon, Inc., Johnson & Johnson, Janssen Pharmaceuticals, Inc., Janssen
Pharmaceutica, Inc. &lea Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc.
n/k/a Janssen Pharmaceuticals, Inc., Endo Health Solutions Inc., Endo Pharmaceuticals, Inc.,
Allergen, PLC f/k/a Actavis, PLC, Actavis, Inc. f/k/a Watson Pharmaceuticals, Inc., Watson
Laboratories, Inc., Actavis, LLC, and Actavis Phanma, Inc. f/k/a Watson Phanna, Inc.,
McKesson Corporation, ArnerisourceBergen Corporation, and any other entities which have engaged
in violations of the Texas Controlled Substances Act arid other violations of law in the fraudulent
marketing and sales of certain highly addictive, opiate-derived painkillers for purposes for
which they are neither safe nor effective; and




       WHEREAS, Newton County has further determined that it is in the best interests of the
County and its citizens that the County retain attorneys with significant litigation experience; and

        WHEREAS, Simon Greenstone Panatier, P.C. ' Paul D. Henderson, P.C. and Dies &
Parkhurst, L.L.P. are experienced at such litigation and consented to represent Newton County
respecting the claims and pursuant to the terms and conditions hereof.
        IT IS, ACCORDINGLY, AGREED as follows:




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21Page
31page
    DATED this the                  day of 70/---             ,2018.

                                                              NEWTON COUNTY



                                                    BY:               J
                                                                  ---77) --- I ..itleri
                                                              Paul Price, Newton County Judge

                                                             SIMON GREENSTONE
                                                             PANATIER, P.C.


                                                    BY:---
                                                             .1reffr Si' 4411:hareholder


                                                          —pcciii tIENISON, P.C.

                                                    By:     /
                                                          /Paul 14Indon, Shareholder



                                                             DIES & PARKHURST, L.L.P.


                                                    BY
                                                             David Dies, Shareholder


APPROVED BY:

OFFIC/•*F ir ; XAS COMPTROLLER OF PUBLIC ACCOUNTS:
 •

                                                          Date:
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